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Fiied: 9/16/2016 2:59:32

Robin Stroud, Distriot C!r

?)2542 Hutchinson County, Texz
N ' wm By:Robin Stroud

 

DARYL ROBERTSON DDS, P.A. § I`N THE DISTRICT COURT
Plaintiff, §

§
V. § 316TH JUDICIAL DISTRICT

§
CENTRAL INSURANCE COMPANIES §
Defendant. § HUTCHINSON COUNTY, ’I`EXAS

PLAINTIFF’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COME DARYL ROBERTSON DDS, P.A., hereinafter cailecl Plaintiff,
compiaining of and about CENTRAL INSURANCE COMPANIES, hereinafter cajied
Det`endant, and for cause of action show unto tire Court the following:

DISCOVERY C{)NTROL PLAN LEVEL

1. Plaintift` intends that discovery be conducted under Discovery Levei 2.

- PAARTIES AND SERVICE

2, Plaintiff, DARYL ROBERTSON DDS, P.A. (“ROBERTSON”), is an individuai
whose address is 101 Ni McGee, Borger, Texas 79007.

3. Defendant, CENTRAL iNSURANCE COMPANIES' (“INSURANCE
COl\/IPANY”), is a Texas lnsurance Company. Said Defendant may be served with process at

the following address: 7301 North State Highway 161, Su\'te 320, Irvirrg, Texas 75039.

JURISDICTI()N AND VENUE
4. The subject matter in controversy is within the jurisdictional limits of this court
5. This court has personal jurisdiction herein because Defendant is a 'l`exas resident
6. Venue in Hutchinson County isproper in this cause pursuant to Section 17.56 of

the Fi`exas Business and Corrrmeree Code.

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FACTS

7. On or about the 16th day of November, 2015, a lightning strike hit the dental
office of ROBBRTSON damaging equipment and all lines of communication into the office

8. Defendant provided an insurance policy (“policy”) for ROBERTSON, a copy of
which is marked as Exhibit “A" and attached to this petition for ali intents and purposes

9. Under the terms of the policy, the lNSURANCE COMPANY is required to pay
for any damages caused by the lightning strike including damage to equipment, property and
damages arising from loss of income

lO. ROBER'I`SON’S nonnai business hours are Tuesday, Wednesday and Thursday
of each week. As a result, there Were effectively two weeks of loss of business arising from the
lightning strike

ll. ri`he loss of income suffered by ROBERTSON was in excess of $71,000.00.

COUNT ONE
BREACH OF CONTRACT

12. The INSURANCE COMPANY has paid for the replacement of the damaged
equipment and has made a partial payment toward the loss of income. Such payment by the
INSURANCE COMPANY was in the amount of $26,469.39. In violation of the insurance
contract, the INSURANCE COMPANY has failed to pay for the full extent of the loss of income
by ROBERTSON and there is still owing by INSURANCE COMPANY to date the amount of
$44,530.61.

DECEPTIVE 'I`RADE PRACTICES

i3. Despite repeated demands by ROBERTSON to be reimbursed for his loss of
income, the INSURANCE COPMANY took the position that there was no ioss of income and
refused to pay any amount Only after a demand Was made by RGBERTSON, through his

attorney, to be reimbursed for the loss of income did the iNSURANCE COMPAN_Y make a

PLAINT[FF'S ORIGINAL PETIT|ON- PAGE 2

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partial attempt to honor their obligations in this matter. A copy of the demand is attached hereto
as Exhibit “B” and incorporated herein for ali intents and purposes

14. The INSURANCE COMPANY is in violation of §2i.21 of the Texas tnsurance
Code and consequently is also in violation of the Texas Deceptive Trade Practices Act under the
Business and Comrnerce Code.

15. Plaintift` would show that Defendant engaged in certain false, misleading and
deceptive acts, practices and/or omissions actionable under the Texas Deceptive Trade Practices

~ Consumer Protection Act (Texas Business and Commerce Code, Chapter 17.41, et seg.), as

alleged hereinb@iow.

16. Unconsoionable Act.ion or Course of Action. Defendant engaged in an
"unccnscionable action or course of action" to the detriment of Plaintilt` as that term is defined by
Section 17.45(5) of the Texas Business and Comrnerce Code, by taking advantage by knowingly
filing a false affidavit with intent to coerce Plaintift` into paying an extortion fee to Defendant.

l?. Violations of Section l?.46(b). Defendant violated Section l7.46(b) Of the Texas
Business and Cornmerce Code, in that Defendant:

(a) represented that work or services have been performed on, or parts
replaced in, goods when the Work or services were not performed or the parts replaced;
and

(b) failed to disclose information concerning goods or services which was
known at the time of the transaction With the intention to induce the consumer into a

transaction into which the consumer would not have entered had the information been

disclosed

PLA!NTIFF'S ORIGfNAL PETITION - PAGE 3

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]8. Breach of \Vai'i'anties. Plaintifi` would show that the following warranties were
breached and therefore actionable under Section l7.50(a)(2) of the "l`exas Business and
Commerce Code:

(a) the implied warranty of fitness for a particular purpose; and
(b) the implied Warranty of good and workmanlike performance

19. Producing Cause. Plaintiff would show that the acts, practices and/or omissions
complained of were the producing cause of Plaintifl‘s damages more fully described
hereinbelow.

20. Rilian_c_e. Plaintif`r` would Jfurther show the acts, practices andfor omissions
complained of under Section l7.46(b) of thc 'l`exas Business and Commerce Code were relied
upon by Plaintifl` to Plaintifi‘s detriment

COMMON LAW FRAUD

2i. Plaintiff further show that Defcndant made material false representations to

Plaintiff with the knowledge of their falsity or with reckless disregard of the truth with the

intention that such representations be acted upon by Plaintiff, and that Plaintiff relied on these

representations to their detriment

22. Plaintiff would further show that Defendant concealed or failed to disclose
material facts within the knowledge of Defendant, that Defendant knew that Plaintiff did not
have knowledge of the same and did not have equal opportunity to discover the truth, and that

Det`cndant intended to induce Plaintiff to enter into the transaction made the basis of this suit by

such concealment or failure to disclose

23. As a proximate result of such ii'aud, Plaintiff sustained the damages described

more fully hereinbelow.

PLAlNTIFF’S ORIGINAL PE"I`ITION - PAGE 4

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ECGNOMIC ANB ACTUAL DAMAGES
24. Plaintifl` sustained the following economic and actual damages as a result of the

actions and/or omissions of Defendant described hereinabove:

(a) Out~of-pocket expenses, including but not limited to accounting
fees.

(b) Loss of income.
(c) Cost of replacement
{d) Costs of repairs.
(e) Remedial costs and/or costs of completion
MUL'I`IPLE DAMAGES
2?. Plaintiff would show that the false, misleading and deceptive acts, practices
and/or omissions complained of herein were committed "l<nowingly" in that Defendant had
actual awareness of the falsity, deception, or unfairness of such acts, practices, and/or omissions
28. Plaintiff further avers that such acts, practices, andr'or omissions were committed
"iutentionaily" in that Dcfendant specifically intended that Plaintiff act in detrimental reliance on
the falsity or deception or in detrimental ignorance of the unfairness
29. Therefore, Piaintiff is entitled to recover multiple damages as provided by
17.50(b)(i) of the Texas Business and Commerce Code.
ATTORNEY‘S FEES
31 Request is made for ali costs and reasonable and necessary attorneys fees
incurred by or on behalf of Plaintiff herein, including all fees necessary in the event of an appeal
of this cause to the Ccurt of Appeals and the Suprcme Couit of Texas, as the Court deems
equitable and just, as provided by: (a) Scction 1'7.50(d) of the Texas Business and Commerce

Code, (b) common law and (c) §17.5{) of the Texas Practices & Remedies Code.

PLAIN'I`IFF’S ORIGINAL PETI'I`ION ~ PAGE 5

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PRAYER
WHEREFORE, PREMISES CONSIDERED, Pla`mtiff, DARYL ROBERTSON DDS,

P.A., respectfully prays that the Defendant be cited to appear and answer herein, and that upon a
finai hearing of the cause, judgment be entered for the Piaintiff against Defendant for the
economic and actual damages requested hereinabove in an amount in excess of the minimum
jurisdictional limits of the Court, together with prejudgment and postjudgment interest at the
maximum rate alioweci by law, attorneys feesz costs of court, and such other and further relief to
which the Plaintiff` may be entitled at law or in equity, whether pled or unpied.

Respectfilily subrnit‘ted,

MITCHELL & JONES

P. O, Drawer 707
Borger, Texas 79008-0707

rei. (so )2?3-2357 M

rison Mrrcnai.t,'s.'s. #14220700
Attorney for Plaintiff

 

PLAINTIFF'S ORIGYNAL¢ PETITION - PAGE 6

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UPSHAH INSURANCE AGENCY INC
PO BDX 1299
AMA‘ZILLO TX 79105-0299

 

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G¢ reen
Visil mw.r.central-lnsurance.com

and select the Go Green logo to
leanzaboulonhnesohnwns

DARYL ROBERTSON DDS PA
101 N MCGEE ST
BORGER ix 79007

Dear Policyhoider:

Thenk you for renewing your policy with the Centra| insurance
Compenies. We appreciate your businessl

Your renewal policy declarations page is ettacheo. You will be
issued a separate Biiiinq_Stetement.

Please review all information thorouohlv as therenwy be other Forms
ngch require your ettentlon. if you have questions regarding these
Forms or any part of your policy, please contact your agent et'
806~468-0400.

if you shouid experience a cialm, you may report it to the agent
listed above, or directly to Centre| by one of the following
options:

1. Online Vla the myCentraI@>website. Vislt
www.central-insurence.com end click on the myCentral® linK_

2. By phone to the following numbers:

888~263-2924. _
For Glass Claims, contact Centrel‘s giese network at

866-410-4753 or 800-988~9808, 24 hours a day, seven days a
week.

3. Fax your claim to 800~736-7026.
CENTRAL lNSURANCE COMPAN|ES

 

'M 800 Soulh Wsslringlon Sl. v Van Werl, OH 45891-2381 - vnvw.cenlral-insurance.com ,_,.

 

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T`EXAS lMPOFlTANT NOTICE

To obtain intormation or make a complaint

You may call our toll-free telephone number for
information or to make a complaint at

1-800-733-2233

YOLl may also write to us ai:

Centrai Niuluai insurance Cornpany

Aii Amerioa insurance Company

7301 Norlh Stale Highway 181. Sulte 320
lrving, T)< 75039

You may contact me Tcxas Departm'ent of insurance
to obtain information on oompanies, eoverages. rights
or complaints at

1-800-252-3439

You may write the Toxas Depanment of insurance
P.O. Bo)c 149104

Auslin, 'TX 78714-9104

FAX‘. (512) 475~1771

Web: htlp:}!www.idi.state.lx.us

E-maii: ConsumerProtecl|on@lcii.state.lx.us

PREM|UM OFl CLAlM DiSPUTES: Should you have a
dispute concerning your premium or about a claim you
should contact the agent or the company first fine
dispute ls not resolved, you may contact the Te)<as
Department ot insurancel

A'l'TACi-i THIS NOTICE TO YOUFl POL|CY: `i`his
notice is for information only and does not become a
part or condition of the atlached documenl.,

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TEXAS AVISO iiViPOFiTANTE

Para oblener informaclon o para someter una queja:

Ust@d puede iiamar ai numero de teiefonogratis de
compania para intormacion o para someter una quota
al `

1-800-733-2233

listed tambien puecle escrii)lr a companla:

Centrel Mulual insurance Compaoy

Ali Amerioa insurance Co‘mpany

7301 Norlh Slate Highway 161, Suite 320
irving, TX .75039

Puede comunicarse con el Departamenio de Seguros
de Texas para obtener_ informaclon acerca de
companias, cooerturas, derechos o quotas al

1~800-252-3439

Puede escriblr at Departamento de Seguros de Texas
P.O.Box149104

Austln, TX 78714-9`104

FAX: (51 2} 475-1 771

Web: htip:/Mww.tcii.state.tx.us

E-mal|: ConsumerProtection @tdi.state.tx.us

DiSFUTAS SOBl~'-'iE PR_IMAS 0 RECLAMOS: Si liens
una dispute conoernienle a su prima o a un reoiamo,
clei:>e comunioarse con et agente o' la compania
primero. Si no se resuelve la dispula, puede entonces
comunicarso con el departamonto (TDi).

UNA ESTE A VlSO A SU POL|ZA: Esle aviso es solo
para proposlto cie informacion y no se convierte en
parte 0 condicion del doournento adjunto.

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j FNSURANCE
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NOTiCE TO POLIC`YHOLDERS
DATA COMPROMiSE GOVERAGE

NO COVEHAGE iS PROVFDED BY TH|S SUMMAFIY NOR CAN iT BE CONSTRUED TO REPLACE ANY
PFIOV|SEON OF YOUR POLICY. YOU SHOULD READ YOUF{ POLICY AND FiEVlEW YOUR DECLARAT|ON
PAGE FOR COMPLETE iNFORMATiON_ON THE COVERAGES YOU AFiE PFtOVlDED. iF THERE iS ANY
CONFLICT BETWEEN THE POL!CY AND THlS SUMMARY, THE PHOV|SlONS OF THlS POL|CY SHALL

PREVA|L.
Your previous policy included Data Cornpromlse Coverage. Thts notice has been prepared in conjunction with the

implementation of changes lo this coveragel lt contains a briet explanation of the changes that were made Thls
notice does not reference every editorial change made in coverage form.

The Data Compromise Coverage ap lied only to specified expenses you incurred when personal information of
others was lost, stolen or inadvertent y released

This coverage has been broadened to provide a limited amount of coverage tor defense costs and liability arising
from suits brought against you by attested individuals as the result of a breach of personal information Tnis
coverage is in addition to the coverage that has previously been provided

Please refer to the Data Compromlse Coverage attached to your renewal policy ior more detailed information

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NOTICE TO POLlCYHOLDEFtS

WiNDSTORlV| OR HAlL PERCENTAGE DEDUCT|BLE
WiTH M|Nli`li`lUiVi F|XED-DOLLAR DEDUCT!BLE

'l'his t\‘ot“ice does not form a part ci your insurance contract No coverage is provided by this Notice, nor can il be
construed to replace any provisions ct your policy (irtcluding its endorsements}. lt there is any conflict between
this Notice an`d the policy (inc!uding its endorsements), line provisions of the policy {inciuo'tng its endorsements)

ehaii prevail

Careiuiiy read your policy. including the endorsements attached to your,poiicy.

".'nis -.\totice provides information concerning the following new endorsementl which applies to your renewal
po!icy being issued by us:

Wlndstorm or Hall Percentage Deductlble with lillinit'num F|xed-Dcllar Decluctible

Your`previous policy included a windstorm or hall percentage deductible provision. That provision has been
replaced with the Windstorrn or i-laii Percentage Deductibie With iviinimum Fixed-Doiiar Deductibie. in addition to
applying a percentage deductible to loss caused by windstorm or hail, this new provision applies a minimum
dollar deductible when the percentage deductibie is less than the doilar'deductlble.

For exampie:

The Llrnlt of lnsurance on e building is $tOD.OOD.
The Wi.ndstorm or i-tali deductible is ‘l% with a $2500 minimum fixed-dollar deductiblel

Since the percentage deductible would be only $1000 (1% ot $1`00,000), the deductible applicable to a
loss caused by windstorm or bail would be the minimum iixed-doiiar amount ot $2500.

'i'his change might result in a reduction in coverage

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insurance
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NOTICE TO PCL.lCVHOLDEFtS

CENTRAL PRENI|EFI® PROPEHTY EXTENS!ONS COVERAGE E.NDORSE|VIENT
CENTRAL PRENI|ER PL.US® PF{OPERTY EXTENSIONS COVERAGE ENDORSEMENT

NO COVEF{A_GE IS PFiOViDt.-`.D BY TH|S SUMMAFIY NOR CAN lT BE CONSTRUED TO REPLACE ANV
PFIOV|SEON OF YOUR POLiCY. YOU SHOULD READ YOUR POLICY AND F§EVFEW YOUH DECLARATION
PAGE FOR COMPLETE lNFORMATiON ON THE COVERAGES YOU AFiE PROV|DE.D. IF THEFIE lS ANY
CONFL|CT BETWEEN THE POLICY AND THE SUMMARY, THE PF{OVIS|ONS OF TH|S POL|CY SHALL

PFtEVA|L.

Your previous policy lncluclect either our Centrai Prernler® Prcperty Extenslons Coverage Endersement
or Centra| Premier Pius® Property Extsns|cns Coverage Endorsement. This notice has been prepared in
conjunction with the lmp|emematfon of changes to these endorsements it contains a brief synopsis of
the significant broadenings, restrictions and clarifications of coverage that were made in each ct these
endorsements This notice does not reference every editorlat change made in these endor.=sernentsl

CENTRAL PRENE}ER® PHOPEF!TY EXTENSIONS COVEF'IAGE ENDORSEMENT

o 'l`he increased Cost of Construction limit has been changed to be the Bianket Lirntt ci insurance for this

endorsement
o "Stained or rare art giass" has been added to the definition cf t-'ine Arts.

CENTRAL. PREM|ER PLUS® PROPEHTY EXTENSIONS COVERAGE ENDORSEMENT

a Under the Crime Coverage. we have added item 8. to Additiona| Condittons Appiicab|e to Ali Crime
Coverages. This section was added to clarify the "Other lnsurance" condition found in the Buiiding and

Perscnal Properiy Coverage term ,
"Stained or rare art giass” has been added to the definition of Fine Arts. _
Dlsaster Rebuiiding Expenses ~ added a notation about insurance to value whlch had previously been

omitted.

lt you have any questions concerning your Commerciai Policy, please contact your Agent.

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NOTICE TO POL]CYHOLDERS

Your policy has an exclusion for injury caused by'asbestos and iead. The endorsement is a
clarification ot this excluded |njury or damage and'you should read it for the understanding cl the
coverage provided by this contract

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imPoFiTANT lNFoemA"rioN Aecu'r
voue PoLioY ai.-:NEWAL

Thani< you »- for allowing us to renew your policy. We appreciate your business

F’iease keep`your existing policy iorms. Be sure to review the enclosed renewal information carefully To
help control expenses,the only forms attachedto this renewal are those forms which have been added
or revised.

if you have any questionsabout your poilcy, or this renewal, please don't hesitate to check with your agent.

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NOTICE TO POL|CYHOLDERS

DlSCLOSUFiE OF EXCLUSFON OF LOSS DUE `f`O VIRUS OR BAC'¥`ER!A

This notillcation does not iorm a part ot your insurance contract No coverage is provided by this notification, nor
can it be construed to replace any provisions of your policy (lnciuding its endorsements). if there is any conflict
between this notliication and the policy llnciudlng its endorsements), the provisions ‘oi the policy lincluding its
endorsements) shall preva|i.

Careiully read your policy. including the endorsements attached to your policy.

This notliicaiion provides information concerning the following endorsementl which applies to your new or
renewal policy being issued by us:
Excluslon of l,oss Due to Virus Or Bacteria Endorsement CP014O

Thls endorsement makes an explicit statement regarding a risk that is not covered under your Cornrnerctal
Property insurance lt points out that there is n_o coverage under such insurance for loss or damage caused by
or resulting irorn any virus, bactertum or other microorganism that induces, or is capable ct lnduclng, physical
distress, illness or disease. The exclusion in this endorsement applies to ali coverages provided by your
Comrneroia| Property lnsurance, including (li any) property damage and business income coverages

Co'ntact your agent lt you have any questions regarding the content ot this notice.

DISCLOSURE PURSUANT TO TERROH!SM idng iNSURANCE ACT

Thls notiilcation is attached to and made part cl your policy in response to the disclosure requirements
of the Terrorism Ftlsk insurance Act. This notification does not grant any coverage or change the terms
and conditions of any coverage under the poilcy.

 

A. Disclosure ot Premiurn

in accordance with the iederal Terrortsm Risk insurance nct. we are required to provide you with a
notice disclosing the portion of your premium, ii any, attributable to coverage tor terrorist acts certified
under the Terrorlsm Fiisk insurance Act. °i”he portion of your-premium attributable to such coverage is
shown in the policy Declarations.

B. Dieclosure of Fedsral Participation in Payment `Ot 'l'errorlsm Losses

The United States Government, Departrnent ci the Treasury, will ay a share of terrorism losses
insured under the lederal program. The iederal share equals 85% ot that portion ol the amount of such
insured losses that exceeds the applicable insurer retention. However, if aggregate insured losses
attributable to terrorist acts certllled under the'Terrorlsm Ftisk insurance act exceed $100 billion in a
Program Year (January l through December 31), the Treasury shall not make any payment for any
portion ol the amount of such losses that exceeds $100 billion. ' ~

C. Cap on insurer Parttcipat|on in Payment Ot Terrorism i.osses

ii aggregate insured losses attributable to terrorist acts certliied under the Terrorlsrn Ftlsl< insurance act
exceed $100 billion in a Program rear (January t through Dec_smber 31) and we have met our insurer
deductible under the Terrorism Risk insurance act, we shall not be liable for the payment oi any portion
ot the amount ol such losses that exceeds $100 billion, and'in such case insured losses up to that
amount are subject to prorate allocation in accordance with procedures established by the Secretary
et the Treasury.

QHANGE EN THE DEFlNlT[ON OF CEFtTlFiED ACTS OF iERRORlSN`i AND
li\FOFilV|AT|ON ON LiMlTATiONS ON FEDERAL AND |NSURER LiABiLiTY

This Notice has been prepared in conjunction with the implementation of changes related to the coverage of
terrorism under your policy.

Thls Noiice does NO? form a part oi your insurance contract,. but is designed to alert you to revised provisions in
the terrorism endorsement in this policy. ii there is any conflict beiween'thls Notice and the policy (including its
endorsements), the provisions cl the policy (lnciuding its endorsements) app[y.

Caretuliy read your policy, including the endorsements attached to your policy.

Under the federal `i`errorlsm l=tlsi< insurance Program Fieauthorlzatlon Acl of 2007, the definition of rcertified acts
ot terrorism" (whtch is more fully delined in the endorsement) no longer requires that the act of terrorism be

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committed by or on behalf of a foreign interestl Thereiore, coverage for l'ceriilied acts of terrorism” now
encompassesl rcr exampie, an act committed against the Unlted Siaies government by a Uniteci Siates citizen,
when the act is determined by the federal government to be a "ceriifiecl act ct terrorism" under the terms ol the
federal Terrortsm Ftlsi< insurance Prograrn. Coverage ls subject to ati policy exclusions (lor example, nuclear

hazard and war exclusions) and other policy provisions

The government may participate in paying for some of the losses from a "certliied act of terrorism." t-towever, if
aggregate insured losses attributable to terrorist acts certified under the Terrortsm Fiisl< insurance Act exceed
$100 clifton in a Program Year (January i through December 31), the Treasury shaii not make any payment for
any portion of the amount of such iosses that exceeds $100 billion. Further, this coverage is subject to a limit on
our liability pursuant to the federal iaw; that ls, if aggregate insured losses attributable to terrorist acts certified
under the Terrorism Hisi< insurance Act exceed $iGO billion in a Prograrn Year and we have met our insurer
deductible under the Terrorisrn Hisi< insurance Act, we shaii not be liable for the payment of any portion of the
amount of such losses that exceeds $100 biliion. in such casel insured losses up to that amount are subject to
pro rata allocation in accordance with procedures estabilshed by the Sscretary of the Treasury.

Fieferio the terrorism endorsement for the definition cf “certilied acts of terrorism." Fteier to the endorsementl and
to the rest of the insurance contraci, for provisions that govern'coverage for, or that exclude coverage for, losses

arising from terrorism.

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AVAHABLEPAYPLANS

The company oiters.
1. EFT Piens (Electrcnic Funds Transter): "* No service fees apply to any of the EFT ptans. "*

a.
b.
c.
d.

Annuai EFT - the premium is paid in one installment withdrawn on the effective date of the policy.
Serei-Annual EFT '~ the premium is paid in two insteilments, withdrawn six months apart.
Quarier|y EFT -“ the premium is paid in four installmentsl withdrawn three months apart.

Nlonthty EFT a the premium le paid in twelve monthly withdrawals.

2. NON-EFT Pians: .

8.

d.

Annual ~ the premium is paid in one installment due on the eHective date ot the policy. No service fees
appiy.

Semi-Annua! ~ the premium is paid in two installments due six months apart Service fees appiy,
Quarterly ~ the premium is paid in tour installments due three months apart Servlce less apply.

ivionth!y -the premium is paid in twelve monthly installments Service fees apply.

We oiler account billing on each ot the above plans which allows tcr multiple policies to be billed together on a
single account We require separate billing accounts for personal and commercial lines policies

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AN IMPORTANT L.GSS CONTF{OL. MESSAGE
FOR OUH L|ABILiTY POL|CYHOLDEFIS

The Centrai insurance Ccmpanies have a broad range ot t_oss Control consulting services available to assist you
with your safety program and activities These servicos, commensurate with the hazardsl exposures, experience,
and size of your business, require your cooperation and participation to make them most effective Loss Controi
pays. it preserves your most valuable assets . . . your customersl your employees and your property.

Ceetra|'s Loss Controi Departrnent provides these consulting services based on your needs and requirements
The services available to you upon request at no charge are:

1. Loss Contro| Surveys of your premises and operations

2 Ftecommendations and suggestions based on the survey.

3 Asslstance with your Saiety Trainlng Programs.

4. Audio-visuai training aids, posters and bookiets.

5 Consu|tation on technicat safety probiems you may have.

6 Anaiys§s of accident causes and suggested corrective measures you can implement

7. Consultatlon on your impfernentation of a Loss Control Prcgrarn designed for your needs

Centrai's start of Loss Controi Consu|tants is prepared to consult with you on the effectiveness of your Safety
Prograrn and to assist you in implementing such a program. Simpiy contact your Centrai Agent or call our
Regienal Otfice and ask for the Loss Contr‘oi Department.

Ftegionel Offlces

Vah Weri, OH (|L, lN, KY, Mi, OH) 1-800-736-7000 Alphareita, GA (GA, NC. SC, TN, VA) ?-800-877'2233
Wa|tham. MA (CT, MA, NH, NJ, NY, PA) 1-800-359~2233 irving, TX [AZ, CO, NM, NV, OK, TX) 1-800-733-2233

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CQMMERCIAL |NLAND MAR|NE COVERAGE PART MULTiSTATE FOFtNiS REVIS!ON
ADV{SOHY NOT{CE TO POLICYHOLDERS

This is a summary of the major changes in your Cornmercla| inland Marine insurancel No coverage is provided by
this summary nor can it be construed to replace any provisions of your poiicy. You shoutd read your policy and
review your Declarations page for complete information on the coverages you are provided if there is any conflict
between l‘ne policy and this summary, THE PROVIS|ONS OI_= THE POLlCY SHALL PREVA|L.

The areas within the pciicy that broaden or reduce coverage1 and other changes. are highlighted beiow. This
notice does not reference every editoriai change made in your pciicy.

The material in this notice makes reference to form numbers; however, not ali forms are included in a
particular policy.

 

COVERAGE FOFtNiS

 

BROADENINGS tN COVERAGE

° Dishonest Acts Exctusion (Cl\.i'i 00 20, Ci`.'| 00 21, CNl 00 22, CNl 00 26, Ciii'i 00 28, CNi 00 29, Ci'i'i 00 45_.
Ctiil 00 52, CNt 00 59, CM 00 66, CM 00 67) _
A separate paragraph is assigned for the portion ot the exclusion that relates to those to whom the insured
entrusts property, and this exclusion to loss to entrusted property is narrowed to apply to theft, as opposed
to ali dishonest or criminat acts.

NO CHANGES WEFiE MADE WH|CH RESULTED IN A REDUCTEON IN COVERAGE.

OTHEF{ CHANG_ES

Dishon-esl Acts Exciuslon (CM 00 20, CM 00 21, CM 00 22, CM 00 26, CM 00 28, CM 00 29, CM 00 45,
CNE 00 52, CN] 00 59, CM 00 66, CM 00 6?} 1

Ccverage is made more explicit with the specifications that 1) dishonest or criminai acts include lhett; 2)
the term ’ernp|oyees‘ includes temporary employees and leased workers; 3} officers ot the insured are
among those to whom the exclusion applies; and 4) authorized representatives of the insured are among
those to whom the exclusion does not applyl with regard to acts cl destruction

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2012 GENERAL LiAB|LITY lV|ULTIS`T'ATE FOR!V|S REV|S|ON
ADVISOF{Y NOTECE TO POL.|CYHOLDERS

This is a summary ot the major changes fn your policy. No coverage ls provided by this summary nor can it be
construed to replace any provision of your policy. You should read your policy and review your Deciaratlons
page for complete information on the coverages you are provided. if there ls any conflict between the policy and
this summary, THE F'ROVtSiONS OF THE POL|CV SHALL PFlEVA|L.. -

The malor areas within the policy that broaden or reduce coveragel and other changes, are highlighted beiow.
This notice does not reference every editorial change made in your poitcy. We have followed the policy
sequence of provisions in setting out this maleriai.

 

CCMMERCFAL GENERAL LiABlLiTY COVERAGE FORM CG 00 01 0413

l. EXCLUSlONS
A. BROADENING Ol= COVERAGE
'1. Coverage A j E-xcluslon 2.c. (quuor L|ablltty) is revised to provide an exception with respect to
allowing a person to bring alcoholic beverages onto the named lnsured's premises for consumption on
the named insured's premises
2. Coverage A - Excluslon 2.p. (Eiectronlc Deta) is revised to introduce an exception for liability for
damages because of bodily injury.

B. OTHEl‘-’t CHANGES

1. Coverage A ~ Exclusion 2.c. (quuor Liabllity) is revised to reinforce that the exclusion applies even if
claims against an insured allege negligence or other wrongdoing in the supervision, hiring,
employment, training or monitoring ot others, or providing‘or failing to provide transportation with
respect to any person that may be under the influence of alcohol

Coverage A - Exclusion 2.g. (Alrcraft, Auto Or Watercraft) is revised to delete reference to "ln the

state".

3. Coverage A~ Exclusion 2.q. and Coverage B - Excluston 2.p. (Ftecording And Distributio_n Of Materlai
Or information fn Vlolatlon Of Law) were previously added to your policy via mandatory endorsemenl.
The endorsement contained an exclusion addressing injury or damage arising out of any action or
omission that violates or is alleged to violate certain statutes, ordinances and regulations This
exclusion has been incorporated directly lnto your policy.

4. Coverage B ~ Excluslons 2.b. and 2.c. (Material Publlshed.Wilh Knowledge Of Falslty and Materla`|
Pubilshed Prior To Po|lcy Perlod) are revised to reference "ln any manner", with respect to oral or
written publication, for consistency with the definition of personal and advertising lnjury.

|l. COND|T|ONS

OTHER CHANGES

Condilion 4. (Other lnsurance) le generally revised so that the insurance provlded is excess over any for

which the named insured has been added as an additional insured, whether by endorsement or any other

means.

lll. DEFIN!T|ONS

OTHEFl CHANGES

‘t. Definltion 2. (Auto) is revised to delete reference to "ln the state” with respect to where a vehicle ls
licensed or principally garaged.

2. Deflnillon 12. (il/lobile Equlprnent) is revised to delete reference to "ln the state“ with respect to where a
vehicle is licensed or principally garaged.

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owNens ANo coNTaAcTons Pnoracrlvs LlAleirv severance room ~
severance ron oPEnATloNs or oEsleNA'rso commerce

CG 00 09 04 13

l. EXCLUSIONS
eavoENtNa oF covenants
Exclusion 2.|. (Electronic Deta) is revised to introduce en exception for liability for damages because of
bodily injury.
ll. DEFlNlTlONS
OTHER CHANGES

1. Deiinltion 1. (Auto) is revised to delete reference to"‘ln the state" with respect to where a vehicle is
licensed or principally garaged.

2. Detinitton 10. (lvtobiie Equlprnent) is revised to delete reference to "ln the state" with respect to where a
vehicle is licensed or principally garaged.

 

LlCiUOFt L|AB|L|TY COVEFIAGE FORiVl CG 00 33 0413

 

WHO lS AN lNSURED
BROADEN|NG OF COVERAGE

We have included trusts as Named lnsureds. in addition, trustees have been included as insureds but
only with respect to their duties as trusteesl

 

CG 00 35 04 `13 ~ RAILFIOAD PROTECTiVE LIABILI'F`Y COVEFiAGE FOFthi

 

EXCLUSIONS
BROADENiNG OF COVERAGE

Excluslon 2.f.(3)(a) (Pollutlon) is amended to expand the exception to the exclusion with respect to bodily
injury cr property damage arising out of fuel or lubricants for equipment used et the job location not just
when they escape from such equipment

 

MULT{STATE ENDOF{S EMENTS

 

A. BROADENING OF COVERAGE

1. Etectronic Data liability Endorsement CG 04 37 is revised to introduce an exception to the electronic
data exclusion in order to provide that the exclusion does not apply to liability tordamages because of
bodily injury.

2. Ado‘it‘:onat insured ~ O\vners. Lessess Or Contrac:ors - Automatic Siatus For Otner Parties thn
Fiequlred in Written Oonstructloc Agreernent Endorsernent CG 20 38 is introduced to provide
additional insured status to those parties whom the named insured is obligated in writing in a contract
or agreement to name as an additionai Insured.

3. Druggtsts Endorsernent CG 22 69 is revised to` introduce an exception for the administering ci

vaccinations.

Llc_uor i_iabttity - Bring Ycur Ov.-'n Alcchoi Establishments Endorsernent CG 24 06 is introduced tc
provide coverage to insureds who permit any person to uring any alcoholic beverage on an insureds
premises, for consumption on the insureds premises

B. REDUCT|ONS OF COVEF|AGE

1. Addlilonal insured - Users Ol Golfmoblies Endoreemeni CG 20 08 is revised to include a definition of
the term golimoblle.

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2. Liquor Llabi|ity Exciusion Enciorsements

The following endorsements are revised to indicate that the iiquor liability exclusion wiii apply if a

named insured permits any person to bring any alcoholic beverages on the named insured's premises,

for consumption on the named insured's premises:

0 CG 21 50 - Amendrnent Oi Liquor Liabtiliy Exciusion (ior use with Commerciai Generai Liabiiity
Coverage Pert). Not applicable in Texas.

9 CG 21 51 - Arnendment Oi Liquor i_iabiiity Exciusion a Excepiion For Scheduied Premises Or
Activities (for use with Comrneroiai Generai Liabiiity Coverage Part)

3. Amendrnent Oi Personai And Advertising injury Detiniiion Endorsement CG 24 13 is introduced to
remove from the definition of personal and advertising injury the offense of oral and written publication,
in any manner, ot material that violates a person's right of privacy.

C. OTHER CHANGES

t. l.irniied Produot Wiihdrawa| Expense Endorsement CG 04 36 is revised, in part1 to reinforce that the
Participation Percentage is indicated in the Schedute and to reitth that the cost ot the insured's
participation in each product withdrawal will be borne by the named insured when due.

2. Adciitionai insured Enciorsements

The following additional insured endorsements are revised to indicate that when these endorsements
are attached to a poiicy, if coverage provided to the additional insured is required by contract er
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to
the extent the named insured is required by the contract or agreement to provide insurance for the

additionai insured

Addr'tionaiiy, if coverage provided to the additional insured is required by contract or agreement, the
limits ot insurance ot the named insured's policy that are available to an additional insured will be
limited io the extent required by the contractor agreement or the amount of insurance availabie under
the applicable i_imits of insurance shown in the Deciaraiiens. whichever is less:

o CG 20 03 - Additionai insured ~ Concessionaires `i'rading Urider Your Narne

0 CG 20 05 -» Additionai insured - Coniroiling interest

0 CG 20 07 ~ Additionai insured - Engineers. Architects Or Surveyors

0 CG 20 10 - Additionai insured - Owners, i_essees Or Contractors -~ Scheduied Person Or
Organization

CG 20 11 - Additionai insured - ivianagers Or L.essors Ot Premises

CG 20 12 - Additionei insured - State Or Governmeniai Agency Or Subdivis|on Or Poiiticai
Subdivision - Permits Or Authorizations

CG‘20 13 F- Additional insured ~ State Or Governm'entai Agency Or Subdivision Or Poiitioai
Subdivislon - Permits Or Authorizaiions Re|ating To Prer'nises

CG 20 15 - Addiiionai insured - Vendors

CG 20 18 - Additionai insured ~ iviortgagee, Assignee Or Fteoelver

CG 20 23 - Addiiionai insured - Exeoutors, Administrators, `t"rustees Or Beneficiaries

CG 20 24 - Additlonal insured - Owners Or Oiher interest Frorn Whom Land Has Been
Leased

CG 20 26 - Additionai insured - Designated Person Or Organization

CG 20 27 - Actdliional insured - Co-cwner Ot insured 'Premises

CG 20 28 ~ Additional insured ~ Lessor Oi l_eased Equiprnent

CG 20 29 - Additionai insured - Granior Oi Franchise

CG 20 30 - Oii Or Gas Operations ~ Nonoperating. Wori<ing interests

CG 20 31 - Addiiionai insured - Engineers, Architects Or Surveyors

CG 20 32 - Additionai insured ~ Engineers, Architects Or Surveyors Not Engaged By The
i\iamed insured

CG 20 33 -» Addiiionai insured - Owners,' i_essees Or Coniractors m Automatio Status When
Fiequired in Construciion Agreemeni With You

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CG 20 34 - Addiitonai insured - t_ess_or Of t_eased Equiprnent Auiomaiic Status When
Fiedu§red in Lease Agreement With You

CG 20 35 - Addltional insured - Grantor Oi Licenses Autornaiio Status When Required By
L|censor

CG 20 36 - Addittonai insured ~ Grantor Of i_icenses
CG 20 37 -- Addiiionai insured - C‘.'.'ners. i_essees Or Coniractors ~ Cornpieted Operat§ons

CG 29 35 - Additicnai insured - State Or Gover.'\rr~.entai Agency Or Subdivlsion Or Pollticai
Subdivision - Perrnits Or Aut?io.'izations `

4. Professionai Services Endorsemente

The ioiiowing endorsements are revised to expressly address, in part, claims alleging negiigence or
other wrongdoing in the hiring, employmentl training. supervision or monitoring oi others by any

insured:

0 CG 21 16 ~ Exoius_ion - Designaied Proiessional Services

0 CG 21 52 - Exelusion ~ Finanoial Services

0 CG 21 56 - Exciusion ~ Funerai Ser\'ioes

o CG 21 57 ~ Exc!usicn -- Counseiing Services

9 CG 21 58 - E)roiusion ~ Profess.'onai Veterinarian Serv§ces

0 CG 21 59 ~ Exoiosicn ~ Diagnostie `i'estlng Laboratories

8 CG 22 24 - Exciusion - inspection, Appraisa€ Ar‘.d Survey Ccrnpanies

0 CG 22 32 - Exolusicn ~ Proiess§onai Services - Blooo Bant<s

8 CGt 22 33 - Exciusion - Testing Or Consuiting Errors And O:nissions

6 CG 22 34 - Exctusior’. ~ Consiruoiion nianagernent Errors And Ornlssions

`s CG 22 36 - Exclus‘.on ~ Proo`ucts And Proiessionai Serviees rfDruggists}

9 CG 22 37 ~ Exciusicn ~ P.’oo`ucts Ano' Professionai Services (Opticai Ano iiearing Aid
Estabiishments)

9 CG 22 39 ~ Exclusion a Cam_os Or Gernpgrounds

0 CG 22 43 »- Exciusion »- Engineers, Arcni*.ects Or Surveyo's Protessionai Liabllity

0 CG 22 44 - Exciusion o Services Furnished By Hea|i`n Ca.'e Providers

3 CG 22 45 - Exoiusion - Speoiiied Thera_oeuiic Or Cosmeiic Serv?'ces

0 CG 22 48 - Exciusion ~ insurance An'o Fietated Operations

0 CG 22 69 ~ Druggisis

0 CG 22 71 - Cotieges Or Scncois il_imited Forr_nt

0 CG 22 72 - Gciieges Or Schoois

8 CG 22 75 ~ Prcfessional t.?abiiity Exciusion ~ Corncuter Soitware

0 CG 22 76 * Protessior:al i_labiiity Exciusion » i-ieaith Or Exercise C|ubs Or Cornmerciai|y
Operateo‘ Heaittz Or Exercise Fscliities

0 CG 22 77 - Protessional i_laoitity Excius!on - Ccrnputer Data Process€ng

0 CG 22 79 - E)<ciusion ~ Contractors -` Proiessicnai Liabifiiy

9 CG 22 80 ~ Lim`:ted Exoiusion - Contraotors - Proiessionai t.iability

s ce 22 87 -» emission - Aaeit oay care oen:ers

9 CG 22 88 - Prctessicnai i_iaciiity Exciuston - Eie'ctronic Data Processing Services And
Compute.r Consuiting Or Programrr=ing Se.'vices

0 CG 22 90 ~ Professionai i.iai:iiity Exciusicn ~ Soas or Persona. Enhancsment Faoi:ities

0 CG 22 91 ~ Exclusion - Teiecornrnunioation Equlpment Or Serv§ce Providers Errors And
Omisslons

o CG 22 96 - Ltrnited Exclusion * Personai And Adveriising injury - i.awyers

0 CG 22 98 - E)cciusion - |nternet Service Providers And internat Access Providers Errors And

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Omisslcns

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0 CG 22 99 - Professional i_iabl|ily Exclusion ~~ Web Site Designers
a CG 23 01 - Excluslon - Reai Estate Agents Or Broi<ers Errors Or Omissicns
0 CG 31 15 ~ Consiruction Proiect Managsrnent Protective i_iabi|lty Coverage

. Exciusion ~ Volunteer Wori<ers Endorsemeni CG 21 66 is revised to delete reference to "in the state"

from Exclusion 2.g. (Alrorait, Auto Or Waterc_raii).

. Exciusfon - Faiiure To Suppiy Endorsement CG 22 50 is revised to expressly state that the exclusion

also applies to the failure ot any insured to adequately supply bioiuet.

. Pestlcide Or Herbicide Appiicaior Coverage Endorsernenis CG 22 64 and CG 28_12 and Lawn Care

10.

11.

12.

13.

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Services Coverage Endorsement CG 22 03 are revised to reflect a change in titles to i-ierbiclde
Applicator - Lr'miieo' Poiiuir`on Coverage endorsements and Lawn Care Services - Li'mi!eo' Foiiutr'on
Coverage.

Fieai Estate Property Managed Enciorsement CG 22 70 is revised to reinforce that the insurance
provided is excess over any other insurance availabie, whether such insurance is primary or excessl

Colieges Or Schoois Endorsemenis CG 22 71 and CG 22 72 are revised to expressly address, in part,

claims alleging negligence or other wrongdoing in the hiring, empioyrnent, iraining, supervision or

monitoring of others by any insured '

Waiver Of Governmeniai immunity Endorsernent CG 24 14 is revised to reference that the

endorsement also applies to the Owners And Coniraoiors Protectlve Llabiiity Coverage Part and the

Fiaiiroaci Protective Llabiiity Coverage Part.

Amendrnent Oi insured Conlract Deiinitlon Endorsement CG 24 26 and i_lmited Coniraciual Liabi||ty ~

Hailroads Endorsernenl CG 24 27 are revised to reiiect that the claimed term insured contract

addresses certain iiabiiiiy assumed by the named insured with respect to the tort liability of another

party to the extent the assumption of the tort liability is permitted by iaw.

Deslgnated Locaiions(s) Aggregate Limit Endorsement CG 25 14 is introduced to make a separate

Designated Location Aggregate l_imlt available for each location of the insured iisted in the Scheciuie of

the_endorsement.

Suppiementei Exiended Fieporting Period Endorsemsnt CG 27 10 and Suppiementa| Extended

Reportlng Period Endorsement For Specific Accidents, Producfs, Work Or Lccations Endorsemeni

CG 2711 are revised to amend Condlticn 4. (Other lnsurance) so that the insurance provided is

excess over any for which the named insured has been added as an additional insured. whether by

endorsement or any other means.

Princlpals Protective i_iabiiity Coverage Endorsemeni CG 28 07 is revised to delete reference to "ln the

siaie“ from Exciuslon 2.c.(1)(e)(l)\

Liquor Liabllity Exciusion Endorsements

The toiiowing endorsements are revised to reinforce that the exclusion applies even it ciaims against

an insured allege negligence or other wrongdoing in the supervisicn, hiring, employment, training or

monitoring of oihers. cr providing or failing to provide transportation with respect to any person that

may be under the influence of aicohoi:

0 CG 21 50 ~ Amendrnent Oi Liquor Llabiiity Exciusion (for use with Ccmmerclai Gensrai Liablilty
Coverage Part). New form for Nsw i-iarnpshire. Not applicable in Texas..

9 CG 21 51 - Amendment Ot Liquor i_iabiiity Exciusion - Exception For Scheduied F’remises Or
Acliviiies (for use with Commercial Generai Llabiiity Coverage Pari)

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coNFroENTiAL on PsnsoNAt_ insonurvnou
excursions

ADViSOFtY N{)TiCE TO POLICYHOL.DEF%S

This l\'otice does not form pari of your poifcy. i\io coverage is provided by this i\‘otice nor can it be construed to
replace any provision of your poiloy- You should read your poiicy and review your Declarations page for
complete information on the coverages you are providedl if there is any conti ct between the Poiicy and this
Notice, THE PFiO\iiSfONS OF THE POLlCY SHALL PREVAiL.

Carefuf'.y read your policy, including the endorsements attached to your poiicy.

This Notlcs provides information concerning the toitowing'new endo."ser~.tentsl which applies to your renewal
policy being issued by us:

CG 21 06 05 14 - Excluslon - Access Or Dlsciosure Of Conlidential Or Personai information And
Data-reiateci Liabiilty - With Limlted Bodily injury Exception (For Use With The Commercial Generai
L|abllity Covarage Part)

When this endorsement is attached to your policy:

a Under_Coverage A - Bodlly injury Anci Properfy D'amage t_lebility, coverage is exciuded for damages
arising out of any access to or disclosure of confidential or personal information This ls a reinforcement
ot coverage.

8 Under Coverage B - Perscna| And Advertislng injury t..lability, coverage is excluded for personal and
advertising injury arising out ot any access to or disciosure of confidential or personai information To the
extent that any access or disclosure ci confidential or personal information results |n an oral or written
publication that violates a person's right of privacy, this may result in a reduction in coverage.

CG 21 07 05 14 - Exclusion - Access Or Disclosure Ot Confldentlat Or Personai information And
Data-re|ated Liahiiity - lelted Bodily lnjury Exceptlon Not included {For Use Wlth The Commercial
General Llabiiit:y Coverage Part)

Wben this endorsement is attached to your policy:

9 Under Coverage A - Bodiiy injury And Property Damage Liab_liiiy, coverage is excluded for damages
arising out of any access to or disclosure of confidential or personal informationl This is a reinforcement
of coverage. However, when this endorsement ls attached, it will result ina reduction of coverage due to
the deletion of an exception with respect to damages because of bodily injury arising out of loss of. lose of
use of, damage to, corruption of. inability to access, or lnabllity to manlpuiate electronic data.

o Under Coverage B - Personal And Advertising injury t_lability, coverage |s excluded for personai and
advertising injury arising out of any access to or disclosure ot confidential or personal information To the
extent that any access or disclosureof confidential or personal information results in an oral or written
publication that violates a person's right of privacy, this may result in a reduction in coveragel

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CG 2i 08 05 14 ~ Exciusion -»- Access Or Disciosure Oi Coniidentiai Or Personai information (Ceverage B
Gnly) (For Use Wlth The Commercial Generai Liablilty Coversge Part)

CG 04 37 - Eiectronic Data Liability (For Use With The Comrnercial General Liebliity Coverage Part)

‘M'h respect to damages arising out of access or disclosure of confidential or personal informationl when this
endorsement is attached to your policy:

o Under Coverage A ~ Bodily injury And Property Damage Liabiiliyr coverage is excluded for damages
arising out of any access to or disclosure of confidential or personal information This is a reinforcement
of coverage

9 Underr Coverage Et - Personai And Advertising injury Liabiilty. coverage is excluded for personal and
advertising injury arising out ot any access to or disclosure of confidential or personai information To the
extent that any access or disclosure of confidential or personal information results in an oral or written
publication that violates a person‘s right of privacy. this may result in a reduction in coverage

CG 33 53 05 14 - Exclusion - Access Or Dlsciosure Of Confidentiat Or Personel information And
Data-reiated Liab|iity ~ With Limited Bodiiy injury Exception (For Use With The Ownars And Contrectors
Protective t_iability Coverage Pert and Products/Compieted Operations Coverage Part)

When this endorsement is attached to your poiicy, coverage is excluded for damages arising out of any access
to ordisclosure of confidential or personal information This is a reinforcement of coverage

CG 33 59 0514 - Exciusion - Aocess Or Disciosure Of Conficientiai Or Personai information Anci
flats-related Llability - Limited Bodily injury Exception Not included (For Use With The 0wnere And
Contractors Protective Liabillty and ProducterCompieted Operatione Llabiiity Coverage Parts)

When this endorsement is attached to your polioy, coverage is excluded for damages arising out of any access
to or disclosure of confidential or personal information This is a reinforcement of coverage

i-icwsver, when this endorsement is attached, ii will result in a reduction of coverage due to the deletion cf an
exception with respect to damages because ot bodily injury arising cut of loss of, loss of use of, damage io,
corruption ol‘. inability to access, or inability to manipulate electronic daie.

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NSURANCE
GOii-iPANlES

Fu{filii'.g tire Promise Sr`rrcc 1876

NO`TiCE TO PCLICYHOLDERS

LENI|TED EXCLUS[ON ~ OPEHAT|ONS COVERED BY A
CONSOL.IDATED (WHAP~UP) ENSURANCE PROGRAN'[

‘rou,r renewal policy includes Lirnited Exclusion - Operaiions Covered by a Consolidated !_Wrap-Up) insurance
Program. form 8-2203. ii this form was not on your previous policy, this may be a reduction in coverage

Llrnited Excluslon ~ Operations Covered by a Consolldate_d (Wrap-Up) insurance Prograrn excludes liability
arising out of your ongoing operations or operations included within the products-completed operations hazard
whenever a consolidated (wrap‘up) insurance program has been provided by the prime contractor/project

manager or owner of'tne construction project in which you are lnvolved.

However, this limited exclusion does not apply ii the consolidated (wrap-up} insurance program covering your
operations has been oancelied, non-renewed, or otherwise no longer applies for reasons other then the
exhaustion of all available llrnits.

Neilhsr does this exclusion apply ii liability arises out of your operations that are incidental to the operations
covered by the consolidated (wrap-up) insurance program but were not intended to be covered by the
consolidated (wrap-up) insurance p`rograrn, and bodily injury or property damage occurs away from the location
cl lite operations covered by the consolidated (wrap‘up) insurance program.

8-2345 03 14

 

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CENTRAL OFFICE POLLC‘(
EN(§M§M§§ common oecLAaATioNs

l-`lrfjii'ing tim Pmmise Si'nce 1876

CENTRAL HUTUAL IHSURANCE COHPANY

POL|CYNUN!BER: ch-" 7975776 RENEHAL oF PoLIcv 7973776
NAl’viEDlNSUREDANDMAiLlNGADDRESS AGENT saul Ceas)ese-slion
DARYL RanRTscN cbs PA uPsHAw INSURANCE AcENcY mo
101 N neese sr Po Box 1299
spaces Tx 79007-4015 AnAarLLo T>r 79105-0299

www.upshaw-insurence.com

POL!CY PEREOD: FHOM 01/12/2015 TO 01/12/2016
AT 12:01 A.i'ii. STANDARD TiME AT VOUR MA|L|NG ADDRESS SHOWN ABOVE

BUSJNESS bESCR|PT|ON: osurlsr
FOHNI OF BUS|NESS: PRoF ASSocInTIoN

 

IN RETURN FDR THE PAYHENT OF THE ?REMIUH: AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE NITH YUU TD PROVIDE THE INSURANCE AS STATED IN THIS FOLICY.
TH[S POLICY CONSISTS OF THE FOLLDWING COVERAGE PARTS:

PREHIUH

COHHERCIAL PROPERTY CGVERAGE PART $6,109.00
CDHMERCIAL INLAND HARINE COVERAGE PART $110.00
COHHERCIAL GENERAL LIABILITY CGVERAGE PART $425.00
THE ADVAN€E PREMIUM DUE AT INCEPTION IS ----------------- gd;dgé:ud

THIS PREHIUM MAY BE SUBJECT TD ADJUSTMENT.

__________________________________________________________________________________

THE FORH(S) AND ENDORSEMENT(S) LISTED BELDN ARE APPLICABLE TG ALL CDVERAGE PARTS
AND HADE PART DF THIS POLICY. THESE FGRMS AND ENDORSEHENTS» WHEN AFPEARING
ELSEHHERE IN THIS PGLICY; HAVE THE SAME EDITION DATE.

CG2170 91 08 IL0017 ll 98 1L0171 09 07 lL0275 11 15 ILB952 05 UB
20~1769 98 91 20~17?0 08 91 20~1900 09 92

 

counreasieusoev oan mmi/2014 22
peasioanr ~- ":> ‘~_;~§_-:> secnr-:TARY <Q._,_,g ,£ M
~_,__.___.m___, M

THESE COMMON DECLARAT{ONS AND THE COMMON POLIGV CONDIT|ONS, TOGETHER WITH THE COVEHAGE PAR?' COVERAGE FOH M[S),
AND FOPIMS AND ENBORSEMENTS, lF ANY. lSSUED TO FOHM A PART THEHECF. COMPE.ETE THE ABOVE NUMBERED POUGY.
2l1-1595 11 85 PAGE 601 of 001

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CUMPAN|EB

POLICY NUMBER: CLP 7975776

 

-~" LOSS PAYEE SCHEDULE -"‘

AMARILLD NATIDNAL BANK”BORGER FGR PREHISES 1 BUILDING l
PO BUX 949 LOAN NUHBER NDT SUPPLIED
BURGER TX 79008 REFER TO FORH CP.'LEIB LGSS PAYABLE

‘¢4-19381155 PAGE 001 c‘F 001

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PN§§M§§ can‘reai. assures PLUS
__ §OMPANEES :NcLupiNo Eouir->MENT anaAKoovi/N coanAGa
F"Lf?”"rrgiir¢Fmtm'&¢$i"€¢ 1376 COMMERCiAL. PROPERTY COVERAGE PART
oact.AeATioNs

CENTRAL MUTUAL INSURANCE COMPANY
F'OLICY NUMBER:CLP 7973776 .POLICY PERIOD: FFtOM 01/12/2015 TO 01/12/2016
NAMED|NSURED:DARYL ROBERTSON DDS PA

 

THE FORH(S) AND ENDGRSEHENT(S) LISTED BELON ARE APPLICABLE T0 THIS COVERAGE PART
AND MADE PART OF THIS POLICY. THESE FORHS AND ENDDRSEMENTS, WHEN APPEARING
ELSEWHERE IN THIS PDLICYr HAVE THE SAME EDITION DATE.

CPUUID 10 12 CP0050 10 12 CP0090 07 80 CP0140 07 06 CP0142 03 12
CPIUSG 10 12 CP1218 10 12 16-2012_11 85 14~2660 04 02 14-5039 02 11
14'3049 07 14 16'3064 06 08 14-3250 07 08 14~3254 07 08 14'5268 01 09
14-3359 03 12 14'5417 08 13 14-3504 ll 15

INSURANCE AT THE DESCRIBED PREMISES APPLIES DNLY FOR CDVERAGES FDR HHICH A
LIHIT OF INSURANCE IS SHOWN.

PREHISES BLDG

NO NG
01 01 101 N HCGEE
BORGER TX 79007-0000
OCCUPANEY: DENTISTS DFFICE
DEDUC?IBLE: $11000 EACH UCCURRENCE
COVERAGES LZHIT 0F COINSURANCE COVERED CAUSES
INSURANCE OR LIHITATION OF LOSS
BUILDING 9514»000 NONE SPECIAL FDRM
YOUR PERSDNAL PROPERTY $380.000 NONE SPECIAL FORM
PERSONAL PROPERTY OTHERS ND CDVERAGE
BUSINESS XNEDHE ACTUAL LOSS SUSTAINED

INCLUDING RENTAL VALUE

OPTIONAL COVERAGES/LIHITATIONS/EXCLUSIGNS
PERIOD OF RESTDRATION ' 565 DAYS
REPLACEHENT CGST APPLIES TD'BUILDING AND YDUR FERSDNAL PROPERTY
INCLUDING "STOCK".
GPII RATES ARE ADJUSTED TO INCLUDE A' 12 WIND AND HAIL DEDUCTIBLE NITH A
HINIHUH WIND AND HAIL FIXED-DOLLAR DEDU€TIBLE DF ¢ 2500

FREHIER PLUS IHCLUDING EQUIPHENT BREAKDOWN $305
FREHIER PLUS
SECTION I COVERAGE EXTENSION LIHIT: $50,000
DEDUCTIBLEt $1,000 EACH OCCURRENCE
EQUIPMENT BREAKBOWN ,
DEDUCTIBLE: $1,060 EACH OCCURRENCE

DATA DDHPRDMISE & IDENTITY RECOVERY $150
DEDUCFIBLES:
DATA COHPROHISE:
RESPUNSE EXPENSES: $1000
DEFENSE & LIABILITY: 61000
IDENTIFY RECDVERY: $250
CYBERONE COVERAGE
SECTIDN 1 “ COHPUTER ATTACK LIHIT ANNUAL AGSREGATE $50,000`
CUHPUTER ATTACK DEDUCTIBLE $5,000
PER GCCURRENCE
SECTION 2 ~ NETWORK SECURITY LIABILITY LIMIT $50,000
NETHURK SECURITY LIABILITY DEDUCTIBLE $5,000

PER OCCURRENCE
PREHIUM FOR CERTIFIED ACTS 0F TERRDRISH

14-2010 11 85 PAGE 001 of 002

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COM|VIERC}AL PROPERTY COVERAGE PART
DECLAF{AT|ONS, CONTiNUED

 

NANIED lNSUFlED POL!CY NUMBER
DARYL ROBERTSON DDS PA CLP 7973776
UNDER THE TERRURISH RISK INSURANCE ACT $45.00

1

DATE 11/04/2014 22

THESE DECI_ARATSDNS, THE COMMON DECLAHAT|ONS AND THE COMMON POLICV COND|TIC>NS, TOGE`£HER WITH COVEF\AGE FOHM(S}
AND FORMS AN{) ENDOHSEMENTS, |F AN'Y. JSSUED T{) FOFlM A PART THEREOF, COMPLETE THE ABOVE NUMBEFl ED POLICY.

14~2010 ‘i1 85 PAGE 002 of 002

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§§M§§§ ooumaecuu.. insane maine covEerE PAsT
!coMPANlEs DECL.ARATiONS

Fu!f£.'lir:g£i:c ."ro.‘r:f.e: Sinc: 1876

 

CENTRAL MUTUAL lNSURANCE COMPANY
POL|CYNUN|BER:C|_P 7973776 - POLiCYPEFilOD: FROMM/lz/zcla To 01/12/2916
NAN|EO|NSUHED:DARYL ROBERTSON DDS PA

 

THE FDRH(SJ AND ENDORSEMENT(S) LISTED BELSW ARE APPLICABLE TO 1HIS COVERAGE PART
ANB HADEVPART OF THIS PBLICY. THESE FGRMS AND ENDCRSEMENTS, WHEN AFPEARING
ELSEHHERE IN THIS PGLICY, HAVE THE SAHE EDITION DATE.

CL0100 03 99 CL32?5 01 01 CH0001 09 04 CM0112 09 15 IH2389 09 06
7~1235 11 85 7-1261 02 ll 16-2162 05 12

INSURANGE AT THE DESCRIBED PREMISES APPLIES CNLY FOR COVERAGES FOR WHICH A _-
LIMIT 0F INSURANCE IS SHUHN.

IH RETURN FDR THE PAYHENT OF TFE PREHIUH» AND SUBJECT TO ALL THE TERHS DF THIS
FULICY» THE COHPANY INDICATEB ABOVE AGREES TO PROVIDE ?HE INSURAHCE STATED ZN
THIS PULICY.

..................... ~-»-»-..~__....,.________-_....H-,.»,_,~.__._~_.»..-___,..._,..~”-...._-.».-

PREMISES BLDG

NO ND
01 01 101 N HCGEE
BORGER TX 7900?'0000
LIHIT OF
COVERAGE INSURANCE DEDUCTIBLE

COHPUTER COVERAGE
910,000 HARDWARE, INCL MECHANICAL BREAKDGWN
DEDUCTIBLE FGR BASE CUVERAGE IS $503
HECHAHICAL BREAKDOWN $2;500

PREHIUH: INCLUDEB
PREHIUH FDR CERTIFIED ACTS OF TERRDRISH
UNDER THE TERRURISM RISK INSURANCE ACT S1.00
THE ADVANCE PREHIUH DUE FOR'THIS COVERAGE PART AT INCEPTION 15 $110.00
DATE 11/04/2014 22

THESE DECU\FD\T|ONS, THE COMMUN DECLARAUONS AND THE CGiriirlON EOLiG‘( COND\'T'!ONS, TO'GE?HER Wl'i'!'f COVERAGE FOH M{S)
AND FOHMS AND ENDUHSEMENTS, lF ANY, iSSUES TO §"'ORMA PAR`F THEF\EOF, COMPLETE THE ABOVE NUMBERED POLiCY.

7-1257 09 87 PAGE 001 of 001

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COMMEHC[AL GENERAL. L.iABiLi"¥“i’ COVERAGE PAF?T
DECL.ARATIONS

    

Fuljiil‘rrg she Prorrs¥sa Sirrre 1876

CENTRAL MUTUAL iNSURANCE COMPANY
POL|CY NUMBER:CLP 7973776 POL|CY PERIOD: FFtOM 01/12/2015 TO 01/12/2016
NAMEDINSURED:DARYL ROBERTSON DDS PA

 

LIHITS OF INSURANCE

GENERAL AGBREGATE LIHIT $2,000,000
(OTHER THAN PRGDUCTS/COMPLETED OPERATIGNS)
PRODUCTS/COHPLETED OPERATIONS AGGREGATE LIHIT $5;000,000
PERSONAL AND ADVERTISING INJURY LIHIT $1,000,000
EACH UCCURRENCE LIHIT $1;000,000
DAHAGE T0 PREHISES RENTED 10 YOU LIHIT $100:000 ANY OHE FIRE

HEDICAL EXPENSE LIHIT $5,000 ANY ONE PERSON
THE FORH(S) AND ENDORSEMENTCS) LISTED BELGH ARE APPLICABLE TG THIS COVERAGE PART
AND HADE PART OF THIS POLICY. THESE FORHS AND ENDGRSEMENTS» WHEN APFEARING
ELSEWHERE IN THIS PULICY, HAVE THE SAHE EDITION DATE.

060001 04 15 CGBIBS 06 06 C62106 05 14 862106 12 04 002196 03 05
CG2244 04 13 CGZQZS 12 04 062426 04 15 062659 12 07 IL0021 09 08
IL0160 03 12 8~1529 10 01 8'1541 02 06 0-1854 12 04 8-2203 05 09

20‘1934 11 07

___________________________________________________________________________________

A - AREA EXPUSURE REFDRTING BASES A ' EACH

C - TGTAL COST B “ PER 1,000

H " ADMISSIONS

P ' PAYRULL

S - GROSS SALES

U - UNITS
IN RETURN FGR THE PAYHENT OF THE PREHIUH, AND SUBJECT TO ALL THE TERHS GF THIS
POLICY» THE COHPANY INDICATED ABOVE AGREES TO PROVIDE THE INSURANCE STATED IN
THIS PULICY.

PREHISES
NUHBER
01 101 N HCGEE
BORGER TX 79007'0000

CLASSIFICATION CUDE TERR PREHIUH NET ADVANCE
N0 BASES RATE PREMIUM

PREHISES AND UPERATIONS

HEDICAL OFFICES ' DENTISTS 66561 020 AB
PRODUCTS~COMPLETED
OPERATIDHS ARE SUBJECT TD 2,000 94.461 $189

THE GENERAL AGGREGATE LIHIT.

 

ADVANCE
HISCELLANEOUS LIABILITY LIMITS (IF APPL[CABLE) PREHIUH
NON-UWNED AUTO $172
HIRED CAR $59
PREHIUH FOR €ERTIFIED ACTS DF TERRURISH
UNDER THE TERRURISM RISK INSURANCE ACT 05
THE ADVANCE PREMIUM DUE FDR THIS CUVERAGE PART AT INCEPTION IS 0425

8-1572 09 87 PAGE 001 of 002

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CONW£ERC|AL GENERAL LiAB\L|TY COVERAGE PAFZ`T
DECLARAT|ONS, CONTINUED

NAMED lNSURED POL1CY NUMBER
DARYL ROBERTSON DDS PA CL.P 79`73'776

 

THE FOLLOWING INFORMATION IS REQUIRED YO CUMPLETE FORH CGZZGQ 04 15
EXCLUSION ~ SERVICES FURNISHED BY HEALTH CARE PROVIDERS

DESCRIPTIBN OF OPERATIONSi
PER GL SCHEDULE ON POLICY

 

THE FOLLOWING INFDRHATION IS REQUIRED TO COHPLETE FGRH 062425 12 04
LIHITED FUNGI UR BACTERIA COVERAGE

FUNGI AND BACTERIA LIABILITV AGGREGATE LIHIT 5
STATES OTHER THAN GEUQGIA & NEW JERSEY: $25,000 AGGREGATE LIHIT

GEORGIA: $ 50,003 AGGREGATE LIHIT
NEW JERSEY: $100,000 AGGREGATE LIMIT

IF THERE ARE HULTIPLE STATES DN THE PDLICY, THE AGSREGATE LIMIT FOR
THIS POLICY IS EQUAL TU THE STATE HITH THE HIGHEST ASGREGATE LIHIT

LISTED ABOVE.

DATE 11/04/2014 22

THESE DECLARATIONS, THE COMMON DECLJ\RATZONS AND THE CCIMM`ON POL\CY COND]T\ONS, TOGE'IHER W`|TH COVEHAGE FOF`¢M(S}
ANDFOHMS AND ENDOHSEMENTS, lF ANY, |SSUED TO FOHM A PAF\T THEHEOF, CDMPLETE THE AB»OVE NUMBEHED POL|GY.

8-1572 09 87 PAGE 002 of 002

Case 2:16-cV-OO222-.] Document 1-1 Filed 10/15/16 Page 35 of 218 Page|D 39

Forma applicable to policy 7973776 On 11/04/2014,

* Denote£; forms aktached with this transaction.

§

2000 000000
002170 01 00
110017 11 90
110111 09 07
110275 11 13
110952 05 00
20-1769 00 91
20-1170 00 91
20-1900 09 92
cP0010 10 12
cP0050 10 12
cP0090 07 00
020140 07 06
000102 03 12
021050 10 12
cP1210 10 12
14-2012 11 05
14-2660 04 02
10~5039 02 11
14-5009 07 14
14~5060 00 00
14‘3250 07 08
10-3250 07 00
14-5200 01 09
14-3559 03 12
14-5417 03 13
14-3504 11 13
0L0100 03 99
CL[}Z??) 01 01
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000112 09 15
102009 09 00
7'1235 11 05
7-1261 02 11
14-2162 05 12
c00001 04 15
CSB].DS 06 06
002106 05 14
002106 12 00
002195 03 05
002240 _04 15
002425 12 04
002426 04 15
002039 12 01
110021 09 00
IL0168 03 12
0-1529 10 01
a-1sq1 02 05

8~1854

12

04

FORM TITLE

CAP ON LOSSES FRGH CERTIFIED ACTS OF TERRORISH

COHHDN POLICY CONDIYIUNS

TEXAS CHANGES ~ LOSS PAYHENT

TX CHGS-CANC & NONRENEWAL~PROV FUR CASUALTY LINES....

CAP GN LOSSES FROM CERTIFIED ACTS OF TERRURISH

FROVISIGNS AP§LICABLE T0 EENTRAL HUTUAL & ALL AMERICA INS CO
TX-MUTUAL POL CUNDITIUNS APPLICABLE TU CENTRAL HUTUAL
CENTRAL HUTUAL POLIEY COVER SHEET

BUILDING AND PERSDNAL PROPERTY CUVERAGE FORH

BUSINESS INCOHE (AND EXTRA EXPENSE) COVERAGE FDRH

DGHL PRDP CDNDITIDNS

EXCLUSIGN DF LDSS DUE TO VIRUS OR BACTERIA

TEXAS CHANGES

CAUSES DF LDSS ~ SPECIAL FDRM

LUSS PAVABLE PROVISIDNS

QUICK REF”CDHL PROPERTY COVERAGE PART

BUSINESS INCUHE ' COINSURANCE AHENDATORY ENDORSEHENT
BUSINESS INCOME ANB EXTRA EXPENSE

CENTRAL PREHIER PLUS(R) PROPERTY EXTENSIUNS COVERAGE END
EQUIPHENT BREAKDOHN CUVERAGE

IDENTITY RECOVERY CUVERAGE

TEXAS CHANGES

TEXAS CHANGES

DATA CDMPRUHISE COVERAG§ ' TEXAS

NINDSTORM 00 HAIL PERCENTAGE BED WITH MIN FIXEB~DOLLAR DED
CYBERDNE COVERAGE " TX

CDHMON POLICY CONDITIONS

TX“AHENDATORY ENDORSEHENT

COHHERCIAL INLAND HARINE CONDITIDNS

TX CHANGES

AHENDATDRY ENDDRSEHENT TEXAS

QUICK REF~CDHL IM CGVERAGE PART

COMFUTER COVERAGE

SINGLE DEDUCTIBLE ENDORSEHENT

CDMHERCIAL GENERAL LIABILIT¥ CDVERAGE FORH

TX CHGS-CONDS REQUIRING NOTICE

EXCLUSION - ACCESS UR DISCLGSURE DF CDNFIDENTIAL OR PERSOHAL INFO
EXCLUSIGN ' EXTERIGR INSULATZGN AND FINISH SYSTEMS

SILICA 0R SILICA~RELATED DUST EXCLUSION

EXCL'SERVICES FURNISHED BY HEALTH CARE PROVIDERS

LIHITED FUNGI OR BACTERIA COVERAGE

AMENDHENT OF INSURED CONTRACT DEFINITIUN

TEXAS CHANGES~EHPLGYHENT-RELATED PRACTICES EXCLUSION
NUCLEAR ENERGY LIABILITY EXCLUSIGN ENDORSEHEHT (BROAD FORH)
TEXAS CHANGES " DUTIES

UUICK REF-CDHL GL CDV PART

HIRED & NUNOHNED AUTB LIABILITY

AHENDHENT OF PRIHARY AND EXCESS PROVISIDNS

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FORH NUHBER

0-2203
20~1934
0-2553
8~2541
8'2545
14-5520
20-1942
20'1955
20'2110
22~1260
7'1427
14-5351
16-3490
20~1806
20-2145

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CONTINUATION

FORM TITLE

LIMITED EXCLUSICN~CPERATIONS CDVERED BY A CGNSOLIDATEDCWRAP UP)
EXCLUSION ~ ASBESTUS/LEAD

POLICYHDLDER NOTICE - 130 2012 GL - REVISED

PGLICYHDLDER NOTICE “ ACCESS 00 DISCLDSURE DF CDNFIDENTIAL INFU
PDLICYHOLDER NOTICE LIMITES EXCLUSION CWRAP-UP)

NOTICE TG POLICYHOLDERS ' PREHIER AND PREHIER PLUS COVERAGE
NOTICE T0 PULICYHOLDERS

IMPORTANT INFDRHATIGN ABOUT YOUR PCLICY RENENAL

FOLICYHOLDER DISCLOSURE NOTICE (TERRGRISH INS & VIRUS)

LGSS CDNTRUL NOTICE FGR DUR LIABILITY PDLICYHULDERS

CIH ADVISCRY NOTICE T0 POLICYHDLDERS

NG?ICE T0 POLICYHDLDERS DATA COHPRDHISE CDVERAGE

NDTICE TD FOLICYROLDERS ‘ WINDSTDRM

TX-IHPGRTANT NOTICE

AVAILABLE PAY PLANS

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iL001711 98

comr/lou PoLtc"r conditions

Aii Coverage Parts included in this policy are subject to the tottowing conditions

A. CANCELLAT!ON
1 . The iir`st Named lnsured shown in the Dectarations or Change Endorsement may cancel this policy by
mailing or delivering to us advance written notice of cancellation
2. lt?.te ma|y catncei this policy by mailing or delivering tc the first Named insured written notice of cancella-
on at eas :

a. 10 days before the effective date of cancellation if we cancel for nonpayment of premium; or

b. 30 days before the effective date of cancellation lt we cancel for any other reason.

We will mall or deliver our notice to the first Named fnsured’s last mailing address known to us.

§otlce of cancellation will state the effective date of cancellation The policy period witt end on that

ate. '

5. ll this policy is cancelled, we witt send the first Named insured any premium refund due. li we cancel,
the refund will be pro rata. if the first Named insured cancels, the refund may be less than pro rata. The
cancellation will be effective even il we have not made or oliered a relund.

6 ii notice is mailed, proof ct mailing will be sufficient proof of notice.

Et. CHANGES
This policy contains all the agreements between you and us concoman the insurance attorded. The first
Named insured shown in the Declarations or Change Endorsement is authorized to make changes in the

:”~9°

C. EXAM|NATION OF YOUR BOOKS AND RECORDS
We may examine and audit your books and records as they relate to this policy et any time during the policy
period and up to three years afterward

D. INSPECTIONS AND SUHVEYS

'l. We have the right to:

a. ivtake inspections and surveys at any time;
b. lee you reports on the conditions we ilnd;'and
c. Ftecommend changes

2. We are not obligated to make any lnspections, surveys, reports or recommendations end any such
actions we do undertake relate only insurability and the premiums to be charged We do not make
saiety inspections We do not undertake to perform the duty of any person or organization to provide
for the'health or sater of workers or the public, And we do not warrant that conditions:

a. Are safe or healthful; or
b. Comply with iaws, regulations, codes or standards

3. Paragraphs 1. and 2. of this condition apply not only to us, but also to any ratlng, advisory, rate service
or similar organization which makes insurance lnspections, surveys, reports or recommendations ~

4. Paragraph 2. ot this condition does not apply to any inspectionsl surveys, reports cr recommendations
we may make relative to certification, understate or municipal statutes, ordinances or regulations of
boilers. pressure vessels or elevators

E. PREM|UMS

The first Namect insured shown in the Dectarations or Change Endorsement:

1. ls responsible for the payment of ali premiums; and

2. Wii| be the payee for any return premiums we pay.

F. TRANSFER OF YOUR HEGHTS AND DUT|ES UNDER TH]S POL|CY

Your rights and duties under this policy may not be transferred without our written consent except in the
case of death of an tndivtduai named insured -

if you die, your rights and duties witt be transferred to your legal representative but only while acting within
the scope of duties as your legal representative Unlil your iegai representative ts appointed, anyone having
proper temporary custody of your property witt have your rights and duties but only with respect to that

property.

lL.001711 95 Copyright, insurance Servlces Office, lnc., .t 998

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|L0171 09 07
TH|S ENDORSEMENT CHANGES THE POL|CY. PLEAS,E READ i'l` CAREFULLY.

TEXAS CHANGES "- LOSS PAYMENT
This endorsement modifies insurance provided under the follov,=ing:

€Olt.'li\/|ERCIAL lNLAND MAR!NE COVERAGE PAF\T
CFtiME AND FlDELlTY COVEHAGE PAFtT
EQU!PMENT BREAKDOWN COVEHAGE PAF\T

A. Loss Payrnent
1. Wiih respect to the Crime And Fideiity Coverage Part and Equiprnent Breakdown Coverage Part, the
following conditions are added.
2. With respect to the Commercial inland Marlne Coverage Part, the following conditions replace item E.
Loss Payment in tire Commerctai inland ivlarine i_oss Conditions.
e. Cta!ms Handltng
1 ) Wlthln 15 days after we receive written notice of claim, we wiil:
e) Acknowiedge receipt of the ctalm. if we do not acknowledge receipt of the claim in
writing, we will keep a record of the datel method and content of the acknowledgment;
b) Begln any investigation of the claim; and
c) quuest a s|gned, sworn proof of loss, specify the information you must provide and
supply you with the necessary forms. We may request more information at a later date,
if during the investigation of the claim such additional information is necessary.
2) We will notify you in writing as to whether:
e) The claim or part of the claim will be paid;
b) 'cti'he claim or part of the claim has been denied, and inform you of the reasons for
en|al;
c) More information is necessary; or
d) We need additional time to reach a decision if we need additional time, we will inform
you of the reasons for such need.
We will provide notification, as described in 2)a} through 2)d) above, withtn:
l) 15 business days after we receive the signed. sworn proof of loss and all
information we requested; or t
ii) 30 days after we receive the signed, sworn proof of loss and all information we
requested. lf we have reason to believe the loss resulted from arson.
|f we have notified you that we need additional time to reach a decision. we must then either
approve or deny the claim within 45 days of such notice.
b. We will pay for covered loss or damage within 5 business days after:
1) We have notified you that payment ot the claim or part of the claim will be made and have
reached agreement with you on the amount of ioss; or
2) An appraisal award has been made.
However, if payment of the claim or part of the claim is conditioned on your compliance with any
of the terms of this policy, we will make payment within 5 business days after the date you have
compiled with such terms.
c. Catastrophe C|alms
if a claim results from a weather related catastrophe or a major natural o`isaster, the claim handling
and claim payment deadlines described'in a. and b. above are extended for an additional 15
days
Catastrophe or tvlajor Natural Disaster means a weather related event which '-.s:
'i) Geclareo’ a disaster under the Texas_Disaster Act ct 19?5_: or
2) Determined to be a catastrophe by the S_‘-.ete Board of insurance
cl. The term Lbusiness day," as used in this endorsement means a day otherthan Saturday. Sunday
or a holiday recognized by the state ot Texas.
B. Wlth respect to the Ccmmerc!at inland ‘.Vterlne Coverage Part the following is added:

We will not be liable for any part of a "loss" that has been paid or made good by others.

lLO‘t?‘i 09 07 Copyright, !SO Properties, lnc., 2006

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14-2`152 05 12
THIS ENDORSEN|ENT CHANGES THE POLECY. PLEASE READ iT CAREFULL.Y.

SINGLE DEDUCT|BL.E ENDORSEMENT

This endorsement modifies insurance provided under the foilowing:
COMMERCIAL LlNES POLiCY

if there is business personal property insured under the policy to which the Cornputer Coverage Form is attached,
the following wii_i appty:

1. if a covered cause of loss results in damage to property insured under both coverage forms from the same
occurrence. only one deductible will appiy.

2. The deductible to apply will be the largest of the deductibies indicated for each coverage form.

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|L0275 11 13
TH!S ENDOHSEMENT CHANGES THE POLiCY. PLEASE FtEAD iT CAF!EFULLY.

TEXAS CHANGES - CANCELLATlON AND NONRENEWAL PROVIS!ONS FOR
CASUALTY LiNES AND COMMERCIAL PACKAGE POLICEES

This endorsement modifies insurance provided under the following:

COl‘.iMEFiC|Ai_ GENERAL LIABiLiTY COVERAGE PAFi'i`
COiv‘iMEP.C|AL LlABiLl'E`Y Ul\.-lBRELLA COVEFiAGE PAFtT
Ef\iiPLOYf»'lENT-HE{_ATED PRACT]CES L|ABELi't'Y

FAPiivi COVERAGE PAHT - FAFil`vf t_|ABil_iTY COVERAGE FOFti\/l
LiOUOR LlABlLiTY COVEFiAGE PART

POLLUT!ON LiABii.|T'Y COVERAGE PART
PRODUCTS»'COMPL.E?ED OPERAT!ONS LiAB|LiTY COVEF{AGE PAFiT

`i”his endorsement also modifies insurance provided under the tollowing when written as part of a Cornmercial
Paokage Pofioy:

CAF’i`i`Ai. ASSETS PROGRAM (_OU":'PUT POLiCY) COVERAGE PAFiT
COlv".?viERCiAL GENEHAL LiABiL.iTY COVERAGE PART`
CO.‘¢lMEFi_CiAL iNLJ`si\iD ;‘.riARiNE COVEF!AGE PAF'iT

COlvii\.!EFiC!/-`\i_ LiABil.i'i'Y Ui`viBFiELL/l. COVERAGE PART
COiv‘il‘viEFiCiAL PROPERTY COVEFiAC"-E PAHT

CFlii'v‘iE AND FlDEi_lTY COVEFiAGE PAFiT

El-i‘iPLOYMENT-RELATED PRACT|CES l_iABiL.iTY

EQU!PMENT BREAKDOWN COVERAGE PAFiT

FAFii`\f‘i COVEFiAGE F_’AFtT

Li_QUOR LiABlLiTY COVERAGE PART

POLLUT!ON LiABiLi'i'Y COVEFiAGE PAFiT
PRODUC_TS"'COi-APLETED OPEFiAT|ONS L|ABiLiTY COVEFtAGE PART

A. Paragraph 2. ot the Cancel|ation Common Poiicy Cond|tion is replaced by the ioi|owing:

2. We may cancel this po:icy;

a. By mailing or delivering to the first Narned_ insured written notice of canoeliation, stating the reason ior
cancellation. at least 10 days before the effective date of cancellation

l'iowever, ii this policy covers a condominium association, and the condominium property contains at least
one residence or the condominium declarations conform with the Texas Unitorrn Condcmlniurn Act, then
the notice ot cancellation as described above witt be provided to the first Narned insured 39 days before
the effective date of cancellationn We will aiso'provide 30 days' written notice to each unit~cwner to whom
we issued a certificate or memorandum of insurance. by mailing or delivering the notice to each last
mailing address known to us.

b. For the following reasons, if this policy does not provide coverage to a governmental unit, as defined
under 28 TEX. ADlvliN` CODE, Sectton 5.7001 or on one- end two- family di'.'e§!ings:

(1) if this policy has been in effect for 60 days or less, we may cancel for any reason except that._ under
the provisions ot the Texas insurance Code, we may not cancel this policy solely because ti‘.e
policyholder is an elected oiiiolai.

(2) if this policy has been in effect for more thsn~SD days, cr ii it is a renewal or continuation cf a policy
issued by us, we may cancel only for one or more ot the following reasons:

(a) Fraud in obtaining ooverage;
(b) Failure to pay premiums when due;

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(c) An increase in hazard within the control of the insured which would produce an increase tn rate;
(d) Loss of our reinsurance covering all or part of the risk covered by the poi|cy; or
(e) ll we have been placed in supervision, conservatorship or receivership and the cancellation is
approved or directed by the supervisor. conservator or receiver.
c. For the following reasons, if this policy provides coverage to a governmental unit, as defined under 28
TEX. ADM|N. CODE, Section 5,7001 or on one- and two-family dwellings:
{1) ff this policy has been in effect for less than 90 days. we may cancel coverage for any reason.
(2) if this policy has been in effect for 90 days or more, or if it is a renewat or continuation of a poiicy
issued by us, we may cancel coverage, only for the following reasons:
(e) if the first Narned insured does not pay the premium or any portion of the premium when due;
{b) |f the Texas Deparfment of insurance determines that-continuation of this policy would result in
violation of the Tsxas insurance Code or any other law governing the business of insurance in
Tsxas;
(o) if the Named insured submits a trauduieni ciaim; or
(d) if there is an increase ln the hazard within the control ot the Named insured which wouid
produce an increase in rate.
B. The fc|towing condition is added and supersedes any provision to the conlrary:
Nonrenewa|
1. We may elect not to renew this policy except that, under the provisions of the Texas insurance Code, we
may not refuse to renew this policy solely because the policyholder is an elected officiat.
2. This paragraph, 2., applies unless the pciicy qualifies under Paragraph 3. below.

if we elect not to renew this policy, we may do so by mailing or delivering to the first Narned insured. at the
test mailing address known to us, written notice of nonrenewa|, stating the reason for nonrenewa|, at least
60 days before the expiration dale. if notice is mailed or def|vered less than 60 days before the expiration
date, this policy will remain in effect until the 6'ist day after the date on which the notice is mailed or
delivered Earned premium for any period ot coverage that extends beyond the expiration date will be
computed pro rata based on the previous year's premium.

3. if this policy covers a condominium association, and the condominium property contains at least one
residence cr the condominium declarations conform with the Texas Uniform Condominium Act, then we
witt mail or deliver written notice cf nonrenewai, at least 30 days before the expiration or anniversary date

of the policy, for
a. The first Named insured; and
b. Each unlt~owner to whom we issued a certificate or memorandum of insurance
We will mail or deliver such notice to each last mailing address known to us.
4. if notice is mailed, proof of mailing will be sufficient proof of notloe.
5 The transfer of a policyholder between admitted companies within the same insurance group is not
considered a refused to renew.

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QUICK REFEHENCE
CON|NIERCIA¥_ PROPERTY COVERAGE PART

READ YOUR F'OLICY CAREFULLY

The Commerciai Propeny Cove:age Pan in your policy ccnsis:s ot Deciaralions, one or more Coverage Forms._
Commerciai Propcrly Conditions, Common Po|icy Cond|tlons and Endorsemenis. if appiicab!e. Foliowing is a
Quiok Reierence indexing of inc principal provisions contained in each of the components making up this
Coverago Pan.

DECLARAT|ONS CAUSES OF LOSS FOHM (lf Applicab|e)
Named insured and :‘.~iai§:ng Add.'ess Covered Cauees of Loss
Poi|cy Pcr£oci Exc§usions

Desc.'ip‘.ion of Business

Covcrage Providcd and Lirni:s of insurance

Opticnai Covczagcs

Forms and Endorserncnts appiying to the Coverage
Part at time of issue

COVERAGE FORM(S)
COVERAGE -

Covercd Propeny {|£ Appiicabie)
Propeny Not Coverad (If Appiioabie)
Covered Causes of Loss iii Appiicabie)
Addiiionai Coverago (If Appl|cab|o)
Coveraga _Extensions (if Appi|cabie)

EXCLUS!ONS

‘..lMlTS OF INSURANCE

DEDUCT|BLE (if Appiicabie)

Loss coNDnlc)NS in Appiicabie)
ADDiT|ONAL COND|TiONS (lf Appiicabie}
oPTlONAL covEnAGES (si Applicab!e)
DEFiNiTiONS iii Appucabce)

Limitations (if ADpiicabie)
Ao`d!tionai Coveraga (if Ao;)iicao!o‘;

COMNIERC|AL PROPERTV COND|T[ONS (CPOOQO}

Concea‘.rnent_. iviisrepresen¥ation and Frauci

Cont:oi of Propcny `

icsdrance Uno’er T\‘.’o or i\iore Coverages

Legal Aciion Againsi Us

Li'oera|izaiion

No Bcneflt to Baiiec

Oine.' insurance

F'oi§cy Pericd. Ccverago Terrilo.'y

Transfe.' of Rights of Fiecover‘,' Agal:".st Othcrs to Us

COMMON POLICY CONDIT|ONS (iLOOi?) - See Common
Dec|arations

Canceifation

Changos 7

Examinaiion oi Your Booi<s and Records

lnspections and Survcys

Premiums

Transfer of Your Rights and Dut|es Undcr This Poiicy

EnoonsiaMENTs iiil Anyi

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CP00101012

BU|LD}NG AND PERSONAL PROPERTY COVEHAGE F`OFilVi

Various provisions in this poiicy restrict coverage Read the entire poticy carefully ic determine rights, duties and
what is and is not covered

Throughout this poiicy, the words "you" and "your" refer to the Narned insured shown in the Dectarations. The
words 'we', 'us' and 'our“ refer to the company providing this insurance

Other words and phrases that appear in quotation marks have special meaning Fteter to Seclion H. Detinitions.

A. Coverage'
We witt pay ior direct physical toss ci or damage to Covered Property at the premises described in the
Dsciarations caused by or resulting from any Ccvered Cause ot Loss.

1 . Covered property

Covered Property, as used in this Coverage Part, means the type of property described in this sectioni
A.t ., and limited in A.2. Prcperty Not Covered, ii a t.imit Oi insurance is shown in the Declarations for that

type of property.
a. Bui|ding, meaning the building or structure described in the Declarations, including:
(1) 00rnpieted additions;
(2) Fixiures, including outdoor iixtures;
(3) Perrnanently instai|ed:
(a) Machinery; and
{b) Equipment;
(4) Personai property owned by you that is used to maintain or service the building or structure or its
premises, inciud|ng:
(a) Fire-extingulshing equipment;
(b) Outdoor furniture;
(c) Fioor coverings; and
(d) Appiiances used for reirigsrating, ventilating, cooking, dishwashth or iaundering;
(5) lt not covered by other insurance:
(a) Addltlons under construction, alterations and repairs to the building or structure;

(b) ivtaterials, equipment, supplies and temporary structures, on or within 100 feet of the described
premises, used for making additions, alterations or repairs to the buiiciing or structure

b. Your Buslness Personai Property consists of the ioliowing property located in oren the buiiding or
structure described in the Deciarations or in the open (or in a vehicle) within 100 feet of the building or
structure or within 100 feet oi the premises described in the Declaraiions, whichever distance is

greater:
(1) Furniture and tixtures;
(2) iviachinery and equipmeni;
(3) *Stock";
(4) A|i other personal property owned by you and used ln your business;
(5) Labcr, motorists or services furnished or arranged by you on personal property ot others;
(6) Ycur use interest as tenant in improvements and betterments. improvements and betterments are
ilxtures, aiterat|ons, installations cr additions:
(a) ivlade a part of the building or structure you occupy but dc not own; and
(b) You acquired or made at your expense but cannot legally remove;
(7) Leased personal property for which you have a contractual responsibiiity to lnsure, unless otherwise
provided for under Personai Property Ot 0thers.

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c. Personai Property 01 Others that |s:
(1) in your care, custody or contro|; and

(2) Located in or on the building or structure described in the Declarations or in the open (or in a
vehtcie} within 100 feet of the building or structure or within 100 feet of the premises described in
the D'ec|arations, whichever distance is greater.

l-iowever, our payment for loss of or damage to personal property of others will only be for the account
of the owner of the property.

2. Property Not Covered
Covered Property does not include:

a. Accounts. biiis, currency, food stamps or other evidences of debt, money, notes or securities i_cttery
tickets held for sale are not securities;

b. Animals, unless owned by others and boarded by you, or ii owned by you, oniy as "stock" while inside
of buildings;

c. Autornobites held for sale;

d. Bridges, roadways, walks, patios or other paved surfaces;

e. Contraband, or property in the course ot illegal transportation or lrade:

f. The cost ot excavations, grading, backilliing or iii|ing;

g. Foundat|ons of buildingsl structures, machinery cr boilers ll their foundations are below:
(1) The lowest basement iloor; or
(2) The surtace of the ground, if there is no basement;

h. Land (inciuding land on which the property is located), water, growing crops or towns (oiher than towns
which are pan ct a vegetated roof);

i. Personal property while airborne or waterborne;

i. Bulkneads. plilngs, piers._ wharves or dccks;

k. Property that is covered under another coverage iorm of this or any other policy fn which it is more
specifically described, except for the excess of the amount due (whether you can collect on it or not)
from that other insurance;

l. Ftetaln|ng watts that are not part of a building:

m. Underground pipes, fiues ordralns; .

n. Electronic data, except as provided under the Additionai Coverage, Electronic Data. Eieclronlc data
means information1 facts or computer programs stored as-or on, created or used on, or transmitted to
or from computer software linctuding systems and applications software), on hard or tloppy disks,
CD-ROivis, tapes, drives, cells, data processing devices or any other repositories of computer software
which are used with electronically controlled equipment The term computer programs, referred to in the
foregoing description of electronic data, means a set ot related electronic instructions which direct the
operations and functions of a computer or device connected to it, which enable the computer or device
to receive, process, store, retrieve or send data. This paragraph, n., does not apply to your "stock" cf
prepackaged software, or to electronic data which is integrated in and operates or controls the
bulldtng’s elevator, lightingl heating, ventilation, air conditioning or security system;

o. `i'h'e cost to replace or restore the information on valuable papers and reoords, including those which
exist as electronic data Vaiuabte papers and records include but are not limited to proprietary
information, books of account, deeds, manuscripts, abstracls, drawings and card index systems Fteier
to the Coverage Extension for Valuabte Papers And Flecords (Other Than Etecircnic Daia) for limited
coverage for valuable papers and records other than those which exist as electronic data: '

p. Vehic|es or self-propelled machines (|nclu`ding aircraft cr watercrait) that:
(1) Are licensed for use on public roads; or
(2) Are operated principally away from the described premises
This_paragraph does not apply to:
(a) Vehicles or sell-propelled machines or autos you manufacture process or warehouse;
(b) Vehic|es or seif-propeiied machines, other than autos, you hold for saie:
(c) Rowboats or ounces out of water at the described premises; or

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(d) irailers, but only to the extent provided for in the Coverage Extenslon for Ncn-owned Delached
Trai|ers; or
q. The following property while outside of buildings:
(‘i) Grain, hay, straw or other crops;

(2) Fences, radio cr television antennas (lnciuding satellite dishes) and their lead-in wiring, masts or
towersl trees, shrubs or plants (other than trees, shrubs or plants which are “stocl<" or are part ot a
vegetated rooi), ali except as provided in the Coverage Extensions.

3. Govered Causes Of Loss
See applicable Causes Of Loss form as shown in the Deciarations.

4. Additlonal Coverages

a. Debrls Fiemoval
(1) Subiect to Paragraphs (2), (3) and (4), we will pay your expense to remove debris of Covered
Property and other debris that is on the described premises, when such debris is caused by or
results from a Covered Cause of Loss that occurs during the policy period The expenses will be
paid only il they are reported to us in writing within 180 days ot the date of direct physical loss or

damage
(2) Debrls Remova| does not apply to costs to:

(a) Ftemove debris ot properly of yours that is not insured under this policyl or property in your
possession that is not Covered Property;

(b) Fiernove debris of property owned by or leased to the landlord of the building where your
described premises are located. unless you have a contractual responsibility to insure such
property and it ls insured under this policy;

(c) Ftemove any property that is Property Not Covered, including property`addressed under the
Ouldoor Property Coverage Exiension;

(d) Remove property ot others of a type that would not be Covered Property under this Coverage
Form;

(e) Rernove deposits of mud or earth from the grounds ot the described premises;

(t) Extract r’poilutants" from land or water: or

(g) Remove, restore or replace polluted land or water.

(3) Subiect to the exceptions in Paragraph (4), the following provisions apply.'

(a) The most we will pay for the total ot direct physical loss or damage plus debris removal expense

is the Limit cl insurance applicable to the Covered Property that has sustained loss or damage

(b) Sub]eci to (a) above, the amount we will pay for debris removal expense is limited to 25% of the
sum of the deductible plus the amount that we pay tcr direct physical loss or damage to the
Covered Property that has sustained loss or damagel However, if no Covered F'roperty has
sustained direct physical loss or damage, the most we will pay for removal ot debris of other
property (lf such removal ls covered under this Additional Coverage) is $5.000 at each location

(4) We will pay up to an additional $25,000 for debris removal expense, for each locatian in any one
occurrence of physical lessor damage to Covered Property, ii one or both ct the following
circumstances apply: '

(a) The total of the actual debris removal expense plus the amount we pay for direct physical loss or
damage exceeds the Limit of insurance on the Covered Property that has sustained loss or
damage ` `

(b) 't'he actual debris removal expense exceeds 25% of the sum of the deductible plus the amount
that we pay for direct physical loss or damage to the Covered Property that has sustained loss
or damage

Thereiore, it (4)(a) and/or (4){b) applies, our total payment ior direct physical loss or damage and
debris removal expense may reach but will never exceed the Limlt of insurance on thel Covered
Propeny that has sustained loss or damage, plus 825,000. »

(5) Examp|es
The following examples assume that there is no Colnsurance penalty.

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Exampie 1

Limit ct lnsurence: 55 90,000
Amount cl Deduclibis: 3 500
Ar‘nount oi l_oss: $ 50,000
Arncunt ct Loss Payable: S 49,500

($50.003 - $SGO)

Debris Fterncvai Expense: S t0.0GO
Deb.'ls Removai Expense Payabie: S 10,000

rst o,oco rs acre cr ssc¢coo.)

The debris removal expense is less than 25°.-"¢ of the sum'ol the ioss payable pitts the deductibie. The sum ot the
loss payable and tne debris removal expense t349,500 + St0,0GO = 359,500) is iess than the i_.mit ci insurance
Theretore, the _iull amount oi debris removal expense is payabie in accordance with the terms of Paragrach (3).

Exampie 2
Limit ci insurance: $ 90,000
Arnct;nt ot Deductlote: $ 500
Amcunt of l_oss: $ 80,000
Arncuni ct l_css Payable: $ 79,500
(sac.oco - sscc}

Debris Fiemoval Expense: 8 40,000
Debris t=lemoval Expense Payabie

Basic Amount: $ 10,600

AddltlonalAmount: $ 25,000

The basic amount payable ior debris removal expense under the terms ct Paragraph {3) is calcutated as ioi|ows:
$80,000 ($79,500 + $500) x .25 =.- $20,000,-capped at $10,500. The cap appiies because the sum ot the loss
payable ($79,500) and the basic amount payable ior debris removal expense ($10,5{)0) cannot exceed the Limit
of insurance ($90,000).

The additional amount payable for debris removal expense is provided in accordance with the terms ot Paragraph
(4), because the debris removal expense {$40,000) exceeds 25% ot the loss payable plus the deductibie
($40,000 ls 50.% ci $80,000), and because the sum of the loss payable and debris removal expense ($79,500 +
$40,000 = $119,500) would exceed the leit of insurance ($90.000). The additional amount of covered debris
removal expense is $25,000, the maximum payable under Paragraph (4). -Thus¢ the total payable ior debris
removai expense in this example is $35,500; $4,500 of the debris removal expense is not covered.

b. Preservat|on Ot Property

lt it is necessary to move Covered Prcperty from the described premises to preserve it from loss or
damage by a Covered Cause ot l_oss, we will pay for any direct physical loss or damage to that

prcperty.:
(1) \‘Nhile it is being moved or while temporarily stored at another location', and
(2) On|y if the loss or damage occurs within 30 days atter the property is first moved.
c. Ftre Department Service Charge
When the tire department is called to save or protect Covered.Proper_ty trom a Covered Cause of Loss,'
we will pay up to $1,000 tor service at each premises described in the Deciarations, unless a higher

limit is shown in the Deciarations. Sucin limit is the most we witt pay regardless ct the number ct
responding tire departments or tire unlis, and regardless of the number or type of services performedl

This Additlonai Coverage applies to your liability ior tire department service charges:
(1) Assumed by contract or agreement prior to ioss; or

(2) Ftequired by local ordinance

No ijeductible applies to this Additional Coverage.

d. Poliutant Ciean-up And Removat

We will pay your expense to extract "potiutantsf‘ from land o'r water at the described premises if the
dischargeI dispersai\ seepage, migration, release or escape ct the “pollutants" is caused by or results

ceootc to 12 ocoyrrghr, insurance services orir¢e, rnal, sort eggs 4 or rs

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item a Covered Cause ot i_oss that occurs during the policy period The expenses will be'paid only ii
they are reported to us in writing within 180 days ot the date on which the Covered Cause el i_oss
OCCi.ii'S.

This Additional Coverage does not apply to costs to test ior, monitor or assess the existence,

concentration or effects of *poilutants”. But we will pay for testing which is performed in the course ct

extracting the “poiiutants" from the land or water.

The most we will pay under this Addliional Coverage for each described premises ls $10,000 for the

sum of all covered expenses arising out ol Covered Causes of Loss occurring during each separate

lZ-rnonth period of this policy.
e. increased Cost Ot Construction

(1) This Additionat Coverage applies only to buildings to which the Ft'eplacement Cost Optlonai
Coverage applies _

(2) in the event el damage by a CoveredCause ct Loss to a building that is Covered Property, we will
pay the increased costs incurred to comply with the minimum standards of an ordinance or law in
the course ct repalr, rebuilding or replacement oi damaged parts cl that property, subject to the
limitations stated in e.(S) through e.(9) of this Additional Coverage.

(3) The ordinance or law referred to in e.(2) of this Additionat Coverage is an ordinance or law that
regulates the construction or repair of buildings or establishes zoning or land use requirements at
the described premises and is in force at the time ot loss.

(4} tinder this Additiona| Coverage, we will not pay any costs due to an ordinance or law thai:

_ (a) You were required to comply with before the loss, even when the building was undamaged; and

(b) Vou failed to comply with.

(5) Under this Addltional Coverage, we will not pay for:

(a) The enforcement ot or compliance with any ordinance or law which requires demolition, repatr,
replacement reconstruction, remodeling or remediation of property due to contamination by
"pollutants' or due to the presence, growth, prolileration, spread or any activity of “fungus", wet
or dry rci or bacteria; or

(b) Any costs associated with the entorcernent cl or compliance with an ordinance or law which

requires any insured or others to test lor, monitor, clean up, remove, contain, treat, detoxily or
neutralize, or in any way respond to, or assess the effects of "pollutants”, "lungus", wet or dry rot

or bacteria.

(6) The most we will pay under this Addltlonal Coverage, tor each described building insured under this
Coverage Form, ls $10,000 or 5% cl the lelt ol insurance applicable to that building, whichever is
less. lt a damaged building is covered under a blanket leit oi insurance which applies to more than
one building or item of property, then the most we will pay under this Additlona| Coverage, for that
damaged bullding, is the lesser ot $i0,00G or 5% times the value of the damaged building as ci the
time of loss times the applicable Coinsurance percentage
The amount payable under this Addtlionel Coverage is additional insurance

('r') Wlth respect to this Additicna| Coverage:

(a) We witt not pay for the increased Cost ot Construction:
(i) Unlil the property ls actually repaired or replaced at the same or another premises; and

(ii) Unless the repairer replacement is made as soon as reasonably possible alter the loss or
damage, not to exceed two years. We may extend this period in writing during the two years.

(b) ll the building is repaired or replaced at the same premises, or ii you elect to rebuild at another
premises, the most we will pay for the increased Cost ot Gonstruction, subject to the provisions
of e.(6) of this Addttlonai Coverage, is the increased cost cl construction at the same.prernises.

(c) li the ordinance or law requires relocation to another premisesr the most we will pay for the
increased Cost of Construction, subject to the provisions of e.(6) of this Addltionai Coverege, ls
the increased cost ot construction at the new premises

(8) This Additlonal Coverage is not subject to the terms of the Ordinance Or Law Exciuslon to the
extent that such Exciuston would conflict with the provisions cl this Additional Ooverage.

(9) The costs addressed in the Loss Peyrnent and Valuatlon Conditions and the Fteplacement Cost
Optlonai Coverage, in this Coverage Form, do not include the increased cost attributable to
enforcement of or compliance with an ordinance or law. The amount payable under this Addllionai

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Coverage, as stated in e.(6) of this Additional Coverage. is not subject to such limitation

i. Eiectronic Data

(1} tinder this Addltional Coverage, electronic data has the meaning described under Property Not
Covered, Electronic Data. This Additlonal Coverage does not apply to your “stock" of prepaci<aged
software, or to electronic data which is integrated in and operates or controls the buildings elevator,
lighting heating, venillation, air conditioning or security system.

(2) Subject to the provisions cl this Addltlonal Coverage, we will pay for the cost to replace or restore
electronic data which has been destroyed or corrupted by a Covered Cause ot Loss. To the extent
that electronic data is not replaced or restored. the loss will be valued et the cost oi replacement ot
the media on which the electronic data was stored, with blank media ot substantially identical type.

(3) The Covered Causes of Loss applicable to Your Buslness Personal Property apply to this Aoo'liionai
Coverage, Electronlc Data, subject to the loilowing:

(a) ll the Causes Of Loss - Special Form applies, coverage under this Addiiional Coverage.
Electronic Data, is limited to the "speoiiied causes oi loss‘l as defined in that term and Collapse
as set forth in that iorm.

(b) ii the Causes Of l_ose - Broad Form appliesl coverage under this Additional Coverage.
Electronlc Data, includes Coliapse as set forth in that iorrn.

(c) ll the Causes Oi Loss form is endorsed to add a Covered Cause ot Loss, the additional Covered
Cause ct Loss does not apply to the coverage provided under this Additiona| Coverage,
Electronlc Data.

(d) The Covered Causes of Loss include a vtr`us, harmful code or similar instruction introduced into

' cr enacted on a computer system tinciudlng electronic data) or a network to which it-is
connected, designed to damage or destroy any part of the system or disrupt its normal
operation But there is no coverage for loss or damage caused by or resulting irorrt manipulation
of a computer system (including electronic data} by any employee, including a temporary cr
leased employee, or by an entity retained by you or lor you to inspect¢ design, installl medliy,
maintaln, repairer replace that system.

(4) The most we will pay under this Addliional Coverage, Electronic Data, is $2,500 (unless a higher
limit is shown in the Deciarations) for all loss or damage sustained in any one policy year,
regardless ot the number cl occurrences of loss or damage or the number of premisesl locations or
computer systems involved. ii loss payment on the first occurrence does not exhaust this amount,
then the balance is available for subsequent less or damage sustained in but not alter that policy
year. Wlth respect to en occurrence which begins in one policy year and continues or results in
additional loss or damage in a subsequent policy year(s), all less or damage is deemed to be
sustained in the policy year ln which the occurrence began.

5. Coverage Extenslons

Except-as otherwise p'rovided, the following Extensions apply to property located in or on the building
described in the Dec|aratlons or in the open (or in a vehicle) within 100 test ot the described premises

if a Colnsurance percentage ot 80% or more, cr a Value Fteporting period symbol, is shown in the
Declaratio`ns, you may extend the insurance provided by this Coverage Part as follows:

a. Newly Acqutred Or Constructed Property
(1) eut'rurngs
ii this policy covers Bul|dlng, you may extend_t‘nat insurance to apply to:
(a) Ycur new buildings while being bullion the described premises; and
(b) Buildings you acquire at locations other than the described premises intended io`.':
(i) Slmilar use as the building described in the Declarations; cr `
(ii) Use as a warehouse
The most we will pay for loss cr damage under this Extension is 8250,000 at each buildingl
(‘2) Your Buslness Personal Property
(a) il this policy covers Your Business Personai Property, you may extend that insurance to apply

(i) Business personal property, including such property that you newly acquire, at any location
you acquire other than at lalrs, trade shows or exhibitions; or

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(ii) Business personal properly, including such property that you newly acquire, located at your
newly constructed or acquired buildings at the location described in the Declaratlons.
The most we will pay for loss or damage under this Extenslon is $100,000 at each building
(b) This Exlenslon does not apply to:
(i) Personal property of others that is temporarily in your possession in the course of installing or
performing work on such property; or
(ii) Personal properly of others that ls temporarily in your possession in the course of your
manulacluring or wholesaling activities -
(3) Perlod Of Coverage `
Wilh respect to insurance provided under this Coverage Extenslon for Newly Acquired Or
Ccnstructed Property, coverage will end when any ol the following first occurs:
(a) This policy explres;
(b) 30 days expire after you acquire the property or begin construction of that part of the building
that would qualify as covered property: or
(c) You report values to us.
We will charge you additional premium for values reported from the date you acquire the property or
begin construction of that part of the building that would qualify as covered property.
b. Personai Eltects And Property Ol Others
You‘ may extend the insurance that applies to Your Buslness Personsi Property to apply to:
(1) Persona| eilects owned by you, your oiilcers, your partners or members, your managers or your
employees This Extenslon does not apply to loss or damage by theft.
(2) Personal property of others inlyour caro, custody or conlrot_,

The most we will pay lor loss or damage under this Extension is $2,500 at each described premises
Our payment for loss of or damage to personal properly ot others will only be for the account ol the
owner of the property.
o. Veluable Papers And Ftecords (Other Than Electronlc Data)
(1) You may extend the insurance that applies to Ycur Business Personal Properly to apply to the cost
to replace or restore the lost information on valuable papers and records for which duplicates do not

exist. But this Exlension does not apply to valuable papers and records which exist as electronic
datal E|ectronic dale has the meaning described under Property Not Covered, Eiectronlc Data.

(2) if the Causes Ol l_oss ~ Speclai Form applies, coverage under this Exlension is limited to the
"speoilled causes of loss" as defined in that form and Collapse as set forth in that lorrn.

(3) ll the Causes Ot i.oss - Broed Form applies, coverage under this Extension includes Ccliapse as
set forth in that lorm.

(4) tinder this Extension, the most we will pay to replace or restore the lost information is $2,500 at
each described premises, unless a higher limit is shown in the Deciarailons. Such amount is
additional insurance We will also pay for the cost of blank material lor reproducing the records
(whether or not duplicates exist) and lwhen there ls a duplicale) for the cost of labor to transcribe or
copy the records The costs of blank material and labor are subject to the applicable l_lmit of
insurance on Your Buslness Personai Property and, therefore, coverage of such costs is not
additional insurance '

d. Property Oll~premlses
(1) You may extend the insurance provided by this Coverage Form to apply to your Covered Property
while il ls away from the described premises, il lt ls:
(a) Temporarily at a location you do not own. lease or operate;
(b) ln storage at a location you lease, provided the lease was executed alter the beginning ol the
current policy term; or
(c) At any fair, trade show or exhibition
(2) This Extension does not apply to property:
(a) in or on a vehlcie; or

(b) in the care, custody or control cl your saiespersons, unless the properly is in such cere, custody
or control at a lair, trade show or exhibition

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(3) ‘='he most we witt pay for loss or damage under this Extension is $10,000.
e. Outdoor Property

You may extend the insurance provided by this Coverage Form to apply to your outdoor iences, radio
and_lelevision antennas (inciuding satellite dishes). trees, shrubs and plants (other than trees, shrubs or
plants which are "stcck" or are part of a vegetated roof), including debris removal expense, caused by
or resulting from any oi the following causes of loss il they are Covered Causes of l_oss:

(1) Fire:

(2) Lightning:

(3) Explosion;

(4) Ftlol or Civll Commolion; or

(5) Aircral'l.

The most we will pay for loss or damage under this Extenslon is $t, 00, but not more than 3250 for any

one‘lree, shrul: or ptant, These limits apply lo any one occurrence regardless o.‘ the types or number of
items lost or damaged in that occurrence

Sr;biect to ali aforementioned terms and limitations ot coverage. this Coverage Extenslon includes lhe'
expense ot removing irom the described premises the debris of trees, shrubs and plants which are the
properly of olhers. except in the situation in which you are a tenant and such property is owned by the
landlord cl the described premises

t. Non-owned Detached Trallers

(1) Y_ou may extend the insurance that applies to Ycur Business l'-’ersonel Propeny to apply to loss or
damage to trailers that you do not ov.'n, provided their

(a) T'ne trailer ls used in your business:
(b) The trailer is in your care_. custody or control at the premises described in the Declarations; and
(c) Ycu have a contractual responsibility to pay ior loss or damage to the trailer.

(2) Ws will not pay for any loss or damage that occurs:

(a) Wh|te the trailer is attached to any motor vehicle or motorized conveyance, whether or not the
motor vehicle or motorized conveyance is in motion;

(b) Ddring hitchlng or unhilching operations, or when a trailer becomes accidentally unhitched from
a motor vehicle or motorized conveyance

(3) The most we will pay ior loss or damage under this Exlension is $5.000, unless a higher limit is
shown in the Declaratlons.

(4) This insurance is excess over the amount due (whether you can collect on lt or not) from any other
insurance covering such property.

g. Buslness Persona| Property Temporerlly th Portabie Storage Unlts

(1) You may extend the lnsurance that applies to Your Business Personat Property to apply lo such
properly white temporarily stored in a portable storage unit (includlng a detached trailer) located
within 100 feel ol the building or structure described in the Declarations or within 100 feet ot the
premises described in the Dectaratlons.' whichever distance is greater.

(2) ii the applicable Covered Causes of Loss former endorsement contains a limitation or exclusion
concerning loss or damage from sand, dust. steet, show, ice orraln to property in a structure such
limitation or exclusion also applies to properly in a portable storage unll.

(3) Coverage under this Extens|on:
(a) Wi|l end 90 days alter the business personal property has been placed in the storage unlt;

(b) Does not apply ii the storage unit itself has been in use at the described premises for more than
90 consecutive days, even if the business personal properly has been stored there for 90 or
fewer days as of the time oi loss or damage.

(4) Under this E)<lension, the most we will pay for the total of atl loss or damage to business personal
property is $10,000 (unless a higher limit is indicated in the Dec!arations for such Extension)
regardless of the number of storage unlls. Such limit ts-part of, not in addition to, the applicable Limi_t
of insurance on Your Bus|ness Personai Property. Thereiore, payment under this Extension will not
increase the applicable Limit ot insurance on Your Buslness Personal Propeny.

(5) This Extension does nol apply to loss or damage otherwise covered under this Coverage Form or

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any endorsement to this Coverage Form or policy, and does not appr to ross or damage to the
storage unlt ltself. ,
Eech ot these Extensicns ts additionat insurance unless otherwise indicatedl The Acldtltcnal Cond|tton,
Coinsurance, does not apply to these Extensicns.

B. Exc|usions And Ltmttatlons
See applicable Causes Of Loss form as shown in the Declarations.

C. lelts Ot insurance
The most we will pay for loss or damage in any one occurrence is the applicants Limit Ol insurance shown tn
the Declaralions. l
The most we will pay for loss or damage to outdoor signs, whether or not the sign is attached to a building, is
$2,500 per sign in any one occurrence

The amounts of insurance stated in the following Additiona| Coverages apply in accordance with the terms of
such coverages and are separate from the Limit(s) Oi insurance shown in the Declarat|ons for any other

coverage:
1. Fire Departmenl Servioe Charge;
2. Potlutant Ciean-up And Ftemoval;
3. increased Cost Of Constroction; and

4. E|ectrcnlc Dala.
Payments under the Preservatlon Of Property Addtttonal Coverage will not increase the applicable Ltmit oi
insurance

D. Deductible

ln any one occurrence of loss or damage (hereinafter referred to as loss), we will first reduce the amount of
loss if required by the Coinsurance Ccndition ortho Agreed Value Optlonai Coverage. lf the adjusted amount
of loss is less than or equal to the Deduct|ble, we will not pay for that loss. if the adjusted amount of loss
exceeds the Deductibie, we will then subtract the Deductibie from the adjusted amount of loss and will pay the
resulting amount ortho Limlt of lnsuranoe, whichever is less.

When the occurrence involves loss to more than one item of Covered Property and separate Limlts of
insurance apply, the losses witt not be combined in determining application of the Deductibler But the
Deducttble witt be applied only once per occurrence

Example ‘|

(This example assumes there is no Coinsurance penalty.)
Deductible: $ 250
leit cf insurance - Buiidlng 1: $ 60,000
Llrnit of insurance ~ Buildlng 2: $ 80,00{}
Loss to Building 1: $ 60,100
t_oss to Buildtng 2: $ 90,000

The amount of loss to Butldin91 ($60,100) is less than the sum ($60,250) ct the leit of insurance applicable to
Butlding t pfus the Deductible.

The Dectuclible wif| be subtracted from the amount of loss in calculating the loss payable for Bultding 1 :

$ 60,100

- 250

$ 59,850 Loss Payabte - Butiding 1
The Deductible applies once per occurrence and therefore is not subtracted in determining the amount of loss
payable tor Bui!ding 2. Loss payable lor Buitdlng 2 is the Limit of insurance of $80_.000.
Total amount of loss payable:
$59,850 + $80,000 = $139,850

Example 2 j
(This examplel too, assumes there is no Ccinsuranca penalty.)
The Deductibf'e and Lirnlt`s of lnsurance are the same as those in Exarnple 1.

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oss tc Building ii $ 70,000
(Exceeds i.imtt ct insurance plus Deduoti'ole)
Loss tc Buiiding 2: $ 90,000
(Exceeds t_imit ct insurance plus Deducttble)
Loss Payable ~» Buiidlng t: S 60,000
lt_irnit_c.f insurance)
t_oss Paya't)le ~ Buiiding 2: S 80,000
(Limit of lnsurance)
Total amount of toes payabie: $ 140,000

E. Loss Condltlons
The following conditions apply in addition to the Common Poiicy Conditions and the Commercial Property
Conditicns:
1. Abandonment
There can be no abandonment of any property to us.
2. Appraiset

|f we and you disagree on the value ot-the properly or the amount of lossl either may make written demand
ior an appraisal ot the loss. in this event, each party will selects competent and impartial appraiser. The
two appraisers will select an umpire. if they cannot agree, either may request that selection be made by a
judge ot a court having jurisdiction The appraisers will state separately the value ot the property and
amount of ioss. ll they fail to agree, they will submit their differences to the umpire. A decision agreed to by

any two will be blnding. Each party wili:
a. Pay its chosen appraiser; and
b. Bear the other expenses of the appraisal and umpire equatiy.
ii there is an appraisai, we will still retain our right to deny the ciairn.
3. Duties in The Event Of Loss Or Damage
a. You must see that the following are done in the event of loss or damage to Covered Property:
(1) Notiiy the police il a law may have been broken.
(2) Give us prompt notice of the loss or damage include a description of the property involved
(3) As soon as possiblel give us a description cl how, when and where the loss or damage occurred.

(4) 'i`ake all reasonable steps to protect the Covered Properly from further damage, and i<eep a record
of your expenses necessary to protect the Covered Property, tor consideration in the settlement of
the ctalm. This witt not increase the Limlt ot insurance However, we will not pay for any subsequent
loss or damage resulting from a cause of loss that is not a Covered Cause of t.oss. Also, if teasibier
set the damaged property aside and fn the best possible order icr examination

(5) At our request, give us complete inventories of the damaged and undamaged property. include
quantities, costs. values and amounth loss claimed

(6) As otten as may be reasonably required, permit us to inspect the property proving the loss or
damage and examine your books and records. ' -'

Aiso, permit us to take samples ot damaged and undamaged property for inspection, testing and
anaiysis, and permit us to make copies from your books-and records.

('r') Send us a slgned, sworn proof ci loss containing the information we request to investigate the ciaim.
You must do this within 60 days after our request We will supply you with the necessary iorms.

(8) Coopsrate with us in the investigation or settlement of the c|alm.

b. We may examine any insured under oath, while not in the presence ot any other insured and at such
times as may be reasonabty required. about any matter relating to this insurance or the ciaim, including
an insureds books and records in the event ct an examination an insured's answers must be signed

4. Loss payment
a. in the event ct loss or damage covered by this Coverage Form,' at our option, we will either:
(1) Pay the value of lost or damaged property:
(2) Pay the cost ot repairing or replacing the lost or damaged prcperty, subject to b. below;

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(3) lake all or any part ol the property at an agreed or appraised value; or

(4) tl:lej:iair, rebuild or replace the property with other property of like kind and qualily, subject to b.
elow.

We will determine the value of lost or damaged property, or the cost of its repair or replacementl in

accordance with the applicable terms of the Vaiuation Ccndltion in this Coverage Form or any

applicable provision which amends or supersedes the Va|uatlon Condttion.

b. The cost to repalr, rebuild or replace does not include the increased cost attributable to enforcement of
or compliance with any ordinance or law regulating the construction, use or repair ‘oi any property.

c. We will give notice of our intentions within 30 days after we receive the sworn proof cl loss.

d. We will not pay you more than your financial interest tn the Covered Property.

s. We may adjust losses with the owners ot lost or damaged property it other than you. if we pay the
owners, such payments will satisfy your claims against us for the owners' properly. We will not pay the
owners more than their financial interest in the Covered Property.

f. We may elect to defend you against suits arising from claims of owners of properly. We will do this at
our expense _ -

g. We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if you
have compiled with ali of the terms of this Coverage Part, and:

(1) We have reached agreement with you on the amount ot loss; or
(2) An appraisal award has been made.

h. A party wall is a wall that separates and is common to'adjoining buildings that are owned by different
partles. in settling covered losses involving a party wall, we will pay a proportion cl the loss to the party
wall based on your interest in the wall in proportion to the interest of the owner of the adjoining building
However, if you eiect to repair or replace your building and the owner of the adjoining building elects not
to repair or replace that building, we will pay you the full value of the loss to the party wail, subject to ali
applicable policy provisions including Llrnlts of lnsurance, the Valuation and Ccinsurance Conditions
and all other provisions of this toes Payment Condltion. Our payment under the provisions of this
paragraph does not alter any right of subrogation we may have against any entity. including the owner
or insurer of the adjoining building, and does not alter the terms ot the Transfer Oi Fiights Oi l=tecovery
Againsl Others To t}s Cond§tion in this policy.

5. Recovered Property
if either you or we recover any property after loss settlementl that party must give the other prompt notice.
At your option, the property will be returned to you. You must then return to us the amount we paid to you
for the properly. We will pay recovery expenses and the expenses to repair the recovered property, subject
to the Limlt of insurancel

6. Vacancy
a. Description OfTerms

(1) As used in this Vacancy Condltion, the term building and the term vacant have the meanings set
forth in (1}(a) and (1 )(b) below:

(a) When this policy is issued to a tenant, and with respect to that tenants interest in Covered
Property, buitding means the unit or suite rented or leased to the tenant Such building is vacant
when it does not contain enough business personal property to conduct customary operations

(b) When this policy is issued to the owner or general lessee of a building, building means the entire
building. Such building is vacant unless at least 31% of its total square footage is:

(i) Ftented to a lessee or sublessee and used by the lessee or sublessee to conduct its
customary operations; and!or

(ii) Used by the building owner to conduct customary operationsl
(2) Buiidings under construction or renovation are not considered vacant
b. Vacency Provisions

lf the building where loss or damage occurs has been vacant for more than 60 consecutive days before
that loss or damage occurs:

('i) We will not pay ior any loss or damage caused by any of the iolfowing, even if they are Covered
Causes of Loss:

(a) Vandalisrn;

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(b) Sprinl<ler leakage unless you have protected the system against treezlng;
(c) Building glass breakage;
(d) Waier damage;
(e) Tne.‘t: or
(t) Attemp!ed iheft.
(2) With respect to Covered Causes ot Loss other than those tieted in b.('l)(a) through b.(i)(l) above,
we will reduce the amount we would otherwise pay for the loss or damage by 15%.
7. Va|uetlon

We witt determine the vatue ct Covered i?roperty in the event of loss or damage as toiiows:

a. At actual cash value as ot the time ot tose or damage, except as provided in b., c., d. and e. betc\‘-.-'.

b. if the Limit ot insurance tor Building satisfies the Addltional Condition, Coinsuranoe. and the cost to
repair or repiace the damaged building property is $2¢§00 or less, we witt pay the cost ot building
repairs or replacement
Tbe' cost ot beiiding repairs or rep?acement does not inctude the increased cost attributable to
enforcement of or compliance witn any ordinance or law regulating the construction use or repair of
any property
However, the ioiio'.ving property witt be vatued at the aciuai cash vaiue, even when attached to tire
buiic'ing:

(1) Avrnings or ticor ooverings:
(2) Applianoes for refrigerating ventilating cooking, disnwasl'\ing or laundering or
(3) _Outdoor eqetprnent or furniture

c. "Stooi<'* you nave eoid but not delivered at the setting price toes discounts and expenses you otherwise
would have had.

d. Glass et the cost of replacement with safety-glazing material it required by law.

e. 't"enants' improvements and Betterments at:

(i) A_c‘.ual case value ot the lost or damaged property if you make repairs promptiy.
(2) A proportion ot your original cost it you do not make repairs prompt_iy. We witt determine t?".e
proportionate value as toiiovrs;
(a) triuttipiy the original cost by the number of days from the toss or damage to the expiration ot the
iease; and
(b) Divlde the amount determined in (a) above 'oy the number et days from the installation of
improvements to the expiration ot the iease.
if your tease contains a rsnewai op_tion_. the expiration ot the renewat option period will replace the
expiration of the lease in this prooeoure.
(3) Nothing it others pay for repairs or repiacement.
F. Additionat Conditions
The fci=iowlng conditions appty in addition to the Comrn_on Poiicy Condi:icns end the Commercia! P.'operty
Condftions:
1. Coinsu_ranoe 7

if a Coinsurance percentage is shown in the Decleratlons. the following condition applies: -

a. We witt not pay the toll amount of any loss it the value of Covered Property at the time of loss times the
Coinsurance percentage shown for lt tn the Decia'rations is greater than the Limit ot insurance for the
r:)l'opertyl
lnstead, we will determine the most we will pay using the following steps:

(1) Muitlply the value of Covered Properly at the time ot loss by the Coinsurance percentage;

(2) D'ivide the l_imit of insurance of the property by the figure determined in Step (1);

(3) Muiilpiy the total amount ot loss, before the application ot any deductible, by the figure determined
ih Siep (2); and '

(4) Subtraot the deductible from the iigure determined in Step (3).

We will pay the amount determined in Slep (4) or the Limit ct lnsuranoe, whichever is iess. l=or the

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remainder, you will either have to rely on other insurance or absorb the loss yourseit.
Example1 (Underinsurance)

When: The value of the property is: $ 250,000
The Ccinsurance percentage for it is: 80%
The i_imit of insurance lot ii is: $ 100,000
The Deduclibie is: $ 250
The amount ot loss is: $_ 40,000
Siep (1): $250,000 x 80% .-.= $200,000
(the minimum amount ot insurance to meet your Coinsurance requirements)
step (2): srcc,ooo + saoo,ooc = so
Siep (3): $40,000 x .50 = $20,000
Siep (4): $20,000 - $250 = $19,750
We wii| pay no more than $19,750, The remaining $20,250 is not covered
Exampie 2 {Adequate |nsurance)

When: The value ot the property is: $ 250,000
The Co|nsurance percentage

for it is: 80%
Ttie t.irnit ct insurance foritis: $ 200,000
The Deducttble is: $ 250
The amount of loss ls: $ 40,000

The minimum amount of insurance to meet your Coinsurance requirement ls $200,000 ($250,000 x 80%).
Therefore, the L!mlt of insurance in this example is adequate. and no penalty applies We will pay no more than
$39,750 ($40,000 amount cl loss minus the deductible cl $250).
b. if one Limit ct insurance applies to two or more separate ilems, this condition will apply to the total of ali
property to which the limit applies.

Exampie 3
When: The value of the property is:
Buiiding at Locetion 1: $ 75,000
Buliding at Locatlon 2: $ 100,000
Personal Property
at Looaiion 2: $ 75,000
S 250,000

The Coinsurance percentage

for it is: 90%
The l_lmlt of insurance for

Buiidings and Personal Froperty

at Localions 1 and 2 is: $ 180,000

The Deductibie is: $ 1,000

The amount cl loss is:

Buiiding at i_ocaiion 2: $ 30,000

Persona| Property

at Location 2: $ 20,000
$ 50,000

Sfep (1): $250,000 X 90% = $225,000

(the minimum amount of insurance to
meet your Colnsurance requirements
and to avoid the penalty shown belovr)

Step (2): $180,000 + $225,000 = .80
step (3): sss',occ x .eo = 340.000

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Step l4i: $40.000 - $1,000 = 839,000
We will pay no more then $39,000. The remaining Si 1,000 is not coveredl
2. hiertgagehoiders
a. The term mortgagehoicier includes irustes.

b. We witt pay ior covered loss of or damage to buildings or structures to each mortgagehoider shown in
the Declarations in their order of precedencel as interests may appear.

c. The mortgagehoider has the right to receive loss payment even if the mongagehoider has started
foreclosure or similar action on the building or structure

d. if we deny your claim because of your acts or because you have failed to comply with the terms of this
Coverage Part, the mortgageholder wilt still have the right to receive loss payment ii the
mortgageholder:

(1) Pays any premium due under this Coverage Part at our request if you have failed to do so:
(2) Submits a signed, sworn proof of loss within 60 days after receiving notice from us et your failure to
do so; and

(3) t-ias notified us ot any change in ownershlp, occupancy or substantial change in risk litnown to the
mortgageholder.-

Ali ot the terms ct this Ccverage Part will then apply directly to the mortgageholder.

e. if we pay the mortgagehoicier for any loss or damage and deny payment to you because of your acts or
because you have failed to compr with the terms ot this Coverage Part:

(i) The mortgagehoider‘s rights under the mortgage witl be transferred to us to the extent of the amount
we pay; and _

(2) The mortgagehoider'$ right to recover the iuli amount of the mortgageholder‘e claim will not be
impaired

At our option, we may pay to the mortgageho|der the whole principal on the mortgage plus any accrued
interest in this event, your mortgage and note will be transferred to us and you will pay your remaining
mortgage debt to us. `

f. li we cancel this policy, we will give written notice to the mortgagehoider at |east:
(1) 10 days before the efiective date cf oanceitatton if we cancel tor your nonpayment ot premium; or
(2) 30 days before the effective date of cancetiation ii we cancel for any other reascn.
g. if we elect not to renew this poticy, we will give written notice to the-mortgagehcider at least 10 days
before the expiration date ot this poiicy.
G. Optlonai Coverages
ii shown as applicable in the Declarations, the iotiowing Optlonai Coverages apply separately to each item:
1. Agreed Vaiue
a. The Addii|ona| Condltlon, Coinsurance1 does not apply to Covered Property to which this Optlonai
Cov_erage applies We will pay no more for loss ot or damage to that property than the proportion that
the Limit ct insurance under this Coverage Part for lheproperty bears to the Agreed Vaiue shown for it
|n the Dectaratione.
b. ll the expiration date tor this Optlonai Coverage shown in the Deolaraiions is not extended, the
Additlonal Condition, Coinsurance, is reinstated and this Optlonai Coverage expires
c. The terms `of this Optional Coverage apply only to loss or damage that occurs:
(1) On or after the effective date ot this Optlonai Coverage; and
(2) Beiore the Agreed Value expiration date shown.in the Deciarations or the policy expiration date,
whichever occurs first. "
2. lnfiation Guard
a. The Limit ot lnsurance for property to which this Optioha| Coverage applies will automatically increase
by the annual percentage shown in the Declaraiiohs.
b. The amount of increase will he'.

(1) The Limit of insurance that applied on‘the most recent ot the policy inception oate. the policy
anniversary date, or any other policy change amending the Limit of lnsurance, times

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(2) The percentage ot annual increase shown in the Deciarations, expressed as a decimat (exarnple:
8% is .08), times

(3) The number of days since the beginning ot the current policy year or the effective date ot the most
recent policy change amending the Limit ot |nsurance. divided by 365.

Exampie
lf: The applicabte Limit oi insurance is: $ 100.000
The annuat percentage increase is: 8%

The number of days since the
beginning ot the policy year

(or last policy change) is: 146
The amount ci increase is:
3100,000 x ,08 x 146 + 365 = $' 3,200

3. Fiepiac_ement Cost

a. Repiacement Cost (wlthout deduction for depreciattcn) replaces Aclual Gash Vaiue in the Valuation
Loss Condltion ot this Coverage Form.

b. This Optlonai Coverage does not apply to:
(1) Personai property oi others;
(2) Ccntents oi a residence;

(3) Worl<s ot art, antiques or rare articles, including etchtngs, pictures, statuary, marbies. bronzes,
porceialns and bric-a-brac; or

(4) 5i‘€»iocl<', unless the including "Stock' option ts shown in the Deciarations.

Under the terms of this Fteplacement Cost Optlonai Coverage, tenants‘ improvements and betterments
are not considered to be the personal property ot others.

c. You may make a claim for loss or damage covered by this insurance on an actual cash value basis
instead oi on a replacement cost basts. in the event you eiect to have loss or damage setiied on an
actual cash value basts, you may still make a ciairn tor the additional coverage this Optlonai Coverage
provides if you notify us ot your intent to do so within 180 days after the loss or damage

d. We will not pay on a replacement cost basis for any loss or damage:
(1) Uniil the lost or damaged property is actually repaired or repiaced; and
(2) Unless the repair or replacement is made as soon as reasonably possible after the loss or damage
With respect to tenants' improvements and betterments, the following also appty:

(3) it the conditions in d.(t) and d.(2) above are not met, the value of tenants' improvements and
betterments will be determined as a proportion ot your original cost, as Set forth in the Valuation
t_oss Condlticn cl this Coverage Form; and

(4} We will not pay for loss or damage to tenanls' improvements and betterments it others pay for
repairs or replacet'nenil

e. We will not pay more for tose or damage on a repiacemont cost basis than the least of (1), (2) or (3),
subfect to t. beiow:

(1) The Limit of insurance applicable to the lost or damaged property;
(2) The cost to replace the lost or damaged property with other property:
(a) Ot comparable material and quality; and
(b) Used for the same purpose; or
(3) The amount actuatiy spent that is necessary to repair or replace the lost or damaged property

li a building is rebulit-at a new premises, the cost described in e.(2) above is limited to the cost which
would have been incurred ii the building had been rebuilt at the original premises

f. The cost ci repair or replacement does not include the increased cost attributabie to enforcement of or
compliance with any ordinance or law regulating the construction, use or repair cl any property

4. Extenston Ot Fteplacernent Cost To Personet Prcperty Of Others

a. lt the Fteplacement Cost Optlonai Coverage is shown as applicable in the Deciaretions, then this
Extenslon may aiso be shown as applicablel lt the Deciarations show this Extens|on as applicabie, then
Paragraph 3.1).(1) ot the titepiacernent Cost Optlonai Coverage is deleted end all other provisions ot the

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Fteplacement Ccst Optlonai Coverage apply to replacement cost on personal property ct others
b. With respect to replacement cost on the personal property ct others, the following limitation applies:

ll an item(s) of personal property of others is subject to a written contract which governs your liabitity tcr
loss or damage to that item{s), then valuation oi-that ilern(s) will be based on the amount for which you
are liable under such contract, but not to exceed the lesser of the replacement cost ot the property or
the applicable t.imit of insurance

H. Deiinltions'

1. "i-`ungus" means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, sce-nis
or by-products produced or released by iungi.

2. 'Pollutants' means any solid, liquld, gaseous or thermal irritant o_r contaminant, including smoke, vapor,
scol, tumes, acids, aikaiis, chemicals and Waste. Waste includes materials to be rscycied, reconditioned or
reclaimed.

3. "Stock" means merchandise held in storage or for sale, raw materials and in-prooess or finished goods.
including supplies used in their packing or shipping

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CPGDSD 10 '12

BUS|NESS iNCOiii`iE (AND EXTFiA EXPENSE) COVERAGE FORN|

\/arious provisions in this policy restrict coverage Fiead the entire policy carefuiiy to determine rights, duties and
what is and is not covered

'l`hroughcut this policyl the words "you*' and “your“ refer to the Named insured shown in the Deciarations. The
words "we", l'us' and "our“ refer to the company providing this insurance

Otherwords and phrases that appear in quotation marks have speciai meaning Fteier to Seciion F. Deir'nitions.

A. Coverage
1. Bueiness income

Business income means the:
a. Net income (Net Prolit cr Loss before income taxes) that would have been earned or incurred; and

b. Continulng normal operating expenses incurred, including payroii.
For manufacturing risks, Nei income includes the net sales-value oi production
Coverage is provided as described and limited below for one or more oi the following options lor which a
Limit Of insurance is shown in the Declarallons:

(1) Bus|ness income including "Ftenta| Vaiue".

(2) Business income Other Than “Reniai Vaiue“.

(3) “Ftentai Vaiue'.
if option (1) above is selectedl the term Business income will include "Ftenlai Va|ue". if option (3) above is
seieoted, the term Business income will mean "Rentai Vaiue" only.
ii Limits of insurance are shown under more than one oi the above options, the provisions ci this Coverage
Part apply separately to eaoh.
We will pay for the actual loss of Business income you sustain due to the necessary *‘suspension“ ot your
"operalions" during the l‘period of restoration“. The "suspension" must be caused by direct physical loss ot
or damage to property et premises which are described in the Deoiarations and for which a Business
income Limit Of insurance is shown in the Deciaralions. The loss or damage must be caused by or result
from a Covered Cause cf Loss. With respect to lose of or damage to personal property in the open or
personal property in a vehicle, the described premises include the area within 100 feet of such premises
Wiih respect to the requirements set forth in the preceding paragraph. if you occupy only part cf a building,
your premises means:

(a) The portion of the building which you reni, iease or occupy;

(b) The area within 100 feet ot the building or within 100 feet of the premises described in the
Dec|arations, whichever distance is greater (witb respect to loss of or damage to personal
property in the open or personai property in a vehicie); and

(c) Any area within the building or at the described premises, if that area services, or is used to gain
access to, the portion of the building which you rent, lease or occupy.

2. Extra Expense

a. Extra Expense Coverage is provided at the premises described in the Deciarattons only if the
Deciaratione show that Business income Coverage applies at that premises

b. Exira Expense means necessary expenses you incur during the "period of restoration*‘ that you wouid
not have incurred if there had been no direct physical loss or damage to property caused by or resulting

from a Covered Cause of i.oss.
We will pay Extra Expense (other than the expense to repair or repiace property) io:

(1) Avoid or minimize the "suspension" of business and to continue operations at the described
premises or at replacement premises or temporary iocations, including relocation expenses and
costs to equip and operate the replacement location or temporary location

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(2) Minimize the 'suspension' ot business it you cannot continue "operationsi.

We will also pay Extra Expens`e to repair or replace prcperty. but only to the extent it reduces the
amount ot loss that otherwise would have been payable under this Coverage Form.

3. Covered Causes Of Loss, Exclusions And Limitations
See applicable Causes Ol Loss form as sho‘.vn in the Declaratlons.
4. Addit|onal Limitation ~ interruption Ot Computer Operaltons

a. Coverage for Buslness income does nol appr when a "suspenslon“ of "operations‘ is caused by
destruction or corruption of electronic data, or any loss or damage to electronic daia_. except as
provided under the Additionai Coverage, interruption _Of Computer Operalions.

b. Coverage tor Extra Expense does not apply when action is tei§en to avoid or minimize a "suspenslon"
of "operations" caused by destruction or corruption of electronic data, or any loss or damage to
electronic data, except as provided under the Additionai Coverage, interruption Of Computer
Ope`rations.

c. Eieotronic data means iniormailon. facts or computer programs stored as or on, created or used on, or
transmitted to or irom computer software (i_nciuding systems and applications software), on hard or
floppy disks, CD-ROivts, tapes, drives, cells, data processing devices or any other repositories cl
computer software which are used with electronically controlled equipment The term computer
progrr:-rrnsl referred to in the foregoing description of electronic dala, means a set ot related electronic
instructions which direct the operations and functions of a computer or device connected to it, which
enable the computer cr device to receive, processl store, retrieve or send data

d. This Additionai i_irnitation does not apply when loss or damage to electronic data involves oniy
electronic data which is integrated in and operates or controls a buildings elevator, iighting, heating
ventilation, air conditioning or security system.

5. Additlonal Coverages

a. Clvii Authority

in this Additlona| Coverage, Civii Authority, the described premises are premises to which this
Coverage Form applies, as shown in the Declarations.

When a Covered Cause ot Loss causes damage to property other than property at the described
premises, we will pay ior the actual loss of Business income you sustain and necessary Extra Expense
caused by action of civil authority that prohibits access to the described premises. provided that both of
the following eppiy:

(1) Access to thearea immediately surrounding the damaged property is prohibited by civil authority as
a result of the damage, and the described premises are within that area but are not more than one
mile from the damaged property; and '

(2) The action of civii authority is taken in response to dangerous physical conditions resulting from the
damage or continuation of the Covered Cause of Loss that caused the damage, or the action is
taken to enable a civil authority to have unimpeded access to the damaged property.

C_ivti Authority Coverage for Business income will begin 72 hours after the time of the first action cf civil
authority that prohibits access to the described premises and will apply for e period ot up to four
consecutive weeks from the date on which such coverage began

Civii Authority Coverago for Extra Expense will begin lmmediateiy after the lime ot the first action ct civil
authority that prohibits access to the described premises and will end:

(1)_ Four consecutive weeks after the date of_that action; or
(2) When your Civii Authority Coverage for Business income ends;
whichever is iater.

b. Aiteratlons And New Buiidlngs

We will pay for the actual loss of Bosiness income you sustainand necessary Extra Expense you incur
due to direct physical loss or damage at the described premises caused by or resuiiing from any
Covered Cause ct t_oss to:

(1) New buildings or structures whether compie`te o_r under construction;

(2) Alterations or additions to existing buildings or structures; and

(3) lvlechinery, equipment, suppties or building materials located on or within 100 feet of the described
premises and:

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(a) Used in the construction, alterations or additions; or
(b) incidental to the occupancy cl new buildings
ll such direct physical loss or damage delays the start oi "operations**, the "period ot restoration" for
Business income Coverage will begin on the date "cperations' would have begun il the direct physical
loss or damage had not occurred
c. Extended Business income
(1) Business income Other Than "Ftentai Vatue"
il the necessary “suspension" of your "operations" produces a Business income loss payable under
this potlcy, we will pay for the actual loss ot Business income you incur during the period that:
(a) Begins on the date property {except “fintshed stocl<") is actually repaired. rebuilt or replaced and
"operatlons” are resumed; and
(b) Ends on the earlier cit
(i) The date you could restore your “operations*', with reasonable speed, to the level which
would generate the business income amount that would have existed it no direct physical
loss or damage had occurred; or
(ii) 60 consecutive days alter the date determined in (1)(a} above.
However, Extended Business income does not apply to loss ot Business income incurred as a result
ct unfavorable business conditions caused by the impact of the Covered Cause of Loss in the area
where the described premises are located
Loss of Business income must be caused by direct physical loss or damage at the described
premises caused by or resulting from any Covered Cause ot t.oss.

(2) “Rental Vatue"
ii the necessary “suspension" of your 'operations*' produces a "Fientai Vaiue" loss payable under
this policy, we will pay ior the actual loss of "Rentai Vatue" you incur during the period that:
(a) Beglns on the date property is actuai|y repairedl rebuilt or replaced and tenanlablilty is restored;
and
(b) Ends on the earlier ol: _

(i) The date you could restore tenant occupancy, with reasonable speed, to the level which
woutd generate the "Rental Value" that would have existed it no direct physical loss or

damage had occurred; or
(ii) 60 consecutive days alter the date determined in (2)(a) above.
However, Extended Business income does not apply to loss of “Ftenlai Vatue" incurred as a result ot
unfavorable business conditions caused by the impact ot the Covered Cause ot t.oss in the area
where the described premises are located
Loss of ’Rentat Vaiue" must be caused by direct physical loss or damage at the described premises
caused by or resulting from any Covered Cause ct t_oss.
d. interruption 01 Computer Operations

(1) Under this Additional Coverage, electronic data has the meaning described under Additionai
Limitation - interruption Ol Cornputer Operations

(2) Subiect to ali provisions _oi this Additlonal Coverage, you may extend the insurance that applies to
Business income and Extra Expense to apply to a "suspension“ ot “opsrations" caused by an
interruption in computer operations due to destruction or corruption ot electronic data due to a
Covered Cause ct t_oss. However, we will not provide coverage under this Additionat Coverage
when the Addltionat i_irnitation - interruption .Oi Computer Operations does not apply based on

Paragraph A.¢i.d. therein.

(3) Wlth respect to the coverage provided under this Addltlona'l Coverage, the Covered Causes of Loss
are subject to the foitowing:

(a) if the Causes Oi Loss ~ Special Form appliesl coverage under this Additional Coverage,
interruption Ol Cornputer Operations, is limited to the 'specllled causes of ioss’* as dellned in
that form and Collapse as set forth in that iorrn.

(b) it the Causes Ot l_oss - Broad Form applies, coverage under this Additionai Coverage,
interruption Oi Cornputer Operations, includes Co||apse as set forth in that lorm.

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(c) if the Causes Oi Loss form is endorsed to add a'Covered Cause of t_oss, the additional Covered
Cause of Loss does not apply to the coverage provided under this Addilionai Coverage.
interruption Of Computer Operations

(d) The Covered Causes ot Loss inctude a virus, harmful code or similar instruction introduced into
or enacted on a computer system (inciuding electronic data) or a network to which it is
connectedl designed to damage or destroy any part of the system or disrupt its normai
operation But there te no coverage for an interruption totaled to manipuiation ot a computer
system (inciuding electronic data) by any empioyee, lnciuding a temporary or leased empioyee,
or by an entity retained by you or for you to inspectl destgn, insta|i, maintainl repair or replace
that system.

(4) The most we wii|_pay under this Aciditionai Cove`rage, interruption Of Compuier Operations, is
$2,500 (un|ess a higher limit is shown in the Dec|aratione) for all loss sustained and expense
incurred in any one policy year. regardless ot the number ot interruptions or the number cl
premises, locations or computer systems involved. ii loss payment relating to the first interruption
does not exhaust this amount, then the balance is available for ioss or expense sustained or
incurred as a resutt ot subsequent interruptions in that policy year. A balance remaining at the end
of a policy year does not increase the amount of insurance in the next poitcy year. With respect to
any interruption which begins in one poilcy_ year and continues or results in additional loss or
expense in a subsequent policy yea'r(s),‘ ai| tose and expense is deemed to be sustained or incurred
in the poiicy year in which the interruption began

(5) This Additional Coverage, interruption Oi Computer Operations, does not apply to loss sustained-or
expense incurred after the end ot the “perioci of reetoration", even ii the amount of insurance stated
in (4) above has not been exhausted

6. Coverage Extenslon

it a Coinsurance percentage of 50% or more is shown in the Declarations. you may extend the insurance
provided by this Coverege Part as iol|ows:

Newly Acquired Locations

a. You may extend your Business income and Extra Ex_cense Covereges to apply to property at any
location you acquire other than tairs or exhibitionsl

b. The most ‘.'.-'e '~.~.'iii pay under tnis Ex-‘.ension, for the sum of Business lencorne toes and Extra Expense
incorreo, is 3163,000 at each tocation, unless a higher limit is shown in the Deciarations.
c. insurance under this Extensicn €or each newly acquired ioceticn t'.'iti end when any ct :ne iciio‘.‘:ing first
occurs:
(1) This poiicy expires;
(2) 30 days expire after you acquire or begin to construct‘the property; or
(3) Ycu report vatues to us. _
We \.'riii charge you adoittonai premium ic values reported irons the date you acquire the property
The Adciitionai Ccnditior:, Coinsurance. does not appiy to this Extension.
B. Lirnits Of insurance

The most we wilt pay for loss in any one occurrence rs the applicabie Limit Ot insurance shown in the
Deciarations. `

Payments under ti‘.e £oiio‘.ving coverages witt not increase the applicants Limit cf insurance:
1. Ai:erations And Nevr Buiidiogs; '
2. Oiin Auihority:
3. Extra E-xpense; or
4. Extended Business income.
The amounts ct insurance stated in tne interruption Oi Ccrnputer Operations Additiona! Coverage and the
Ne\.~.’iy Acquired i.ocations Coverage Extension appr in.acoordance with the terms ot those coverages and are
separate from the Limit(s) Of insurance shown in the Dectaraitons for any other coverage
C. Loss Conciiiions

The foliowing conditions apply in addition to the Common Po'iicy Ccnditions and the Cornmercia| Property
Conditions:

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1. Appraisal

if we and you disagree on the amount 01 Netlncome and operating expense or the amount ot lossl either
may make written demand lor an appraisal oi the ioss. in this event, each party will select a competent and

impartial appreiser.
The two appraisers wlil select an umpire. lt they cannot agree, either may request that selection be made
by a judge of a court having jurisdiction The appraisers will slate separately the amount of Net income and
operating expense or amount ot loss. ll they tail to ag ree, they will submit their diiterences to the umpire. A
decision agreed to by any two will be binding Each party will:
a. Pay its chosen appraiser; and
b. Bear the Other expenses oi the appraisal and umpire equally
ll therein an appraisai, we will still retain our right to deny the claim.
2. Dutles in T he Event Ot Loss
a. You must see that the following are done in the event ot loss:
(1) Notiiy the police lt a law may have been broken
(2) Give us prompt notice of the direct physical loss or damage include a description 01 the property
involved
(3) AS SOOH as possible give us a description ot how. when and where the direct physical loss or
damage occurredl

(4) Take all reasonable steps lo protect the Covered Properiy from further damage, and keep a record
of your expenses necessary to protect the Covered Property, for consideration in the settlement of
the cialm. This wili not increase the Limit of insurance i-lcwever, we witt not pay for any subsequent
loss or damage resulting from a cause of loss that is hot a Covered Cause 01 Loss. Also, if feasible,
set the damaged property aside and in the best possible order for examination

(5) As often as may be reasonably required, permit us to inspect the properly proving the loss or
damage and examine your books and records

Also permit us to take samples of damaged and undamaged property for inspection, testing and
analysls, and permit us to make copies from your books and records.

(6) Send us a signed, sworn proof ci loss containing the information we request to investigate the claim.
You must do this within 60 days after our request We will supply you with the necessary iorms.

(7) Cooperaie with us in the investigation or settlement of the claim.

(8) lt you intend to continue your businessl you must resume atl or part oi your "operalions“ as quickly
as possible.

b. We may examine any insured under oath, while not in the presence of any other insured and at such
times as may be reasonably reguired, about any matter relating to this insurance or the claim, including
an lnsured's books and records. in the event of an examination, an lnsuracl's answers must be signed

3. Loss Deterrninatlon

a. The amount 01 Business income loss will be determined based on:

(1) the Net income ot the business before the direct physical loss or damage occurred;

(2) The liker Net income of the business ii no physical ross or damage had occurred, but not including
any Net income that would likely have been earned as a result ot an increase in the volume ct
business due to favorable business conditions caused by the impact of the Covered Cause ct Loss
on customers or on other businesses;

(3) The operating expenses, including payroll expenses, necessary to resume "operations“ with the
same quality of service that existed just before the direct physical loss or damage; and

(4) Other reievani sources ot iniormaiion, inciuding:
(a) Your financial records and accounting proceduroe;
(b) Bi|ls, invoices and other vouchers; and
(c) Deeds, liens or contracts
b. The amount of Extra Expense wli| be determined based on:

{'i) Ali expenses that exceed the normal operating expenses that would have been incurred by
"operatlons" during the "period of resioration'l il no direct physical loss or damage had occurred We
will deduct from the total of such expenses:

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(a) The salvage value that remains of any property bought ior temporary use during the "period of
restoralicn", once ’operations" are resumed; and

(b) Any Extra Expense that is paid for by'cther insurance, except for insurance that is written
subject to the same pian, terms, conditions and provisions as this insurance; and

(2) Necessary expenses that reduce the Business income loss that otherwise would have been
incurred

o. Flesumption Oi Operations
We will reduce the amount ot your:

(1) Business income ioss, other than Extra Expense. to the extent you can resume your ”operaticns `, in
whole or in part by using damaged or undamaged property tlnciuding merchandise or stoth at the
described premises or eisewhere. '

(2) Extra Expense loss to the extent you can return "operatione" to normal and discontinue such Extra
Expense.

ct. ll you do not resume “operatlons“, or do not resume "operations“ as quickly as possibte. we will pay
based on the length of time it would have taken to resume "operations" as quickly as possibie.

4. Loss Payment

We will pay for covered loss within 30 days after we receive the sworn proof cf loss. if you have complied
with ali of the terms of this Coverage Part, and:

a. We have reached agreement with you on the amount of ioss; or
b. An appraisat award has been madel
D. Addlttonai Condition
COENSURANCE

ii a Colnsurance percentage is shown in the Deciaratlons, the following condition applies in addition to the
Common Policy Conditions and the Commercial Properly Condttions.

We will not pay the full amount of any Business income loss it the Limit of insurance for Business income is
iess than:

1. The Coinsurance percentage shown for Business income in the Deola'rations; times
2. The sum of:
a. The Net income inlet Protit or Loss before income taxes), and
b. Operating expenses, inciuding payroll expenses
that would have been earned or incurred (hao` no loss occurred) by your "operations‘ at line described
premises for the 12 months foitcwing the inception or last previous anniversary date. ot this policy
(whlchever is tater).
lnstead, we will determine the most we witt pay using the following steps:
Step (1): trieittp:y the Net income and operating expense for the
12 months foiiowing the inception
or last previous anniversary date,
of this policy by the Colnsurance percentage:
Step (2): Divide the Limit oi insurance for the described premises
by the figure determined in Step (i); and
Step (3): Multlpiy the total amount ot loss by
the figure determined in Step (2).
We witt pay the amount determined in Step (3) ortho limit of insurance, whichever is iess. For the remainder,
you witt either have to rely on other insurance or absorb the loss yoursei.‘.
in ceterrninir‘.gcperating expenses for the purpose c.‘ applying the Coicsurance condition, the foti wing
expenses it appttcabie. shall be deducted from the total of all operating expenses:
(1) i_°_repaid freight ~ outgoing;
(2) Returns and ali wances;
(3) Discounts;
(4) Bad debts;

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(5) Coliection expenses;
(6) Cost oi raw stock and tactory supplies consumed '(inctuding transportation charges);
(?} Cest of merchandise sold {including transportation charges);
(8) Cost ot other supplies consumed {inciuding transportation charges);
(9) Cos`t oi1 services purchased from outsiders (not employees) to reselll that do not continue under
con rac ;
(10) Power, heat and refrigeration expenses that do not continue under contract (if Form CP 15 11 is
ettached);
(11) A|l payroll expenses or the amount of payroll expense excluded (li Form CP 15 10 is attached); and

(12) Spsciat deductions for mining properties (royaities unless specitica|ty lociuded tn coverage; actual
depletion commonly known as unit or cost depletion - not percentage deptetion; welfare and
retirement fund charges based on tonnage; hired trucks).

Examplei (Underinsurance)

When: The Net income and operating
expenses for the 12 months
to|lowing the inception, or last
previous anniversary date, of
this policy at the described
premises would have been: $ 400,000

The Coinsurance percentage is: 50%
The Limit ot insurance is: $ 150,000
The amount 01 Loss is: $ 80,000

Step (1): $400,000 x 50% = $200,000
(the'minimum amount of insurance to meet your Coinsurance requirements)
Step (2}: $150.000 -:- $200,000 = .75
step (3): sso,ooo x .75 = sso,ooo
We wii| pay no more than $60,000. The remaining $20,000 is not covered
Examp|e 2 (Adequate insuranoe)

When: The Net income and operating
expenses for the 12 months
following the lnceptien, or last

previous anniversary daie, of
this policy at the described premises

wouid have baen: $ 400,000
The Coinsurance percentage is: 50%
The l.imitoitnsuranceis: $ 200,000
The amount of ioss is: $ 80,000

The minimum amount ot insurance to meet your Coinsurance requirement is $200,000 ($400,000 x 50%).
Therefore, the Limit ot insurance in this exempts is adequate and no penalty appiies. We will pay no more than

$80,000 (amount of ioss).

This condition does not apply to Extra Expense Coverage.

E. Optlonai C_overages
ii shown as applicabie in the Deciarations, the following Optlonai Coverages apply separately to each ltem.
1. Meximum Perlod Of indemnity

H. The Additlonai Condltion, Cotnsurance, does not apply to this Coverage Form at the described
premises to which this Optlonai Coverage applies

b. The most we wlll`pay for the total oi Business income loss and Extra Expense is the lesser of:

(1} The amount of toss sustained and expenses incurred during the 120 days immediately following the
beginning 01 the "perioci oi resioration"; or

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(2) The Limit Oi insurance shown in the Dectaratioos.
2. Monthiy_ Limit Of indemnity

a. The Addltlona| Condition, Coinsurance, does not apply to this Coverage Form at the described
premises to which this Optionai Coverage applies

b. The most we will pay for ioss of Business income in each period of 30 consecutive days after the
beginning ot the "period of restoratioh' is:

(1) The Limit of insurance multiplied by
(2) The fraction shown in the Deciaraiions for this Optionai Coverage.
Exam pie

When: The Limit ot insurance ls: $ 320,000

The fraction shown in the
Deciarations for this Optiona|

Coverage is: 114
The most we will pay ior loss

in each period ot 30 consecutive
days is: $ 30,000
rst 20.0co x 1.~‘4 = sac,cco)

ii, in this examplel the actuai
amount of loss is:

Days 1-30: $ 40,000
Days 31-60: $ 20,000
Days 61»90: $ 30,000
S 90,000
We will pay:
Days 1-30; S BOXOCC
Day$ 31-60: 3 23.000
Days 61-90: 3 30.000
S 80,00'3

The-remaining $10,000 is not covered
3. Business income Agreed Vatue
a. To activate this Optional Ccverege:
(1) A Business income Report-‘Work Sheet must be submitted to us and must show financial data ior
your ‘operations“:
(a) Duri_ng the 12 months prior to the date of the Wo.rk Sheet: and
(b-) Estimated for the 12 months lmmediateiy ioliowing the inception of this Optic_nai Ocverage.

(2) The Dsciaratlons must indicate that the Business income Agreeo` Vaiue Octtonai Coverage applies,
and an Ag.reed Vaiue must be shown in the Beciarations. The Agreed Value shouid be at least
equal to:

(a) The Co|nsurance percentage shown in the Dec!arations;-muitipiied by

(b) The amount ol‘ Net income and operating expenses for the fciicwlng 12 months you report on
the Wori< Sheet.

b. The Adoi`tiortal Condition. Colnsurance. is suspended untii:
(1) 12 months after the eifective date ct this Optlonai Co\.'erage; cr
(2) The expiration date of this polloy:
whichever occurs iirst.

c. We will reinstate the Additiona! Condition, Coinsura'nce, automaticafly if you do not submit a new Wori<
Sheet and Agreed Vaiue:

(1) Within 12 months of the effective date of this Optionai Coverage: cr
(2) When you requests change in your Business income Limit ct insurance

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a. The slowdown or cessation of your business acilvities; or

b. That a pan or ali of the described premises is rendered untenantabie, if coverage for Business income
|nciuding “Ftental Value" or "Rentai Vaiue’ applies

d. if the Business income Limit ot insurance is foss than the Agreed Vatue, we will not pay more of any
ioss than the amount of loss multiplied by:

(1) The Business lncome't_lrnlt of insurance; divided by
(2) The Agreed Vaiue.

Examp|e

When: The Limit of insurance is: $ 100,000
The Agreed Vaiue is: $ 200,000
'ihe amount ot loss is: $ 80,000

Siep (‘i}: $'iO0,000 + $200,000 = .50
Step (2): .50 x $80,000 = $40,000
We will pay $40,000. The remaining $40.000 is not covered

4, Extended Period Ot indemnity
Under Paragraph A.B.c,, Extended Business income, the number 60 in Subparagraphs (1)(b) and (2){b)
is replaced by the number shown in the Dectarations for this Optlonai Coverage.
F. Detinitions
1 . "Finished stock“ means stock you have manufactured
"Ftnished stoci<" also includes whiskey and alcoholic products being aged, unless there is a Coinsurance
percentage shown tor Business income in the Declarations.
“Finished stock‘ does not include stock you have.menufactured that is held for safe on the premises of any
reta|§ outlet insured under this Coverage Part.
“Operations“ means:
a. Your business activities occurring at the described premises; and
b. The tenantabiiity of the described premises, if coverage for Business income including "Ftentai Vaiue“
or "Reniai Value' applies
”Pen'od.oi restoration" means the period of time that:
a. Begins:
(1) 72 hours after the time of direct physical ioss or damage for Business income Coverage; or
(2) immediately after the time ot direct physicai toss or damage for Extra Expense Coverage;
caused by or resuiting from any Covered Cause of i_oss at the described premises; and

b. Ends on the earlier of.'
(1) The date when the property at the described premises should be repelred, rebuilt or replaced with
reasonable speed and similar quailty; or
(2) The date when business is resumed at a new permanent iocation.
"Period of restoration*‘ does not include any increased period required due to the enforcement of or
compliance with any ordinance or law thai:
(1) Fiegu|ates the construction, use or repair, or requires the tearing down, of any property; or
(2) Ftequires any insured or others to test for, monitor, ciean up, remove, contain, ireat, detoxiiy or
neutralize, or in any way respond to, or assess the effects oi "poiiutants“.
The expiration date ot this poiicy witt not cut short the 'period of rsstoration“.

4. ”Poilutants“ means any solld, iiquid. gaseous cr thermai irritant or contaminani, including smoke, vapor,
soot, fumes, acids, aikaiis, chemicals and wasie. Waste includes materiats to be recycled. reconditioned or
reciaimed.

5. “Fteniai Value” means Business income that consists oi:

a. Net income (Net i?roiit or Loss before income taxes} that would have been earned or incurred as rental
income from tenant occupancy ot the premises described in the Declarations as furnished and
equipped by you, lnciudlng fair rentai vaiue of any portion of the described premises which is occupied
by you; and

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!`-"

E-°

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b. Conttnuing normal operating expenses incurred in connection with that premises lnciuding:
(1) Payroit; and
(2) The amount of charges which are the iegai obligation of the tenant(s) but would otherwise be your
obligations

6. ‘Suspenston" means:
a. The,siowdown cr cessation oi your business activities: cr

b. T’nat a part cr ali ct the described premises is rendered untenantabie, it coverage tor Business income
including "Ftental Veiue“ cr "Ftentai Vaiue` applies

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CPODQG 07 88

CONiNiEFiCiAL. PRGPERTY CONDIT|ONS

This Coverage Part is subject to the following conditionsl the Cornrncn Poticy Condiiions and applicable Loss
Condltions and Addilionai Conditlons in Cornmerciai Prcperty Coverage Forms.

A. CONCEALMENT, MFSREPRESENTATION OFi FRAUD

This Coverage Part is void in any case ot fraud by you as it relates to this Coverage Pari at any time. it is
also void ii you or any other insured, at any time, intentionally conceal or misrepresent a material fact

concerning:~
1. This Coverage Part;
2. The Covered Property;
3. Your interest in the Covered Property; or
4. A claim under this Coverage Part.
Ei. CONTROL OF PROPERTY
fahy act or neglect cl any person other than you beyond your direction or control will not aifect this
nsorance.
The breach ot any condition ot this Coverage Patt at any one or more locations will not affect coverage at
any location where, at the time oi loss or damage, the'breacii oi condition does not exist.
C. iNSUFiANCE UNDER TWO Ot=t MORE COVERAGES
it two or more ot this policy's coverages apply to the same loss or damage, we will not pay more than the
actual amount oi the loss or damage \
D. LEGAL ACT|ON AGA|NST US
No one may bring a legal action against us under this Coverage Part uniess:
t. There has been full compliance with ali ot tile terms of this Coverage Part; and
2. The action is brought within 2 years alter the date on which the direct physical loss or damage
occurred.
E. LiBERAL|ZATiON
il we adopt any revision that would broaden the coverage under this Coverege Part without additional
premium within 45 days prior to or during the potlcy perlod, the broadened coverage witt immediately apply
to this Coverage Part. ‘
F. NO BENEFIT TO BA|LEE
No person or organization, other than you, having custody of Covered Property will benefit from this
insurance
G. OTHEFt lNSURANCE
t. You may have other insurance subject to the same plan, terms, conditions and provisions as the
lnsurance under this Coverege Part. it ou do. we witt pay our share oi the covered loss or damage
Our share is the proportion that the app lcabte Limit ot insurance under this Coverage Part bears to the
Limits of insurance ol all insurance covering on the same basis.

2. ii there is other insurance covering same loss or r:iernagef other than that described in t. above, we witt
pay only for the amount oi covered loss or damage in excess of the amount due irom that other
insurance, whether you can collect on it or not. But we will not pay more than the applicable Limit of

|nsurance.
H. POL.tCY PER|OD, COVERAGE TERR|TOR‘{

tinder this Coverage Pari:

1. We cover loss or damage commencing;
a. Durlng the policy period shown in the Deciarations; and
b. Withln the coverage territory.

2. The coverage territory is:
e. The United States of America (inciuding its territories and possessions);
b. Puertc Fi|co; and
c. Canada.

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TFiANSFEFt OF REGHTS Oi-‘ RECOVERY AGAENST OTHERS TO US
lt any person or organization to or tot whom we make payment under this Coverage Part has rights to
recover damages from another, those rights are transferred to us to the extent ot our paymentl ”t`nat person
or organization must co everything necessary to secure our rights and most o'o nothing after loss to impair
them. B:;t you may waive your rights against another party in '\vriting:
1. Prior to a tose to your Covered Property or Covered inocn‘-o.
2. 1ttilt|er a icss to your Covered Prooerty or Covered income cniy iii at time ct tcss, that party is one ot the
.o .owing:
a. Someone insared‘oy this insurance;
b. A business ilrm:
1)_ O'.vnad orcontrot.‘ed by you; cr
2) That owns or controls you; or
c. Your tenant
This will not restrict your insurancel

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CP10301012

CAUSES OF LOSS ~ SPEClAL. FOFtNi

Words and phrases that appear in quotation marks have speciat meaning Fteter to Section G. Deiiniiions.

A. Covered Causes Of Loss
When Special ts shown in the Deolarations, Covered Causes of Loss means direct physical loss unless the
loss is excluded or iirnited in this policy.

B. Exc|usions

t. We will not pay for loss or damage caused directly or indirectly by any of the following Suoh loss or
damage is excluded regardless of any other cause or event that contributes concurrently or in any
sequence to the loss.

a. Ordtnance Or Law
The enforcement of or compliance with any ordinance or |aw:
(1) Regu|ailng the construction, use or repair ot any property; or
(2) Ftequiring the tearing down ct any property, including the cost of removing its debris.
This exclusion, Ordinance Or Law, applies whether the loss resutts trom:
(a) An ordinance or law that is enforced even if the property has not been damaged; or

(b) The increased costs incurred to comply with an ordinance or law in the course ot construction,
repalr, renovation, remodeilng or demolition of property, or removal ot its debris. totlowing a
physical toes to that property

b. Earth Niovement
{1) Earthguake, including tremors and aitershocks and any earth slnking, rising or shifting related to
such event:
(2) Landslide, including any earth sinking rising or shifting related to such event;
(3) tviine subsidenoe, meaning subsidence ot a man-made mtne, whether or not mining activity has
ceased;

(4) Earth sinking (other than sinkhole cottapse),'rising or shifting including soil conditions which cause
settling, cracking or other disarrangement of foundations or other parts ot realty. 'Soi| conditions
include contractionl oxpansion. treezing, thawing, erosion. improperly compacted soil and the action
ot water under the ground surtace.

But it Earth Niovement, as described in b.(t) through (4) above, results in tire or explosion,'we will pay
tor the loss or damage caused by that tire cr explosion

(5) Vo|canic eruption, exptosion cr ettuslon. But it volcanlc eruptlon, explosion or eitusion results in iire,
building glass breakage or Volcanlc Aotion, we will pay for the loss cr damage caused by that ifre,
building glass breakage or Volcanic Action.

Voicantc Actien means direct loss or damage resulting from the eruption of a votcano when the loss
or damage ts caused by;

(a) Atrborne voicanic blast or airborne shock waves;
(b) Ash, dust or particulate matter; or
(c) Lava tlow.

With respect to coverage for Volcanic Action as set forth tn (5)(a), (5)(b) and (5)(c), att voicanic
eruptions that occur within any 168-hour period witt constitute a single occurrencel

Voicantc Actton does not include the cost tc remove ash, dust or particulate matter that does not
cause direct physical loss or damage to the described property.

This exclusion applies regardless ot whether any of the above, tn Paragraphs (1) through (5)l is caused
by an act ot nature or is otherwise caused. `

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c. Governmentai Actton
Selzure or destruction ot properly by order ot governmental authority

Bul we will pay for loss or damage caused by or resulting from acts of destruction ordered by
governmental authority and taken at the time of a fire to prevent its spread, ii the tire would be covered
under this Coverage Part.

d. Nuclear Hezard
Nuclear reaction or radiationl or radioactive contamination however caused

But `lf nuclear reaction or radiation, or radioactive contamination, results in fire. we will pay for the loss
or damage caused by that flre.

e. Utlllty Servtces

The failure of pcwer, ccmrnunlcaiion, water or other utility service supplied to the described premises
however caused, if the fallure:

(1) Originates away from the described premises; or

(2) Originates at the described premises, but only if such failure involves equipment used to supply the
utility service to the described premises from a source away from the described premises

Faiiure of any utility service includes lack of sufficient capacity and reduction in supply.

Loss or damage caused by a surge of power is also excluded, if the surge would not have occurred but
foran event causing a failure cl powor.

But if the failure or surge of power, or the failure of corr'trnunicationl water brother utility service. results
in a Covered Cause of Loss, we will pay for the loss or damage caused by that Covered Cause of Loss.

Communicatlon services include but are not limited to service relating to internal access or access to
any electronic, cellular cr satellite network

f. War And iv'|llitary Actlon
(1) War. including undeclared or civil war;

(2) Warlike action by a military force, including action in hindering or defending against an actual or
expected attack, by any government, sovereign or other authority using military personnel or other
agents; or

(3) lnsurrection, rsbsllicn, revolution. usurped power, or action taken by governmental authority in
hindering or defending against any of these.

g. Water

(i) Fiood, surface water, waves (includlng tidal wave and tsunami), tides, tidal wale_r, overflow of any
body of water, or spray from any of these, all whether or not driven by wind (inc|uding storm surge);

(2) t't.ilucisllde or mudiiow;

(3) Water that backs up or oventows or is otherwise discharged from a sewer, draln, surnp, sump pump
cr related equipment

(4) Water under the ground surface pressing on, or flowing or seeping through:
(a) Foundatlons, walis, floors or paved surtaces;
(b) Basernents, whether paved or not; or
(c) Doors, windows or other openings; or

(5) Waterborne material carried or otherwise moved by any of the water referred to in Paragraph (1), (3)
or (4), or material carried or otherwise moved by mudslide or mudflow.

This exclusion applies regardless of whether any of the above, in Paragraphs (1) through (5), is caused
by an act of nature or is otherwise caused. An example of a situation to which this exclusion applies is
the situation where a dam. levee, seawall brother boundary or containment system falls in whole or in
part, for any reason, to contain the walsh `

But ii any cline above, in Paragraphs (1) through (5), results in fire, explosion or sprinkler ieai<age, we
will pay for the loss or damage caused by that fire, explosion or sprinkler leakage (lf sprinkler leakage is
a Covered Cause ot Loss).

h. "Fungus“, Wet Hotl Dry Rot And Bacteria

Presenr:s, growth, protiteraiion_. spread or any activity ot "iungus“, wet or dry rot or bacter|a.

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But ii "lungus”, wet or dry rot or bacteria result in a "specllied cause ot loss", we will pay for the loss'or
damage caused by that “specltied cause ct ioss".

This exclusion does not apply:

(1) When 'tungus", wet or dry rot or bacteria result from tire cr lightning; or

(2) 'l"o the extent that coverage ls provided tn the Additlonal Coverage, l_tmited Coverage For "Fungus",
Wet Ftot, Dry Ftot And Bacleria, with respect to loss or damage by a cause of loss other than tire or

|ighining.
Exclusions B.t.a. through B.‘t.h. apply whether or not the loss event resutts tn widespread damage or
affects a substantial area.
2. We will not pay for loss or damage caused by or resulting from any of the following:

a. Artiiicialty generated electricai. magnetic‘or electromagnetic energy that damages, disturbs. disrupts or
otherwise interferes Wlth any:

(1) Electrical cr electronic wlre, device, appliancel system or network; or
(2) Devlce, appliance, system or network utilizing cellular or satellite technology.
For the purpose of this excursionl electrical, magnetic or electromagnetic energy includes but is not
limited to:
(a) Electrical current, including arcing;
(b) Etectrlcat charge produced cr conducted by a magnetic or electromagnetic iield;
(c) Pulse of electromagnetic energy: or
(d) E|eciromagnetio waves or mtcrowaves.
But lt tire results, we will pay tor the loss or damage caused by that fire.

b. Delay, loss of use or toss of market `
c. Smol<e. vapor or gas from agricultural smudging or industrial operations
d.(i) Wear and tear;
(2) Ftust or other corrosion, decay, deteriorationl hidden or latent detect or any quality in property that
causes it to damage or destroy itsetf;
(3) Sm@s:
(4) Sstliing, cracking, shrinking or expansion;

(5) t\lestlng or iniestatlon, or discharge or release cf waste products or secretions, by insects, birds,
rodenis or other animats.

(6) Mechantcal breakdown, including rupture or bursting caused by centrifugal iorce. But ii mechanical
breakdown results in elevator coiiislon, we witt pay for the loss or damage caused by that elevator
collision.

(7) The following causes ct loss to personal property:

(a) Dampness'or dryness ct atmosphere;
(b) Changss in or extremes of temperature; or
(c) Marring or scratching.

But ii an excluded cause ct loss that is tlsted in 2.d.(1) through (7) results in a "specitied cause of loss“

or building gtass breei<age, we will pay for the loss or damage caused by that "spscilled cause of loss"

or building glass breakage

e. Explcsion of steam boilers, steam pipes steam engines or steam turbines owned cr leased by ycu, or
operated under your contro|. Bui ii explosion of steam boilersl steam plpss, steam engines or steam
turbines results in lire or combustion explosion. we will pay for the loss cr damage caused by that tire or
combustion explosion Ws will also pay for loss or damage caused by or resulting from the explosion ot
gases or fuel within the turnace of any fired vessei or within the ilues or passages through which the
gases of combustion pass

f. Continuous or repeated seepage or leakage ct water, or the presence or condensation of humidity,
moisture or vapor, that occurs over a period cl 14 days or more.

g. Water, other iiqulds, powder or molten material that leaks or flows from plumbing, heating, air
conditioning or other equipment (except tire protective systems) caused by or resuiting from ireezlng,
unless:

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(1) You do your best to maintain heat tn the building or structure; or
(2) You drain the equipment and shut off the supply ii the heat is not metntained.

h. Dtshonest or criminal act (lnciudtng iheit) by you. any of your pertners, members, oiiicers, managers
employees (tncludtng temporary employees and leased workers), dtrectors, trustees or authorized
representatives whether acting alone cr in collusion with each other or with any other party; or theft by
any person to whom you entrust the property ior any purpose, whether acting alone or in collusion with
any other party.

This exclusion:
{1} Appltes whether or not an act occurs during your normal hours ot cperatton;

(2) Does not apply to acts o_i destruction by your employees (inciudtng temporary employees and
leased workers) or authorized representatives;'but theft by your employees (tnciuding temporary
employees and leased workers) or authorized representatives is not covered.

t. Vctuntary parting with any property by you or anyone else to whom you have entrusted the property ii
induced to do so by any fraudulent scheme, trick, device or false pretense

j. Flain, snow, ice or elect to personal property in the open.
k, Coilapse, including any of the following conditions of property or any part ot the property:
(1) An abrupt falling down or paving ln_:
(2) Loss of structured tntegrity, inctuding separation ot parts ct the property or property in danger of
failing down or saving tn; or
(3) Any cracking buigtng, sagging. bendingf iearti_ng, settitng, shrinkage or expansion as such condition
retates to (1) or (2) abcve. '

But ii collapse results in a Covered Cause ot Loss at the described premises, we will pay ior the loss or
damage caused by that Covered Cause ot Loss.

This exctusion. ki, does not aopiy:
(a) Tc the extent that coverage is provided cedar the Additrcnat Coverage, Ccliapse: cr
(b) To cotiepse caused by one or more of tire foilot*.'ing:
(i) Tne "‘speciiied causes of ioss":
(ii) Breakage of 'ouitding glass:
(ltl) Welght ct rain that collects cc a rcoi; or
(lv) Welgt‘.i ct people or personal property.

t. Dtscharge, dts,oersal, seepage. mtgrattoa, release or escape ot "poliutants" unless the discharge
dispersai_. seepage. mtgratton, rstease or escape is itself caused by any ot the "specttted causes of
ioss". But it the discharge, dtspersai, seepage, migration. release or escape ct ’lpcttutants" results trt a
“speciiied cause of loss". we witt pay for tire loss or damage caused by that °speciiied cause of toss".

This exclusionl t., does not apply to damage to'giass caused by chemicals apciled to the gtass.

m. Negiect ot an insured to uss atl reasonable means to save and preserve property irons further damage
st and arter the time of ioss.

3. We ‘.-rtit not pay for loss or damage caused by or resulting from any of the iottcwtng, 3.a. through 3.c. But ii
an exciuded cause of loss that is listed in 3.a. through 3.c. results in a Covered Cause of l_oss. We witt pay
for the loss cr damage caused by that Covered Cause of i_oss.

a. Weather ccndtttons. But this exclusion only applies if weather conditions contribute in any way with a
cause or event excluded in Paragraptt 1. above to produce the loss or damage

b. Acts` or decisions including the failure to act or decide, of any person, group. organization or
governmental body.

c. Fauity, inadequate or defectiye:
(i) Ptanping, zcning, development, surveying. sittng;

(2) Destgn, spectiicaiions, workmanship repatr. ccnstructtcn, reacvatton, remodeling grading,
compaction:

(3) l‘-¢iaterials used in repair, constructionr renovation or remodeling; or
(4) trtaintenance;
ci part or ali ot any property on or cit the described premises -

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4. Speclai Exciusions
The following provisions apply only to the specified Coverage Forms:

a. Business income (And Extra Expense) Coverage Form, Business income (Without Extra
Expense) Coverage Form, Or Extra Expsnse Coverage Form `

We will not pay for:

(1) Any ioss caused by or resulting trom:
(`a) carriage presentation or 'rtnished stoci<"; or
(b) The time required to reproduce *'tinished stock",
This exciusion does not apply to Extra Expense.

(2) Any loss caused by or resulting from direct physical loss or damage to radio or television antennas
(inciuding satellite dlshes) and their lead-tn wiring, masts or towers.

(3) Any increase of loss caused by or resulting from:'

(a) De|ay in rebuilding, repairing or replacing the property or resuming “operations*, due to
interference at the location of the rebuilding, repair or replacement by strikers or ether persons;
or

(b) Suspenslon, lapse or cancellation of any licensel tease or contract But it the suspension, lapse
or cancellation is directly caused by the "suspenslcn" of "operatlons"l we will cover such loss
that affects your Business income during the “period ot restoration‘ and any extension of the
"period of restoration' in accordance with the terms of the Extendecf Business income Additlonal
Covorage and the Extended Perlod Of indemnity Optlonai Coverage or any variation of these.

(4) Any Extra Expense caused by or resulting trom suspension, lapse or cancellation of any lioense,
lease or contract beyond the "perlod ot restoration".

(5) Any other consequentiat toss.
b. Leasehoid lnterest Coverage Form
(1) Paragraph B.1.a., Ordlnance Or l_aw, does not apply to insurance under this Coverage Form.
(2) We witt not pay for any loss caused by:
(a) Your canceliing the iease;
(b) The suspensionl iapse or cancellation of any llcense; or
(c) Any other consequential ioss.
c. Lega| Liabi||ty Coverage Form
(i) The following exclusions do not apply to insurance under this Coverage Form:
(a) Paragreph B.1.a. Ordlnance Or Law;
(b) Paragraph B.1.c. Governmentat Action;
(c) Paragraph B.1.d. Nuciear Hazard; _
(d) Paragraph B.1 .e. Uttllty Services; and
(e) Paragraph B.1.t. War And Mtlltary Action.
(2) The following additional exclusions apply to insurance under this Covsrage Forrn:
(a) Contractuel Liebiiity

We will not defend any claim or "sult", or pay damages that you are legally ilable to pay, solely
by reason of your assumption ot liability in a contract or agreement But this exclusion does not
apply to a written lease agreement in which you have assumed |Eabtiity for building damage
resulting from an actual or attempted burglary or robbery, provided that:

(i) Your assumption of liability was executed prior to the accidenl; and
(ii) Tne buitding ts Covered Property under this Coverage Form.
(b) Nuciear Hazard

We will not defend any ctalrn or "sult“. or pay any damagesl loss, expense or obligation resulting
from nuclear reaction or radiation, or radioactive contaminationl however caused

5. Additional Exciuslon
The following provisions apply only to the specified property:

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Loss Or Damage To Products

We will not pay for loss or damage to any merchandise goods or other product caused by or resulting from
error or omission by any person or entity (including those having possession under an arrangement where
work or a portion of the work is outsourced) in any stage of the 'developrnent, production or use of the
product, including planning, testing, processing, packaging installationl maintenance or repalr. This
exclusion applies to any etiect that compromises the form, substance or quality of the product. But il such
error or omission results in a Covered Cause of Loss, we will pay for the loss or damage caused by that
Covered Cause ot Loss.

G. Limltatlons
The following limitations apply tc ali policy forms and endorsernent.<‘,l unless otherwise stated:

t. We witt not pay for loss of or damage to prcperty. as described and limited in this section. in addition, we
will not pay for any loss that is a consequence ol loss or damage as described and limited tn this section.

a. Sleam boilers, steam pipesl steam engines or steam turbines caused by or resulting from any condition
or event inside such equipment But we will pay for loss of or damage to such equipment caused by or
resulting from an explosion ot gases or fuel within the furnace of any fired vessel or within the flues or
passages through which the gases of combustion pass.

l-lot water boilers or other water heating equipment caused by or resulting from any condition or event
inside such boilers or equipment, other than an explosion

c. The interior of any building or structure, or to personal propeny in the building or structure, caused by or
resulting from rain, snow, sleet, ice, sand or dust, whether driven by wind or not, untess:

(1) The building or structure first sustains damage by a Covered Cause ot Loss to its roof or walls
through which the raln, snow, sleet. ice, sand or dust enters; or _

(2) The loss or damage is caused by or results from lhawing of snow, steel or ice on the building or
structure
cl. Buiiding materials and supplies not attached as part of the building or structure, caused by or resulting
from theft.
However, this iirnitation does not apply lo:

(1) Building materials and supplies held for sale by you, unless they are insured under the Builders Ftistr
Coverage Form; or

(2) Business income Coverage or Extra Expense Coverage.

e. Property that ls missing, where the only evidence ot the loss or damage is a shortage disclosed on
taking inventory, or other instances where there is no physical evidence to show what happened to the

property.
f. Property' that has been transferred to a person or to a place outside the described premises on the
basis ot unauthorized instructions '

g. i_awns, trees, shrubs or plants which are part ot a vegetated rooi, caused by or resulting trom:
(i) Darnpness or dryness of atmosphere or ot soil supporting the vegetation_:
(2) Ghanges in or extremes of temperature;
(3) Dlsease;
(4) Frcst or hail; or
(5) Fia_ln, snow_. ice or sleet.
2. We will not pay for loss of cr damage to the following types ct property unless caused by the "specitied
causes ct loss“ or building glass breakage:
a. Actm`als, nd then only if they are t<tiiecl or their destruction is made necessary
b. Fragite articles such as slatuary. marbles, chlna'.'rare and porcelalns, il broken. This restriction does not
apply to:
(1) Gtass; or
(2) Con_tatners ot property held for sale.

c. Builders' machinery, roots and equipment owned by you or entrusted to ycu. provided such property ls
Covered Property.

i-loweve.‘, this limitation does not app|y:

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(1) if the property is located on or within 100 reel of the described premises, unless the premises is
insured under the Buiiders Ftisk Coverage Form; or
(2) Tc Business income Coverage or to Extra Expense Coverage.

3. The special limit shown for each category, a. through d., is the total limit for loss of or damage to all
property in that category The special limit applies to any one occurrence of theit, regardless of the types
cr numbeer articles that are lost or damaged ln that occurrence The special limits are (unless a higher

limit is shown in the Declarations):

a. $2,500 for iurs, fur garments and garments trimmed with lur.

b. $2,500 for jewelry, watches, watch mcvemenis, iewels, pearls. precious and semiprecious stones,
bullion, goldI eilver. platinum and other precious alloys or metals. This limit does not apply to iewelry
and watches worth $100 or less per liem.

c. $2,500 for patierns, dies, molds end forms.

d. $250 for stamps, tickets, including lottery tickets held for sale, and letters ot credit.

These special limits are part ol, not in addition to, the Limit of insurance applicable to the Covered

Properiy.

This limitation, C.S., does not apply to Business income 'Coverage cr to Extra Expense Coverage.

4. We will not pay the cost to repair any detect to a system or appliance from which water, other liquld.
powder or molten material escapes. Bul we will pay the cost to repair or replace damaged parts of
tire-extinguishing equipment il the damage: _

a. Ftesulls in discharge ot any substance from an automatic tire protection system; or

b. is directly caused by ireezing. _

i-lowever, this limitation does not apply to Business income Coverage or to Extra Expense Coverage.

D. Additional Coverege - Coiiapse
The coverage provided under this Additionai Coverage, Collapsel applies only to an abrupt collapse as
described and limited in D.‘i. through D.7.
1. For the purpose ct this Additional Coverage, Collapse, abrupt collapse means an abrupt falling down or
saving in of a building or any part of a building with the result that the building or part ot the building cannot
be occupied for its intended purpose

We wili_pay for direct physical loss or damage to Covered Property. caused by abrupt collapse ot a building
or any part of a building that is insured under,this Coverage Form or that contains Covered Property
insured under this Coverage Form, il such collapse is caused by one or more cl the following:

a. Building decay that is hidden trcrn viewl unless the presence ot such decay is known to an insured prior
to collapse;

b. insect or vermln damage that ls hidden from view, unless the presence of such damage is known to an
insured prior to coltapse;

c. Use of detective material or methods in construction. remodeling or renovation it the abrupt collapse
occurs during the course cline construction, remodeling or renovation.

dl Use of defective material or methods in construction, remodeling or renovation il the abrupt collapse
occurs alter the construction, remodeling or renovation is complete, but only if the co|iapse is caused in

part by:
(1) A cause cl loss listed in 2.a. cr 2.b.;
(2) One or more cl the "specltied causes of loss“;
(3) Breal<age cl building glass;
(ii) Weight ct people or personal property; or
(5) Welght ci rain that collects on a root.
This Additional Coverage - Co||apse does not apply to:
a. A building or any part ot a building that is in danger of falling down or saving ln;
b. A part of a building that is standing, even it lt has separated lrom another part ot the building; or

c. A building that is standing or any part ol a building that is standing, even lt it shows evidence of
cracking, bulging, sagglng, bending, leaning, settling, shrinkage or expansion

4. Wlth respect to the following property:

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a. fluidcor radio or television antennas (lncluding satellite dishes) and their tead-in wlring, meets or
.ov;ere:

b. Awnt.ogs. cutters and downspcuts;

c. Yard tixtures;

d. Outo'oor swimming oools;

e. Fences;

t. Piers. i-'rharves and docks:

g. Beach or diving platforms or appunenancss_:

h. Ftetaining walls: and

t. Wail<s. roadways and other paved surtaces:

lt an abrupt cotiapse is caused by a cause of loss listed in 2.a. through 2.d., we will pay for loss or damage

to that property only if:
(1) Such loss or damace is a direct result of the abrupt collapse ot a building insured under this

Coverage Form; and

(2) The propert ' is Covered Property under this Coverage Form.

5. lt personal property abrupt'y falls down or eaves in and such collapse is not the result ot abrupt collapse ot
a but lding. we will pay tor loss or damage to Covered Pro_oen'y caused by such collapse ot personal
property only t;l
a. The collapse cl personal property was caused by a cause ot icss tisted in 2.a. through 2.d.;

b. The personal property which collapses is inside a building; and

o. The property which collapses is not of a kind listed in 4., regardless of whether that kind of property is
considered to be personal property or real property

The coverage stated in this paragraph 5. does not apply to personal property lt starting andfor scratc`ning

ls the only damage to that personal property caused by the cc;iapse.

6. Thts Addlttonai Coverage, Coliapse, does not apply to personal property that has not abruptly fallen down
or saved in, even it the personal property shows evidence ct cracking_. oatging, sagglng. bending, ieaning,
settling shrinkage or expansion

7. '“his Ado`itional Coverage. Co?lapse, wi.i not increase the Limits ot insurance provided in this Co‘:erage
Part.

8. The term Covered Cause of l_oss' .nc}udes the Addirionat Coverags Col lapse as described and limited in
D.1. through D. 7.

E. Addltlonal Coverage- -Limited Coverage For "Fungus", Wet Rot, Dry Flot And Baoteria

1. The coverage described in E.2. and E.6. only applies when the "iungus", wet or dry rotor bacteria are the
result ot one or more cline following causes that occur during the policy period and only lt all reasonable
means were used to save and preserve the property from further damage at the time of and alter that
OCCL|l'i‘el’iCEf
a. A "_speollted cause ot loss" other than tire or llghtnlng; or
b_. F|ood, if the Flood Coverage Endorsement applies to the affected premises
This Addliional Coverage does not apply to iawns. trees, shrubs or plants which are part ot a vegetated
roof.

2. We will pay for loss or damage by 'tungus', wet or dry rci or bacteria. As used ln this lelted Coverage,
the term loss or damage means:

a. Dtrect physical loss or damage to Covered Prope'rty caused by "iungus", wet or dry rot or bacteria,
including the cost ot removal ct the "fungus", wet or dry rotor bacteria;

b. The cost to tear cut and replace any part of the building or other property as needed to gain access to
the "tungus", wet or dry ref or bacterta; and _

o. The cost ot testing performed alter removall repair, replacement or restoration ot the damaged property
is completed, provided there is a reason to believe that "lungus'. wet or dry rot or bacteria are present

3. The coverage described under E.2. ot`this l.tmlted Coverags is limited to 315,000. Ftegerdless of the
number ot olaims, this limit is the most we will pay for the total of ali loss or damage arising out or all
occurrences of “specified causes of loss“ (other than fire or |lghinlng) and Flood which take.piace` tn a

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112-month period (starilng with the beginning of the present annual policy period). Wlth respect lo a
particular occurrence of loss which results in 'tungus*‘, wet or dry rot or bacterla, we will not pay more than
a total of $15,000 even it the “lungus", wet or dry. rci or bacteria continue to be present or active, or recur,
in a later policy perlod.

4. The coverage provided under this Llrn|ted Coverage does not increase the applicable t_lmll of insurance on
any Covered Property. if a particular occurrence results in loss or damage by "tungus", wet or dryer or
bacterie, and other loss or damage, we will not pay more, for the total ot ali loss or damage, than the
applicable Limit of insurance on the affected Covered Property.
lt lhere.ls covered loss or damage to Covered Property, not caused by 'iungus", wet or dry rot or bacteria,
loss payment will not be limited by the terms of this Limited Coverage, except to the extent that 'lungus",
wet or dry rotor bacteria cause an increase in the ioss. Any such increase in the toss will be subject to the
terms of this i_irnited Coverage,

5. The terms of this l_|rnlted Coverege do not increase or reduce the coverage provided under Paragraph F.2.

(Water Damage, Olher l.lquids, Powder Or Nloiten ivlaterlai Darnage) of this Causes Ol Loss form or under

the Additlonai Coverage, Collapse.

The ioilowing, 6,a. or 6.b., applies only ll Business income and/or Extra Expense Coverage applies to the

described premises and only il the "suspension" of “operations' satisfies all terms and conditions of the

applicable Business income andfor Extra Expense Coverage Form:

a. lt the loss which resulted in “lungus", wet or dry rot or bacteria does not in itself necessitate a
“suspenslon" of “operaiions", but such *‘suspension“ is necessary due to loss or damage to property
caused by ”lungus“, wet or dry rol or bacteria. then our payment under Business income and/or Extra
Expense is limited to the amount ot loss and/or expense sustained in a period of not more than 30
days The days need not be consecutive

b. ll a covered a’suspension" of 'cperatlor‘is‘l was caused by loss or damage other then ”tungus“, wet or dry
rot or bacteria but remediation of “tungus", wet or dry rot or bacteria prolongs the - "perlod ot
restoration", we will pay for lose and/or expense sustained during the delay (regardiess ot when such a
delay occurs during the "pericd of restoration"), but such coverage is limited to 30 days. The days need

not be consecutive
F. Addltlonal Coverage Extene|ons
1. Property in Transit

This Extenslon applies only to your personal property to which this form applies

a. You may extend the insurance provided by this Coverage Part to apply to your personal property tother
than property in the care, custody or control of your saiespersons) in transit more than 100 feet from
the described premisesl Property must be in or on a motor vehicle you own, lease or operate while
between points in the coverage territory.

bI Loss or damage must be caused by or result from one ot the following causes ot ioss:
(t) F|re, iightnlng, explosion, windstorm or hait, riot or civil commotionl or vandalism.
(2) Vehicle collision, upset or overturn Colllslon means accidental contact ot your vehicle with another

vehicle or oblect. lt does not mean your vehicle's contact with the roadbed.

(3) Thetl of an entire bale, case or package by forced entry into a securely locked body or compartment
of the vehicle There must be visible marks ot the forced entry.
c. The most we will pay for loss or damage under this Extension is $6,000,
This Coverage Extenslon ls additional insurance The Addttional Condttton. Coinsurance, does not apply to
this Extenslon.
2. Water Damage, Other Liqulds, Powcter Or llllolten llrlaterlal Dama_ge
lf loss or damage caused by or resulting from covered water or other itqutd, powder or molten material
damage loss occurs, we will also pay the costle tear out and replace any pari ot the building or structure
to repair damage to the system or appliance from which the water or other substance escapes This
Coverage Extenston does not increase the Limit of insurance
3. Glass
a. We will pay for expenses incurred to put up temporary plates or board up openings if repair or
replacement cl damaged glass ls delayed.

b. We will pay for expenses incurred to remove or replace obstructions when repairing or replacing glass
that is part of a building 't'hls does not include removing or replacing window displays

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This Coverage Extension Fr3. does not increase the Limit ot insurance
G. Dctln|tlons

1. ‘Fu`ngus" means any type or form of fungusl including mold or miidew, and any mycotoxins, spores, scenic
or by-products produced or released by fungl.

2. ”Speclhed causes of ioss" means the ioiiowing‘. fire; iightnirtg; explosion; windstorm or hai|; smoke; aircraft
or vehicles; riot or civil commotion; vandalism; leakage from fire»exttnguishlng equipment; sini<hole
cc|lapse;'vo|canic action; falling objects; weight of snow, ice or sieet; water damage,

a. Slnkhcle collapse means the sudden sinking or collapse of land into underground empty spaces
created by the action ot water on limestone or dolomite. This cause cf loss does not includes

(1) The cost ot filling sinkhciss; or

(2) Stnking or collapse ct land into man-made underground cavities_
b. Fa|ting objects does not include loss or damage to:

(1) Personal property in the open; or

(2) The interior of a building or structure, or property inside a building or structure. unless the root or an
outside wait ot the building or structure is first damaged by a failing objectl

c. Water damage means:

(1) Accidental discharge or leakage cf water or steam as the direct result of the breaking apart or
cracking of a~ptumblng, heating, air conditioning or other system or appliance {other than a sump
system including its related equipment and parts). that is iocated on the described premises and
contains water or stearn; and

(2) Accidental discharge or leakage of water or waterborno material as the direct result ot the breaking
apart or cracking ot a water or sewer pipe that is located cit the described premises and is part ct a
municipai potabte water supply system or municipal sanitary sewer system, ii the breakage or
cracking is caused by wear and tear.

But water damage does not include loss or damage otherwise excluded under the terms of the Water
Exclusion. Theretore, for example, there is no coverage under this policy in the situation in which
discharge or leakage of water results from the breaking apart or cracking ot a pipe which was caused
by or related to weather»induced itooding, even it wear and tear contributed to the breakage or
cracking. As another example. and also in accordance with the terms of the Watsr Exclusion, there is
no coverage for loss or damage caused by or related to weather~induced flooding which follows or is
exacerbated by pipe breakage or cracking attributable to wear and tear.

To the extent that accidental discharge or leakage of water falls within the criteria set forth in c.(t) or
c.(2) of this detinillon of "specitled causes of ioss," such water is not subject to the provisions of the
Wate_r E)tciuslon which preclude coverage lor surface water or water under the surface of the ground.

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CPO`i 40 07 06
THtS ENDORSEMENT CHANGES THE POL|CV. PLEASE READ i'l" CAREFULLY.
EXCLUSION OF LOSS DU_E TO VlFlUS Oi:t BACTER|A

This endorsement modifies insurance provided under the following:

COMMERC!AL PHOPEHTY COVERAGE PAFtT
STANDAFiD. PROPERTY POL[CY

The exclusion set forth in Paragraph B. applies lo all coverage under all terms and endorsements that
comprise this Coverage Part or Poiicy, including but not limited to forms or endorsements that cover properly
damage to buildings or personal property and forms or endorsements that cover business income, extra

expense or action of civil authority.

We will not pay for loss or damage caused by or resulting from any virus. bacterium or other microorganism
that induces or is capable of inducing physical distress, illness or disease

However, this exclusion does not apply to loss or damage caused by or resulting irom “iungus,"_ wet rot or
dry rot. Such loss or damage is addressed in a separate exclusion in this Coverage Part or Pcllcy.

Wlth respect to any loss or damage sub]ect to the exciusion in Paragraph B., such exclusion supersedes
any exclusion relating to "pollutants."

The following provisions in this Coverage F’art or Poiicy are hereby amended to remove reference to
bacteria:

i. Exolusion of "Fungus,” Wet Ftot. Dry Ftc>t And Bacterta; and

2. Additiona| Coverage - t_irnited Coverage for “Fungus," Wet Ftot, Dry Ftoi And Bacteria, including any
endorsement increasing the scope or amount of coverage

The terms of the exclusion in Paragraph B., or the inapplicability of this exclusion to a particular ioss, do not
serve to create coverage for any loss that would otherwise be excluded under this Coverage Part or Potioy.

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111-2660 04 02

THlS ENDORSEMENT CHANGES THE POLICY. PLEASE FtEAD lT CAREFULLY.
BUSiNESS iNCONiE w CO|NSURANCE AMENDATOFW ENDORSENIENT
This endorsement modifies insurance provides under the iotiowlng:

BUS|NESS lNCOi`v‘iE (AND EXTRA EXPENSE) COVEFIAGE F_OP.M
BUS|NESS iNCOME (WiTHOUT EX'THA EXFE‘.\‘SE) COVERAGE FORM

Paregrapb D. Additlonel Conoitlon, CO|NSURANCE, in the Business income land Extra Expense} Cove.'age
Forrn end Business income (without Extra Expense) Coverage form is deletedl

iii-2860 04 02

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14-3039 02 `l`l
TH|S ENDORSEMENT CHANGES THE POLiCY. PLEASE REAEJ |T CAREFULLV.

BUS|NESS tNCOiVlE AND EXTFtA EXPENSE
Amendment of Limits of lnsurance

This endorsement modifies insurance provided under the toilewing:
BUS]NESS lNCONtE (AND E>§TRA EXPENSE) COVERAGE FORM

B. Limits of insurance is deleted and replaced by the ioitowing:

We will only pay for loss ot Business income and necessary Extra Expense that occurs within 365 consecutive
days (un|ess otherwise shown on the Deoiarations or Change Endorsement) after the date of direct physical loss

or damage The coverage is not subject to the Limits ot insurence.
The limit applicable to the Coverage Extonsion of the Coverage Forrn is in addition to this Coverage.

14'3039 02 1 1

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14-3254 07 08
lFHIS ENDOFiSEMENT CHANGES THE POLSCY. PLEASE FlEAD |T CAREFULLY.

TEXAS CHANGES

A. Paragra,oi‘. 3. under the tDENTlTY RECOVERY COVERAGE section ot the |DENT|TY FtECOVEFtY
COVERAGE endorsement is replaced by the foilowing:

3. Such "'identity theit" is reported to us within 90 days after it is llrst discovered by the "ldentity recovery
insured.“

B. Paragraph 2. of the Heip Line COND|T|ON ot the |DENTlTY FtECO\,/ERY COVERAGE endorsement is
replaced by the lollowing:

2. instructions for now to submits service request ior Case ltianagernent Servtce and:‘or a claim form for
Exoense He!mbursernent Coverage.

in some cases, we may provide Case lllanagemenl services at our expense to an "idenitly recovery
insured" rior to a determination that a covered "ldentlty :hett" has occurred Our provision ot such
services s nolan admission ct liability under the policy We reserve the right to deny further coverage
or service il. alter investigationl we determine that a covered “tdentlty thetf"` has not occurred

As respects Excense Flelrnborsernent Coverage. the “identily recovery insured"` must send to us. within
90 days after our request_. receipts bills or other records that support his or her claim for “identity
recovery expenses."

C. Peragrach 3. under the DATA COMPROMISE - COVEFtED CAUSE OF LOSS section of the DATA
COIviFFtOM!SE COVEP.AGE endorsement ls replaced by the follo\'ring:

3. Such "cersonat data ccrnprornise" is reported to lrs-within otnety days of the date lt is first discovered
by yoe. '
14-3254 07 08

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14-341'7 08 13
THFS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAF!EFULLY.

WtNDSTOFtN`i OR HAiL PERCENTAGE DEDUCT|BLE
W}Ti-l i'liiiN|l'tl`lUi'li'| FiXED-DOLLAR DEDUCTIBLE

This endorsement modifies insurance provided under the iol|owing:

BUiLDEFtS FtiSK COVEHAGE FOFtM

BU|LD|NG AND PERSONAL PFtOPEFlT‘r" COVEFtAGE FOBN|
CONDOM|NFUM ASSOC|AT£ON COVEFiAGE FORM
CONDOM|N|UM CONIMEHCIAL UNiT-OWNEHS COVERAGE FORM
STANDAFZD PHOPERTY POLiCY

TOBACCO SALES WAREHOUSES COVEHAGE FORM

SCHEDULE *

l\litnlmum W|hdstorm or Hall Fixed-Dol|ar Dectuctiblo:

Windstorm or Hall Percentage Deductible:

Premises Nurnber Bulldlng Number Wlnctstorm Or Hall Deductibie Percentage-
Enter ‘i%, 2% Or 5%

%

* (lf no entry appears above, information required to complete this endorsement will be shown in the,
Deciaratlons or Change Endorsement as applicable to this endorsement.)

A. WINDSTOHM OFt HA|L DEDUCTIBLE

'l. The Wlndslorm or Hall Percenlage t)eductible win be calculated and applied as shown in the Wlndstorm
or Hall Deducilble Calculations below. But in no event shall the deductible amount for all covered
property at a single premises be less than the Minimurn Wlndstorm or Hall leed-Doliar Deductible
shown in the Deciarallons or Change Endorsement.

2.' We will not pay for loss or damage until the amount ot loss or damage exceeds the applicable
Deductibie. We will then pay the amount ot loss or damage in excess of that Deductible, up to the
applicable Limit of insurence, after any reduction required by any ot the following: Coinsurance
Condltlon; Agreed Value Optlonai Coverage; or any provision in a Value Ftepcrting Form relating to full
reporting or failure to submit reports.

3. When property is covered under the Coverage Extsns|on for N`ewly Acqulred or Construoted Property: in
determining the amount, ii any, that we will pay for loss or damage, we will deduct the Min|mum
Windstorrn or Hall Deductlbie or an amount equal to a percentage of the value(s) of the property at time
of loss. whichever le higher. The applicable percentage for Newly Acqulred Or Constructed Property is
the highest percentage shown in the Declarations cr Change Endorsement for any described premises

B. WiNDSTOFiil."i OH HA|L PERCENTAGE. DEDUCT|BLE CALCULAT!ONS
'l. Ca|culstlon Ot The Percentage Deductlbte - All Policies
a. A Deduclibie is calculated separately for, and applies separately to:
(1) anh building that sustains loss or damage;
(2) Th§ personal property at each building at which there ls loss or damage to personal property;
en
(3) Personal property in lite open.

ll there ts damage to both a building and personal property in that building, separate deductibles
apply to the building and to the personal property.
2. Galculatlon Of The Percentage Deductlble - Specttlc insurance Other than Buitders' l'~ttsk

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a. Property Not Sub}ect To Vaiue Heporting Forms
in determining the amount, ii any, that we will pay for loss or damage, we will deduct an amount
equal to 1%. 2% or 595 ifas shown in the Schedule, Dec|aratioris cr Change Endorsement) et the
Limll(s) ct insurance applicable to the property that has sustained loss or damage

b. Property Sub]ect To Vatue Report|ng Forms

in determining the amounl, if any, that we will pay for loss or damage. we will deduct an amount

equal to t%. 2% or 5% (as shown in the Scheduie, Deciaraiions or C'nange Endorsernent) ol the

value(s) of the property that has sustained loss or damagel The value(s) to be used is the latest
value(s) shown in the most recent Fteport of Values on tile with us.

However:

(1) if the most recent Fieport of Vaiues shows less than the lull value(s) of the property on the report
dates, we will determine the deductible amount as a percentage of the full value(s) as of the
report dates.

(2) il the first Fteport of Vaiues is not filed with us prior to loss or damage, we will determine the
deductible amount as a percentage cl the applicable Limit(s) of tnsurar:ce.

3. Calculation Of The Percentage Deduotible - B|anl-ret insurance Other Than Builders' Risl-c
a. Property Not Sub|ect To Value Fteporl|ng Forms

in determining the amount, il any, that we will pay for loss or damage, we will deduct an amount

equal to 1%, 2% or 5% (as shown in the Schedule. Dectarations or Chenge Endorsement) of the

value{s) ot the property that has sustained loss or damage. The value(s) lo be used le that shown in
the most recent Statement of Vaiues on .‘iie with us.
b. Property Sub}eot To Value Fteporting Forms

in determining the amcunt, if eny, that we will pay for property that has sustained loss or damage, we

w||i deduct an amount equal to 1%, 2% or 5% (as shown in the Schedu|e, Deciarallons or Change

Endorsement) of the value(s) ot that property as of the time of loss or damage

4. Calculation Of The Percentage Deductlble - Bul|ders' Ftlsk insurance

a. Eluilders‘ Ftisi< Other Then Fteporting Forrn
in determining the amount, |f any, that we will pay for properly that has sustained loss or demage, we
will deduct an amount equal to t%, 2% or 5% (as shown in the Scheduie. Deciarations or Chsnge
Enciorsement) of the actual cash value(s) of that property as of the time ct loss or damage

b. Buliders‘ Ftlsi< Reperting Form
tn determinan the amount, il any, that we will pay for loss or damage, we will deduct an amount
equal to l%, 2% or 5% (as shown in the Schedule. Dec|araticns or Change Endorsernent) of the
‘value(e) ot the property that has sustained loss or damage The velue(s) to be used is the actual
cash value(s) shown in the most recent Fteport of Values on file with us.
l-lowsver:

(1) il the most recent Fteport ol Vaiues shows less than the actual cash vaiue(s) cl the property on
the report date, we will determine the deductible amount as a percentage of the actual cash
value(s) as ot the report date.

(2) it the first Heport of Va|ues is not filed with us prior to loss or damagel we will determine the
deductible amount as a percentage ot the actual cash value(s} ol the property as of the time of
loss or damage

C. Examptes - App|lcatlon Of Deductlble
Exampie 1 - Speclflc insurance (B.t.)

The amounts cl loss to the damaged property are 360,000 {Building) and 340,000 (Perscc.ai Property in
building).

The value cl the damaged building at time cl loss is 8400,080. The value cl the personal property in that
building is SBU,OOO. The Coinsurance percentage shown in the Deciarations or Change Endcrssmenl ls
80%; the minimum Limits cl insurance needed to meet the Coinsurance requirement are $320,000 (80%
of S¢OG.OCO) for the building and 364,000 (80% of SSO!GOO) for the personal property.

The actual Limits cf insurance on the damaged property are $350,060 on the building and $65,000 on

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the personal property (therefore, no Colnsurence penalty).
The Deductlble is 1%. The lvilnlmum F|xed-Dolier Deductible ls $2,500.
Bulldlng
step (1): essence x 1% = ss,soo ~
step (2): seo,coo ~ ss,scc = $56,500
Personal Prcperty
Step (1): $65,000 >$ ‘l% = $650
Step (2): $40,000 - 5650 = $39.350
The most we will pay is $95.850. The portion of the total loss not covered due to application cf the
Deductible is 34,150.
Exampie 2 - Specilic lnsurance (B.1.) With Minimum Fixed-Doi|er Deductible App|ied

The amount of loss to the damaged building is §60,000.

The value of the damaged building et time of loss is $100,000. The Coinsurance percentage shown in
the Dec|arations cr Change Endorsement is 80%; the minimum Limit cl insurance needed to meet the
Coinsurence requirement is SB0,000 (80% of $100.00_0).

The actual Limit of insurance on the damaged building is $B0,000 (therelcre. no Co§nsurance penetty).
The Perceniege Deductibie ls i%. The Minimum lixed-Doiler Deductible ls $2,500.
Step (1): $80,000 x 1% = $800
Step (2): $60,000 - $2500 = $57,500 (Because the percentage deductible amount is less then $2.500,
the Minlrriurn Fixed Dolier Deductlble epp|ies.)
ihs most we will pay is $57,500. The remainder of the lossl $2,500, is not covered due to deductible
Exampie 3 - Bleni-ret insurance (B.B_.)
The sum of the values of Bul|ding l ($500,000), Bu||dlcg 2 {$500,000) end Buitding 3 ($1,000,000), as
shown in the most recent Stetemeni cf Vaiues on fife with us, is $2,000,000.

‘The Colnsurance percentage shown in the Declerations or Chenge Endorsemeni le 90%; the minimum
Bianket Limit of insurance needed te meet the Colnsurance requirement is $1,800,000 (90% of
$2,000,000).

The actual Blani<et Limit Of insurance covering Bulidlngs t. 2, and 3, shown in the Dec|arat|ons or
Change Endorsement, is $1,800,000 (theretore, no Coinsurence penalty).

Bulidlngs 1 and 2 have sustained damage; the amounts of toes to these buildings are 540,000 (Buiiding
1) and $20,000 (Buiiding 2).
The Deducflble is 2%.

Buiiding 1

Step (1): $500,000 x 2% = $10,000

step (2); $40,000 - $10,000 m $30.000

Buiiding 2

Step (l ): $SO0,000 x 2% = $10,000

Step (2): $20,000 ~ $10,000 = $10,000
The most we will pay is $40,000. The portion of the total loss not covered due to application of the
Deductibie le $20,000.

Example 4 - Bienket insurance (B.S.)

The sum cl the values of Buiidlng 1 ($500.000), Bu|lding 2 {$500,000), Ferscnal Prcperty et Building 1
($250,000) and Persc>nel Property at Bulldlng 2 ($250,000), as shown in the most recent Statement of
Vaiues on file with us, is $1,500,000.

The Coinsurence percentage shown ln the Decleratlons or Change Endorsernent ls 90%; the minimum

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Biani<e: Limit of insurance needed to meet the Coinsurance requirement is $1.35'3,030 {90% 01
31.500.0001.

The actoat Blaei<ef Limit 01 insurance covering Bulldln`gs 1 and 2 and Persocal Proper‘.y at Bulidings 1
and 2, shown in the Decia'ations or Char‘ge Eno'orsement. is $1,350,600. Therefore, mere is no
Col.".surance penalty

Build§ng 1 and Personal Propedy at Buiiding 1 have sustained damage; the amounts of loss are 395!000
(Bulio°ing§ and $5,$00 (Persona¥ Proper*.y).

The Deduoiibie is 5%.
Buildlng
iep (1): $SO0,000 x 5°"° = SESZCOS
Step (2}: SQS,OOO ~ $25,000 = $70.000
Personat Properly
step (1):` szsc,ooc x s% = 312_.500
The ioss, $5,000, does not exceed the Deduciible.

The most we will pay is $70,000. The remainder of the building loss, $25,000, is not covered due to
application of the Deductibie. There is no loss payment ior the personal properiy.

Example 5 - Bianket insurance (B.S.) Wiih Niinlmum Fixed-Doiiar Deductibte Appiied

The sum of the values of Prernlses 1 Buildlng 1 ($150,060 Bui|ding, $100,000 Personai Property} and
Premises 2, Building 1 ($100,000 Building. $50,000 Psrsona| Property). as shown in the most recent
Siatement oi Values on lite With usl ls $400,000.

The,Coinsurance percentage shown in the Dec|arations or Change Endorsement is 90%; the minimum
Blanl<et Limit cf insurance needed to meet the Colnsurance requirement is $360,000 (90% ol 5400,000).

The actual Bianket Limit Oi insurance covering Premlses 1 and 2, shown in the Deo|arations or Change
Endorsement, is $360,000. Therefore, there is no Colnsurance penaliy.

Suild'rng and Personal Property at Premises 2 have sustained damage; the amounts of loss are $45,000
(Buliding) and $5,000 (Personai Property).

The Deduciibie is 1%. The iviinimum leed-Doliar- Deductible is $2,500.
Buiiding
step (1);' s1cc,oco x 1a = ei,coo
Step (2): $45.003 - S`i ,GUU = $44.000
Personai Property
Step (1): $50,000 x 1% = $500
step (2) sacco ~ $500 = s4,5oc
Because the total percentage deductible ($,1500) ls less than $2,500, the ivllnimurn Fixed-Dollar

Deductible of $2,500 applies. The most we will pay is $47,500 {($45,000 + $5,000) - $2,500]. The
remainder ci the loss, $2,500, is not covered due to application of the Deductible.

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111-3049 or 114
THls ENooasEMENTAMENDs Youa r»ol_lcv. PLsAss esso ir cAnEFuLL.Y.
CENTF{AL PRENHEH PLUS® PFiOPEFiTY EXTENS|ONS COVERAGE‘; ENDOF{SENIEN`§'

This endorsement modifies the following former

BU|LD|NG AND PERSONAL PROPER‘TY COVERAGE FOFIM
CONDOMIN|UM ASSOClATlON COVERAGE FOHM
CONDOM[N|UM COMMERC|AL UNiT OWNEF{S COVERAGE FOFil\/l
CAUSES OF LOSS - SPECEAL FORM

Coverage is amended by the following changes to Addltlonal Coverages, Coverage Extensionsl Condltlon and
Exctuslons. Ail other leitatlons, Conditions, and Exciuslons apply.

SECTION l» ELANKET ADD|TIONAL COVEHAGES AND COVERAGE EXTENSlONS

SCHEDUE.E *
B|anket Limit of insurance S
Deductibie $ 1,000

‘ (if no entry appears above, information required to complete this endorsement will be shown in the
D`ec|arations or Change Endorsement as applicable to this endorsement.)

The Blenket L_imlt of insurance shown in the Schedule or Declarations applies over all Additionai Coverages and
Coverage E>densions shown below, sub]ect to any subllm|ts specified in this endorsement Unless otherwise
stated, this Btanl<et Limit of insurance applies separately at each covered premises shown in the Soheduie or
Deciarations and is in addition to, not part of, the limits in the applicable coverage form.

At time of loss. the first Named insured may elect lo apportion this Bianket Limit ot insurance to one or any
combination of the listed Addltlonai Coverages and Coverage Extenslons, but under no circumstance will the
aggregate apportionment be permitted to exceed the Blani<et Limit of insurance shown in the Schedute or
Declarat|ons at any one covered premises. For the purpose of the application ot the Blanket Limit of lnsurance, ali
property stone premises shell constitute a single premises

The coverages afforded in this Blanket Limit of insurance are subject to the appiicab|e coverage provisions which
form a part of this policy,

Deduct|blo

As respects coverage provided by this endorsement, we will not pay for loss or damage in any one occurrence
until the amount of loss or damage exceeds ins Deductibte shown in the Schedule or Declaraflons. We will then
pay the amount of loss or damage in excess of the Deductlbie, up to the Blanket Limit of insurance

if a loss ls covered under this endorsement and also covered under insurance provided elsewhere in this policy,
the loss amounts will be combined for purposes of applying a deductible and only the largest of the applicable
deductibles will apply.

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Arldltlonai Coverages and Coverage Extensions:
Accounts Fteceivable
Bui;d§r.g Ordir‘.ance or t_aw
*Business income & Extra Expe".se with Servlce
interruption
Business income ir m Dependent Propenies
*Buslness income from Dependent Propertles
Conseo_uen*.lal Loss
Crlme Coverages
'Empioyee Theft
Forgery or At:eratlon
Thett of fvtoney and Securities
*Cornputer Fraud
‘Funds Transfer Fraud
lrioney Orders and Counterfeit .'vtoney
Dlsaster Ftebutldlng Expenses
Electronlc Data `
F!ne Arts
'F|re Deoartment 'Servlce Charge
Fire Proicctive Devlces

* These coverages have sublimits.

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’r'~ocd Contaml'ialiob,

‘inventory or Appraisal

l_essor's Additicna§ Expenses

l’Lessor's Addltlonat Expenses

Lost Key Consscuentiat Loss

Non-Ownod Detachec trailers

Outdoor Propeny

’Outdoor Fences

Outdoor Light Potes

Outdcor Signs

*Personal Erfects - Prcpsrty of thers
Poiiutant Ciean Up and Remcvat

Prcpeny oil Premises

Prcperty in Transit or Property in Custody of
*Satespersons

‘P.e'.'.'ard

'Sewer, Drain or Surnp Baci< Up or Overllow
Tempe.'ature-Humidlty Cl‘.ange

Valuable Papers and Ftecords (Otner Than

Electronic Data)
'Valuable Papers and Ftecords iOtt‘,er than
Eiectrontc Data) at Siorage t_ocatlons

A. Addltional Coverages end Coverage Extenslons as shown in the applicable Coverage Form are amended

as shown beiow:
1. Accounts Receivable

a. You may extend the insurance that applies to Ycur Business Personal Property to apply to your

records of accounts receivabie:

1) At a described premises or in or on a vehicle in transit between described premises; or
2) lf the records must be removed from a described premises to protect them from the threat of a

Covered Cause of Loss.

b. The amount of your Accounts Fieceivable loss lnciudes:

1) Debt owed to you trcm your customers il you are unable to collect the debt as a direct result of a
covered loss or damage to your accounts receivable records;

2) interest charges on debt you must borrow to offset your reduced cash ilow;

3) Addltionai collection costs, over and above your usual collection costs, made necessary

because of loss or damage; and

4) Reasonable expenses you must incur to reestablish your accounts receivable records
c. Accounts receivable loss payment will be determined as foilows:

1) When there ls proof that a covered loss has occurred but you cannot accurately establish the
amount of accounts receivabie outstanding at the time of the ioss_. the amount of the loss will be

computed as foilows'.

a} Determlne the total of the average monthly amounts of accounts receivable for the 24
months immediately preceding the month in which the loss cr damage occurs: and

b) Ad,‘ust the tolat for any normal fluctuations in the amount of accounts receivable for the
month in which the loss cr damage occurred or for any demonstrated variance from the

average for that month.

2) We wi;l deduct from the established total amount of accounts receivable:
e) The amount of= any accounts evidenced by records not lost or damaged;

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b) Any other amounts you are able to establish or collect; and
o) An amount to allow improbable bad debts which you normally would have been unable to
coHect
3) li you recover the amount of any accounts receivable that were in the amount oi the paid ioss,
you will return the recovered amount to us. up to the total amount ot the paid loss. You will keep
the amount ci any accounts receivable you recover in excess oi the amount of the paid loss.

2. Buiiding Ordinance or Law

You may extend the insurance provided by the applicable Coverage Form to apply lo Bul|ding

Ordlnance or l..aw Coverage.

a. ii there is an ordinance or law in effect at the time of loss that regulates zoning, land use or
construction of a covered buitd|ng» and li enforcement ct that ordinance or law affects the repair of
that building following damage by a Covered Cause cf Loss, you may extend the insurance on
Buiiding to cover: `

1) Costs to demolish and clear the site of the undamaged portions ot the bullding;

2) The value of the undamaged portions of the bulldlng; and
3) The increased costle repair or rebuiid the building with another building of the same size.

b. We will not pay more under this Coverage Extension than ii the repaired or replaced building was:

1) Ftebulil at the same location, as soon as reasonably possibie.

2) To the same extent the law permits, of the same size as the one ii replaces; and

3) Dasigned fortna same type of occupancy as the one lt replaces, unless otherwise required by
zoning or land use ordinance or iaw.

The increased building costs must be kept to the minimum needed to satisfy legal requirements

c. if you do not repair or replace the damaged bullding, we will pay under this Coverage Extension only
lo demolish and clear the site ot the undamaged portions ol the building

ci. This Coverage Extenslon does not apply to the costs associated with the enforcement of any
ordinance or law that:

1) requires the demolition, repairl replacement, reconstruction. remodeling or remediation of
property due to contamination by "poiiutants” or due to the presence, growth, proliferation,
spread or any activity ot "iungus", wet or dry rot or bacteria; or _

2) The costs associated with the enforcement of or compliance with any ordinance or law which
requires any insured or others to test for, monitor, clean up, remove, contain, treat. detoxify or
neutralize, or in any way respond to, or assess the etfects ot “poilutants”, "tungus”. wet or dry rol
or bacteria.

e. Under this endorsement we will not pay for loss due to any ordinance or iaw that
1) You were required to comply with before the ioss, even if the building was undamaged; and

2) You failed to comply wlth.
Exciusion B.1.a. cf the CAUSES OF L.OSS - SPEC|AL FORM does not apply to this Coverage Exienslon.

3. Business income and Extra Expense with Service interruption

You may extend the insurance provided by the applicable Coverage Forr_n for direct physicat loss of or

damage to Covered Propeny to apply to:

a. The actual loss of Business income you sustain due to the necessary suspension oi your operations
at the described premises as a result ot covered direct loss or damage; and

b. Necessary Extra Expenses you incur that you would not have incurred ll there had been no such
covered direct loss or damage

This Extension oniy applies to the amount of loss incurred beginning 72 hours etter the time ot direct

physical loss or damage to Covered Property at or within 1,000 feet oi the property iine of the described

premises by a Covered Cause of t_oss. ll ends on the date when the property at the described premises
shguid be rspalrad, rebuilt or replaced with reasonable speed and slmiiar quality. even ii this is after the

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expiration date of this pc|icy. This does not include any increased time needed due to enforcement ot
any ordinance cr law regulating:

a. Buttdtng or land usaoe, demoiition or constructlor‘; or
b. Envlronrnentat damage or restoration
Business income means the:

` a. Net income tNet Pro=‘it cr Loss before income taxes) that would have been earned cr incurred; and

b. Continuing normal operating expenses necessarily incurred including payroil.

For manufacturing risks. Net income includes the net sales value 05 productionl

Extra Expense means expense incurred:

e. To avoid or minimize the suspension ot business and to continue your operations at any lccation;

b. To minimize the suspension or business it you cannot continue your operations; cr

G. To repairer replace any property or to research, replace or restore the lntorma:-`cn on damaged
valuable papers and recordsl but only if those expenses reduce the amounts ot'oerwise payable in
this Extenslon.

The insurance provided by this additionai coverage is extended to apply to loss caused by or resulting

from a Covered Cause of Loss to equipment that is owned by a utility, landlord or other supplier with

whom you have a written agreement or contract to provide you with any of the following services:

erectricai power, communicationsl waste disposal. air cortd!tion!r‘.g;il refrigeration, heating gas, a!r. water

cr stearn. Coverage provided by this extension applies regardless ot the imation of the equipment

The most we witt pay for loss or damage under this coverage is 525,000.

Business income from Dependent Propertles, Secondary Contrlbutlng Locatlons or Secondary
Recipient Locatlons

You may extend the insurance provided by the Coverage form for direct loss o.‘ or damage to Covered
Property to apply to the actual loss of Business income you sustain due to the necessary suspension of
your operations The suspension must be caused by direct physical loss of or damage to "dependent
property", "secondary contributing location" or "secondary recipient |ocation" caused by or resulting from
a Covered Cause of Loss. However, coverage under this endorsement does not apply when the only
loss to "dependent property", "secondary contributing iocatlcn" or "secondary recipient location" ls loss or
damage to electronic data including destruction or corruption of electronic data. ii the "dependent
property", “secondary contributing location“ or “secon'dary recipient location" sustains ioss or damage to
electronic data and other property, coverage under this endorsement will not continue once the other
property is repaired. rebuilt or replaced The term electronic data has the meaning set forth in the
Coverage For.'rt to which this endorsement applies

This Extension only applies to' the amount of loss incurred beginning 72 hours after the time of direct

physical loss or damage caused by or resulting from any Covered Cause of Loss at the premises of the
"ciependent property" "secondary contributing`locatlcn" or "secondary recipient location" and ending on

l

the date when the property at the premises of the "dependent property", "secondary` contributing
location" or "secondary recipient iocatlon" shouid be repairsd. rebuilt or replaced with reasonable speed
and similar quality. This does not include any increased time needed due to enforcement of any
Ord|nance or law reguiatlng:

a. Buiidlng or land usage, demolition or construction; or

b. Environrnenial damage cr restoration

We will reduce the amount of your Business income loss. other than Extra Expense, to tne extent you
can resume "operatlons." in where or in part by using any other avaiteb.‘e:

a. Source of materials; or

b. Outiet for your products

Business income means the;

B. Net income (Net Proiit or Loss before income taxes) that would have been earned or incurred; and
b. Ccntinulng norma; operating expenses necessarity lncurred, including payroll.

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For manufacturing risks, Net income includes the net ssies value of productionl
"Dspendent propeny' means property operated by others whom you depend on to:
a. De|iver materiais or services to you, or to others for your accountl But any property which delivers
any _ol the following services ls nol dependent property with respect to such services:
1) Water supply services;
2) Power suppiy services; or
3) Communicatlon supply services, including services relating to internal access or access to any
electronic network;
b. Accept your products or service's;
c. Nianuiaoture products for delivery to your customers under contract of sa|e; or

d. Atlract customers to your business

"Secondary contributing location" is an entity which:

a. is not owned or operated by a Depenclent Property; and 1
b. Delivers materials or services to a Dependent Prcpeny, which in turn are used by that Dependent

Property in providing materials or services to ycu.
A road, bridge, tunnel, waterway. airlield. pipeiine or any other similar area or structure is not a
"secondary contributing iocation', '
Any property which delivers any cl the foilowing services is not a "secondary contributing iocation" with
respect to such services:
1) Water supply services;
2) Power supply services;
3) Wastewaler removal services; or
4) Communlcatlon suppty services, including services relating to internal access or access to any
electronic networi<.
"Secondary recipient |ocation“ ls an entity which:
e. is not owned or operated by a Dependent Property; and
b. Accepts materials or services from a Dependent Property identified in the Scheduie, Deciaratlons or
Change Endorsement which in turn accepts your materials or servicesl
A road, bridge, tunnel. waterway, airlieid, pipeline or any other similar area or structure is note
”Secondary recipient iocation'.
The most we will pay for loss or damage under this coverage is S25,000.

5. Cons_equent|ai Loss
Ycu may extend the insurance that applies to Your Business Personal Property to pay the reduction in
value of the remaining parts oi "stock" in process of manufacture when the reduction is caused by direct
physicai loss or damage from a Covered Cause cl Loss to other parts of "stoci<" in the process ot
manufacture at the described premises and the remaining parts cannot be used in conjunction with other
"stocl<."
6. Crime Coverage
a. You may extend the insurance that applies to Your Business Persona| Property to provide the
following Crime coverages These coverages apply to loss that you sustain resulting directly from an
"occurrence" taking place during the Poiicy Period shown in the Declarations, except as provided in
the additional Conditions c.4) and c.5) which is "discovered" by you during the Poiicy Period shown
in the Deciaraticns or during the period cl time provided iri the Exlcndect Perlod to Dlscovsr Loss
Condition c.2):

1) Eniployee Theft

We will pay for loss or damage to “money," "securitles.‘J and ”other property" resulting directly
from “theft" committed by an "empioyee,” whether identified or not, acting alone or in collusion
with other persons

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For the purposes cl this coverage lLtheit" shall also include forgery.
ii the Bianl<et Limit ot insurance is more than $50,000, the most we will pay for loss or damage
under this coverage is $S0.000.
Forgery Or A|teration
a) We will pay for loss resulting directly lrorn "lorgery“ or`alieration ot checks, draits, promissory
notes, or similar written promises, orders or directions lo pay a sum certain in "rnoney" that
are:
i) blade or drawn by or drawn upon you: or
Il) ivtade or drawn by one acting as your agent;
or that are purported to have been so made ordrav.'n.
A substitute check as defined iri the Oi‘.ecl< Ciearing fortna 2tst Century Act shall be
treated the same as the original it replaced '

b) ii you are sued for retusing to pay any instrument covered in Paragreph a. above. on the
basis that lt has been`lorged or altered, and you have our written consent to defend against
the sult, we will pay for any reasonable legal expenses that you incur and pay in that
defense The amount that we will pay is ih addition to the i.imit of insurance applicable to this
insuring Agreement.

Theft Ol Money And Securities

a) inside the Premlses
|) We will pay for loss of “money“ and "securltles" inside the l*premlses” or "banicing

premises“:
a) Ftesu|iing directly from “theft" committed by a person present inside such "prernlses"
or banking "prernlses”; or
b) Ftesulting directly from disappearance or destruction
li) We will pay for loss from damage to the "premlsee" or its exterior resulting directly from
an actual or attempted "lheit“ of "money" and "securities," il you are the owner of the
"prernises" or are liable for damage to ll.

ii|) We will pay lor loss of or damage to a ioci<ed seie, vaull, cash register, cash box or cash
drawer located inside the “premises” resulting directly from en actual or attempted ”thett”
cl or unlawqu entry into those containers

b) Outslde The Premtses

l) We will pay for loss of "money’ and l‘securitles“ outside the "premises” in the care and
custody oi a "rnessenger" or an armored motor vehicle company resulting directly lrom
“ihelt, disappearance or destruction."

ll) We will pay for loss cl or damage to "other property” outside the “prernlses" in the care
and custody of a "rnessenge_r" or an armored motor vehicle company resulting directly
from an actual or attempted "robbery.”

Computer Fraud

We will pay for loss of cr damage to “money,“ "securttles" and "ot`ner property' resulting directiy
from the use ot any computer to fraudulently cause a transfer cl that property from inside the
"'premises" or "'bani<ing premises":

a) To a person (ott‘.er than a "rnessenger") outside those "premlses“‘; or

b) `i'o a place outside those “'prernises.” '

The most we will pay for loss or damage under this coverage ls $25._000.

Funds Transfer Fraud

We will pay for loss of “.‘unds“ resulting directly from a "traudulent instruction" directing a iinanciai
institution to transfer, pay or deliver "iunds” from your "`transter account."

The most we will pay for loss or damage under this coverage is 325,000.

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6) Money Orders And Counterleit l‘v'lone`y
We will pay for loss resulting directly from your having accepted in good laith, in exchange lor
merchandise "money” or serv|css:
a) Money orders issued by any post oliice, express company or bank that are not paid
upon presentation; or
b) "Counterfeit money“ that is acquired during the regular course of business
b. Excluslons
in addition to the Exc|uslcne in Causes ot Loss - Speciai Form. the following Excluslons are added
as respects the Crime Coverage provided by this endorsement
1) This insurance does not cover:
a) Acts Of Empioyees Learned Of By You_ Prlor To The Poiicy Perlod
Loss caused by an "ernp|oyee" it the "ernpioyee" had aisc committed "thett” cr any other
dishonest act prior to the effective date ot title insurance and you or any ot your partners,
"members," “managers," otltcers, directors or trustees, not in collusion with the "employee,"
learned ot that "thett" or dishonest act prior to the Poiicy Period shown in the Declaralions.
b) Acts Of Employees, Managers, Dlrectors, Trustees Or Representat|ves
Loss resulting from "lhett" or any other dishonest act committed by any of your "empioyees,”
"managers,” directors, trustees or authorized representatives
l) Whether acting alone or in collusion with other persons; or
li) Whi|e performing services for you or otherwise.
This exclusion does not apply to coverage provided by Empioyee Theft.
c) Confldentlallnformatlon
Loss resulting trom:
t) The unauthorized disclosure ot your confidential information lncluding, but not timited to,
patents, trade secrets, processing methods or customer lists; or
ll) The unauthorized use or disclosure of confidential information ot another person or entity
which is held by you inciudlng. but not limited lo, financial lntorrnalion, personal
lntormation, credit card information or similar non-public information
d) indirect Loss
Loss that is an indirect result of en “occurrence" covered by this insurance including, but not
limited tc, loss resulting trom:
i) Your inability to realize income that you would have realized had there been no loss of or
damage to "money," "securities" or "other property.”

il) Payrnent ot damages of any type for which you are legally iiable. But. we will pay
compensatory damages arising directly from a loss covered under this insurance

ili) Payment ot costs, tees or other expenses you incur in establishing either the existence
or the amount cl loss under this insurance

e) Legal Fees, Costs And Expenses
Fees, costs and expenses incurred by you which are related to any legal action, except
when covered under Forgery Or Alteration.

2) Employee Theft does not cover:

a) Tradlng
Loss resulting from trading, whether in your name or in a genuine or fictitious accountl

b} Warehouse Flecelpls

Loss resulting from the fraudulent or dishonest signing, tssuing, canceling or failing to cancei,
a warehouse receipt or any papers connected with il.

3) Theft Of |Vioney and Securlties does not apply to:

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a) Accounting Or Arithmetlcai Errors Or Orntsslons
Loss resulting front accounting or arithmetical errors or omissions
b) Exchanges Or Purchesee
Loss resulting from the giving or surrendering of property in any exchange or purchase.
c) Fire
Loss or damage resutt!r:g from tire. however caused, except
l) Loss ct or damage to "m ney" and securities"; and
ii) Loss from damage to a safe or vault.
d) Flrloney Operated Dev!ces

Loss of property contained in any money operated device unless the amount ct “rnoney”'
deposited in it is recorded by a continuous recording instrument in the device

e) Motcr Vehlcles Or Equlpment And Accessories
Loss oi or damage to motor vehicies, traiiers or sami-trailers or equipment end accessories
attached to them.

f) Transier Or Surrender Of properly

l) t_oss ot or damage to property after it has been transferred or surrendered to a person or
place outside tne "prernises" or "bankr'ng premises":

a) On the basis of unauthorized instructions;

b) As a resuit ot a threat to do bodily harm to any perscn; cr

c) As a result of a threat to do damage to any property

d) As a resuit of a threat to introduce a desist ot service attack into your computer
system;

e) As a resuit of a threat to introduce a virus or other malicious instruction into your
computer system which is_ designed to damage, destroy or corrupt data or computer
programs stored within your computer systern:

f) Ae a result ot a threat to contaminate. poiiute or render substandard your products or
goods: or

g) As a result of a threat to disseminate divulge or utilize:

1) Your confidential iniorrnat§on; or
2) Weaknesses in t'ne source code within your computer system
l}) But, this Exciusion does not appiy under Thelt of irioney and Securitles Outslde the

Premises if you:

a) Had no knowiedee of any threat at the time the conveyance began; cr

b) Had knowledge of a threat at the time,the conveyance began, but the loss was not
related to the threat

g) Vandalism
Loss from damage to the "prernises" or its exterior, or to any safe, vauit, cash register. cash
box. cash drawer or *‘other property" _by vandalism or malicious mischief,

Cornpuier Fraud does not cover:

a) Credit Card Transactions
Loss resulting from the use or purported use of oredlt, debit, charge, access. convenienoe,
identification, stored-value or other cards or the information contained on such cards.

b) Funcis 'i`ransfer Fraud
Loss resulting from a "frauduient insiructlon“ directing a financial institution to transfer, pay or
deliver "iunds" from your “transier account.”

Funds Transfer Freud does not coven

Cornputer Fraud'

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Loss resulting from the use of any computer to frauduient cause a transfer cl "money,"
"securitles" or "other property."

c. Condlttons
The following Condltlons are added as respects this Crime Coversge only:

1) Emp!oyee Benefit Plens

8)

b)

di

9)

f)
c)

li any Employee Weifare or Pension Benetit Plan thereafter called Plan) is insured jointly with
any other entity under this insurance, you or the Plan Administrator must select a Limit of
insurance for the Empioyee Dlshonesty coverage that is sufficient to provide an amount of
insurance for each Pian that is at least equal to that required if each Pien were separately
|nsured.
ii any Pian ls insured jointly with any other entity under this insurance, you or the Plan
Adrn|nietrator must seiect a Limit of, insurance for Empioyee Theft that is sufficient to
provide a Limit of insurance for each Plan that is at least equai to that required ii each Plan
were separatefy insured
With respect lo loss sustained or “d|scovered" by any such Plan, Empioyee Theft' is
replaced by the following:
We `wiii pay for loss or damage to "iunds” and "other property" resulting directly from
fraudulent or dishonest acts committed by an "employee." whether identified or riot, acting
alone or in coiluslon with other persons.
ii the first Narned insured is an entity other than a Pian, any payment we make for tose
sustained by any P|an will be made to the Plan sustaining the loss.
it two or more P|ans are insured under this insurance, any payment we make for ioss:
i) Sustalned by two cr more Pians: or 7
ii) Of commingled “funds” or "other property" of two or more Pians,
resulting directly from an "cccurrence," will be made to each Pian sustaining loss in the
proportion that the Limit of insurance required for each Pian bears to thl total Limit of
insurance of ali Pians sustaining loss.
'i'he Deductlbie does not apply to loss sustained by any Plan.
if you “discover" loss sustained by an "ernployee benefit pian" and the Ernployee Theft
insuring Agreernent ct insurance no longer complies with the minimum amount of coverage
required for such plan(s) under ER|SA, we agree to increase the Empioyee Thett Limit of
insurance with regard to such plan(s) so as to equal the minimum amount cf coverage
required under EFtiSA.
However, the increased coverage witt onty apply if the Emptoyee Thelt insuring Agreernent
provided coverage in an amount that was equat to or greater than the minimum amount
required under Ei'-ilSA at the time the policy was issued.

Exterided Periotl To Disoover Loss
We w|ii pay for loss that you sustained prior to the effective date of cancellation of this insurance.
which is "dlscovered" by you:

B)

b)

No later than 1 year from the date of that cancellation i~iowever, this extended period to
“discover" loss terminates immediately upon the effective date of any other lnsurance
obtained by you, whether from us or another insurer, replacing in whole or in partlthe
coverage affordedl under this lnsurance, whether or riot such other insurance provides
coverage for loss sustained prior to its effective date.

No inter then 1 year from the dale of that canceiiaiion with regard to any "emptoyee benefit
plans."

Joint lnsured

a)

if more than one insured ls named in the Deciarations. the first Named insured will act for
itself and for every other insured for all purposes of this insurance if the Narned insured
ceases to be covered, then the next Nerned insured will become the first Named insured.

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b)

G)
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f)

if any insured, or partner "msrnber’ or officer of that insured has knowtedge of any

information relevant to this insurance, that knowledge is considered knowledge of every

insured

An "empioyee" of any insured is considered to be an "empicyee” of every insured.

it this insurance or any of its coverages is cancelled to any insured, loss sustained by that

insured is covered only ii it is "discovered" by you:

i) No later than t year from the date of that cancellation However. this extended period to
”discover” loss terminates lmrnediateiy upon the effective date of any other insurance
obtained by that insured, whether from us or another insurer, replacing in whole or in
part the coverage afforded under this insurance, whether or not such other insurance
provides coverage for loss sustained prior to its effective date.

ii) No teter than t year from the date of that cancellation with regard to any "ernpioyee
benefit pians."

We will not pay more ior loss sustained by more than one insured than the amount we would

pay if all such loss had been sustained by one lnsureci.

Payment by ustc the first Named insured for loss sustained by any insured, other than an

"employeeibeneftt pian,” shall iui|y release us on account of such loss.

4) Loss Sustalnect During Prior insurance issued By Us Or Any Affittafa

33

b)

c)

Loss Sustained Partiy During 'i'hls lnsurance And Partty During Prlor insurance

if you “discover' loss during the Poiicy Period shown in the Declarations, resulting directly

from an "occurrence” taking piace:

i) Partiy during the Poiicy Pericd shown in the Declarations; and

li) Partiy during the Poiicy Period(s) of any prior cancelied insurance that we or.any aiiiiiate
issued to you or any predecessor in interest;

and this insurance became effective at the time of cancellation of the prior insurance, we will

first settle the amount of loss that you sustained during this Poiicy Period. We will than settle

the remaining amount of loss that you sustained during the Poiicy Perlod(s) of the prior

insurance.

Loss‘Sustained Entireiy During Prior insurance

if you ”discover" loss during the Poiicy Period shown in the Deciarations, resulting directly

from an “occurrence" taking place entirely during the Poiicy Pertod(s) of any prior cancelled

insurance that we or any affiliate issued to you or any predecessor in fnterest, we-wiit pay for

the ioss, provided:

l) This insurance became effective at the time of cancellation of the prior insurance; and

li) The loss would have been covered under this insurance had it been in effect at the time
of the “occurrenoe,"

We will first settle the amount of loss that you sustained during the most recent prior

insurancel We will then settle any remaining amount of loss that you sustained during the

Poiicy Period(s) of any other prior insurance

ln settling loss subject to this Condltion the most we will pay for the entire loss is the highest

single Limit of insurance applicable during the period of ioss, whether such limit was written

under this insurance or was written under the prior insurance issued by us.

5} Loss Sustalned During Prior insurance Net issued By Us Or Any Affiiiate

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at

if you "discover" loss during the Poiicy Period shown in the Deciarations. resulting directly
from an "occurrence‘1 taking place during the Poiicy Period of any prior cancelled insurance
that was issued to you or a predecessor in interest by another company, and the period of
time to discover icss under that insurance had explred, we will pay for the loss under this
policy, provided:

i) This insurance became effective at the time of cancellation of the prior insurance:

and

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i|) The ioss wouio` have been covered under this insurance had lt been in effect at the time
of the “occur.'ence."`
io) in settling loss subject to this Condition the most we t rEii cay tor the entire Loss is the lesser of
the Limits of insurance applicable during the period of loss. whether such itmit was written
under this insurance or was written under the prior cancelled insurance
c) The insurance provided under this Condition is subject to the foilo'\vir.g:

i) if ioss ccverec under this Condition is aier partiality covered under Conc'ition 4); the
amount recoverab‘-e under this Condttton is part ot, not in addition to, the amount
recoverable under Gondition 4).

ii) For toss covered under this Conditton that is not subject to Paragraph c) ii), the amount
recoverable under this Cor‘.ditton is part of, not in addition to, the Em§t ct insurance
applicable to the loss covered under this insurance and is limited to the lesser ct the
amount recoverable under;
aj This insurance as ot its effective daie; or
b) The prior cancelled insurance had it remained in eitect.

6)' Fiecoveries
a) Any recoveries, whether effected before or after any payment under this insurancel whether
made by us cr you. strait be applied net ct the expense ot suct recovery:
l) First. to you in satisfaction of your covered loss in excess of the amount paid under this
rnsurance:
i|) Second. to us in satisfaction o.‘ amounts paid in settlement of your ciairn:
iii) -Third, to you in satisfaction of any Deductibie Amount; and
lv) Fcurth. to you in satisfaction of any loss not covered under this insurance
b) Fiecoven`es do not inctude any recovery:
l) From insurance, suretyshi,o. reinsurance security or indemnity taken for our benefit: or
i|) Oi originai “securities“ after duplicates ot them have been issued
7) Valuation - Settiement
a) The value ot any loss for purposes of coverage under this poiicy shall be determined as
foiiows:
i) Loss of "money" but only up to and including its face value. We wiii, at your opiion, pay
for loss of "money" issued by any country other than the United States ot Arnertca:
a) At face value in the “rnoney" issued by that country; or
b) in the United States of Arnerica dollar equivalent determined by the rate of exchange
Pubiished in The Walf Street Journaf on the day the loss was "discovereci."
ii) Loss of “securities" but only up to and inciuding their value at the close ot business on
the day the ioss was “dlscovered." We may. at our option:
a) Pay the market value of such "securities" or replace them in kind, in which event you
must assign to us eli your rig'hts, title and interest in and to those "securittes"; or
b) Pay the cost of any Lost Securities Bond required in connection with issuing
duplicates ct the “securities.” i~iowever, we wlii be liable only for the payment of so
much of the cost of the bond as would be charged for a bond having a penalty not
exceeding the lesser of ihe:
1) iviari<et value of the "secu_rlties" at the ctose ot business on the day the ioss was
"dlscovered_"; or
2) The Limit of insurance applicable to the "securities."'
c) t_oss of or damage to "other property” or ioss i_rom damage to the "premises" or its
exterior for the replacement cost of the property without deduction for depreciation
i'iowever, we witt not pay more than the least of the foilcwing:

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1) The cost to replace the lost or damaged property with property of comparable
material and quality and used for the same purpose;

2) The amount you actually spend that is necessary lo repair or replace the lost or
damaged properly; or '

3) The Limit of insurance appi|cabte to the lost or damaged property.
With regard to Paragraphs 7)_a)l|)c)‘l) through 7)a)li)c)3), we witt not pay on a
replacement cost basis for any loss or damage:
(a) Unlil the lester damaged property is actually repaired or replaced; and

(b) Unless the repairs or repiacement are made as soon as reasonably possible
after the loss or damage

if the iost or damaged property is not repaired or replaced, we will pay on an
actuai cash value basis

b) We wiii. at your option, settle loss or damage tc property other than "rnoney":
i) ln the “rnoney" of the country_in which the loss or damage occurred; or

|l) in the United States of Arnerlca dollar equivalent cf the "mcney" et the country in
which the loss or damage occurred determined by the rate of exchange
published in The Walr' Streatdorrrnaion the day the loss was “dlscovered,"

c) Any property that we pay tor or replace becomes our property.
8} Add|tionai Conditions Appilcab|e To All Crirne Coverages
e) |f other valid and collectible insurance ts available to the insured for a loss we cover under
Crlrne Coverage, and that other insurance ts provided by an insurer other than us or a
subsidiary of ours, we will pay only lor the amount of loss in excess oi the other insurance
But we will not pay more than the applicable Limit of insurance
9} Addltiona| Conditions App|tcebie To Employee Thet't only
a) Terminaticn As To Any Empioyees
Employee Theft coverage terminates as to any "empioyee" as soon as:
I) Ycu; or
ll) Any of your partners. "rnembers," "rnanagers." ctiicers, directors, or trustees not
in collusion with the "emptoyee”;
learn of "lheit" or any other dishonest act committed by the “empioyee” whether
before or after becoming employed by you.
b) Terrltory

We wlll pay for loss caused by any "employee" while temporarily outside the
coverage territory for a period of not more than 90 consecutive days.

10) Addltionai Condlttons Applicable To Forgery Or Alte_ratlcn Cniy
a) Daduct|ble Amount
The Deductlbie does not apply to legal expenses paid under Forgery Or Aiteration
coverage
b) Eiectronlc And Mechanlca| Slgnatures

We will treat signatures that are produced or reproduced electronicaiiy, mechanically
or by other means the same as handwritten signatures

c) Proof of Loss

You must include with your proof of loss any instrument involved in that loss. cr, ii
that is not possible\ an aftidavit setting forth the amount and cause of ioss.

d) Terrttory
We witt cover loss that you sustain resulting directiy from an “occurrence" taking
place anywhere in the worid.

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11) Additionai Conditlons Appilcabie To Thett of Money and Securlties Outslde the

Fremlses Only

Armored ililotor Vehicie Compan|es

We wilt only pay for the amount of loss you cannot recover:

s) Under your contract with the armored motor vehicle company;

and
b) Frorn any insurance or indemnity carried by, or for the benefit ct customers of,

armored motor vehicle company.

12} Addit|onal Conditions App|icebie To Computer Fraud Only

a} Spec|el Limit Ot lnsurance For Speciiied Property
We will only pay up to $5,000 for any one "occ`urrence" of loss or damage to
manuscripls, drawings, or records\oi any kind or the cost of reconstructing them or
reproducing any information contained in thsm.

b) `t'erritory
We will cover loss that you sustain resulting directly trom an “ocourrence"' taking
place anywhere in the worid.

d. Deftn|tions
The following definitions are added as respects Crlme Coverages on!y:

1)
2)

3)

4)

5)

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“Banktng premises” means the interior of that portion ot any building occop‘ed by a banking
institution or slmitar safe depository
"`Counterieit money" means an imitation ot “rnoney" that is intended to deceive and to be taxen
as genuine.
"Custodian” means you, or any oi your partners or "mernbers," or any "employee“ while having
care and custody of property inside the "premises." excluding any person while acting as a
“watchperson" or len§tor.
"Discover” or “discovered" means the time when you iirst become aware of facts which would
cause a reasonable person to assume that a loss of a type covered by this insurance has been
or will be incurred, regardless of when the act or acts causing or contributing to such loss
occurred, even though the exact amount or details of loss may not then be known.
l‘ll)lscovt=,-r" or l"discovered" also means the time when you first receive notice ot an actual or
potential ciaim in which'it is alleged ihat you are liable to a third party under circumstances
which, if true, would constitute a loss under this insurance
"Employee":
a) "Employee" means:

i) Any natural person:

a) Whiie in your service and for the first 30 days immediately after termination of
service. unless such termination is due to "tnoit`: or any dishonest act committed by
the “empioyee":

b) time you compensate directly by salary, wages or commissions and

c) tho you have the right to direct and control white performing services for you:

ii) Any naturai person who is furnished temporarily to you:

a) To substitute for a permanent “`ernpicyee" as defined ‘.n Peragra_oh a)l}_ who is on
leave: or

b) To meet seasonal or short-term work ioao' conditions;
while that person le subject to your direction and control and performing services for
you, exciuding, nowever, any such person while having care and custody of property
outside the "premises'"; or

iii) Any natural person who is leased to you under a written agreement between you and a
labor leasing iirm, to perform duties related to the conduct ot your business, but does not

mean a temporary employee as defined in Paragraph a)ii).

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6)

n

8)

b)

lv) Any natural person who is:
a) A trustee, otiicer, empioyee, administrator or manager, except an administrator or
manager who ls an independent contractor, of any "empioyee benefit pian"; and
b) A director or trustee ot yours while that person is engaged ln handling “funds” or
"other property‘_' of any "emplcyee benelll pian";
v) Any natural person who is a former “empioyee," partner, “rnernber,” “manager,” director
or trustee retained as a consultant while performing services for you;
vt) Any natural person who is a guest student or intern pursuing studies or duties.
exciudlng, however, any such person while having care and custody ol property outside
the "premises”;
vll) Any "en'lpioyee" of an entity merged or consolidated with you prior to the effective date ot
this policy; or
vlli) Any of your "managers," directors or trustees whlie:
a) Pertormlng acts within the scope of the usual duties of an "ernployee"; or
b) Acting as a member of any' committee duty elected or appointed by resolution ct
your board of directors or board of trustees to perform specifio, as distinguished from
generai, directorlel acts on your behaii.
r‘Err°lpioyee" does not meant
Any agent. broken iactor, commission merchant, consignee independent contractor or
representative of the same general character not specified in Paragraph 5}a).

“Employee benefit pian" means any welfare or pension benefit plan shown in the Deciarations
that you sponsor and which is subject to the Ernpioyee Ftelirement income Seourliy Aol ot 1974

(ER|SA) and any amendments thereto._

“Forgery" means the signing cl the name of another person or organization with intent to
deceive; it does not mean a signature which consists in whole or in part ot one’s own name

signed with or without authority, in any capacity, for any purpose
"Frauduient instruction" means:

a)

b)

<>)

An eiectronic, telegraphlc, oabie, teletype, teletacsimiie or telephone instruction which
purports to have been transmitted by you, but which was in fact fraudulently transmitted by
someone else without your knowtedge or consent;

A written instruction (other than those described in Forgery Or Alteration) issued by you,
which was forged or uttered by someone other than you without your knowledge or consent,
or which purports to have been issued by you, but was intact fraudulently issued without
your knowledge or consent; or

An electronlc. tetegraphic, cabie, teletype. teteiacslm|le, telephone or written instruction
initially received by you which purports to have been transmitted by an “emp|oyee“ but which
was in fact freudu|entiy transmitted by someone else without your or the "employee's"
knowledge or consentl

9) “Funds" means "money" and “securittes."
10) “Manager" means a person serving fn a directoria| capacity ior a limited liability company.

'it) "Member" means an owner of a limited liability company represented by its membership interest,
who also may serve as a "manager."

12) "Nlessenger” means you, or a relative of yours, or any of your partners or "members,"'or any
"empioyee" white having care and custody of property outside the "premises.”

13) "i\r‘loney" means:

at
b)

Gurrency, coins and bank notes in current use and having a face value; and
Trave`iers ohscl<s, register checks and money orders held for sale to the pubilc.

14) “Ocourrence” means:

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a) Under Emptoyee Theft:
l) Ar: individual act;
i|) The combined total of ali separate acts whether cr not related; or
iii) A series of acts whether or not related:
committed by an "empioyee*' acting alone or in collusion with other persons during the
Poiicy Perioci shown in the Deciarations, except as provided under Cono'ttion c,¢i) and
0.5).
b) Under Forgery Or A|teration
i) An individuai act;
il} The combined total ot all separate acts whether or not retated; or
iii) A series of acts whether or not related;

committed by a person acting stone or in collusion with other oersons, involving one or
more instrumentsl during the Poiicy Period shown in the Declarations, except as
provided under Condition c.4). or o.5)

o} tinder Aii OtherCrtme Coverage;
i) An tnc:viduai act or event:
it) The combined total of ali separate acts or events whether or not rotated: cr
iii) A series of acts or events whether or not releted; _
committed by a person acting stone or in coilusicn with other persons, during the Poiicy
Perlod shown in the Declarations. except as provided under Condition c.4). and c.5).
15) "Other property` means any tangible property other than "'money" and "securities" that has
intrinsic vaiue. "'Oth.er property" does not include computer programs, etectronic data or any
property specificai§y exc:uded under this insurance
1_6) "F’remtses" means the interior ot that portion of any building you occupy in conducting your
business
'l?) "Fiobcery"' means the unia\'r'§ut’tai<ing of property ircrr: the care and custody of a person by one
who has:
e) Cause:i or threatened to cause that person bodily hartn: or
b) Cornrnitted an obviousiy uniawfui act witnessed by,t‘nat person.
tB) "'Sefe burglary‘" means the uniawtui taking oi:
a) Properiy from within a locked safe or vault cy a person uniawfuiiy entering the safe or vault
as evidenced by marks of forcible entry upon its exterior; or
b) A safe or vautt from inside the "_oremises."
19) "Securlties" means negotiebte and nonnegotiable instruments or contracts representing either
"money" or property and includes:
a) Toitens, tickets. revenue and other stamps (v-.'hether represented by actual stamps or
unused value in a meter) in current use; and
b) Evldences of debt issued tn connection with credit or charge cards, which cards are not
issued by your
ut does not inciude "rnoney."
20) “'f`he.‘t" means the uniavrfut taking of property to the deprivation of the insured.
21) “'i'ransfer account" means art account maintained by you at a linenciai institution from which you
can initiate the transfer, payment of deflvery ot “tunds"t
a) By means of electronic. telegraphic,_cabte, teletype.- teieiacsttn|ie or teiephone instructions
communicated directly t. rough an electronic funds transier system: or

b) By means of written instructions (other than those described in Forgery Or Alteratlon.)
establishing the conditions under which such transfers are to be initiated by such financial
institution through an electronic funds transfer system.

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22) "Watchperson“ means any person you retain specifically to have care and custody cl property
inside the “premises" end who has no other duties.

7. Dlsaatel‘ Rebuiid|ng Expenses

R.

C.

E-

You may extend the insurance provided by the applicable Coverage Form to pay for direct physical
loss or damage to covered property excess of the applicable limits stated in the Schedule,
Deciarations or Change Endorsement. We will pay under this coverage ii all of the following
conditions are mel, subiect to all limitations of this endorsement
1) The event that caused the covered less:

e) Ftesuils in declaration of a stale of disaster by federal or state authorities: or

b) Occurs in close temporal proximity to the event that resulted in declaration ot disaster by
federal or state authorities
2) Expenses for labor and/or building materials for repair or replacement of the damaged property
increase as a result cf the disaster and the total cost of repair or replacement exceeds the
applicable Limit of insurance due to such increase in expenses;

3) You elect to repairer replace the damaged bullding; and

4) You notified us, within 30 days of completion, of any improvements alterations or additions to
the building which increase the replacement cost of the building by 5% or more, and allowed us
to adjust the Limit of insurance, it necessary. to maintain the required lnsurance-to~value level.

When the cost of repairer replacement increases in accordance with the terms of this endorsement,

we will pay the increased expenses actually incurred, up to the Bianket Limit ot insurance or

$100,000 whichever is iess.

The maximum amount of Disaster Ftebuiiding Expense Coverage available for the extra expense of

repair or replacement ot a building listed ln_the Scheduie, Deciarations or Change Endorsernent is

determined in accordance with the following provisions:

1) Appiy 5% for Dleaster Fiebuliding Expense Coverage to:

a) The Limit of insurance shown in the Scheduie. Dec|arations or Change Endorsement as
applicable to the building (adiusted first for inflation ii the inflation Guard option applies),
when such Limit covers only that building (exciusive of contents); or

b) The value of the building (as shown in the most recent statement oi values in this policy or
on tile with us} when insurance is written on a blanket basls. (For the purpose of this
endorsement, blanket insurance covers two or more buildings, or a building(s) and its
ocntents. under a single Limitoi insurance.)

However, ii the building is subject to a tower i_imit ct insurance (sub-|irnlt) for the Covered
Cause of Loss that caused the loss. then the 5% will be applied to that sub-ilrnit.

Annuai Aggregate

The following applies when payments are made under this endorsement as a result of one or more

covered events in an annual policy term:

1) When payments reach the maximum amount of Disaster Rebuiiding Expense Coverage, such
coverage will not apply to a subsequent event which occurs in the same annual policy term.

2) When payments total less than the maximum amount ot D|saster Fiebuildlng Expense Coverage,
the balance will be available lor additional expenses incurred in a subsequent event which
occurs in the same annual policy term.

Debris Ftemova!

tip to 20% of the amount payable for Disaster Fiebuilding Expense Coverage may be used to cover

Debris Fternovai expense associated with the covered loss. This does not increase the maximum

amount of Dlsaster Hebulidlng Expense Coverage.

Ordinance or Law

When a building listed in the Scheduie, Deciarations or Cnange Endorsement is also covered for
Coverage C under the Ordinance Or Law Coverage endorsement (if a part oi this poiicy), up to 20%

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ot the amount payable lor Additionat Expense Coverage may be used to cover costs payable under

Coverage C. This does not increase the maximum amount ot Dlsaster Ftebuliding Expense

Coverege.

g. Newiy Acquired 'Or Constructed Buildinge
When a newly acquired or constructed building is covered under the terms of the Newly Acquired O.r
Constructed Property Coverage Extension, then the highest percentage shown in the Schedule,
Declaratlons or Change Endorsement tor any building will be applied to the applicable Limit of
insurance for newly acquired or constructed buildings
`i`he result is the amount of Dlsester i=labuiidlng Expense Coverage applicable to the newly acquired
or constructed bullding, subject to ali other terms of this endorsement

h. in determining the expenses payable under this endorsemenl, we will deduct any expenses
recovered under a Business income and/or Extra Expense Coverage Form, lt any, in this policy.
This extension may not be used to cover the deductible amount cl any coverage provided by this
policy.

8. Electronlc Data

e. Under this Coverage. electronic data has the meaning described under Property Not Covered -
Eiecironic Data. '

b. Subiect to the provisions ol this Coverage, we will pay for the costle replace or restore electronic
data which has been destroyed or corrupted by a Covered Cause of Loss. ':`o the extent that
electronic data is not replaced or restored. the loss will be valued at the cost oi replacement of the
media on which the electronic data was stored, with blank media of substantially identical type.

c. The Covered Causes ot Loss applicable to Your Business Perscnai Property apply to this Coverage

lectronic Data, subject to the foilowlng:

1) if the Causes of Loss - Special Form applies, coverage under this Coverage - Electronic Data is
limited to the "speciiied causes of ioss" as delined in that Form, and Coiiapse as set forth in that
Form.

2) The Covered Causes ci Loss include a virus, harmful code or similar instruction introduced into
or enacted on a computer system (inciuding electron|c_data) or a network to which it is
connectedJ designed to damage or destroy any part ot the system or disrupt its normal
operation But there is no coverage for loss or damage caused by or resulting from manipulation
ol a computer system (inciuding electronic data) by any "ernployee," including a temporary or

' leased "e`mployee," or by an entity retained by you or for you to tnspect, design, installl modity,
maintain, repair cr replace that system.

d. The most we will pay under this Coverage - Electronic Data is the Bianket Limit ct insurance of this
endorsement for all loss or damage sustained in any one policy Year, regardless cl the number of
occurrences cl loss or damage or the number ct premises, locations or computer systems involved .
if loss payment on the llrst occurrence does not exhaust this amount, then the balance is available
for subsequent loss or damage sustained in but not alter that policy year. Wiih respect to an
occurrence which begins in one policy year and continues or results in additional loss or damage in
a-subsequent policy year(s), all tose or damage is deemed to be sustained in the policy year in which
the occurrence began.

9. Fine Arts

You may extend the insurance provided by the applicable Coverage Form to apply to loss or damage to

your "‘F.`ne Arts."

Loss cr damage must be caused by or result from a Covered Cause ct Lcss. Exclusions B. ‘i.a., 1.b.,

1.e. and ‘i.g. do not apply to this coverage extension.

We shall not pay for more than the value cl your property as indicated on a sales slip or written appraisal

from a cuaillied eppraiser. `

"Flne Arts" means paintings etohings, picturesl tacest.'ies, stained cr rare art giass, an glass windows

valuable rugs_. atatuary, marbies, bronzesl antique lurniture, rare books._ antique silver, manuscripts,

porcelains, rare glass, brlc-a-brac and similar property of rarity. historical value. cr artistic merit

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10. Flre Department Service Charge, Additicna| Coverages 4,c. of the applicable Coverege Form. l.lmit is
increased to $2,500.
No deductible applies to this coverage extension

11. Flre Protectlve Devlces
You may extend the insurance provided by the applicable Coverage Forrn to pay lor the costle recharge
or refii| any tire protective equipment when discharged

a.
b.
c.

To prevent or control a covered loss;
Acciclentaily; or
As a result of malfunction of the equipment

12. Foocl Contaminatlon

B.

C-

d.

lt the business described in the Scheduie, Declaratlons or Change Endorsement is ordered

closed by the Board of |~lealth or any other governmental authority as a result ot the discovery or

suspicion of “lood contamination", we will pay:'

1) Your expense to clean your equipment as required by the Board ot Heaith or any other
governmental authority;

2) Your costle replace the food which ls, _or is suspected to be, contaminated;

3) Your expense to provide necessary medical tests or vaccinations for your employees
(includlng temporary and leased emptoyees) who are potentially infected by the “lood
contaminaticn".

However. we will not pay for any expense that is otherwise covered under a Workers'
Compensation Poiicy;

4) The loss oi Business income you sustain due to the necessary “suspension" of your
“operatlons" as a result of the l‘iood contamination". The coverage for Business income will
begin 72 hours alter you receive notice ot closing from the Board of Health or any other
governmental authority; and

5) Addltlonal advertising expenses you incur to restore your reputationl
The most we will pay for loss or damage to under this coverage is $25,000.

'i'he applicable Limit is an annual aggregate limit and as such is the most we will pay for the total

of att covered loss and expense caused by all occurrences in a 12-month period (startlng with

the beginning of the present annual policy perlod). regardless of the number of occurrences

during that period of time. Thus, if the first occurrence does not exhaust the applicable lelt, then
the balance of that Limit is available for a subsequent occurrence ll an occurrence begins
during one annual policy period and ends during the tollowlng annual policy period, any Limit
applicable to the following annual policy period will not apply to that occurrence

We will not pay any lines or penalties levied against you by the Board of Hea|th or any other

governmental authority as a result of the discovery or suspicion ot “iood contamination" at the

described premises.

Wlth respect to the coverage provided under this endorsement. any exclusion ot virus or bacteria

in this policy does not app|y.

For the purposes of this endorsement, "tcod contemlnation” means an outbreak of food poisoning or
food-related illness of one or more persons arising out ot:

a.
b.

Telnted food you distributed or purchased;

Food which has been improperly processed, stored, handled or prepared in the course ol your
business operations; or

Food which has been contaminated by virus or bacteria transmitted through one or more of your
employees, including temporary and leased employees

13. inventory or Appralsal
You may extend the insurance provided under the applicable Coverage Form to apply to the following
expenses you incur, as required by the applicable Coverage Form, to prepare a cialm:

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a. The cost of taking lnventories;
b. The cost of making appraisais; and
c. The cost ct preparing a statement of ioss and other supporting exhibits

We witt not pay for any expenses biifed by and payable to independent er public insurance ad;osters or
for expenses to prepare ctaims not covered by the appiicable Coverege Form.

The most we will pay for toss cr damage under this coverage is $ES,CCO.
14. Lessor’s Additionai Expenses

You may extend the insurance provided by the app£tcable Coverage form tc apply to Covered Lessor’s
Additlonal Expenses you incur due to the cancellation oi_ iease contracts by tenants resulting from direct
physical loss of or damage to property at the premises described in the Scheclule. Declarations or
vChange Endorsement caused by or resulting from any Covered Cause of Loss.

a. Covered Lessor's Addtttonai Expenses

1)

2)

Loss of Lease interest. meaning the difference between the:

a) Ftent you were collecting at the described premises prior to the ioss; and

b) Ftentai vaiue of the described premises

Ftent includes only the customary rent due at ins beginning ct the month or other rental pertod.

Ftent does not inciude:

a) Bonus Payrnenr. meaning money paid to you to acquire a iease:

b) Secu'ity or other deposits made by tenants; or

o) Prepaid Ftent.

As respects Loss ot i_ease interest, we will not pay more'than the iesser of:

a) Your Loss ot l.ease interest ior the 12 months foilo‘.'.'ing the date when the property at tne
described premises shoutd be repaired, rebuilt or replaced; or

b) Your Loss ot l_esse interest for the period beginning with the date when ‘.ne property at the
described premises should ce repaired, rebuilt or reoiaceo` and ending with the normal
expiration date of eac`n cancetied tease.

Nlove Back Expenses, meaning covered expenses you incur to move tenants forced to vacate

the described premises because the portion of the buitding normally occupied by the tenant

coutd not be occupied cueto direct physical toes or damage to the described premises by a

Covered Cause of t.oss.

Covered expenses are:

a) Costs you incur for pacldng, insuring storing and moving your tenants business personal
PVOPE"WZ

b) Costs you incur to reestablish utility services used by your ienents;

c) Costs you incur to install fixtures and equipment for use by your tenants;

d) Cosls you incur to unpacl< and set up stock and supplies for your tenants

The most we will pay for loss or damage under this coverage is $25,000.

15. Los! Key Consequent|ai Loss
You may extend the insurance provided by the aopilcable Coverage Form to pay for consequential loss
to iocits and keys it e master key is lost or damaged Tnts coverage does notL eppiy to keys in the
possession cf former "‘ern,'.z§o},'ees.'J We witt pay for:
a. T'ne actual cost of keys and
b. Adjustment o.‘ locks to accept new keys; or
c. it required, nev.r locks inc§uding the cost ot their lnstsilatlon.

16. Non~OWned Deteched Trailers, Coverage Extenslons 5.£.{3) of the apptlcable Coverage Form. Limit is
increased to the Blanket Lirn§tof insurance ot this endorsement

17. Outdoor Property

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TB.

19.

20.

21.

22.

23.

24.

Paragraph A.5.e. cl the applicable Coverage Form ls amended as follower

a. The limit ct insurance provided by this coverage extension is increased to the B|aniret Limit of
lnsurance ot this endorsementl but not more than 81,000 for any one tree, shrub or plans

b. t`-teterence to outdoor fences is removed

Outdoor Fences
Ouidoor fences are covered property.
Paragraph A.2.q. of the applicable beverage Form is deleted and replaced with the toilowing:

q. The following property white outside ot bulldings:
1) Grain, hayl straw or other crops;
2) Fences, radio or television antennas (includlng satellite dishes) and theirr lead-in wiring, masts or
towers, trees, shrubs or plants (other than trees, shrubs or plants which are "stoci<" or are part of
a vegetated root), ali except as provided in the Coverage Extenslons.
lf the Bianl<et Limit of insurance is more than $50,€500, the most we will pay for ioss or damage under this
coverage is 550,000.
Outdoor nght Po|es
Outdoor light poles and lighting fixtures attached to those poles are considered outdoor fixtures

Outdoor Slgns

The $2,500 limitation on outdoor signs in item C. l_lmlts of insurance is removed.

Personal Effects - Property of Others

The Coverage Extension for Personal Etfects and Property ot Others is deleted and replaced with the

iollowlng:

You may extend the insurance that applies to Vour Business Personal Property to apply to:

a. Personal effects owned by you, your oil|cers, your partners or members, your managers or your
“emp|oyees."

b. Persona| property ot others in your oare, custody er control except patterns, molds, models and dles.

c. Patterns, Niolds, Models and Dles oi others in your care, custody or controi.

This enhancement applies to Persona| Eifects and Personel Property of Olhers that is et the described

premises or while in transit.

As respects Property ot Others while in transii, we do not cover property of others that you are

responsible for as:

a. A carrier for hire; or

b. An arranger ot transportation; this includes carloader, consolidation broken freight lorwarder, or
shipping association

The most we will pay ior loss or damage under Exiens!on a and b. above is $tO,oOO for any one

occurrence at each described premises but we witt not pay more than $5,000 for loss or damage to the

property oi any one person under this Extension. The most we will pay for loss or damage under

Extens|on c1 above is $25,000. Our payment for loss of or damage to Personal Property of Others will

only be for the account of the owner of the property.

Poliutant C|ean Up and Removal, Additiona| Coverages 4.d. of the applicable Coverage Form. Limit ls

increased to the Blanket Limit ot insurance of this endorsement

Property Otf-Prern|ses, Coverage Extensions 5.d.(3) of the applicable Coverage Form, Limit ls

increased to the Blanket Limit ct insurance of this endorsement

Property in Translt _or in the Custody of Salespersons

The Additional Coverage Extension, Property in 'i'ransitl is deleted and replaced with the tollowing:

Vou may extend the insurance that applies to your Business Personal Property to apply to your Covered

Property that is more than 1.000 feet from the property line ot the described premises while |n translt, or

In the custody ct sales persons We will pay for shipments by mail only if registeredl

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25.

26

27.

2B.

29.

This enhancement also applies to covered property that you have sold and are shipping at the owner’s
risi<.

We only cover property that you have sold when the shipment has been rejected by the owner because:

a. the property is damaged: and

b. the owner ot the property has refused to pay y`ou.

We do not cover property ot others that you are responsible for as:

a. a carrier for hire; or

b. an arranger ot transportation; this includes carloader. consolidatorl broken freight torwarder, or
shipping association

'i'he most we witt pay for toes or damage under this coverage is $25,000.

Reward

You may extend the insurance provided by the applicable Coverage Form to pay a reward to any

individual or group'(except you, your officers or partners) for information which results in the arrest and

conviction ot any one person or group for committing or trying to commit any illegal ect(s) relating to a

loss covered by this policy. The most we will pay for loss or damage under this coverage is $25,000.

Sewer, Draln or Sump Back Up or Overtlow

You may extend the insurance under the Coverage Forrn to apply to direct physical damage and the

actual loss ot Business income you sustain or necessary Extra Expense you incur caused by water and

water-borne materiais that back up or overilow from a sswer, drain or sump. sump pump or related
equipment2

We will not pay tor loss or damage under this Coverage ti:

1.) The icss occurs or is in progress within 5 days ot the effective date of this coverage; or
2) 'There is direct damage due to iiood. surface water or over.‘iow of any body of water.

item 1) of this paragraph does not appiy when coverage is added at the policy inception or renewai date.

Causes of Loss. Exoiusion B.1.g.(3), B.2.d.(2), B.2.ci.(7)(a), and B.2.d.(7)(b) do not apply to t .is

Coverage.

The most we witt pay for loss or damage under this coverage is $25,000.

Tempereture - Humiciity Change Coverage

You may extend the insurance that applies to your Business Persona| Property to apply to damage to

your ‘.‘stock" caused by or resulting from a covered cause ot loss to equipment that is owned by a utility,

lendiord, or other supplier with whom you have a written agreement or contract to provide you with any of
the following services: electrical power, communicationsl waste disposal, air conditioning, retrigeretlon,
heating gas, a|r. water, or sieam.

We witt not pay for any loss or damage ii you fail to use reasonable care to maintain all heating, cooling

or humidity controi equipment in proper operating condition.

Va|uabie Papers end Ftecords (Other Than Eieotronlc Data)

a. You may extend the insurance that applies to Your Business Personai Property to apply to the cost
to replace or restore the lost information on valuable papers end records for which duplicates do not
exist. But this Extenston does not apply to valuable papers and records which exist as electronic
data. Electronic data has the meaning described under Property Not Covered ~ Eteotronic Data.'

b. The Causes of Loss - Speoiai Form applies Coverage under this Extension is limited to the
“speciiied causes ot ioss” as defined in that Form. end Coliapse as set forth in that Form.

c. We will also pay for the cost of blank materiai for reproducing the records (whether or not duplicates
exist), and (when there is a duplicate) for the cost of labor to transcribe or copy the records The
costs of blank material and laborers subject to the applicable Limit ot insurance on Your Business
Personai Property and therefore coverage of such costs is not additional insurance

Vaiuable Pepers and Heoorde (Other Than Eiectronic Data) at Storage Locations

a. You may extend the insurance that applies to Your Business Personai Properiy to apply to the cost

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to replace or restore the test information on valuable papers and records for which duplicates do not
exist when those valuable papers and records are at a storage location not owned by you and not a
described iocation. But this Extension does not apply to valuable papers and records which exist as
electronic data. E|eclronic data has the meaning described under Property Not Covered » Eiectronic
Data.

b. The Causes ot Loss - Speoiat Forrn applies. Coverage under this Extenston ls limited to the
"spectfted causes ot toss" as defined in that Form. and Coiiapse as set forth in that Form.

c. We will also pay ior the cost of blank material for reproducing the records (whether or not duplicates
exist), and (when there is a dupticate) for the cost ot labor to transcribe or copy the records. The
costs ct bianl< materiat end tabor are subject to the applicable Limit of insurance on Your Business
Personat Property and therefore coverage et such costs is not additional insurance

The most we will pay for loss or damage under this coverage is $25,000.

B, Deflnitions
the following definition is added to the BUILDING AND PERSONAL PFtOPEFtTY COVERAGE FORM,
the CONDOMiN|Ui\/t ASSOC!ATiON COVERAGE l'-'OFtlvf, the CONDOMIN¥UM COlvll\/lEFtCiAL
UNlT-OWNEFtS COVERAGE FORM, and the CAUSES OF LOSS - SPECtAi_ FORM.

1.

"Ernp|oyee” means any naturai person white tn your service and for 30 days after termination of
service. "Ernployee" includes leased workers but not temporary workersl

As respects compliance with certain provisions of the Ernpioyee Ftetirerneni income Security Aci
(ER|SA), "empioyee” also includes any natural person who is:

a. A lrustee. an ofticer. employee administrator or a manager, except an administrator or a
manager who is an independent contractor. ot any Ernpicyee Wetiare or Pension Benefit Plan
(hereat’ter caiied Pian) insured under this insurance; and

b. Your director or trustee while that person is handling funds or other property ot any Ptan insured
under this insurance

SECT|ON lt - ADDtT|ONAL POLtCY CHANQES AND COND|“t“lONS
A. The auiLbiNG. AND PERSONAL PnoPEarY coanAeE Foarvr rs amended as follows

1.

Brand and Label

You may extend the insurance that applies to your Business Personai Property to apply to your
expenses when you do not want to sei| your damaged “stock" under your brand or iabei even though the

damaged "stock" has a sewage value.

You have two opiions. You may:

a. i:iemove the brand or label and then re-iabe| the "stock" to comply with the law: or

b. Labe| the damaged "stoct<" as salvage buf, in doing so, cause no further damage to the "stock."
in either case, we will pay the difference between:

a. The salvage value of the damaged “stoci<" with the brand or label attached; and

1b. The salvage value of the damaged "stcci<" with the brand or label retrievedl

Business Personal Property Limit - Seasonai increase

a. The Limit of insurance tor Business Personai Property wiii automatically increase by 25%10 provide
for seasonal variations

b. This increase will apply oniy if the Limit ot insurance shown for Business Parsona| Property in the
Schedu|e, Deciarations or Change Endorsement is at least 100% of your average monthly values
during the lesser of:

1} The 12 months immediately preceding the date the loss-or damage occurs; or
2) The period of time you have been in business as ot the date the loss or damage occurs.

When insurance on Business Personai Property is written on a blanket basts, the amount of seasonal
increase witt be based on the values shown in the most recent statement of vatues on file with us.

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i-iowever, ii the Cause of Loss that applies to the loss has a sub-limit that is lower than the vaiue shown
in the most recent statement of values. the 25% seasonal increase will be applied to that sub-limit.
This extension shall not increase the Bianket Limit of insurance or any other limit shown in this
endorsementl
3. Coiiapse of Gutters or Downspouts
in the Causes oi i`_oss ~ Speciai Form under Additionai Coverage - Coiiapse, the following cause el loss
is added to D.2.:
e. Weight of ice and snow that collects on gutters or downspouts.
4. Expanded Premises
The policy provisions which state coverage ts provided within 100 feet of the building or within 100 feet of
the described premises described in the Scneduie_. Deciarations or Cinange Endorsement are expanded
to 1,000 feet.
5. inflation Guard
a. The Limits of insurance {excit:sive of this extensicn} applicable to the items shown on the Schedoie.
Deciara:lons cr Change Endorsement ct tt:!s policy end shown below are increased during the policy
period by the proportion by which the latest published index has increased since the last premium
due dete:
Buiidings
Your Business Persona! Prc_oerty
Personal Property of Otners
Business income
Extra Expense
b. At the premium due date. the lelis of insurance witt be increased automatica§ly in accordance with
the latest published index and the appropriate premium charged
c. if the limits of insurance are changed at your request during the policy period the eiiective date ci
this extension coincides with the effective date of soon change
ci. in this extension
1) "!no'ex" means:
a) For Bulldirtgs, tne Commerclal B'.siidtng Cost Percent Change Factors published by itiarshatt
& Swlit.'Boecith relating to commerciai constructionl
b) For Your Business Personai Prcperty, Personal Pro_oerty ot Oihers, Business income and
Extra Ex'penses tne "Prodecer Price index" for ali finished goods published toy the United
States Departmer‘-t of Labor.
2) "Prer.".ium due date" means the inception date of this policy or any renewal or anniversary date
whichever is later.
e. in no event will the Limits of insurance be reduced by use ot this extension to fees than those shown
at the premium due date.
6. leits and 'i`ime Change for Newly Acquired Property
in the BUlLDlNG AND PERSONAL PFtOPEFtTY COVERAGE FOFtM and GONDOMiNtUM
ASSOC?ATION COVEFtAGE FORM:
The limit of 3250,000 is changed to $500,000 in provision A\S,a.{i) ot Newiy Acqulred or Constructed
Property.
The limit of $100.000 is changed to $200,00<3 in provision A.5.a.(2) Your Business Personal Pro_oerty.
The number ot days ts changed from 30 to 60 days th provision A.5.a.(3)(b) ot Pertod of Coverage
in the CONDOMIN|UM COMtviEFtCiAL Ul\’tT-OWNERS COVERAGE FOR.'t-l:
The limit ot St GG.COG is changed to 8200_.003 ic provision A.5.a.(1 ) Your Business Personai Property.
The number of days is changed from 30 to 60 days in provision A.5.a.(3)(b) of Pen'od ot Coverage.

7. No Coinsurance
The Coinsurance provisions as stated in the applicabte Coverage Form are deleted

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8.

10.

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Tenant's Giass
if you are a tenanr, Your Business Personal Property is amended to include building glass, including
lettering or ornamentation, provided that:
a. ‘r'ou are a tenant of the building shown in the Scheduie, Deciaratlons or Change Endorsement; and
b. ‘r’ou have a contractuai responsibility to insure the building giass, or a contractual responsibility to
pay ior loss or damage to that property.
The value of property covered under this coverage'wil| be determined in accordance with the Vaiuation
Cond|tton in the applicable Coverage Form, or at the amount for which you are liable under contract,
whichever is loss. lt required by iaw, glass is covered at the cost of replacement with safety glazing
material. However, the most we will pay ior this coverage is the B|anlcet Limit oi insurance of this
endorsement
Vaiuation
The following provisions are added:
i. Nianufacturer's Seiiing Price (Flnished "Stock" Oniy)
We will determine the value of finished "slooi<" you manufacture in the event oi loss or damage, at:
1) The selling price, as if no loss or damage occurred;
2) Less discounts and expenses you otherwise would have had.
g. Patterns, Nioids, Modeis and Dies
We will determine the value of patterns, moids, models and dies of others in your care, custody or
contro|, in the event of loss or damage, at:
1-) 100% of replacement cost ii used within the three (3) year period preceding loss or damage
2) 50% oi replacement cost if used within the last (6) year period preceding loss or damage but not
within three (3) years preceding loss or damage
3) Nothlng ii not used within the last (6) years.
Coverage Extension
`ihe Coverage Extensions section of the BUil.DiNG AND PERSONAL PROPERTY COVERAGE FORM,
CONDOMlNiUi\/l ASSOCiATiON COVERAGE FORM, and CONDOMtN|UM COMMERC!AL UNIT

OWNERS COVERAGE FOFtit/i is amended to remove the requirement that a Co[nsurance percentage of
80% or more or a Value Fteporting Pertod symbol be shown in the Scheduie. Deciaraticns or Change

Endorserneni.

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CP01420312

rule ENoonsErnEN'r cuANeEs THE PoLicv. PLEAsE nEAo tr cAnEFuLLY.
TEXAS CHANGES

This endorsement modifies insurance provided under the toi?owing:

COlviirlERClAL PROPERTY COVERAGE PAFtT
STANDARD PROPE={TY POLICY

A. When this endorsement is attached to the Standard Pr_ccsrty Poiicy CP0099, the term Coverage Part is
replaced by the term Poiicy. '
The i.egat Aotlon Agalnst Us
1. The Legal Action Against Us Ccmrnerciai Property Condition is replaced by the io|lowing, except as
provided in E.2. below:

Lega| Actlon Agalnst Us

a. Excspt as provided in Paragraph b., no one may bring a legal action against us under this
.Coverage Part unless: -

1) Thsre has been lull compliance with all of the terms ot this Coverage Part; and
2) `i'he action is brought within two years and one day trom` the date the cause of action first
accrues A cause ct action accrues on the date ot the initial breach ot our contractual duties

` as alleged in the action.

b. With respect to loss or damage in the State ct Texas caused by' windstorm or hail tn the
catastrophe area as defined by the Texas insurance Code, no one may bring a legal action
against us under this Coverage Part uniess;

t) There has been lull compliance with all the terms ct this Coverage Part; and
2) The action is brought within the earlieer the io|lowihg: _
a) Two years and one day from the date we accept or reject the ciaim; or
b) Tlhree years and one day from the date ct the loss or damage that is the subject ot the
c alm.
2. Paragraph B.1. above does not apply to the i_egai Actlon Agalnst Us Loss Condition in the Legai
Llab|iity Coverage Form CP0040.
C. Appraisai
1. Exc`ept as provided in C.2. betow, the Appretsai Loss Ccndltion ln the:

BUiLD|NG AND PERSGNAL PFtOPEFtTY CO.VERAGE FOFiM:

BUILDERS RISK COVERAGE FORM;

CONDOMiNiUtVt ASSOC!ATION COVEFtAGE F_OFtt\/t;

CONDOM|NlUM COi\.illviEi'-'tClAt_ UNlT-OWNERS COVERAGE {-“OFiM:

EXTRA EXPENSE COVERAGE FORM;

LEASEHOLD iNTEFtEST COVEHAGE FOF{M; _
TOBACCO SALES WAREHOUSES COVERAGE FOFtM; and

STANDARD PFtOPERT¥ POL|CY

is replaced by the ioilowlng:

Appratsal

lt we and you disagree on the amount cit-loss. either may make written demand lor an appraisal ot the

loss. in this event, each party will select a competent and impartial appraiser and notify the other.ot the

appraiser selected within 20 days of such demand ,The two appraisers will select an umpire. ii they

cannot agree within 15 days upon such urnpire, either may request that selection be made by a judge

ot a court having jurisdiction Each appraiser witt state the amount of loss. it they tail to agree, they will

submit their dilierences to the umpire. A decision agreed to by any two will be binding as to the amount

ot loss. Each party wi|i:

a. Pay its chosen appraiser; and

b. Bear the other expenses cline appraisal and umpire equally.

it there is an appraisal: _

a. You witt still retain your right to bring a legal action against us, subject to the provisions ot the
Legai Aciion Aga|nst Us Comrnerclal Properiy Condition; and

b. »We will still retain our right to deny the cialrn.

2. The Appraisal Cond|tion in the:

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BUSENESS INCGME (AND EXTRA EXPENSE) COVEF\`AGE FORM; and
BUSINESS |NCOME (W|THOU? EXTRA EXPENSE) COVEHAGE FORM

is repiaced by the ioiiowing:

Appraisel

|i we and you disagree on the amount of Net income and operating expense or the amount ot loss,
either may make written demand for an appraisal cf the toss. ln this event, each party will setect a
competent and impartial appraiser and notify the other ot the appraiser selected within 20 days of such
demand 'i`he two appraisers will select an umpire. il they cannot agree within 15 days upon such

umpire, either may request that selection ice made by a judge of a court having iurlsdictlon. The
appraisers will state separately the amount oi Net income and operating expense and the amount oi

loss.
li they tail to agree, they will submit their differences to the umpire. A decision agreed to by any two wilt
be binding as to the amount 01 loss. Each party will:
a. Pay its chosen appraiser; and ',
b. Bear the other expenses of the appraisal and umpire equaliy.
if there is an appraisai: .
e. \r’ou witt silli retain your right to bring a legal action against us, subject to the provisions oi the
i.egai Aciion Agalnst Us Commercial Property Condition; and
b. We will still retain our right to deny the cialrn.
D. Under the Dutles in The Event Ot Loss Or Dantage Loss Condltlon:
a. Paragraph a.2) is replaced by the following:
2) Give us prompt notice cl the loss or damage include a description ot the property involved.
However, with respect to loss or damage in the Staie oi Texas caused by windstorm or hail
in the catastrophe area as delined by the Texas insurance Code, any claim must be filed
with us not later than one year aiier the date of the loss or damage that is the subject of the
clalm, except that a claim may be filed after the first anniversary of the date ot the loss or
damage for good cause shown by the person iiiing the cieirn. '
b. The provision requiring signed, sworn proof of ioss, is replaced by the iollowlng:
Send us a signed, sworn proof of loss containing the iniorrnation we request to investigate the
ciaim. You must do this within 91 days after our request We witi supply you with the necessary
foims.
E. Underthe i_oss Payment Condltion, the provisions pertaininth notice of our intentions and the time period
for payment of claims are deleted and replaced by`the toilowing:
1. Clalms Hand|ing
a. Wlth|n 15 days etter we receive written notice of cialm, we will:
1) Aci<nowledge receipt oi the claim. |f we do not acknowledge receipt of the claim in writing,
we w|li keep a record of the date, method and content oi the acknowledgment;
2) Begin any investigation of the claim; and
3) t“-iequest a signed, sworn prool of loss,` specify the lnformatlon you must provide and supply
you with the necessary iorms. We may request more intormetion at a later date, lt during the
investigation of the claim such additional information is necessary
b. We witt notify you ln writing as to whether:
1) The claim or part of the ciaimrwl|i be paid;
2} The claim or part oi the claim has been denied, and inform you of the reasons for deniat;
3) More information is necessary; cr 1
4) We need additional time to reach a decision if we need additional time, we will iniorm you oi
the reasons ior such need.
We will provide notiiication, as described in b.t) through b.4) above. wilhin;
t) 15 business days after we receive the signed, sworn proof ot loss and all information we
requested; or
2) 30 days after we receive the signed, sworn proof oi tose and all information we requested, li
we have reason to believe the icss. resulted from arson.
ii we have notified you that we need additional time to reach a decision, we must then either
approve or deny the claim within 45 days cl such notice
2, We will pay lor covered loss or damage within live business days after:
a. We have notiiied you that payment ot the cialm or pan of the claim will be made and have reached
agreement with you on the amount of |oss; or
b. An appraisal award has been made.

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However, ii payment ct the claim or pan cl the claim is conditioned on your compliance with any of the
terms of this Covsrage Part, we will make payment within five business days alter the date you have
compiled with such terms

'i'he following paragraphs are added:

3. Catastrophe Clalms

ll a claim results from s weather related catastrophe or a malor natural disaster, the claim handling and

claim payment deadlines described in E.1. and E.2. above are extended for an additional 15 days

Catastrophe or Malor Natura| Disasier means a weather related event which:

1) is declared a disaster under the Texas Disaste_r Act of 1975; or

2) ls determined to be a catastrophe by the State Board of insurance

4. The term “business day,” as used in the Loss Payment Cond|lion, means a day other than Saturday,

Sunday or a holiday recognized by the slate of Texas.

F. The following is added to the Valuatlcn Loss Condilion:
Chapter`862 - Subsectlon 862.053. Poiicy A quuldated Demand. A fire insurance policy, in case cl total
loss by fire of properly insured, shall be held and considered to be a liquidated demand against the
Ccmpany.for the tull amount of such policy. This subsection does not apply to personal properly.

G. Paragraphs d. and f. cl the |iiiortgageho|ders Additlonai Conditlon are replaced by the ioiiowing:

d. ll we deny your claim because of your acts or because you have failed to comply with the terms
of this Coverage Part, the mortgageholder will still have the right to receive loss payment il the
mongageholder: _

1} Peys any premium due under this Coverege Part at our request ii you have failed to do'so;

2) Submlis a slgned, sworn proof of loss within-Qi days after receiving notice from us of your
failure to do so; and

3) Has notified us ot any change in ownershlp. occupancy or substantial change in rls'»c imcwn
to the mortgageholder.

'Alf cf the terms ct this Coverege Part will then apply directly to the mortgageholder.

f. ii this poilcy ls cancelledl we wii| give the mortgagehoider named`ln the Declarations or Cnange
Endcrssment written notice of cancellation _
if we cancel this pciicy, we will give written notice to the mortgageholder at ieast:

1} 14 days before the effective date of cancellation ii we cancel lor your non-payment oi
premium; or 7
2) 30 days before the effective date cl cancellation if we cancel for any other reason.
if you cancel the policy, we will give the mortgageholder notice of cancellation to be effective on
the date stated ln the notice. The dale cf cancellation cannot be before the 10lh day after the date
_we mail the notice.
i-l. The following is added to Paragtjaph B.1. in the Dutles in The Event Ot Accident, Cla|m Or' Sult Loss

Cond|tlon ln the i_egal l.lablliiy Coverage Form:

We will notify the first Named insured in writing of:

l. An initial offer to settle a claim made or "suit” brought against the insured under this coveragel The

notice will be given not later than the tOth day after the date on which the offer is made.

2. Any settlement of a claim made or “suit” brought against the insured under this coverage The notice
will be given not later than the 30th day alter the date of the settlement

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CP12181012

Ti~trs ENDonsEMENT cHANet-':s THE Pot.tcv. PLEASE READ tT cAnEFuLLY.
LOSS PAYABLE PROV|S|ONS

This endorsement modifies insurance provided under the foilowing:

ElUlL[JEF"tSt FI|SK COVEHAGE FORM

BU|LD|NG AND PERSONAL PFtOF’EFiTYl COVEBAGE FORM
CONDOMlN|Ul\/l ASSOC|ATlON GOVEHAGE FORM
CONDOM|N|UM COMMEHCIAL UNlT-OWNERS COVERAGE FORivi

 

 

STANDAFiD PFtOPEFtTY POLECY
*SCHEDULE

§'Lo'coilcn blumber: n building Number: Appltcat)ie Ciause j
§ {Entcr C. l., G.Q,, C.3. or C.4.):
t
]Descrlptlon Of Properiy:
Loss Payee Name: `
Loss Payee Address:
Location Number: Buliding Number; Appilcable Cleuse

{Enter C.l., C.2., C.S. or C.4,):

Descriptton 01 Property:
Loss Payee Name:

l,os'e Payee Address:

 

 

 

(*|ntormatlcn required to complete this Schedule, ii not shown abcve, will be shown in the Dec|aratton or Change
Endorsement.)
A. When this endorsement is attached to the Standard Property Poiicy CP 00 99, the term Coverage Part
in this endorsement is replaced by the term Po|icy.

B. Noihing in this endorsement increases the applicable Limit of insurance We will not pay any l_oss Payee more
than their financial interest in the Covered Property, and we will not pay more than the applicable Limit ct

insurance on the Covered Property.
C. The following is added to the Loss Payment Loss Condltlcn, as indicated in the Deciarations or in the
Sc_hedule:
1. Loss Payable Ciause
For Covered Property in which both you and a Loss Payee shown in the Schedule or in the Declarations
have an insurable interest, we will:
a. Ad]ust losses with you; and

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b. Pay any claim for loss or damage jointly to you and the Loss Payse, as interests may appear
2. Lender's Loss Payable Clause

a. The Loss Payee shown in the Schec'uie or in the Dec?arations is a credltcr. including a mortgageho?der
or trustee. whose interest in Covered Property is established by such written instruments as:
(1) Warehcuse receipts:
(2) A contract for deed;
(3) Eiilts of ladingt
(4) l_-'inancing statements: cr
(5) elongages, deeds cl trust. cr security agreements

b. For Covered Prc_ceny in which both you and a Loss Payee have an insurable lnterest:

(1) We will pay for covered loss or damage to each Loss Payee in their order of precedence as
interests may appear.

(2) The Loss Payee has the right to receive loss payment even it the Loss Payee has started
foreclosure or similar action on the Covered Propeny.

(3) if we deny your claim because of your acts or because you have faiied to comply with the terms ct
the Coverage Part. the Loss Payee will still have the right to receive loss payment if the Loss
r”’ayee:

(a) Pays any premium due under this Coverage Part at our request ii you have failed to do so;

(b) Submils a signed, sworn proof ot loss within 60 days after receiving notice from us of youria||ure
to do so; and

{c) Has notified us of any change in ownership, occupancy or substantial change in risk known to
the Loss Payee.

Al| ot the terms cl this Coverage Part will then apply directly to the Loss Payee.

(4) if we pay the Loss Payee for any loss or damage and deny payment to you because of your acts or
because you have failed to comply with the terms of this Coverege Pa`rt:

(a) The Loss Payee's rights will be transferred to us to'the extent of the amount we pay; and

(b) The Loss Payee's rights to recover the full amount of the t.oss Payee's claim will not be
impaired

At our optlcn, we may pay to the Loss Payee the whole principal on the debt plus any accrued

|nlerest. fn this event, you will pay your remaining debt to us.

c. li we cancel this policy, we will give written notice to the Loss Payee at teast:
(1) 10 days before the effective date cf cancellation if we cancel for your nonpayment of premium; or
(2) 30 days before the effective dale of cancellation if we cancel for any other reason.

d. ll we elect not to renew this policyl we will give written notice to the Loss Payee at least 10 days before
the expiration date of this policy.

3. Contract Of Saie Clause
a. The Loss Payee shown in lite Schedute or in the Declarations ls a person or organization you have
entered into a contract with for the sale cf Covered Properry.

b. For Covered Property fn which both you and_the Loss Payee have an insurable interest, we will:
(1) Adlust losses with you; and
(2) Pay any claim for loss or damage lointly to you and tbe l_css .Dayee: as interests may appear.
c. the following is added to the Other insurance Conditlon:
For Covered Property that ls the subject of a contract of sale, the word "you” includes the Loss Payee.
li. Bullding Owner Loss Payabie Clause
a. T`ne l_oss Payee shown in the SChec`uie or in the Declarations is the owner ot the described building in
which you are a tenant

b. We witt adjust losses to the described building with the Loss Payee. Any loss payment made to the
Loss Payee will satisfy your claims against us for the owner's property.

c. We will ad§ust losses to tenants" improvements and betterments with you, unless the lease provides
otherwise

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14-3064 06 08

THis ENDORSEMENT cHANGEs THE PoLlcY. pL.EnsE sane rr cAaEFut..L.Y.
EQU|PMENT BREAKDOWN COVERAGE

T his endorsement modifies insurance provided under the following:
COMMERC|AL PFtOPEFiTY COVEHAGE PAF\T
A. The following is added as an Add|tional Coverage to the Causes of Loss ~ Special Form.

Addition_ai Coverage ~ Equipment Breakdown

The term Covered Cause of Loss includes the Additional Coverage Equipment Breakdown as described
and limited below.

1. We will pay ior direct physical damage to Covered Property that is the direct result of an “accident." As
used in this Addllional Coverage, “accident" means a fortuitous event that causes direct physical
damage to "covered equipment." The event must be one of the lollowing:

a. mechanical breakdown, including rupture or bursting caused by centrifugal force;

b. artificially generated electrical current, including electric arolng, that disturbs electrical devlces,
appliances or wlres;

o. explosion ot steam boilers, steam pipes, steam engines or steam turbines owned or leased by
you, or operated under your control ,'

d. loss or damage to steam bollers, steam pipes. steam engines or steam turbines caused by or
resulting lrorn any condition or event inside such equipment; or

e. loss or damage to hot water boilers or other water heating equipment caused by or resulting from
any condition or event inside such boilers or equipment.

2. Uniess otherwise shown in a Schedule, Dac|arations orCltange Endorsement, the following coverages
also apply to the direct result oi an “aooldent.” Tnese coverages dc not provide additional amounts oi

insurance
a. Expediting Expenses

With respect to your damaged Covered Property, we will pay up to $100,000 unless otherwise
shown |n a Schedule, Declaratlons or Change Endorsernent the reasonable extra cost to:

1} make temporary repairs; and
2) expedite permanent repairs or permanent replacement
b. Hazardous Substances

We will pay for the additional costle repair or replace Covered Property because of contamination
by a "nazardous substance.” 'l‘h|s includes the additional expenses to clean up or dispose cl such

property

This does not include contamination of “periehabie goods" by refrigerant. including but not limited
to ammonial which is addressed |n 2.c.(i)(b) below. As used ln this coverage, additional costs
mean those beyond what would have been payable under this Equlpment Breatrdown Coverage
had no "hazardous substance" been invoived.

The most we will pay for loss, damage cr expense under this coverage, including actual loss of
Business income you sustain end necessary Extra Expense you incur, ii shown as ccvered, is
$100,000 unless otherwise shown in a Scheduie, Deciarations or Change Endorsement.

c. Spoilage
1} Wew|llpay:
a) for physical damage to “perlshab|e goods" due to spoilege;

b) for physical damage to “perishable goods" due to contamination from the release ct
relrlgerant, including but not limited to ammonia;

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c) any necessary expenses you incur to reduce the amount of loss under this coverage to
the extent that they do not exceed the amount oiioss that otherwise would have been
payable under this coverage _

2) ii you are unable to replace the "perishable goods” before its anticipated sale, the amount of
our payment witt be determined on the basis of the sales price of the "perishable goods" at
the time oi the "accident," less discounts end expenses you otherwise would have nad.
Otherwise our payment wilt be determined in accordance with the Vaiuation condition

The most we will pay for loss, damage ,or expense under this coverage is $100,000 unless
otherwise shown in a Scheduie, Declaretions or Ghange Endorsement.

d. Data itestoration
We will pay ior your reasonable and necessary cost to research. replace and restore test "data."

'i'he most we witt pay for loss. damage or expense under this coverage. including actual loss of
Business income you sustain and necessary Extra Expense you lncur, ii shown as covered, is
$100,000 unless otherwise shown in a Scheduie, Declaratlons or Cbange Endorsement.

e. Service interruption

1) Any insurance provided for Business income, Extra Expense or Spol|age is extended to
apply tc your ioss, damage or expense caused by an "accident" to equipment that is owned
by a uiiiity. landlord or other supplier with whom you have a contract tc suppiy you with any
cf the iotlowing services; eiectrical power, waste disposa|, air conditioningk relrig;,rerationl
heating, natural gas, compressed air, water, steam. internat access, telecommunications
services, wide area networks or data transmission The equipment must meet the definition
of “covered equipment" except that it is not Covered Property.

2) Unless otherwise shown in a Schedule, Declarations or Change Endcrsement. Ssrvice
interruption coverage will not apply unless the failure or disruption of service exceeds 24
hours lmmed|ateiy following the “accldent'."

3} The most We will pay for ioss, damage or expense under this coverage is the tlrnit that
applies lo Business income, Extra Expense _or Spoiiage, except that if a limit is shown tn a
Scheduie, Deciarations or Change Endorsement tor Servioe interruption, that limit will apply
to Business income and Extra Expense loss under this coverage.

f. Business income and Extra Expense

Any insurance provided under this coverage part for Business income or Extra Expense is
extended to the coverage Frovided by this endorsement The most we will pay for loss ot
Business income you sustain or necessary Extra Expense you incur is the limit shown in the
Deciarations' or Change Endorsement for that coverage, unless otherwise shown in a Schedu|e,
Declarations or Ghange Endorsernent. `

3r EXCLUSIONS

Ati exclusions in the Causes ot Loss icrrn apply except as modified below and to the extent that
coverage is speciilcaily provided by this Addltfonal Ooverage Equipment Breakdown.

a. -The exclusions are modified as follows:'
1) The following is added to Exclusion B.i.g.:

However, it electricai "covered equipment" requires drying out because of Water as
described in g.i) through g.3) above, we witt pay for _ihe direct expenses of such drying out
subject to the applicable Limit ot insurance and deductible for Buiiding or Business Personai

Prcperty, whichever applies

2) As respects this endorsement onty, the last paragraph of Exciuston B.Q.d. is deleted and
replaced with the foilowlng:

But il an exciuded cause ot loss that is listed in 2.d.t) through 7) results in an "accident," we
will pay for the ioss, damage cr expense caused by that "accident."

b. We witt not pay under this endorsement for ics.s, damage or expense caused by or resulting trom:

1) any detect. programming error, programming iirnltatlo_n`, computer virus, malicious code, toes
of “data,” loss of access, loss cl use. loss ot functionality or other condition within or involving

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"data" or "media" of any kind_ But it an "accident" resu§is, we will pay tor the resulting lossl
damage or expense; or

2) any oi the ioitowing tests:

a hydrostatlc, pneumatic or gas pressure test ot any boiler or pressure vesse|, or an
electrical insulation breakdown test-ot any type ct electrlcet equipment

c. Witit respect to Service interruption coverage, we will also not pay for an “accldent" caused by or
resulting irom: ilre; lightning; windstorm or hail: explosion (except as specificain provided in A. t .c.
above); smoke; alrcrait or vehicles; riot or civil commotion; vandalism; sprinkler ieal<age; letting
cbiects; weight cf snow, ice or s|set; ireezlng; coilapse; iiood or earth movement

d. With respect to Business income, Extra Expense and'Service interruption coverages, we will also
not pay icr:

‘i) ioss caused by your tailurs to use due diligence and dispatch and ali reasonable means to
resume business; or

2) any increase in ioss resulting from an agreement between you and your customer or
supplier.

e. We will not pay for lossl damage or expense caused directly or indirectly by the toilowingl whether
or not caused by or resuitlng from an "acoident”:

Any moid, fungus, miidew or yeast, including any spores or ioxins produced by or emanating from
such moid, tungus, mitdew or yeast. This includes, but is not limited to, costs arising from clean
up, removal, or abatement of such moid, iungus, miidew or yeasi, spores cr toxins, However, this
exciusion does not apply to spoilage ot personal property that is "perishabfe goods," to the extent
that spoilage is covered under Spofiage coverage

t. We wiit not pay under this endorsement for any loss or damage to antmais.

4. DEFiN|TiONS
The following are added to G. DEF|Ni'i'iONS:
a. “Boilers and vessels” means:
1) Any boiler, including attached steam, condensate and feedwater ptping; and

2) Any fired or uniirect pressure vessel subject to vacuum or internal pressure other than the
static pressure ct its contents

This term does not appear elsewhere in this endorsement, but may appear in a Schedule,
Deciarations or Change Endorsement.

b. l’Covered equipment"

1) "Covered equipmeni" means, unless otherwise specified in a Scheduie, Deciarations or
Change Endorsement Covered Property:

a) that generates. transmits or utilizes energy. including electronic communications and
data processing equipment; or

b) which, during normai usage, operates under vacuum or prassure, other than the weight
cl its contents

2) None ci the toitowlng is “covered equipment":
a) structure, ioundation, cablnet, compartment or air supported structure cr buiiding;
b) insuiating or reiractory material;

c) sewer piping, underground vessels or plping. or piping terming a part ot a sprinkler
system;

ci) water piping other than boiier ieedwater piping, boilercondensate return piping or water
piping forming a part ci a retrigerating or air conditioning system;

e) “vehlcie"or any equipment mounted on a “vehicle";
t) satellite, spacecrait or any equipment mounted on a satellite or spacecrait;

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g) dragline, excavation or construction equipment; or
h) equipment manufactured by you for saie.

c. "Data`_' means information or instructions stored in digital code capabte ot being processed by
machinery

d. ‘i-tazardous substance" means any substance that is hazardous to health cr has been deciared
to be hazardous to health by a governmental agency

e. ".`yiedia" means material on which “data" is recorded, such_as magnetic tapes, hard distre. optical
dist<s cr tiop_oy dsst<s.

t. "Cine acoident" means: ii an initial ‘aooident' causes other "accidents_." ali witt 'oe considered ltone
acoident."' Aii "accidents" that are the result ot the same event rriil be considered "cne accident."

g. "Perishabie goods" means personal property maintained under controlled conditions for its
.preservation, and susceptible to loss or damage ii the controlled conditions change

h. “Production machinery" means any machine or apparatus that processes or produces a product
intended for eventual saie. i-iowever, “produoilon machinery” does not mean any fired or uniired
pressure vessel other than a cylinder containing a movable plunger or plston. `t'hls term does not
eppiear elsewhere in this endorsementl but may appear in a Schedu|e, Decisrations or Change
En orsement.

l. "Vehicie" means, as respects this endorsement o'niy, any machine or apparatus that is used for
transportation or moves under its own power. “Vehiote" inciudes, but is not limited tc, car. truclr,
bus, traiier, train, aircrati, watercratt, ioririltt, bulldozer, tractor or harvester.

-t-iowever, any property that is stationa'ry, permanently installed ai a covered location and that
receives electrical power from an external power source witt not be considered a "vehlcle.“

B. The Bullding and F'ersonai Property Coverage Form is modified as iotlows.
The definitions stated above also apply to section B. oi this endorsement

1. DEDUOTIBLE

The deductible in the Deciarations applies unless a separate Equiprnent Breakdown deductible is
shown in a Scheduie, Deciaratlons or Change Endorsernent. ii a separate Equipment Breai<down

deductible is shown, the following applies

Oniy as regards Equipment Breakdown Coverage, provision D. DEDUCTlBLE is deleted and replaced
with the toilowing:

a. Deductibles for Each Coverage

t) Uniess the Schsduie, Dec|aratlons or Change Endors'ement indicates that your deductible is
combined tor atl coverages, multipte deductibies may apply to any “one accideni."

2) We will not pay ior toseF damage or expense under any coverage until the amount of the
covered loss, damage or expense exceeds the deductible amount indicated tor that
coverage in the Schedule, Deolarations or Change Endorsernent. We wlli then pay the
amount of loss. damage or expense in excess oi the applicable deductible amount, subject
to the applicable iimit.

3) it deductibies vary 'oy type of "cove_red equipment" and more than one type of "covered
equipment is invoived in any “one accident," only the highest deductible for each coverage

will appiy.
b. Direct and indirect Coverages

1) Direct Coverages Deductt'oies and indirect Coverages Deductlbies may be indicated in the
Schedute, Deciarations or Change Endorsement.

2) Un|css more specificain indicated in the Sohedute, Deciarations or Change Endorsement:
a) indirect Coverages Deducttbies app!y to Business income and Extra Expense toss: and

b) Direct Coverages Deductibies apply to att remaining icss. damage cr expense covered
by this endorsement '

c. App!ication of Deductibies
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1} Doliar Deductibies

We witt not pay tor loss, damage or expense resuiting trorn any “one accident" until the
amount ot lossl damage or expense exceeds the appiicabte Deductibie shown in the
Schedule, Declaraticns or Change Endorsement. We will then pay the amount ct ioss,
damage or expense in excess ot the applicable Deduct|ble or Deductibles, up to the

applicable Limit of insurance
2) Tlme Deduoiib|e

lt a time deductible is shown in the Schedute, Deciarailons or Change Endorsement, we wilt
nol be itabie for any loss occurring during the specified number oi hours or days immediateiy
ioiiowing the "accident." lt a time deductible-is expressed in days, each day shall mean
twenty-tour consecutive hours.

3) Mu|tiple of Average Daliy Value {ADV}

it a deductible is expressed as a number times ADV, that amount will be calculated as
tcilows:

The ADV (Average Daiiy Va|ue} will be the Business income {as defined in any Business
income coverage that is part of this poitcy) that would have been earned during the

period of interruption ot business had no "accident" occurred, divided by the number ot
working days in that perlod. No reduction shall be made for the Business income not being
earned. or in the number ot working days, because of the "accldent" or any other scheduled
or unscheduled ehutdowns during the period of interruption The AD\/ appi|es to the
Business income value ot the entire iocattonl whether or not the loss affects the entire
locationl if more than one location is included in the valuation oi the lossl the ADV wilt be the
combined value of ali affected locations For purposes ot this caicuiation, the period ot
lnterruptlon may not extend beyond the period ot restorationl

The number indicated in the Scheduie witt be multiplied by the ADV as determined above.
The resuit shall be used as the applicable deductible

4) Percentage oi Loss Deductibies

it a deductible is expressed as a percentage ot lossl we witt not be liable for the indicated
percentage of the gross amount oi ioss, damage or expense (prior to any applicable
deductible or colnsurance) insured under the applicable coveragel lt the dollar amount ot
such percentage is fees than the indicated minimum deductible, the minimum deductible witt
be the applicable deductible

2. COND|T]ONS

The following conditions are in addition to-the Conditions in the Buiidlng and Persona| Property
Coverage Form and the Cornmon Poiicy Conditlons.

a. Suspension

Whenever “covered equipmeni" is lound to be in, or exposed to, a dangerous condition, any ot
our representatives may immediately suspend the insurance against ioss from an r'accldent" to
that "covered equipment." This can be done by mailing or delivering a written notice ct suspension

to:
‘i) your last known address; or
2} the address where the "covered equipment" is located

Once suspended in this way, your insurance can be reinstated only by an endorsement for that
"covered equipment." if we suspend your insurance, you will get a pro rata refund ot premium tor
that “covered eqeipment" for the period ot suspension But the suspension will be effective even
it we have not yet made or oilered a retund.

b. Jurisdictlonat inspections

it any property that is “covered equipment" under this endorsement requires inspection to comply
with state or municipal boiler and pressure vessel regulations, we agree to perform such
inspection on your behaii. We do not warrant that conditions are soto or healthtu|.

c. Environrnentei, Saiety end Etiiciency improvements

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if "covered equipment" requires replacement due to an "accident,” we witt pay your additional cost
to replace with equipment that is better for the environment, safer or more eiticient than the
equipment being replacedl '

However, we will not pay more than 125% ot what the cost would have been to repairer replace
with like kind and queilty. This condition does not increase any oi the applicable iimits. This
condition does not apply to any property to which Actua| Cash Value applies.

d. Colnsurance

if a coinsurance percentage is shown in a Schedule, Declarat:`ons or Change Endorsement for
specliied coverages, the following condition appties.

We witt not pay for the full amount ot your loss if the applicable limit is less than the product of the
specitied coinsurance percentage times the value cf the property subject to the coverage at the
time cf the loss. instead. we w|ii determine what percentage this calculated product ls compared
to the applicable limit and apply that percentage to the gross amount ot loss. We will then subtract
the applicable deductible The resulting amcunt, or the applicable l|rnit, is the most we witt pay.
We will not pay for the remainder ot the loss. Colnsurance applies separately to each insured

iocatlon. .

The most we will pay for loss, damage or expense under this endorsement arising from any "one eccldent” is the
applicable Limit of insurance in the Declaratlons or Change Endorsement unless otherwise shown in a Schedule.
Deciarettons cr Change Enctorsement. Coverage provided under this endorsement does not provide an

adilttonal amount of insurance

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14'3250 07 08
TH|S ENDORSEMENT CHANGES THE POLlCY. PLEASE READ |T CAREFULLY.

lDENTl`l'Y RECC)VERY COVERAGE
|DENTITY THEFT CASE MANAGEMENT SERV|CE AND EXPENSE RElNlBUFlSENlENT

This endorsement modifies the foilowtng:

BU|LD|NG AND PERSONAL PFiOPEFtTY COVERAGE FOHM
CONDOMlNlUM ASSOCFATlON COVERAGE FOFllvl
CONDOMENIUM COMMERC|AL UNlT OWNERS COVEFIAGE FORM

The following is added as an Addltlonal Coverage:

lDENTl`l'Y RECOVERY COVERAGE

We will provide the Case lvianagernenl Servlce end Expense Beimbursement Coverage indicated below ii all of
the following requirements are mel.

t. There has been an "ldentlly lhelt“ involving the personal identity of an “|dentity recovery insured" under
this policy; and

2. Such "identity theft" ls first discovered by the "ldenlity recovery insured” during the policy period lor
which this identity Recovery coverage is applicable; and

3. Such "ldentliy thelt" is reported to us within 60 days alter ll is first discovered by the “identlty recovery
insured.”

lf all three of the requirements listed above have been metl lhen we will provide the following to the “ldentlty
recovery insured":

l. Case Managetnent Service
Servlces of an "identlty recovery case manager" as needed lo respond to the "idenllty lhelt“; and

2. ExpenseReimbursement

Relmbursernenl cl necessary and reasonable "ldentlty recovery expenses" incurred as a direct result
of the “idenllty lhelt."

This coverage is additional insurance.

EXCLUS!ONS

The following additional exclusions apply to this coverage.

We do not cover loss or expense arising from any of the-following
t. The theft of a professional or business identity.

2. Any irauduient, dishonest or criminal act by an "ldentlly recovery lnsur_ed“ or any person aiding or
abetting an “ldentlty recovery insured,” or'by any authorized representative ol an “ldentlty recovery
insured,” whether acting alone or in collusion with others l-iowever, this exclusion shall not apply to the
interests of an "identlty recovery insured” who has no knowledge of or involvement in such iraud,
dishonesty or criminal act.

3. An “ldenlity lheit" that ls not reported in writing to the poiice.

LllVllTS

Case tvlanagement Service is available as needed for any one "ldentity thelt" lor up to 12 consecutive months
from the inception of the service Expenses we incur to provide Cese Menegement Service do not reduce the

amount cl limit available for Expense Fteimbursernent coverage

Expense Fteimbursement coverage is subject to a limit of $15,000 annual aggregate per "ldenltly recovery
insured." Fiegardless of the number of c|alrns, this limit is the most we will pay for the total cl ali loss or expense
arising out ot all "identity liretts" to any one "identlty recovery insured" which are first discovered by the "identity
recovery insured” during a tE-month period starting with the beginning cline present annual policy perlod. lien
"ldsntity thelt” is first discovered in one policy period and continues into other policy periods, all loss and expense

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arising from such "idenlily lhelt’" will be subject to the aggregate limit applicable to the policy period when the
“tdentlly theit” was iirst discovered

Leg_ai costs as provided under item d. cl the definition of “ldentlty recovery expenses“ are part oi, and not in
addition lo, the Expense Ftelmbursement coverage llmlt.

item e. (Lost Wages) and item l. (Chlld and Elder Care Expenses) of the definition oi "identity recovery
expenses*’ are jointly subject to a subllrnlt of $5,000, This sublirnlt is part of, and not in addition to, the Expense
Relrnt)ursement coverage l|rnit. Coverage is limited to wages lost and expenses incurred within 12 months after
the first discovery of the “identlty theit” by the '*identity recovery insured.“

item g. (Meniat Hea|th Counsellng) of the definition of "identlty recovery expenses" is subject to a subllmlt of
$1,000. This sublirnlt is part of, and not in addition.to, the Expense Fteirnbu.'sement coverage limlt. Coverage is
limited to counseling that lakes place within 12 months alter the first discovery ot the "identity theit” by the "ldentity
recovery insured."

item h._ ilvllscellaneous Unnamed Costs) of the definition ot "ldsntity recovery expenses” is subject to a sublirnit
of $1,000. This subllmit is pari of, and not in addition to. the Expense Relmbursement coverage limit. Coverage
is limited to costs incurred Wlthin 12 months alter the first discovery of the “ldentlty theit” by the "ldenilly recovery

insured."

DEDUCTIBLE

Case Management Service is not subject to a deductible

Expense Reimbursemenl coverage is subject to a deductible ol 3250, Any one "identily recovery insured" shall
be responsible,for only one deductible under this identity Flecovery Coverage during any one policy perlod,
CONDlTiONS

The following additional Condiilons apply to this coverage:

A. Heip Llne
For assistance lite "identily recovery insured" should call the identity Ftecovery Heip Line at
1-800»414-9912.
The identity Ftecovery Heip Llne can provide the "identity recovery |nsured" with:
l. information and advice lor how to respond to a possible "ldentlty iheit"; and
2. instructions ior how to submits service request for Case tvianagement Servlce and/or a claim form for
Expense Flelmbursement Coverage. j

in some cases, we may provide Case Managemenl services at our expense to an "ideniity recovery
tnsured"' prior tc determination that a covered "ldentity lheft" has occurred. Our provision oi such
services is nolan admission of liability under the policy. We reserve the right to deny further coverage
or service if, alter investigation, we determine that a covered "identity theit’l has not occurred

As respects Expense Reimbursernent Coverager the “ldent|ty recovery lnsured" must send to us. within
60 days after our request, receipts, bills orl other records that support his or her claim for “identity

recovery expenses.”

B. Services
The following conditions apply as respects any services provided 'oy us or our designees to any “idenlity
recovery insured" under this endorsement: ‘
‘t. Our ability to provide helpful services in the event of an “identity theit” depends on the cooperation,
permission and assistance of the "ldentlty recovery insured.'

2. All services may not be availab:'e or applicable to ali individuals For exampla, “ldentity recovery
insureds" who are minors or foreign nationals may not have credit records that can be provided or

monitored Servlce in Canada will be dliierent from service in the Uniied States and Puerlo Rlco in
accordance with local conditions

3. We do not warrant or guarantee that our services will end or eliminate all problems associated with an
“tdentity theit” o_r prevent future ”ldenlity theits."`

DEFlN|TlONS
Wllh respect to the provisions of this endorsement only, the following definitions are added:

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1. “lcientfty Heccvery Case lillanager" means one or more individuals assigned by us to assist an
"ldentity recovery lnsured" with communications we deem necessary lor rra-establishing the integrity ot
the personal identity oi the "identity recovery insured." This includes, with the permission and
cooperation of the “tdentity recovery insured," written and telephone communications with law
enforcement aulhorltles, governmental agencies, credit agencies and individual creditors and
businesses

2. "identity Ftecovery Expenses" msans'the following when they are reasonable and necessary
expenses that are incurred as a direct result of an “identity theit":

a, Costs lor re-ltling applications for ioans, grants or other credit instruments that are rejected solely
as a result of an "ldenttty theft." '

b. Costs for notarizan affidavits or other similar documentsl long distance telephone calls and
postage solely as a result of your ettorts to report an “ldentity theit” or amend or rectify records as
to your true name or identity as a result of art "identlty theft.”

c. Costs for credit reports from established credit bureaus.

d. Fees and expenses for any attorney approved by us for the following:
‘i) The defense of any civil suit brought against an "ldentify recovery fnsured."
2) The removal ct any civil judgment wrongfully entered against an "insured."

3) Legai assistance loran "ident|ty recovery insured" at an audit or hearing by a governmental
agency.

4) Legai assistance in challenging the accuracy of the "identlty recover insured’s" consumer
credit report.

5) The defense of any criminal charges brought against an “ldentity recovery insured‘ arising
from the actions of a third party using the personal identity of the “identity recovery insursd."

e. Actuai lost wages cl the “ldentity recovery insured" for time reasonably and necessarily taken
away irom work and away from the work-premises Tlrne away from work includes partial or whole
work days. Actual lost wages may include payment for vacation days, discretionary days, floating
holidays and paid personal days. Actual lost wages does not include sick days or any loss arising
from time taken away from self empioyment. Necessary time off does not include time oft to do
tasks that could reasonably have been done during non-working hours.

l. Actua| costs for supervision of children or elderly or iniirm relatives or dependents of the “ldentity
recovery insured” during time reasonably and necessarily taken away from such supervision
Such care must be provided by a professional care provider who is not a relative ct the "identity
recovery insured,"

g. Actual costs for counseling from a licensed mental health professionat. Such care must be
provided by a professional care provider who is not a relative of the “ldentity recovery lnsured."

h. Any other reasonable costs necessarily incurred by an “insured" as a direct result of the ”identity
thelt." Such costs inciude:

1) Costs by the “insured" to recover control over his or her personal identity.

2) Deductlbies or service fees from financial institutions

Such costs do not inciude:

ii Costs to avold, prevent or detect “identity theit” or other loss.

2) ivionies lost or stolen.

3) Costs that are restricted or excluded elsewhere in this endorsement or policy.
3. “|dent|ty Ftecovery lnsured” means the following:

a) When the entity insured under this policy is a sole proprietorshlp, the "ldentiiy recovery insured” is
the individual person who ls the sole proprietor of the insured entity.

b} When the entity insured under this policy is a partnership, the "ideniity recovery insureds" are the
current partners

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o) .When the entity insured under this policy is a corporation or other organizetion, the “icientity
recovery insureds" are att individuals having en ownership position oi 20% or more ot the insured
entity. Ho':.'ever, il and only it there is no one who has such an ownership position, then the
"tdentity recovery tnsured" shall be:

t) The chief executive ol the insured entity; or
2) As respects a retlgious institution, the senior ministeriei empioyee.

An “ictentity recovery insured" must aiwaye»be en individual person. The entity insured under this
policy is not an "identity recovery insured.”

4. “ldentlty Theft" means the irautiuient use of the social security number cr other method of identifying
an "icienilty recovery insured." This lnciud_es fraudulently using the personal identity ot an "identity
recovery insured" to establish credit accounts, secure toans, enter into contracts or commit crimes.

“ldentity theit” does not include the fraudulent use ot a business name, dr'brej or any other method of
identifying a business activity.

Aii other provisions oi this policy app|y.

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rule ENooasererN'r cHANc.es ruiz Pot.rcv. PLEAsE senn rr cAnEFuLLv.
TEXAS CHANGES

This endorsement modifies insurance provided under the following:
EQUFFMENT BREAKDOWN COVEF!AGE ENDOHSEMENT

A. The following coverages are added:
1. Deiense

if a claim or “suit” is brought against you alleging that you are liable tor damage to property'of another
in your care, custody or control that was directly caused by an "accident" to "covered equipment" we

will either:
a. Settie the ciaim or "sult"; or
b. Defend you against the claim or "sult" but keep for ourselves the right to settle it at any polnt,

2. Supplementary Payments
We wilt pay, with respect to any cialm or “sulii' we deienci:
a. Ail expenses we incur;
b. The costof bonds to release attachments but only for bond amounts within the t_lmitoi insurancel
We do not have to furnish these bonds;

c. Aii reasonable expenses incurred by you at our request to assist us in the investigation or defense
of the claim or "suit,” including actual loss ot earnings up to 3100 a day because ot time oii from

work;
d. Al| costs taxed against you in any “suit" we defend;

e. Pre»judgrnent interest awarded against you on that part of the judgment we pey. if we make an
oiler to pay the applicable t_irnit of insurance, we wiii not pay any pre-judgment interest based on
that period of time after the often and

f. Aii interest on the tui| amount of any judgment that accrues after entry of the judgment and before
we have paid. offered to pay, or deposited in court the part of the iudgrnent that is within the Limit
of insurance shown in the Declaraiions.

These payments will not reduce the Limit of insurance

B, As respects Equipment Breakdown Coverage only, the following are added:

1. Legal Action Against Us:
No one may bring a legai action against us under this coverage section uniess:
a. There has been full compliance with atl the terms ot this coverage section;
b. The action is brought within two years after the date of the "accident"; and
c. We agree in writing that you have an obligation to pay for damage to Covered Property of others
or until the amount of that obligation has been determined by final judgment or arbitration award.
No one has the right under this policy to bring us into an action to determine your iiabi|ity.
2. Bani<ruptcy
The bankruptcy or insolvency ot you or your estate wilt not relieve us ot an obilgation under this
coverage section.
C. With respect to Equiprnent Breat<ciown Coverage only, the iotlowing Deiiniiion is added:

”Suit” means a civii proceeding and includes:

1. An arbitration proceeding in which damages are claimed and to which you must submit or do submit
with our consent; or

2. Any other alternative dispute resolution proceeding in which damages are claimed and to which you
submit with our consent

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'i'H|S ENDORSEN|ENT CHANGES THE POL|CY. PLEASE FiEAD iT CAREFULLY.

DATA COfv‘iPFtOllliiSE COVERAGE -' TEXAS
nEsPoNSE EXPENsEs Auo DEFENSE AND t.lAeiLi'rv

This endorsement modifies the ioiiowing:

BUiLDiNG AND PERSONAL PROPERTY COVERAGE FORM
CONDOMIN|UM ASSOC|AT[ON COVERAGE FORM
CONDOMIN|UM COMMERC|AL UNiT OWNEFiS COVERAGE FORM

Coverage under this endorsement is subject to the foilowlng:

SECT!ON ‘i - RESPONSE EXPENSES

Data Cornpromise
Response Expenses lelt: $50,000
Annuai Aggregate

Lega| and Forenslc information
Technoiogy Review Sublimii: 3 5,000
Any one "Personei Data Cornpromise"

Response Expenses Deductibie: $ 1,000
Any one “Personat Data Comprornise”

SECTION 2 - DEFENSE AND L|AB|LITY

Data Comprornlse
Defense end Llabllity lelt: $50,000
Annuai Aggregate

Defense and Liab|iity Deduct`ibie: $ 3,000
Each "Data Gompromise Suit"

The following is added as art Addiilonal Coverage:
SECT|ON ‘i - HESPONSE EXPENSES

DATA CDFHPROM|SE COVERED CAUSE OF LOSS

Coverage under this Data Cornpromise Coverage endorsement apoiies oniy ii atf of the following conditions are
met: j

i. There has been a “personai date compromise"; and

2. Such "perso_nai data compromise" is first discovered by you during the policy period ior which this Data
Compromlse Coverage endorsement is applicabte; and t

3. Such “personai data compromise" is reported to us within 90 days after the date it is first discovered by you.

COVERAGE - SECTION 1

if the three conditions iisted above in DATA COMPP.OM|SE - COVERED CAUSE OF LOSS have been met, then
we will provide coverage for the following expenses directly arising from the covered cause ci lo_ss.

Piease note that service providers must be approved by us as described in Addltionai Condition G. - Service
Providers. '
1. Legai and Forensic information Technoiogy Fleview

We wi|i pay your necessary end reasonable costs for the following outside professional services

a. Legal Servtces

Professionai iegai counsel review of the "personat data compromise” and how you shot:ici best respond
to it.

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b. Forenslc information Tecbnology Services

Protessionai information technologies review‘ii needed to delerrnlne, within the constraints ct what is
possible and reasonable, the nature and extent of the “personai data compromise" and the number

and identities of tire "ailecled lndivlduais."

2. Notiticaticn to Aiiecteci individuals
We will pay your necessary and reasonable costs to provide notification of the “personai data compromise"
to “aliectod individuals."

3. Servlces` to Affectecl individuals
We will pay your necessary and reasonable costs to provide the following services to "aitected lndividuals."

a. informational Materia|s
A packet cl loss prevention and customer support information

b. Heip Line
A tolt-tree telephone line for “atlected individuals" with questions about the "persona| data
compromise" or wanting to request additional services as listed in c. and d.

c. Credit Fieport and iv‘lonitoring l
A credit report and an electronic service automatically monitoring for activities affecting an lndtvidual’s
credit records. This service ls subject to the "aifected individua|" enrolling ior this service with the
designated service provider.

d. identity Restoration Case Management
As respects any "aifected individuai" who is or appears to be a victim cf “identlty theit” that may
reasonably have arisen from the "personal dale compromise,” the services ot an identity restoration
professional who will assist that "aftecled lndividuai” through the process cf correcting credit and other
records and, within the constraints ci what is possible and reasonabie, restoring control over`his or her

personal identity.

Lilt.lllTS - SECT!ON 1
The most we will pay under Ftesponse Expenses coverage is the Data Compromise Response Expenses Limit

indicated ior this endorsement

Tl‘te most we will pay under Legal and Forenslc information Technology Fteview coverage for loss arising from
any one “personal data compromise" le the Legai and Forenslc information Technology Subllrnit indicated for this
endorsementl This sublimit is part oi, and not in addition to, the Data Compromise Ftesponse Expenses Limtt.
The Data Compromise Ftesponse Expenses Limit is an annual aggregate iimit. This amount is the most we wiii
pay forthe total ci ali loss covered under Section 1 arising out ot all “personai data compromise" events which are
first discovered by you during the present annual policy perlod. This limit applies regardless of the number of
“personal data compromise" events occurring during that perlod.

pt "persona| data compromise” may be first discovered by you in one policy period but cause covered costs in one
or more subsequent policy periods. lt so, atl covered costs arising from such "personal data compromise" will be
Sub}ect to the Data Compromlse Ftesponse Expenses Limit applicable to the policy period when the "persona|
data compromise" was first discovered by you, 7

Coverage for Servtces te "ailected individuals" is limited to costs to provide such services for a period ci up to one
year from the date ot the notification to the "alfected lndivlduels." Notwithstanding, coverage for identity
Restoration Case Management services initiated within such one year period may continue for a period ot up to
one year from tire date such identity Restoratlon Case Management services are initiated

DEDUCT!BLE - SECT|ON t
gesponse Expenses coverage is subject to the Resportse Expenses Deductible indicated for this endorsement
You sha|i be responsible ior such deductible amount as respects each "personai data compromise" covered

under this endorsement

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The iol!owing is added as an Additional Coverage;

SECT|ON 2 - DEFENSE AND LIAB|LlT¥

DEFENSE AND LlAB|LiTY COVERED CAUSE OF LOSS

Coverage under this Data Compromise Coverage endorsement applies only if ali three of the conditions in DATA
COMPROM|SE - COVERED CAUSE OF LOSS are met.

Only with regard to Sectton 2 - Delense and i_iabiiity coverage, the loliowlng conditions must also be mei:

1. You have provided nolilicatlons and services to "aftected lndividuals"ln consultation with us pursuant to
Flesponse Expenses coverage; and

2. You receive notice cl a "data compromise suit" brought by one or more "altected individuals"; and

3. Nolice of such “data compromise sult" ts received by you within two years ot the date that the "allected
individuals" are notified ot the "personai data compromise"; and '

4. Such "data compromise sutt'i is reported to us within 90 days after the date it ls tirst received by you.

oovEnAcE » section 2

ii ali tour ot the conditions listed above in DEFENSE AND LiAB|Ll‘i'Y - COVERED CAUSE OF LOSS have been
met, then we will provide coverage for “data compromise defense costs” and "daia compromise i|abiiity" directly
arising from the covered cause ol ioss.

Please lnote that defense counsei must be approved by us as described in Additlonai Conditlon B. - Detense

Counse.

Llivrlrs - sEchON 2- _
The most we will pay under Deiense and Liabiiity coverage is the Data Comprcrn|se Detense and Llabiiity Limit
indicated for this endorsement

The Data Compromise Detense and Liabi|lty Limit is an annual aggregate limit, This amount is the most we will
pay for all ioss covered under Section 2 arising out ot all “personal data compromise" events which are first
discovered by you during the present annual policy period. This limit applies regardless ot the number of
"perscnai data compromise“ events occurring during that period.

A “psrsonai data compromise” may be first discovered by you in one policy period but cause covered costs in one
o_r more subsequent policy periods it so, all covered costs arising irom such "personat data compromise" wilt b`e
subject to the Data Compromlse Deiense and Liabiiity Limit appi|cabie to the policy period when the "personal
data compromise" was first discovered by you.

DEDUC`E`IBLE - SECTEON 2

Defense and i_iabl|ity coverage is subject to the Deiense and Liabiiliy Deductible indicated ior this endorsementl
You shall be responsible for such deductible amount as respects each “data compromise suit" covered under this
endorsement

EXCLUSIONS, ADDlTlOer-\L COND!TIONS AND DEFIN|T|ONS APPL|CABLE TO BOTH -
SECTlGN ‘l AND SECT|ON 2

EXCLUSIONS
The following additional exclusions apply to this coverage:
We will not pay for costs arising from the iollowlng:

i. Vour lntentlonai orwliliu| complicity in a "personai data compromiseh

2. Any criminat, fraudulent or dishonest act, error or omission, or any intentional or knowing violation of the law
by you. .

3. Any “personai data ccmpromise" occurring prior to the first inception of this Data Ccmprornlse Coverage
endorsement

4. Except as specifically provided under coverage 1.-b. Forenslc information Technology Review Services,
costs to research any deficiency This includesl but is not limited to, any deficiency in your systems
procedures or physical security that may have contributed to a “personai data compromise."

5. Costs to correct any dellclency. This lncludes, but is not limited to, any deiiciency in your systems
procedures or physical security that may have contributed to a "personai data compromise."

6. Any lines or penatties, This inciudes, but is not limited io, fees or surcharges trorn affected linartciai
institutions '

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7. Any criminal investigations or proceedingsl

8. Any extortion or blackmail This includes, but is not limited to, ransom payments and private security
assistance

9. Any virus or other malicious code that is or becomes named and recognized by the CERT® Coordinatlon
Center, McAiee®, Secunla, Symantec or other comparable third party monitors of malicious code activity.

10. Your reckless disregard for the security cf "personally identifying lnicrrnatlon" in your care, custody or
control

1 1. That part cf any “data compromise sult” seeking any non-monetary relief.

ADDtTlONAL CONDtT|ONS
The following Addltiona| Conditlons apply to all coverages under this endorsement.

A. Data Compromlse Liabl|ity Detense

1.' We`shali have the right, but not the duty, to assume the defense ot any applicable "data compromise
suit" against you. You shall give us such information and cooperation as we may reasonably require.
in the event we do not assume your detense, we shall, nevertheless have the right to effectively
associate with you in the defense and settlement of any "data compromise suit” that appears
reasonably likely to involve us. tnctudlng, but not limited to1 the right to effectively associate in the
negotiation of a settlement _

2. You shall not admit liability for or settle any "data compromise sult” or incur any defense costs without
our prior written consent t-iowever, if you are able to dispose ot all "data compromise sults" which are
subject to one deductible amount for an amount not exceeding the deductible amount (in_clusive ot
defense costs), then our consent shall not be required ior such claims and suits

3. lt you refuse to consent to an settlement recommended by us and acceptable to the claimant, we may
then withdraw from your de ense (lf we have assumed your defense) by rendering control of the
defense to you. From that point torward, you sha|i, a_t your own expense. negotiate or defend such
"data compromise sutt" independently of us. Our liability shaft not exceed the amount for which the
claim or suit could have been settled lt such recommendation was consented io, plus defense costs
incurred by us, and defense costs incurred by you with our written consent, prior to the date of such
refusal.

4. We shall not be obligated to pay any damages or defense cosfs, or to defend or continue to defend any
"data compromise sult" if we have assumed your defense, after the Data Compromlse Defense and
Liability Limit has been exhausted

B. Defense-Counsel
We will only pay for "date compromise defense costs" for services provided by legal counsel approved by

us. You must obtain our prior approval for any ltrm, service or legal counsel whose expenses you want
covered as “data compromise defense costs." We will not unreasonably withhold such approvai.

C. Dutles fn the Event of a “Data Compromlse Suit"
1. if a “data compromise suit” is brought against you, you must:
a. immediately record the specifics of the “data compromise suit" and the date received; and
b. Provlde us with written notice, as soon as practicablel but in no event more than 90 days afterthe
date the "data compromise suit" ls first received by you.
2. You music
a, immediately send us copies cf any demands notices, summonses or legal papers received fn
connection with the "date compromise sult”;
b. Authorlze us to obtain records and other lntorrnation;
c. Cooperate with us in the investigation, settlement or defense of the “data compromise sult";
d. Assist us. upon our request, ln the enforcement of any right against any person or organization
which may be liable tc you because of loss tc which this insurance may also appiy; and
e. Take no action, or tall to take any required action. that prejudices your rights or our rights with
respect to such “data compromise sult." _
3. You may not, except at your own cost, voluntarily make a payment, assume any obligation, or incur any
expense without our prior written consentl
4. lf you become aware of a claim or complaint that may become a “dala compromise suit," you shall
promptly inform us of such claim or oornplaint.

D. Due Diltgence

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You agree to use due diligence to prevent and mitigate costs covered under this endorsement This
inciddes. but is not limited to, complying with reasonable and industry-accepted protocois ton

1. Provid|§ng and maintaining appropriate physical security for your premises. computer systems and hard
copy l es; `

Provlding end maintaining appropriate computer and |_nt_ernet security;
ivial_ntainlng and updating at appropriate intervals backups of computer data;
4. Protecting transactionsl such as processing credit card, debit card and check payments; and
5. Appropriate disposal oi files containing “persona|iy identifying-iniormation,” including shreddan hard
copy files and destroying physical media used to store electronic data.
E. Legai Advtce
We are not your legal advisor. Our determination of what is or is not covered under this Data Compromise

Coverage endorsement does not represent advice or counsel from us about what you should or should not
do.

F. Pre~thlfication Consuitaticn
You agree to consuit with us prior to the issuance ct notification to “afiected individuals." We assume no
responsibility under this Data Compromise Coverage for any services promised to "aifected individuais“
without our prior agreement it possibie, this pre-notification consultation will also include the designated
service provider(s) as agreed to under Addltiona| Condltion G. Se'rvice Providers. You must provide the
following at our pre-notification consultation with you;

1. The exact list of "afiecied individuais" to be notified, including contact intormation.

2. information about the "persona| data compromise" that may appropriately be communicated with
“atiected lndivldua|s."

3. The‘scope ot services that you desire for the "eiiected individuals." For exampie, coverage may be
structured to provide fewer services in order to make those services available to more “ailected
individuais” without exceeding the available Data Compromlse Lim|t,

G. Servlce Providere

1. We witt only pay under this Data Compromlse Coverage for-services that are provided by service
providers approved by us. You must obtain our prior approval for any service provider whose expenses
you want covered under this Data Compromise Coverage. We wilt not unreasonably withhold such
approvai.

2. Prior to the Pre-Notiiicatlon Consu|tation described in Additionat Condition F. above, you must come to
agreement with us regarding the service provider(s) to be used for the Not|iication to Aflected
lndivlduais and $ervlces to Afiected Individna|s. We will suggest a service provider. lt you prefer to use
an alternate service provider, our coverage is subject to the following iimltations:

a. Such alternate service provider must be approved by us;

b. Such alternate service provider must provide services that are reasonably equivalent or superior
in both kind and quality to the services that would have been provided by the service provider we
had suggested; and

c. Our payment ior services provided by any alternate service provider witt not exceed the amount

' that we would have paid using the service provider we had suggested

i-l. Services

The following conditions apply as respects any services provided to you or`any “aiiected individuai" by us.
our designees or any service iirm paid ior in whole or in part under this Data Compromlse coverage:

1. The effectiveness ot such services depends on your cooperation and assistance

2. Ali services may not be available or applicable to ai|`|ndlvldua|s. For exarnpie, “aflected individuals" who
are minors cr foreign nationals may not have credit records that can be provided or monitored Service
in` Canada will be different from service in the Lintted States and Puerto Ft|co in accordance with focal
conditions _ _

3. We do not warrant or guarantee that the services will end cr eliminate ali problems associated with the
covered evenfs. '

4. You_wiit have a direct relationship with the professionai service iirms paid for in whole or in part under
this coverage. Those tirrns work for you.

DEF|NiT|ONS

With respect to the_provisions of this endorsement oniy. the following definitions are added:

1. "Atiected lndivldual“ means any person whole your current, former or prospective customer, citent, member,
owner, director or employee and whose "personaity identifying information1 is lost, stolen, accidentally

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released or accidentally pubiished by a "personai data compromise" covered under this endorsement This

detinlticn is subject to the following prcvisions:

a. "Aifected lndividual" does not include any business or organization Only an individual person may be
an “aiiected individual.” l

b. An "ailected individual" must have a direct relationship with your interests as insured under this poiicy.
The following are examples ci individuals who would not meet this requirement:

t) ii you aggregate or sell information about individuals as pari of your business, the individuals
about whom you keep such intormation do not qualify as “afiected individuais." However, specltic
infdivlduals may quality as "afiected individua|s” ior another reason, such as being an employee
o ycurs.

2) if you store, process, transmit or transport records, the individuals whose “personatiy identifying
information" you are storing, processing, transmitting or transporting lor another entity do not
qualify as "afiected individuais." i-ioweverl Speciiic individuals may quality as “aiiecled
individuais" for another reason, such as being an employee ct yours.

3) You may have operations, interests or properties that are not insured under this policy. individuais
who have a relationship with you through such other operations, interests or properties do not
quality as "aliecteci individuats.” l-iowsver, speciiic individuals may qualify as "aiiected
individuals" for another reason, such as being an employee cline operation insured under this

policy.
c. An "aftected individuai” may reside anywhere in the wor|d. However, the coverage and services
provided under this endorsement are only applicable and available within the United States of America,
Puerto Rlco and Canada,
2. "Daia Compromlse Defense Costs” means expenses resulting solely from the lnvestigation, defense and
appeal of any "data compromise suit" against you. Such expenses must be reasonable and necessary.
They may be incurred by us or by you with our written consent They do not include your sataries or your
loss of eamlngs. They do include premiums tor any appeal bond, attachment bond or similar bond. but

without any obligation to apply for cr turnish any such bond.
3, “Data Compromlse Liabiiity”
a, "Data compromise iiabi|ity" means the following, when they arise from a "data compromise sult":
1) Damages, judgments cr settlements to "aftected individuals";
2) Detense costs added to that part ot any judgment paid by us. when such defense costs are
awarded by law cr court order; and
3) Pre-judgment interest and post-judgment interest on that part ot any judgment paid by us.
b. “Data compromise ilabliity‘r does not mean:
1) Damages, judgments or settlements to anyone who is not an "aftected individual";
2) Clvi| or criminal lines or penalties imposed by |aw;
3) Punitive or exemplary damages:
4) The multiplied portion of multiplied damages;
5) Taxes; or
6) Matters which may be deemed uninsurabie under the applicable law.
4. “Data Compromlse Su|t” _
a. “Data Compromlse Sull“ means a civil proceeding in which damages to one or more "aliected

individuais" arising irorn a "perscnai data compromise" are alleged. Such proceeding must be brought
in the i.inited States ot America. Puerto Rico or Canada. “Data compromise suii" includes:

t) An arbitration proceeding in which such damages are ciaimed and to which you must submit or
do submit with our conseni;

2) Any other alternative dispute resolution proceeding in which such damages are claimed and to
which you submit with our consent; or

3) A written demand ior money, when such demand could reasonably result in a civil proceeding as
described in this deilniiion.

b. ;‘Data compromise suit" does not mean any demand erection brought by or on behalf cl someone who

s:

1) Vour director or ofticer;

2) Your owner or part-owner; or

3) A holder of your securities;

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in their capacity as such, whether directly, derivativety, or by class action "Data compromise suit1 will
include proceedings brought by such individuals in their capacity as "aifected lndivlduals." but only to
lite extent that the damages claimed are the same as would apply to any other “aflected individua|."

c. “Date compromise sulf" does not mean any demand or action brought `oy cr on behalf of an
organiza§icn, business lnstltutlon, govemmenial entity or any other party that is not an "aflected
lndlvldua.”

5. “identlty Theft" means the fraudulent use of "pereonai|y identifying information." This includes fraudulently
using such information to establish credit accounts, secure ioans, enter into contracts or commit crimes.

"identity theit” does not include the fraudulent use of a business name,,d!b/a or any other method cl
identifying a business activity. '

6. “Personel Data Compromlse” means the ioss, theft, accidental release or accidental publication of
"personaliy identifying information" as.respects one or more "affeoled lndivlduaie," if such loss, theft.
accidental release or accidental publication has or could reasonably result in the fraudulent use cf such
information This definition is subject to the following provisions:

a. At the time of the loss, theft, accidental release or accidental publication, the “pereonaiiy identifying
information“ must be in your direct care, custody cr control

b. "Personai data compromise” does not include the loss, theft, release or publication of information that
is in the care, custody or control of a third party to whom you have directly or indirectly turned over such
information for any reason This includes, but is not limited to, stor`ege`, processing, transmission or
transportation cl such informationl ' '

c. "Perscnal data compromise" includes disposal or abandonment ol °personal|y identifying information”
without appropriate safeguards such as shreddan or destruction, subject to the following provisions:
1} Your failure to use appropriate safeguards must be accidental end not reckless or deliberate; and
2) Such disposal or abandonment must take place during the time period for which this Data

Compromlse Coverage endorsement is effective

clr '=Personel data compromise" includes situations where there is a reasonable cause to suspect that
such "personaiiy identifying informaiicn" has been lost, stolen. accidentally released or accidentally
published, even ff there is no firm proof.

e. Ali incidents ct “personai data compromise" that are discovered at the sometime or arise from the
same cause will be considered one “personai data compromise."

7. "Personaliy identifying iniormation" means information that could be used to commit fraud or other illegal
activity involving the credit or identity of an "affected individual." This lnciudes, but is not limited to, Social
Security numbers or account numbers correlated with names and addresses

"Personatiy identifying iniormalicn” does not mean or include.inforrnation that is otherwise available to the
public. such as names and addresses with no correlated Sooiai Securlty numbers or account numbers

Ail other provisions of this policy appiy.

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THIS ENDORSEMENT CHANGES THE POLlCY. PLEASE READ lT CAHEFULLY.

CYBEFIONE COVERAGE

COMF’UTEF¥ ATTACK AND NETWOHK SECUFHTY L.lAB|L|TY
TEXAS

This endorsement modifies the foilcwlng:
BUILDtNG AND PERSONAE. PROPERTY COVERAGE FOFiM

CONDOM|NIUM ASSOCiATlON COVERAGE FORM
CONDOMIN|UM COMMEHCEAL UNlT'OWNEHS COVEF?AGE FORN|

Coverege under this endorsement is subiect to the following SCHEDULE*:

S}ECTiON 1- COMPUTER ATTACK

Computer Attack Limit $
Annual Aggregate
Subllmits
Data Re»creatlon $
Loss of Business $
Pub||c Relatfons $ 7
Per Occurrence
Computer Attaol< Deductlbie $

Per Ooourrence

SECT!ON 2 - NETWOF{K SECURlTY LlABlLITY

Netwcrk Securlty t_labl|lty Limit $'
Annua| Aggregate

Network Securlty Ltablllty Dectuctil)le $
F'er Occurrence

Network Seourlty i_labt|lty Optlonai Coverage
3'°' Party Business information m

 

*lf no entry appears above, information required to complete thls endorsement will be shown in the
Deciarations er Change En_ctorsement as applicable to this endorsement.

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The following is added as an Add|tlonal Coverage:

SECT!ON 1 »~ CONEPUTER ATTACK

SECT|ON 1 ~ COVERED CAUSE OF LOSS

This Computer Attacl< coverage applies only if all of the following conditions are metz

1. There has been a “computer attaci<"; and

2. Sucl" computer attack' is first discovered by you during the policy period ior which this endorsement is
applicable; and

3. Such "computer attaci<' is reported to us as soon as practicable but in no event more than 90 days after the
date tt` rs first discovered by you

SEC't'lON 1 - COVERAGES PROV|DED
if all three of the conditions listed above in SE"TION t CO"ERED CAUSE OF=‘ OSS have been met, then we
will provide you the following coverages for loss directly arising from such “comcuter attack".
1. Data Restoration
We will pay your necessary and reasonable "data restoration costs".

2. Data Re-creatlon
We will pay your necessary end reasonable "data recreation costs".
3. System Ftestorat|on
We will pay your necessary and reasonable "systern restoration coste".
4. Loss of Business
We will pay your actual “busfness income ioss" and your necessary end reasonable "extra expenses“.

5. Pubilo Helations

ll you suffer covered "business income |oss"1 we will pay for the services of a professional public relations
firm to assist you in communicating your response to the "computer attaclt” to the media, the public and your
customers, clients or membersl

SECT|ON 1 - LIMITS '
The most we will pay under Computer Attack coverage ls the Computer Attaok i.lmtt indicated for this
endorsement

The most we will pay under Data Fle-creatton coverage for loss (including "business income loss" and "extra
oxpense" related to date re- -creation ectivllles) arising from any one “computer ettack" is the Data Fte- creation
Subiimit indicated for this endorsement This subllmit is part of, and not in addition to. the Computer Atlack Limit.
il no eub|lmit- is shown or is shown as Excluded on the SCHEDULE at the top of this endorsement, Deciarafions
or Change Endorsement, then the Data Fte~creation coverage will be considered to have a sublimlt of $O.

The most we will pay under Loss of Business coverage for loss arising from any one "cornputer attack" is the
Loss of Business Subilrnit indicated for this endorsement This subllmlt is part cf and not in addition tol the
Computer Attack l.imlt ii no subiirnlt ts shown or is shown as Exciuded on the SCHEDULE at the top of this
endorsement Declaratlons or Change Endorsernent then the Loss of Business coverage will be considered to
have a subllm|t of $O.

“l`he most we will pay under Pubiic Relaticns coverage for loss arising from any one "computer atlaclt" is the
Publlc Reiations Sub|imlt indicated for this endorsement This subtirnlt is part of. and not in addition to the
Computer Attacl< Limit ll no subllmlt is shown or is shown as Exc|ude_d on the SCHEDULE at the top of this
endorsement, Declarations or Change Endorsernent then the Pubiic Relations coverage will be considered to

have a sublimlt of SO.

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The Computer Attack Limit is an annual aggregate limit. This amount is the most we will pay for the total of all
loss covered under Seclion 1 arising out cf ali "cornputer aliacl<" events which are lirst discovered by you during
the present annual policy period. This limit applies regardless of the number cl "computer attaoi<“ events
occurring during that period

A "cornputer attack” may be first discovered by you in one policy period but lt may cause covered costs in one or

more subsequent policy periods. il so, all covered costs arising lrorn such “computer attack" will be subject to the
Computer Attack Limit applicable to the policy period when the “cornputer attack” was first discovered by you.

SECT|ON-i ~ DEDUCT|BLE
The Computer Attack coverage is subiect to the Computer Attaci< Deductible indicated in the SCHEDULE for this

endorsemenl, Declarations or Change Endorsement. You shall be responsible for the applicable deductible
amount as respects loss arising from each “cornputer attaol<"'covered under this endorsement

SECT|ON 2 - NETWORK SECUR}TY L|AB|LITY

SECT|ON 2 - COVEHED CAUSE OF LOSS _

This Network,Securlty i_labillty coverage applies only il all of the following conditions are met:

1 . ‘s’ou first receive notice of a "networl< security liability sult” during the policy period for which this endorsement
ls applicable cr any Extended Fteporiing Periocis; and

2. Such “network security liability sult” is reported to us as soon as practicabie. but in no event more than 90
days alter the dale it is llrst received by you.

SECT|ON 2 - COVERAGES PROV|DED
if both of the conditions listed above in SECTlON 2 » COVERED CAUSE OF LOSS have been met, then we will

provide you the following coverages for loss directly arising from such "networi< security liability suit".

1. Defense
We will pay your necessary and reasonable ”networi< security liability defense costs'.

2. Settiement Costs
We will pay your necessary and reasonable "network security liability settlement oosts".

SECT|ON 2 - LIiVllTS
Except for post-judgment lnterest, the most we will pay under Network Securily l_iabiiity coverage-is the Network

Security Liabiiity Limit indicated for this endorsement

The Networir Security l_iabilily Limit is an annual aggregate ilmlt. This amount is the most we will pay for lhs total
of all loss covered under Section 2 (other than post-judgment interest) arising out of ali "nelwork security liability
suits" of which you first receive notice during the present annual policy period or any Extended Fieporling
Periods. T his limit applies regardless of the number of "notwori< security liability suits" of which you first receive
notice during that perlod.

You may first receive notice cl a "networl< security liability suil” in one policy period but lt may cause covered
costs in one or more subsequent policy perlods. il so, all covered costs arising from such "networl< security
liability suit” (olher than post-judgment lnterest) will be sublect to the Netvvorl< Security Liabliity Limit applicable to
the policy period when notice ol the “nstworl< security liability sult" was first received by you.

The Network Security Liabiiity Limit for the Extended Fleporling Perlods (li applicabie) shall be part ol, and not in
addition to, the Networl< Securily Liabllity Limit ior the immediately preceding policy perlod.

SECTION 2 - DEDUCT!BLE
The Networi< Securily l_iablllty coverage is subject to the Nelwork Securily i_iablilty Deductible indicated in the

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SCHEDULE for this endorsemeni, Declarations or Cbange Endorssment. You shall be responsible for the
applicable deductible amount as respects loss arising from each "networl< security liability suit" covered under
this endorsement

EXCLUS|ONS, ADDiTIONAL CONDIT|ONS AND DEF|NIT|ONS APPL|CABLE TO ALL
SECTIONS

ExcLusroNs

The following additional exclusions apply to this coverage:

We will not pay for costs or loss arising from the folio\vlng:

1. Loss to the internei_. an internal service provider, or any computer or computer system that is not owned or

ieasect by you and operated under your contro|.

Costs to research or correct any deficiency

. Any fines or penalties

Any crimina: investigations or proceedings

Any threat1 extortion or blackmatt. This includes, but is not limited to_. ransom payments and private security

assistance

6. Your intentional or willful complicity in a covered loss event or'your reckless disregard for the security of your

- computer system or data.

7. Any cnminai, fraudulent or dishonest acf, error or omission: or any intentional cr knowing violation of the law
by you.

8. Any "com'pute.' atlacl<" occurring prior to the first inception ct this CyberOne coverage endorsement or any
coverage substantially similar to that described in this endorsement

9. That part of any “network security liability suil’l seeking any non-monetary relief.

10./tray "networl-r security liability suit" arising from a loss. release or disclosure of business data, propagation of
metware or denial of service attack that occurred prior to the first inception of this CyberOne coverage
endorsement or any coverage substantially similar to that described in this endorsement

11.The propagation or forwarding of maiware, including viruses, worms. Trofans, spyware and keyloggers in
connection with hardware or software created, produced or modified by you ior saie, lease or license to third
parties

sheets

AD DlTiONAL CONDlTlONS
The following additional conditions apply to all coverages under this endorsement
A. Due Dliigsnce
You agree to use due diligence to prevent and mitigate costs covered under tth endorsement This tnciudes,
but is not limited to, complying with reasonable and industry-accepted protocols for:
'l. Provldlng and maintaining appropriate computer end |nternet security; and
2. Maintalning and updating at appropriate intervals backups of computer data.

B. Duties in the Event of a “Nstworic Security Liabii|ty Suit"
1. if a "networl< security liability suit" is brought against you, you must:
a. immediately record the specifics of the “networ'r< security liability suir' and the date receivsd; and
b. Provtde us with written notice, as soon as practicable but in no event more than 90 days arter the
date the “networi< security liability suit'z is first received by yo_u.
c. immediately send us copies of any demands, notices, summonses or legal papers received in
connection with the “networit security liability suit";
d. Authcrlze us to obtain records and other lnfo`rmation;

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e. Cooperate with us in the investigation setttement or defense ot the "networi< security liability suit”;

f. Asslst us, upon our request, in the enforcement of any right against any person or organization
which may be liable to you because of ioss to which this insurance may aiso apply; and

g. Not take any action, or fail to take any required action. that prejudices your rights or our rights with
respect to such "network security liability suit”.

C. Extended Report|ng Periods
t. You shall have the right to the Extended Fteporttng Periods described in this section. in the event that:
a. You or we cancel this Cyber()ne coverage;

Vou or we refuse to renew this CyberOne coverage; or
We renew this CyberOne coverage on an other than a claims-made basis or with a retroactive date
later than the date of the first inception o`f this CyberOne coverage endorsement or any coverage
substantially similar to that described in this endorsement;

2. lien event as specified in Paragraph 1. has occurred_, you shall have the right to the foilowlng:

a. An Automatlc Extended Fteporiing Period of 30 days after the effective date of canceliation or nonre-
newal at no additional premium in which to give to us written notice of a "networl< liability suit” of
which you first receive notice during said Automatlc Extendeci Reporting Period for any propagation
of matware, denial of service attaoi<, or if appiicable, loss. release or disclosure of business data oo-
curring before the end ct the coverage period for this CyberOne coverage and which is otherwise
covered by this CyberOne coverage; and

b. Upon payment of an additional premium of 100% ot the tull annual premium applicable to this Cyber-
One coverage, a Supp|ementai Extended Reporting Period of t year immediately following the effec-
tive date ot cancellation or nonrenewal in which to give to us written notice of a “networ}< liability suit"
of which you first receive notice during said Suppiementei Extanded Fteporting Period for any loss.

release or disclosure of business data, propagation of matware or deniai of service attack occurring
before the end of the coverage period for this CyberOne coverage and which is otherwise covered
by this CyberOne coverage.

To obtain the Suppiernental Extended i=leporling Period, you must request it in writing and pay the
additional premium due, within 30 days ol the effective date of cancellation or nonrenewai. The addi-
tionai premium forthe Suppiementai Extended Fteporting Per|od shall be fully earned at the inception
of the Supp|ementai Extended Ftepor'ting Period. if we do not receive the written request as required,
you may not exercise this right at a teter date.

This insurance, provided during the Supptementai Extended Reporting Period, is excess over any
other valid and collectible insurance that begins or continues in effect after the Suppiementa! Ex~
tended i‘-teporttng Period becomes ettective, whether the other insurance applies on a primary, ex-
cess, conlingent, or any other basis.

D. Network Seour|ty t.|abiiity De_fense

1. We shall have the right and the duty to assume the defense of any applicable “networl< security liability
suit" against you. ¥ou shaft give us such information and cooperation as we may reasonably require.

2. You shaft not admit liability for or settle any “network security liability Suit" or incur any defense costs
without our prior written conseni.

3. ii you refuse to consent to any settlement recommended by us and acceptable to the ciairnant, we may
then withdraw from your defense by tendering control ot the defense to you. From that point iorward, you
shaii, at your own expense, negotiate or defend such "network security liability suit" independently of us.
Our liability shaii not exceed the amount for which the claim or suit could have been setlted if such
recommendation was consented to, plus defense costs incurred by us, and defense costs incurred by you
with our written consent, prior to thel date of such refusai.

4. We shall not be obligated to pay any damages or defense costs, or to defend or continue to defend any
"networi< security liability sult”. after the Network Security Llabiiity l_.imit has been exhausted

5. We shall pay ali interest on that amount cl any iudgment within the Network Security l.iabiiity Limit which
HCCFU@S:

a. Alter entry of judgment; and

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b. Betcre we pay, otter to pay or deposit in court that part ot the judgment within the Network Security
L:'abi!ity Limit or. in any case, before we pay or offer to pay the entire Networi< Security Liabillty Limit.

Those interest payments shall be in addition to and not pan of the Nstwor'»r Security t_iat)i|ity l_lmlt.
E. Other Data Coverage in This Poiicy
Some elements of this CyberOne coverage may also be covered uncler the policy to which this endorsement
ls attached it so, this CyberOne coverage will apply as excess. additionai coverage if toes payment has

been made under the policy for the same event, the amount ct such payment will count towards the
deductible that applies to this CyberOne coverage

F. Services

The rol;c.,._,rng COndii|onS apply as respects any services provided to you by any service firm provided or paid
for in whole or in part under this endorsement:

1. The effectiveness ct such services depends on your cooperation and assistance

2. We do not warrant or guarantee that the services will end or eliminate all problems associated with the
covered events.

G. Prompt Payment of Ciaims

1. Fteceipt of Notice of Oiaim.

a. th teter than the 15th day after the date we receive notice ot a cialm, we wi||:

1) acknowledge receipt of the ctairr\;
2) commence any investigation cf the ciatm; and

b. request from you all items, statements, and forms that we reasonably beiieve, at that time, will be
required from you.

c. We may make additional requests for information if during the investigation of the claim the additionai
requests are necessary

ct. ii the acknowledgment ct receipt ct a claim is not made in writing we xviii make a record ci the date.
manner, end content ci tile scknov.'!edg.'nent.

2. Notlce ot Acceptance or Rejectton cf Clairn.

a. Except as provided by Subsecticn 4. we witt notify you in writing cf the acceptance or relocation ct a
claim not teter than the 1531 business day after the date ave receive ali items, stateiri.entsl and forms
required by us to secure final prooi of ioss.

b. if we reject the ciaim, the notice required by Su'osection a. must state the reasons for the relec:ic`>n.

c. l.f we are unable to accept or reject the claim v.'ttnin the period specified by Subsectton a.. tve, within
that same perlod, \'.rili notify you of the reasons that We need additional time. We v.'iil accept or reject
the claim not later than the 45tb day after the date we notify you under this subsection.

3. Payrnent cf Clairn.

a. E)ccept as otherwise provided by this section, ii \.ve notify you under Subsection b that v.re '.viii pay a
ciatrn o-' part of a ciairn, we will pay the cialrn not later then the iiith business day etter the date notice

is made.
b. if payment of the claim or part of the claim is conditioned on the performance ct an act by you, we will
pay the claim not later than the fifth business day alter the date the act is performed
4. Deiay in Payment cf Ciaim.

e, Except as otherwise providedl lt we after receiving ali items, statements and forms reasonably
requested and required under Subsecilon a, delay payment of the claim for a period exceeding the
period specified by applicable statutes or. ii other statutes do not specify a period, tor more than 60
days, we will pay damages and other items as provided by Texas insurance Code Sectlon 542.060.

b. Subsection a. does not apply in a case in Which it is found as a result of arbitration oriitigatlon that a
claim received by us is invalid and should not be paid by us.

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Wiih respect to the provisions of this endorsement only, the following definitions are added:

l. "BLISlneSS income Loss" means the sum of the:
a. Net income (net profit or loss before income taxes) that woutd have been earned or fncurred; and

b. Continuing normal end necessan) operating expenses incurred, inctuding employee payroit, \

actuetly test by you during the "perlod ot restoration".
2. "Computer Attack" means one of the following involving a computer or other electronic hardware that is
owned or leased by you and operated under your controi:
a. Uneuthorized Access - meaning,the gaining of access to your computer system by an unauthorized
person or persons; or
b. Malware Attacl< - meaning damage to your computer system or data arising trom matlclous code,

including viruses, worms, Trolans. spyware and keyloggers. This does not mean damage from
shortcomings or mistakes in iegtlimate electronic code or damage from code instalted on your computer

system during the manufacturing process.
c. Danlat of Service Attacl< ~ meaning a deliberate act to prevent third parties from gaining access to your
computer system through the internat in a manner tn which they are legally entitled.

3. l’Data Re-creation Costs"

a. "Data rra-creation ccsts" means the costs of an outside professional firm hired by you to research, re-cre-
ate and replace data that has been tost or corrupted and for which there is no electronic source available
or where the etectronlc source does not have the same or similar functionality to the data that has been
lost or corrupted.

b. "Data recreation costs" atso means your actual "buslness income loss" and your necessary and
reasonable "extra expenses" arising from the lack of the lost or corrupted data during the time required to

research, rs-create and replace such data.

c. "Data re-creation costs” does not mean costs to research, re-crcate or'replace:
1) Sotiware programs or operating systems that are not commercially availabie; or
2) Data that is obsoiete, unnecessary or useless to you.

4. "t)ala Ftestoralton Costs”

e. “Dala restoration costs" means the costs ot an outside professional firm hired by you to replace electronic
date that has been lost or corrupted. in order to be considered "data restoration costs.” such replace-
ment must be from one or more electronic sources with the same or similar functionality to the data that

has been lost or corrupted.
b. “Data restoration costs" does not mean costs to research, restore or replace:
1) Soflwere programs cr operating systems that are not commercially avaitabie; or

2) Data that is obsciete, unnecessary or useless to you.

5. ”Extra Expense” means the additionat cost you incur to operate your business during the “perlod ot
restoretton” over and above the cost that you normally would have incurred to operate your business during

the same period had no "ccmputer attack" occurred
6. "Networl< Security Liability Detense Costs"

a. "Networi< security liability defense cosfs" means reasonabte and necessary expenses resulting solely
from the lnvestigation, defense and appeal of any “networl< security liability suit" against you. Such
expenses may be incurred by us. Such expenses may include premiums for any appeal bond,
attachment bond or similar bond. However, we have no obiigatton to apply tor or iumfsh such bond.

b. “Networl-c security liability defense costs" does not mean your salaries or your ioss ol earnings

7. l‘i\ietvrorl< Security Lteblitty Settlement Costs"
a. “Networl< security tiabliity settlement costs" means the following, when they arise from a "networi< security

liability suit”:

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‘l ) Darnages. §udgrnents or settiemente; and
2) Deiense costs added to that part cf any iudgrnent paid by cs, when such defense costs are awarded
by taw or court order; and
3) Pre-iudgment interest on that part ot any judgment paid toy us.
b. “Nelworl< security liability settlement costs" does net mean:
1) Clvil or criminal lines cr penalties imposed by iaw;
2) Punitive or exemplary damages;
3) The multiplied portion of multiplied damages;
li) Taxes; or
5) Matters which may be deemed uninsurable under the applicable iaw.
8. "l\'etwork Security Liab|lity Suit"

a. “`Netwcrl< security liability suit" means a civil proceeding against you in which damages are alieged. Such
proceeding must be brought in the United States cf Arnerlca, Puerto Flico or Canada. Such proceeding
must be based on an allegation that a negligent security failure or weakness with respect to a computer
or other electronic hardware that is owned or leased by you and operated under your control allowed
one o'r more of the following to happen:

i) The unintended propagation or forwarding ot melware, including vlruses, worms, Trojane, spyware
and keyioggers. Malware does not include shortcomings or mistakes in legitimate electronic code.

2) The unintended abetting of a denial oi service attack against one or more other systems

b. li the 3rd Party Business information line under Network Security Llability Optlonai Coverage on the
SCHEDULE at the top of this endorsement, Deciaratlons or Change Endorsement, is marked as
lnciudeci, then "Netwcrk security liability suit" also means a civil proceeding against you in which
damages are alleged which is brought in the Unfted Stetes of America, Puerto Rico or Canade and which
is based on an allegation that a negligent security failure or weakness with respect to a computer or
other electronic hardware that is owned or leased by you and operated under your control allowed the
toss, release or disclosure oi business data that is owned by or proprietary to a third party. This does not
include personally identifying information or other information that is sensitive or personal to individuals if
the 3"j Party Business information line under Nelwori< Security Liabillty Optlonai Coverage on the
SCHEDULE at the top of this endorsement, Deciarattons or Change Endorsement is marked as
Excluded or is blank. then "Neiwori< security liability suit" does not include such sulls.

c. °‘Networi< security liability suit" includes the iollowing:
1) An arbitration or alternative dispute resolution proceeding that you are required to submit to or which

we agree you should submit to; or
2) A written demand lor money, when such demand could reasonably result tn a civil proceeding as
described in this definitionl

d. i“'i\ietv.'orl< security liability suit" does not mean any demand or action alleging or arising from property
damage or bodily iniury.

e. “Networl< security liability suit" does not mean any demand or action brought by or on behalf of someone
who is:
t) Your director or oiiicer;
2) Your owner or part-cwner; cr
3) A holder of your securities;
in their capacity as such, whether directly derivative!y, or by class action.

9. "Pericd cf t`~testoration" means the period of time that begins at the time that the "cornputer attaclt” is

discovered by you and continues until the earlier of:

a. The date that all data restoration, data recreation and system restoration directly related to the
lcomputer attack" has been compieted: or

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b. The date on which such data restoration data ret-creation and System restoration oouid have been
completed with the exercise of due diligence and dispatch

10. "Systern Restoration Coste”
a. "Sysiern restoration costs" means the costs of- an outside professional firm hired by you to do any of the
following in order to restore your computer system to its pre- “computer atteck" ievel of iunctionallty:

‘l) Fiepiace or relneteii computer soitware progrems;A
2) Fternove any malicious code; and
3) Conttgure or correct the configuration of your computer system
b. "System restoration costs" does not meant
'l) Costs to increase the speed, capacity or utility ot your computer system;

2) Labor of your empioyees;
3) Any costs in excess of the actual cash value of your computer system; or

4) Costs to repair or replace hardware
Aii other provisions of this policy appiy.

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QUICK REFEFiENCE
COMMERC|AL iNLAND N|AR|NE COVERAGE pAFiT

BEAD VOUR POLIC‘( CAHEFULLV

T he Ccmmerciat inland Marlne Coverags Part in your policy consists ct Declarsticns. one cr more Ccverage
;:Qrms, Commercia| intend Marlne Condiiions, Ccmmcn Poiicy Ccncilticns and Endcrsements, if applicable
;:Qllcwirig is a Qulci< Fieference indexing of the principal provisions contained in each ct the components making
u p this Coverage Pait.

g ECLARAT!ONS COMMERCIAL INLAND MAFliNE COND!T|ONS
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ir>§irlrc}jci»eri§d an '“a` mg ddress Loss coNoiTioNs
Descriplion ci Business Abandonment
limits ct insurance Appraisei
Forms and Endorsemen’.s applying to the Coverage Duties in the Eveni of Loss
Part at time ct issue insurance Uncier Two or More Coverages
Loss Payment
g OVEHAGE FORM(S} Other insurance
Pair, Set or Parls
COVERAGE Priyilegel ic Adlust Wilh Owner
Covered Prcperty (li Appl|cabie) R@C°VS"SS

Fieinstetemerlt oi Limit Aiter Loss

Pmpe ny Noi Covered Transier ct Fiights ct‘Recc‘yery Against Others to Us

Covered Causes of'Lcss
Additionai Coverage ~ Ccilapse (|t Appiicable)

Coverage Extensicns iii Appliceb|e) GENERAL COND|TIONS
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Olher Excluslons (lf Applicablei Deciaralions
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LtMiTS OF iN_SUFiANCE Changes

Exerninalicn of Your Bccl<s and Fteccrc's
DEDUOT!BLE (ii Appllcabte) inspections and Suryeys

Premiums
ADD|T|ONAL CONDiTiONS Trans.‘er ct Your Filghts and Duties Under This Poiicy

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CMOOOi 09 04
COMMERC|AL INLAND NiAFiiNE CONDiT[ONS

Thsio|iowlng conditions apply in addition to the Common Poiicy Conditions and applicable Addiiiona| Gonditions
in Ctmmercial inland Marine Coverage Forms:

LOSS CONDiTiONS
A. Abandonment
There can be no abandonment of any property to us.

B. Appraisai

il we and you disagree on the value of the property or the amount cl loss. either may make written demand
for an appraisal of the loss. in this event, each party wlil select a competent and impartial appraiser. The two
appraisers will select an umpire. ii they cannot agree, either may request that selection be made by sludge
cf a court having jurisdiction The appraisers will state separately the value of the property and amount of
loss. ii they fail to agree, they will submit their diiferences to the umpire. A decision agreed to by any two wli|

be binding Each party will:
1. Pay its chosen appraiser; and
2. Bear the other expenses ot the appraisal and umpire equally.
ii lhere is an appraisai, we will still retain our right to deny the cia|rn.
C. Dutles in The Event Of Loss
You must see that the following are done in the event cf loss or damage to Covered Property:
1. Notliy the police if a law may have been broken.
2. Give us prompt notice of the loss or damage include a description cf the property invoived.
3. As soon as possibie, give us a description of how, when and where the loss or damage occurred

4. Taite ali reasonable steps to protect the Covered Property from further damage, and keep a record of
your expenses necessary to protect the Covered Prcperty, lor consideration in the settlement cl the
c|alm. This will not increase the Limit ct lnsurance. i-icwever, we will not pay for any subsequent loss
or damage resulting from a cause ct loss that is not a Covered Cause of L.css, Also, it teasible, set the
damaged property aside and in the best possible order for examination

5. You will not, except at your own cost, voluntarily make a payment, assume any obligation, or incur any
expense without our consent

6. As often as may be reasonably required. permit ustc inspect the property proving the loss or damage
and examine your books and records

A|so permit us to take samples ot damaged and undamaged property for lnspeciicn, testing and
analysis, and permit us to make copies from your books and records.

7. We may examine any insured under cath, while not in the presence cl any other insured and at such
times as may be reasonably required, about any matter relating to this insurance orthe cia|m, including
an insured's books and records in the event of an examination, an insureds answers must be signed.

8. Send us a slgned, sworn proof of loss containing the information we request to settle the ciaim. You
must do this within 60 days siler our request We will supply you with the necessary icrms.

9. immediately send us copies of any demands. nolloes, summonses or iegal papers received in
connection with the claim or suit.

10. Cooperate with us in the investigation cr settlement of the ciaim.

D. insurance Uncier Two Or More Coverages

if two or more of this poiicy’s coverages apply to the same loss or damage, we will nol pay more than the
actual amount of the loss or damage '

E. Loss Payment
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1. We witt give notice of our intentions within 30 days alter we receive the sworn proof of loss.
2. We witt not pay you more than your iinanciai interest in the Covered Property.

3. We may adjust losses with the owners of lost or damaged property ii other than you. ii we pay the
owners. such payments will satisfy your claim against us for the ov.'ners' property. We will not nay the
owners more than their financial interest in the Covered Prc_oeny.

4. We may elect lo defend you against suits arising from claims ot owners of property We wi.’i do this at
our expense

5. We witt pay for covered tose cr damage within 30 days after we receive the sworn proof ot loss ii you
have complied with aii the terms of this Coverage Part and:

a. We have reached agreement with you on the amount of the ioss; or
b. An appraisal award has been made.
6. We will not be liable lot any part of a loss that has been paid or made good by others.
F. Other insurance

1. You may have other insurance subject to the same plan. ierms, conditions and provisions as the
insurance under this Coverage Part. ii you do, we will pay our share of the covered loss or damage.
Our share is the proportion that the applicable Limit ct insurance under this Coverage Part bears to the

Limits of insurance of ali insurance covering on the same basls.

2. ii there is other insurance covering the same loss or damage, other than that described in 'l. above,
we will pay only for the amount of covered loss or damage in excess cline amount due from that other
insurance. whether you can collect on it or not. But we will not pay more than the applicable Limit of
insurance

G. Pair, Ssts Or Parts
‘l. Fa!r Or Set
in case oi loss or damage to any part cf a pair cr set we may:
a. Re_oair or replace any pants restore the pair cr set to its value before the loss or damage; or
b. Pay the difference between the value of the pair or set before and after the icss or damage
2. Pa rla

in case of loss or damage to any part of Covered Property consisting ot several parts when compiete,
we will only pay for the value cline lost or damaged part.

H. Ftecovered Property

if either you or we recove.r any property alter loss settiement, that party must give the other prompt notice.
At your option, the property will be returned to you, You must then return to us the amount we paid to you
for the property. We will pay recovery expenses and the expenses to repair the recovered property, sub]ect
to the Limit_oi |nsurance.

l. Reinstatement Of Limit Ai'ter Loss

The Limit oi insurance will not be reduced by the payment ct any ciaiml except for total loss or damage ot a
scheduled item, in which event we will refund the unearned premium on that item.

J. Transier Oi' Rights Oi Fieoovery Agalnst Olhers To Us

ii any person or organization to or for whom we make payment under tnis Coverage Part has rights to_
recover damages from another, those rights are transferred to us to the extent of our payment That person
or organization must do everything necessary to secure our rights and must do nothing after loss to impair
lhem. But you may waive your rights against another party in writing:

1. Prior to a ioss to your Covered Property.
2. After a loss to your Covered Property on;y ii. at time of ioss, that party is one of the foilowlng:
a. Sorneone insured by this insurance; or

b. A business iirm:

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1) Owned or controi|ed by you; or
2) `Fhat owns or controls you.

This will not restrict your insurance

G ENEF\AL CONDITIONS

A.

Concealment, Misrepresentatton Or Frauci

This Coverage Part is void in any case ot traud, intentional concealment or misrepresentation of a material
fact, by you or any other lnsured, at any time, concerning:

1. This Coverage Part;

2. 'i'he Covered Property;

3. Your interest in the Covered Property; or

4. A claim under this Coverage Part.

Controi Of Property

Any act or neglect of any person other than you beyond your direction or control will not affect this

insurance

The breach of any condition of this Coverage Part al any one or more locations will not affect coverage et
any location where, at the time of loss or damage, the breach of condition does not exist.

Lega! Actton Agalnst Us

NO one may bring a legal action against us under this Coverage Palt untess:

'l. There has been full compliance with atl the terms of this Coverage Part; and

2. The action is brought within 2 years after you first have knowledge of the direct toes or damage
No Benetit To Bailee

No person or organization, other than you, having custody of Covered Property will benefit from this
insurance

Poiicy Per'iod, Coverage Territory

We cover loss or damage commencing

1. Durlng the policy period shown in the Declaratlons or Charrge Endorsement; and
2. Within the coverage territory.

Valuatton
The value ot property will be the least of the fo|towlng amounts:

1. Tne actual cash value of that property;
2. The cost of reasonably restoring that property to its condition immediately before loss or damage; or

3. The cost ci replacing that property with substantially identical property
in the event of ioss or demage, the value of property will be determined as of the time of loss or demage.

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CLO100 03 99
CONiNiON POL-iCY CONDITiONS

1 . Asstgnment ~ This policy may not be assigned without "our" written consent.

2. Canceiiatlon-"Vou“ may cancel this policy by reiurning'the policy to "us"or by giving “us”wrltten notice and
stating at what future date coverage is to stop.

"We" may cancel this policy, prone or more of its parts, by written notice sent to "you" at "yout“’ last mailing
address known to "us." li notice ot canceitation is maiied, proof ct mailing will be suitiolent proof ct notice.

if "we” cancel this policy for nonpayment oi premium, "we“ will give “you" notice at least ten days before the
cancellation is ettective. if “we" cancel this policy for any other reason, "we" witt give "you" notice at least 30
days in advance cf cancellationl The notice will state the time that the cancellation is to take ettect.

"Your’ return premium, if any, will be calculated according to "cur’ ruies. itwill be refunded to "you" with the
cancetlation notice or within a reasonable time. Paymant or tender of the unearned premium is not a
condition of cancellation.

3. Change, Niodification, or Waiver of Poiicy Terms a A waiver or change of the "‘ter.'ns"= cf this policy must
be issued by "us” in writing to be valid.

4. inspections -- “We" have the right, but are not obligated. to inspect "your” property and operations at any
time. This inspection may be made by “us" or may be made on “our‘ behaif. An inspection or its resulting
advice or report does not warrant that “your" property or operations are sate, healthfui, or in compliance with
iaws. rules, or regulations inspections or reports are for "our" benefit only,

5. Examinat|on of Books and Recorde ~ “We" may examine and audit "your” books and records that reiate
to this policy during the policy period and within three years etter the policy has expired. ‘

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CLO273 01 01

This endorsement changes the policy
- PLEASE FtEAD THtS CAREFULLY~

AMENDATOHY ENDORSEN|ENT TEXAS

Under the Common Poiicy Condttions, Cancet|ation is deleted and reptaced by the toilcwing:

Canceliatlon and Nonrenewai _ "Ycu" may cancel this policy by returning the policy to "us" or by` giving “us"
written notice and stating the date coverage is to stop.

" e" may cancet or not renew this policy by written notice mailed or delivered to "you” at the address shown in the
policy. lt notice of cancellation or nonrenewai is mailed, proof of mailing witt be sufficient proof of notice. The

notice wlil state the reason for cancei!aticn or nonrenewai.
if “we" cancel this poiicy, "we" will give ‘you” notice at least ten days before the cancellation is effective. The
notice will state the time that the canceiiation is to take effect

lt this policy has been in effect for 60 days or tess, "we" may cancel for any reason, except that under the
provisions ct the Texas insurance Code, “we” may not cancel this policy solely because "you" are_an elected

officia|.

lt this policy has been in effect for more than 60 daysl or it it is a renewal or continuation of a policy issued by

"us," “we" may cancel only for one or more of the following reasons:

a. 'you" do not pay the premium when due;
"you" committed fraud in obtaining the coverage;

c. there is an increase in hazard covered by this policy that is within "your” controi which would produce an
increase in the premium or rate;

d. there is a loss cf “our” reinsurance covering aii or part ot the risk covered by this policy; or

e. ”we“ are placed in supervision, conservatorship, or receivership and the cancellation or nonrenewal is
approved or directed by the Supervlsor, conservator, or receiver.

“Yout“ return premium, if any, will be calculated on a pro rata basls. it will be refunded to "you" with the
cancellation notice or within a reasonable tl_me. Payrnent or tender of the unearned premium is not a condition of
cancellation '

if "we“ decide to not renew this poiloy, "we" witt give ”you" notice at ieast 60 days betore the expiration date if the
notice is delivered or mailed iater than 60 days before the expiration date, the coverage wili remain in effect until

the 61st day after the date on which the notice ls delivered or mailed. Earned premium for any period ot coverage
that extends beyond the expiration date of this policy will be computed prorate based on the rate charged for the

expired policy.
The transfer of a policyholder between admitted companies within the same insurance group is not considered a
refusal to renew.

"We" may not _cancet cr refuse to renew this policy solely because "you" are an elected oliicial.

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THis ENooasEmENr cHANeEs THE Poi,lc‘r. PLEAsE ncaa n" cAnEFuLt..Y.
CAP ON LOSSES FRONI CEFtTiF|ED ACTS OF TERROFtiSli/i

This endorsement modifies insurance provided under the tollewing;

BOll_EFt AND MACH|NER_Y COVERAGE PART
COMMEHCiAL |NLAND MARZNE COVERAGE PART
COMMERClAL PROPERTY COVERAGE PART
EQU!PMENT BREAKDOWN COVEHAGE PART
FAFlNl C_OVEF{AGE PART

STANDABD PROPERTY POL|CY

A. Cap On Certiiied Terror|sm Losses

"Certliied act ct terrorism" means an act ihat is certified by the Secretary of the Treasury, in concurrence with
the Secretary of State and the Attcrney General cline Unlted States, to be an act of terrorism pursuant to
the federal Terrorism Fiisi< insurance Acl. The criteria contained in the Terrorlsm Ftlsl< insurance Act for a
“cenified act of terrorism" include the loiiowtng:

1. the act resulted in insured losses in excess oi $5 million in the aggregatea attributable to all types cf
insurance subject to the Terrorlsm Fi|sl< insurance Aci; and

2. The .aci is a violent aci 'or an act that ls dangerous to human life, property or inlrastructure and is
committed by an individual or individuals as part of an effort to coerce the civilian population of the
Unlted Staies or to influence the policy or affect the conduct of the United Siates Government by
coercion. `

ii aggregate insured losses attributabie to terrorist acts certified under the Terrorism Ftlslr insurance Aci
exceed $100 billion in a Program Year (January t through December 31) and we have met our insurer
deductible under the Terrcrisrn Ftisi< insurance Act, we shall not be liable for the payment ct any portion ct
the amount of such losses that exceeds $iOO billlcn, and in such case insured losses up to that amount are
subject to pro rata allocation in accordance with procedures established by the Secretary ot the Treasuty.

' B. App|ication OiExcluslons

The terms and limitations ot any terrorism exclusion or the inapplicability or omission of a terrorism
exciusion, do not serve to create coverage for any loss which would otherwise be excluded under this
Coverage Pan or Poiicy, such as losses excluded by the Nuclear- Hazard Excluslon ortho War And Nlliitary

Aci|cn Exclusion.

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7~1261 02 'i‘i

This inland Marine coverage is subject to the terms shown
beio\v. The Commerclal inland Marine Conditions also apply.

~ PLEASE READ THtS CAREFULLY -
computers covEeAeE

SCHEDULE *
Coverage Am'ount

Hardware - i“-'or “hardware” on the described premises cit $m\______”__

Coverage amounts shown for each location include properly in transit but de not
include off-site computers except as provided within the supplemental
coverages section of this form.

Programs & Appiications ~ The coverage amount for "programs & applications"
shall not exceed 25% of the coverage amount under Hardware at each location,
except as may be provided by the Computer Coverage Amounts Endorsement.

This is in addition to the coverage amount for Herdware.

Media “ The coverage amount for “med|a" shall not exceed 25%
ot the coverage amount under Harciware et each location, except as may be
provided by the Computer Coverage Ameunls Endcrsement. This is in addition

to the coverage amount for Hardware.

income Coverage (Earnings & Extra Expense) - The Coverage amount is $10,000,
except as provided by the Computer Coverage Arnounts Endorsement.

DEDUC`FIBLE

The following deductible amount will applth each ioss other than mechanical
brealc:tovrnl after ail other adjustments have been made. $ MMW_.M_.

Mechanicai Breal<down
COlNSUR)'-\NCE

The coinsurance provision is not applicable

* (it no entry appears above, Information required to complete this endorsement will be shown in the
Decieratlons or Change Endorsement as applicable to this endorsement.)

AGREEMENT

in return tor "vcuf’ payment ci the required premium, "we" provide the coverage described herein subject to all
the “terms" et the Computer Coverage. This coverage ls also subject to the "scheduie ot ccverages" or Change
Endorsemenl and additional policy conditions relating to assignment or transfer cl rights or duties, cancellation
changes or mod|iications, inspections1 and examination of books and recordsl

Endorsernents and schedules may also appty. They are identitled on the "schedule of coverages” or Change
Endorsement. `

Ftefer to Deh'nltlons for words and phrases that have speciai meaning These words and phrases are shown in
quotation marks or hold type.

DEF|NIT|ONS

1. The words “you" and "your” mean the persons or organizations named as the insured on the “schedule of
coverages" or Change Endorsement.

2. The words “we,” "es," and "our" mean the company providing this coverage

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3. "Buslness"`q means t'ne usuat business operations occurring at a premises described on the “sobedute of
coverages cr Cr)ange Er:dcrsernent.

4. “Computer hack?ng" means an unauthorized intrusion:

e. by an individual or group ct ir‘.dividualr~:l whether employed by "yoo" or not, into "haro".'-:are," "solt\vare.”
or a computer networi<: and

b. that results in cut is not limited to:
1) deletion_. destruction generation_. cr modification of "`sottv.'are":

2) alteration contamination corru,ctlcn, degradation_. or destruction ot the integrity` quality or
performance ct "sottv.'are”:

3) observatien, scanning. or copying cl ""data records," “_crcgran~s and applications,” and "proprletary
programs`l

4) damage, destructlcn, lnadeg_uacy, mattunction, degradeticn, cr corruption cl any “hardv:ere" or
"rnedia“ used with ‘ hardware _: cr _

5) denial cl access to or denial ct services from '"your" "herdware" or "your"' computer network.

"Con}t]puter virus" means the introduction of any malicious self-replicatlng electronic data processing code
crot er codex `

61

a. into “hardware" or "soit\.vare"; and
b. that is intended to result in, but is not limited los
1) deletion. destruction, generation or modification of “soltware'”;

2) alteration. contamination ccrruptlon, degradation, or destruction of the integrity. quality, or
performance of` “softvvere”;

3) damage, destruction, inadequacyl maiiun'clion, `degradallcn, or corruption cl any “harciware" or
"media" used with "hardware ’; or

4) denial ct access to or denial of services from “your” "hardware" or "your1 computer networl<.

6. "Dala records"’ means filesl dccuments, and tnlormatlon ln an electronic format and that are stored on
"medla.”

7. “E|ectrical disturbance" means electrical or magnetic damage, disturbance ot electronic recordings, or
erasure ot electronic recordingsl

8. "Flood" means ileod, surlace water, wavee, tidal water, ortho overflow of a body ot water, ali whether driven
by wind or not. This includes spray that results from these whether driven by wind or not.

9. “Hardware” means a network of electronic machine components (mloroprocessors) ca able el accepting
instructions and informationl processing the information according to the lnsiructlons. an producing desired

results.

a. Har_dware includes - “Hardware” includes butts not limited to:
1) malnfrarne and mid~range computers and network servers;
2) personal computers and workstatlons;

3} laptops, palmtops, notebook PCs, other portable computer devices and accessories lncludlng. but
not limited to, multimedla projectore; and

4) peripheral dale processing equipment,includlng but not limited to, printers, i<eyboards, mcnitore,
and mcderns.

b. Hardware Does Not lnciude ~ “l~iardware" does not inciude:

1 ) "soitwere";_ and
2) “oli-site server” and "on-site server.E
10. "Llrnlt" means the amount of coverage that ao;_olies.

1.1. “Mechanlcai breakdown“ means the malfunction or failure ct moving or electronic pans, component failure,

faulty installatlcn, cr blowoutl
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12. “Media" means processing, recording, or storage media used with "hardware." This includes but is not
limited to tilms. tapes, cards, discs, drumsl cartridges, or ceiis.

13. "Olt-slte server” means a server for “yout" Web slte:
a. that is not at a premises described on the “schedule ol coverages” or Change Endorsement; and

b. that is being maintained andior operated by an independent contractor acting as "your’ Web host or
“your" internat service provider that is acting as "your’ Web host.

14. "On-slte server" means a server for "your” Web slte:

a, that is at a premises occupied by “you" and described on the “schedu|e of coverages" or Change
Endorsement; and

b. that is being maintained and/or operated by “you" or an independent contractor acting as "your‘ Web
site consultant

15

“Poiiuiant" means:

a. any soild, llquid, gaseous, therma|. or radioactive irritant or contaminantl including but not limited to
aoids. alkaiis. chemicals, fumes, smoke, soot, vapor, and waste. Waste includes materials to be
recycled, reclaimed, or reconditioned, as weil.as disposed of; and

b. electrical or magnetic emissions, whether visible or invisible, and sound emissions
1 6. ”‘Power supply dlsturbance" means interruption of power supply, power surge, blackout, er brownout.
1 7. “P'rograms and applications" means operating programs and applications that “you" purchase and that are:

a. stored on "media"; or
b. pre-installed and stored in “hardware."

18. atProprieiaiy programs” means proprietary applications or programs that are developed ln-house or that
‘you" had developed specilioaiiy lor “you" and that'are:

a. stored on “media"; or
b. installed and stored in l‘hardware."

1 9. ‘Fiestoration period" means:

a. the lime lt should reasonably take to resume "yourn “business" to a simitar level of service starting from
the date oi a physical loss ot or damage to covered property at a premises described on the “scheduie
of coverages” or Change Endorsernent that _is caused by a covered perii and ending on the date:

1) the property should be rebui[t, repaired, or replaced; or
2) -"business" is resumed at a new permanent iocatlon.
This is not limited by the expiration dale ot the policy.

b. The "restoratlon period" also means the increased time required to comply with the enforcement of any
ordinance, iaw, or decree that:

1) regulates the construction use, or repair ot any property; or
2) ' requires the demolition of any prcperty, in part or in whole, not damaged by a covered perii.
The ordinance, taw, or decree must be in force at the time of loss.

"Ftestoratton period" does not mean the increased time required to comply with the enforcement ot any
ordinance, lawl or decree that requires "you" or anyone else to test for, monitor, clean up, remove,
contain treat, detoxily, or neutraiize or in any way respond to or assess the effects of "poilutants.”

c. Only as regards coverage described under Oii Prernises Utlllly Senrice interruption; interruption of Web
Site iii added to this coverage part by endorsement): and Property in Translt'ln the Suppiernentai
income Coverages, "restoration perlod" also means the time it should reasonably take to resume
'your" "bustness" starting from the date of direct physical ioss of or damage caused by a covered peril

101

t) property not located at a premises described on the "scheduie of coverages" or Change
Endorsernent and that is owned by utility, a iandlord, or another utility supplier;

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2) "your'“ Web site operation that is being maintained or operated by and that is located at the
premises ot an independent contractor or internal service provider; and

3) property in transit:

and ending on the date the property should be rebuiit, repaired or replaced This is not limited by the
expiration date ot the oolicy.

20. "‘Scnedule ot coverages" orChange Endorsernent means;
a. ali pages labeled schedule ct coverages or schedules which pertain to this coverage_: and
b. declarations cr supplemental declarations which cenaln tc this coverage
21. "Stnl<hole‘collapse" means the sudden settlement or collapse ct earth supporting the covered property into

subterranean voids created cy the action ot water on a limestone or similar rock formation
Sint<hc?e collapse does not include the value cf the land ortho cost ot filling stcl<ltotes.

22. l'Software“ means "rr'.edia;l “data records.” "programs and applications.“ and “_crccnetary prcgrams."
Soitware does not mean "Web site software."

23. "Specllled periis'= means aircratt; civil commotion; explosion failing objector tire: hali; leakage from tir
extinguishth equipment ilghtning; rlot; "slnithoie collapse"': smoke; sonlc boom: vandalism: vehicres:
“voicanlc action": water damage; weight cl icel sno\.v, or s;eet; and v.'indstorm.

Falilng objects does not include loss to:
a. personal property in the open: cr

b. to the interior cl buildings or structures or tc personal property inside buildings or structures unless the
exterior cl the roots cr walls are tlrst damaged 'oy a falling object

Water damage means the sudden or occidental discharge or leakage of water or steam as a direct result ot
breaking cr cracking ot a part ot the system or appliance containing the water or stearn.

24. “Terrns” means all provisions limitations eitoiusionsx conditions and detinittons that apply
25. "'Volcanlc action"' means airborne vcloanic blast or airborne shock waves: asn, dust, or particulate matter;
or lava llot.v.

Votcanic action does not include the cost to remove ash. dust, or particulate matter that does not cause
direct physical loss lo the covered properly

26. "Web site server" means "on-sita server"' and "`oif-site server,”'

27. "Web-site sottware* means the following software that are used in `“your" "Web site server":
a. "rnedia";
b. "data records";

c. programs and applications which means operating programs and applications that "you" purchase and
that are stored on “media" or pre-installed and stored in "Web site servers”; and

d. proprietary programs which means proprietary applications_or'programs that are developed ln-house
or that ‘you" had developed speclttcally for “you“ and that are stored on "media" or installed and stored

in “Web site servers."
PROPERTY COVERED
"We” cover the_ following property unless the property is excluded or subject to limitations

'l. Hardware _

a. Coverage m “We" cover direct physical loss caused by a covered peril to “your" “hardvvare" and similar
property of others that is in “your" care. custody. or control.

b. Coverage Limltatlons - ‘We" only cover "your” "hard'-.vare"' and similar property of others:
1) when a "'llmlt" tor "'hardware"" is indicated on the "‘sohedule ot coverages"' or Chenge Endorsernent;
and

2) while at a premises described on the "scheduie of coverages" or Change Endorsernent.
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2. Softt.vare ~
a. Coverage ~ "We" cover direct physical loss caused by a covered peril to "your”:
1) ' "media”;
2) "programs and applications"; and
similar property cl others that is in “your” care, custody, or control
b. C!Hverage Limitatlons ~ “We" only cover'"medla," “programs and applications," and similar property of
o ers:
l) when a l‘limlt“ for "media" and “prograrns and applications" ls indicated on the "schedute of
coverages" or Change Endorsement; and
2) while et a premises described on the "schedule of coverages" or Change Endorsemeht.
c. We Do Not Cover - Except as provided under Supplemental Coverages, "we" do not cover:
1) “data records"; and
2) "proprletary progrems."
INCOME COVERAGE

“We" provide the following coverage untess the coverage is excluded or subject to limitations

1. Coverage Optlons - One of the following described coverage options applies when that option is indicated
on the “schedule of coverages" or Change Ehdorsement:

a. Earnlngs and Extra Expense; or
b. Extra Expense only.

2. Coverage ~

a. Covered Prcperty - "We” provide the coverages described below during the "restoralfon perlod" when
“your’1 "buslness" ls necessarily wholly or partially interrupted by direct physical loss ot or damage to
covered property al a premises described on the “schedule of coverages" or Change Endorsernent as

a result of a covered perll.

b. Descrlbed Premfses and Alr Conditionlng Syslem ~ “We" provide the coverages described below
under 3. and 4. during the “restoration perlod" when “your" "buelness” is necessarily wholly or partially
interrupted as a result of direct physical loss of or damage to:

1) a premises described on the "schedule of coverages" or Change Endorsement that prevents
"you" from using covered property; or

2) the air conditioning or electrical systems which are necessary for the operation of covered
property and results ln a reduction or suspension of "your' "buslness."

c. if You i_ease Your Prernlses - lf l‘you" lease, rent, or do not own the premises "you" occupy. for the
purposes ol determining an income Coverage loss, “your” location is the space that "you" iease, rent,
or occupy including, but not limited to, all passageways to “your’ location within the building

3. Earnings ~ "We” cover “your‘1 actual loss of net income inst prollt or loss belore income taxes) that would
have been earned or incurred and continuing operating expenses normally incurred by “ycur" “business,"
including but not limited to payroll expense.

4. Extra Expense - “We" cover only the extra expenses that are necessary during the “restoration period" that
"you" would not have incurred ll there had been no direct physical loss or damage to property caused by or
resulting from a covered peril.

a. Expenses To Ftaducs interruption ~ “We" cover any extra expense to avoid or reduce the interruption
of “youf’ data processing operations and continue operating at a premises described on the "schedule
ot coverages" or Change Endorsement, replacement locallon, or a temporary location 'l'hfs includes
expenses to relocate and costs to outfit and operate a replacement or temporary location

“We" will also cover any extra expense to reduce the interruption of "buslness" il lt is not possible for
"you" to continue operating during the "resloration period."

b. Expenses To Repairli~testore Property and information - To the extent that they reduce a loss
olhenu|se payable under this coverage, "we" will cover any extra expenses tc:
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1) recair, reoiace. or restore any prooerty; and
2) researcn. replace or restore information on damaged dccurne.cts, mancscripts, or records that:
at are inscrloed, crin:ed. or vrritten: or
b) exist on electronic or magnetic media.
Pi‘-`lOPERTY NOT COVERED

1. Accounts, Bi|ls, or Documents H "We" do not cover eccounts, biiis, evidences of debt, recorde, abstracts_.
deeds, manuscripts, program documentation or other documents except those that are in “soitware" form
and then only in that torrn.

2‘ Chectred Luggage - "We" do not cover lose resulting from theft or disappearance ct a |aptop, paimtop,
notebook PC, cr any portable computer while in transit as checked iuggcge.

Contraband ~ "We” do not_cover contraband or properly in the course ot illegal transportation or trade.
4. Loaned,.Leased, or Rented ’t'o Others ~ "We" do not cover properly that “you" ioan, lease, or rent to others

5. ittoney and Securlt|es r~ “_We" do not cover currency, iood stamps, lottery tickets not held ior sale, money_.
notes, or securitiesl

6. Stock in Trade ~ "We" do not cover property that is "your" stock in trader
7. Web Site Servers ~ “We" do not cover “Web site servers" including '"iNeb site sottware.”
COVERAGE EXTENSIONS

Prov|slone That Appiy To Coverage Extenstone - The foliowing Coverage Extenslone indicate an applicable
"lirnll." This "iirnit" may also be shown on the "scheduie of covereges” or Change Endorsereent.

if a different "ilmlt" is indicated on the "schedu|e ot coverages" or Change Endorsement, that “i|mit" will apply
instead of the "iirnlt" shown beiow.

i-iowever, ii no "i|mtt" is indicated for a Coverage Extens_ion. coverage is provided up to the tuii “iimit" for the
appjiicai)ie covered property unless a different “iln'iit" is indicated on the "sclteduie ot coverages” or Change
En orsernent.

Uniess otherwise indicated the coverages provided below are part of and not in addition to the applicable "iirnit'“
ior coverage described under Propeny Govered. ' '

`i”he "|imit” provided under a Coverage Extens|on cannot be combined or added to the "iim|t" for any other
Coverage Extension or Supp|ementai Coverage including a Coverage Exienslon or Suppleme`ntai Coverage that

is added to this policy by endorsement
The following coverage extensions are not subject to and not considered in applying coinsurance conditions

1. Debrie Removai ~

a. Coverage ~ “We" pay the cost to remove the debris of covered property that is caused by a covered
perii.

b. We Do Net Cover ~ Tbis coverage does not include costs to;
1) ` extract "potiutants" from land or water; or .
2) remove, restore, or replace potiuted land or water.

c. Limit ~ "We" do not pay any more under this coverage titan 25% ot the amount "we" pay for the direct
physical loss. “We" Wii| not pay more for loss to property and debris removal combined than the "iimit"

for the damaged property

d. Additicnat Limit - “We" pay up to an additional $5,000 for debris removal expense when the debris
removal expense exceeds 25% of the amount “we" pay for direct physical lessor when the loss to
property and debris removal combined exceeds the “iimit" for the damaged property.

e. Yoli iiilust Fteport Your Expeneee_~ “We" do not pay any expenses unless they are reported to “us" in
writing within 180 days from the date oi direct physical loss lo covered property.

2. Etectricat and Power Supply Dlsturbance ~

a. Coverage - “We" cover direct physical loss to covered property caused b_y:
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‘l) "eiectricai dieturbance"; or

2) "power supply disturbance."

b. Coverage Limitattcn - “We" only cover loss caused by ”eieotricai disturbance" and “power supply
disiurbance" ii the cause oi such disturbance took place within 500 feet of the premises where the loss

cccurrect.
However, if the “scheciule cl ccverages" or Change Endorsement indicates that there is no limitation,
then the 500 feet limitation described above does not apply to this Coverage Extension.

3. Emergency Remova| -

a. Coverage - “We" pay for any direct physical loss to covered property while it is being moved or being
stored to prevents loss caused by a covered perli.

b. Tlme Limttatlcn - This coverage applies for up to 365 days alter the property is iirst moved Atso. this
coverage does not extend past the date on which this policy expires

4. Emergency Bemoval Expenses -

a. Coverage - ‘We" pay for "your" expenses to rn_ove or store covered property to prevent a loss caused
by a covered peril.

b. Tin‘te Limltation ~ This coverage applies ior up to 365 days alter the property is first moved. A|sol this
coverage does not extend past the date on which this policy explres.

c. Limit - The most "we*' pay in any one occurrence for expenses to move or store covered property to
prevent a loss is $1,{)0{).

d. This is A Separate Limit _The "ilrnit" ior Emergency Ftemovai Expenses is separate lrom, and not part
oi, the applicable “iirntf' for coverage described under Property Covered.
5. Fraud and Decelt "

a. Coverage - "We” cover theft of covered property when “you," "your” agents, customers, or consignees
are fraudulently induced to part with the covered prcperty:

‘t) to persons who falsely represent themselves as the proper persons to receive the prcperty; or
2) by the acceptance of fraudulent bills of lading or shipping receipts

b. Limit m The most "we" pay in any one occurrence ior theft ci covered property under this Coverage
Extension is $t ,OGO.

6. Mechanical Broakdown Coverege ~ “We" pay lot loss to covered property caused by "mechanicat
breakdown."

SUPPLEMENTAL COVEF¢AGES

Provtsione That Appty To Supplemental Covsrages - 'l`he ioiiowing Suppiementa| Coverages indicate an
applicable “ltmit." This “|imit" may also ice shown on the “scheduie of coverages" or Change Endorsement.

if a different "iimit" is indicated on the "scheduie of coverages" or Change Endorsernent, that "iimit’l witt apply
instead of the "iirnlt" shown below.

However, it no ”iimit" is indicated for a Supplementai Coverage, coverage is provided up to the full "timil” for tire
applicable covered property unless a dlfierent “iirnit" is indicated on the “scheduie ct coveragee” or Change

Endorsemenl.

Uniess otherwise indicated, a "iimif’ for a Suppiernenia| Coverage provided below is separate trom, and not part
ofl the applicable “|imit" for coverage described under Property Covered

The "iimit" avaltab|e for coverage described under a Suppiernentat Coverage:
a. is the only "iimit" available tcr the described coverage; and

b. is not the sum ot the "iimit" indicated for a Supptementai Coverage and the l“|imlt” for coverage described
under Property Covered. t

The "itmit" provided under a Supplernenta| Coverage cannot be combined or added to the "lirnit” for any other
Suppiementa|‘Coverage or Coverage Extenston including a Supplernentat Coverage or Coverage Extenslon that
is added to this policy by endorsement

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The following coverage extensions are not subject to and not considered in apptylng coinsurance conditions
1 . Acqulred Locations _

a. Coverag_e - "We” cover direct physical loss caused by a covered peril to covered property at locations
that "yotr’ acquire during the policy pericd.

b_. Limit - “We" pay up to 3250.000 for covered prcoerty at locations that "you” acquire

c. Time Ltn_titati_on - This coverage applies for up to 60 days from the date "you” acquire the iooation or
until ‘ycu' report the acquired location to "us,” whichever occurs tirst.

l-iowever. this coverage does not go beyond the end ct the policy period

d. Addltiona| Prernlum ~ Wou“ most pay any additional premium due from the date "you” acouire the
location. ' ‘

2. ` Earthquake Coverage ~ lf coverage is indicated on the "schsduie cl coverages" or Change Endorsement,
"we" cover direct physical loss caused by earthquake and volcanic eruption to covered property while at a
premises described on the "scheduie ct coverages" or Change Endorsernent.

3_ Flood Coverage ~ lt coverage is indicated on the "schedule ct coverages" or Change Endorsement, "we"
cover direct physicat loss caused by "licoc"’ to covered property while at a premises described on the
“schedule ct coverages“ or Change Endorsement.

4. Newly Purchassd or Leased Hardwere ~

a. Coverage H “We” cover direct physical loss caused by a covered peril to additional “hardware"
including pre-lnstailed "programs and applications” that "you'_’ purchase or lease during the poiicy
period.

b. Lirnlt - Tize most that "‘we"’ pay for any loss under this additional coverage is the ieast oi:
'i) the actoai cash vatue of the covered property; or
2) 8250.000.

c. Time leltation ~ "We" extend coverage to the additionai “hardware" that "you” purchase or lease for
op to 60 days.

This suppiementat coverage wilt end when any ot the to!lowing first occur:
t) this poticy expires;

2) 60 days after "‘you" obtain the additional “hardware '; or

3) "you"r report the additional "lrtardt\.-'a-'cr to "'=.rs."

d. Additlcnal Premiurn - h'Ycu"' must pay any additionai premium doe from the date "yotr1 purchase or
lease the additional "hardv.'are."'

5_ Off~Site Computers a

a. Coverage ~ “We" cover direct physical ioss caused by a covered peril to covered property in the
custody ot "you," "ycur" oittcers. "yout" partners, or "your‘ empioyees, whl|e:

‘i) at "your" residence ortho residence ot ‘your" otilcers, partners, or empicyess;

2) temporariiy at a premises that ts not described on the "so’neduie of coverages"" or Change
Ertdorsement: or

3) in transit between a:
a) residence or temporary premises; and
b) premises described on the "‘scheduie of coverages" or Change Endcrserneni.
b. Limit ~ The most “we" pay in any one occurrence for loss to ott-site covered property is $2,500.

6_ Poltutant Cleanup and Ftemoval ~

a. Coverage ~ "We" pay "your' expense to extract "pcllotants" from tend or water if the discharge.
disp,ersai, seepage, migration, release,or escape ol the "pollutants"` is caused by a covered peril that
occurs during the policy period.

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b. Time Limitation ~ The expenses to extract "poliuianis” are paid only ii they are reported to “us" in
writing within 180 days from the date the covered peril occurs.

c. We Do Not Cover " 'We" do not pay the,cost oi testing, evaluatingt observing, or recording the
existencel level, or eifecis of "poiiutants."

However, "we" pay the cost ot testing which is necessary for the extraction ot “poiiutants" irom land or
water.

d. Limit ~ The most “we" pay for each location is $10, 000 ior the sum of atl such expenses arising out ot
a covered peril occurring during each separate t2»month period of this pottcy.
7. Property ln_Transit ~

a. Coverage - “We" cover direct physical loss to covered property caused by a covered petit while in
iransli.

b. Limit ~ The most "we" pay in any one occurrence for foss to covered properly in transit is the hardware
limit for the described premises

B. Proprietary Programs and Data Ftecords ~"

a. Coverage ~' e" cover the cost or research or other expenses necessary to reproduce, replace, or
restore lost files or codes on lost or damaged “data records" and “proprieiary programs" and similar
property or others that is in “your" care, custodyl or control

b. Coverage Limitations - “We" only cover "data records," “proprietary programs," and simiiar property
ot others:

t) while at a premises described on the “sohedu|e of coverages" or Change Endorsement; and

2) it the cost of research or other expenses necessary to reproduce, replace or restore lost tiles or
codes are incurred due to a direct physical loss caused by a covered perii to "data records" and

"proprietary programs.”

c. Limit ~ The most “we" pay in any one occurrence for "daia records" and "proprietary programs" is
$5,000.

9. Hewarcts h
a. Coverage - ‘We" pay for reward information that ieads to a conviction ior:

1) arson,
2) thett, or
3) vandalism inciuding. but not limited to, “computer hecklng" and "cornputer virus.”
The conviction must involve a covered loss caused by arson. theit, or vandalism
b. Limit - The most "we" pay in any one occurrence tor reward information is $1.000.

c. Limit is Not lncreased By The Number ct Perscns Providing information " °fhe amount “we" pay is
not increased by the number ct persons involved in providing the intorrnation.

10. Sewer Baoi<up and Water Below the Suriac_e " lt coverage is indicated on the “scheduie of coverages" or
Change Endorserrtent, "we” cover direct physical foss caused by:

a. water that backs up through a sewer or draln; or

b. water below the surface ct the ground including but not limited to water that exerts pressure on or
flows seeps, or leeke through or into a described premises

11. Software Storage _

a. Coverage H “We" cover direct physical loss caused by a covered peril to duplicate and back-up
"software” stored at a "sottware" storage location

b. Coverage Condition - Each "sottware" storage location must be in a separate building which is at
least 100 feet away from a premises described on the “schadu|e ot coverages" or Change
Endorsement‘

c. i$:tmtt - The most "we” pay in any one occurrence ior foss to duplicate and back- -up "sottware is

25 ccc

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12. Virus and Hacking Coverage ~

a. Coverage ~ "We" cover direct physicai loss to covered “hardware” and "°soitware” caused by a
"cornputer virus" or by "computer hacklng."

b. We Do Not Cover ~* "We" do not cover:

1) tose cl exclusive use ct any "dala records" or “prcprietary prcgrams" that have been copied.
.scanned, or altered;

2) ross ot or reduction in economic or market value of any "data records” or "proprietary programs"
that have been copied. scanned, or altered;

3) theft from "your" "data records” or “prcprietary programs" of confidential information through the
observation ci the “data records" cr "prcprietary programs" by accessing covered "hardware" or
"your” computer network without any alteration or other physical loss or damage to the records or
programs Confidenllai information includes, but is not limited to, customer intormatlon,
processing methods, or trade secrets; and'

4) except as provided under the Supplementai income Covcrages, deniai ot access to or services
- from 'your' “hardware" cr “your" computer network.

c, Limit ~ The most "we” pay in any one occurrence under this Suppiernentai Coverage is $5,000.

The most "we" pay for ali covered losses under this Supplemental Coverage during each separate
‘.~2-rnonth period ot this policy is $10,000.

INCOME COVERAGE EXTENS|ONS

Provisions That Appty To income Coverage Extensions “ The following income Coverage Extenslons indicate
an applicable "iimit" or limitation. This "limit" or limitation may also be shown on the "schedule of ooverages" or
Change Endorsement.

ii a different "iirnll" or limitation is indicated on the "sohedute oi'coverages" or Change Endorsernent, that “iimlt”
or iimitaticn witt apply instead of the "iimit" cr ilmitation shown beiow.

The| ioilowlng income Coverage Extens|ons are part of and not in addition to the applicable income Coverage
l||im tl¥l

t. interruption by Civil Authority ~

a. Coverage ~ ‘We" extend "your" coverage for earnings and extra expense to lnciude ioss sustained
white access to premises described on the "scheduie ct coverages'* or Change Endorsement ls
specificaliy denied by an order of civil authority.

b. Coverage Limitation ~'The order ot civil authority must be a result of direct physical ioss of or damage
to property, other than at a premises described on the "schedule ot coverages" or Change

Endorsement and must be caused by a covered perii.
c. Time Limitation . »- Unless otherwise indicated on the ",schedule of coverages`* or Change
Endorsernent, this coverage extension is iirnited to 30 consecutive days irom the date of the order.
2. Period of Loss Exten¢|on After Business Ftesumes ~

a. Coverage - “We” extend "your"' coverage for earnings to cover tcss from the date tne covered property
that incurred the ioss ;'s rebuilt, repaired or repiaced and “ycur” data processing operations are

resumed until:

1) the end ct 30 consecutive days {un|ess olhenvise indicated on the “schedu|e ci coverages" or
Change Endcrsement); or

2) the date "you” ccu!d reasonably resume “your" “cusines_s_”' to the conditions that wouid generate
the earnings amount that would have existed had no loss or damage occurred,

\'.'hici;ever is eartier.

b. Coverage Limitation - Loss ct earnings must be caused by direct ohyslcai ioss ot or damage to
property at a premises described on the “schedule ot ccverages" or Change Endorsement as a result

ot a covered oertl.
SUPPLEN|ENTAL tNCOME COVERAGES

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Frcrlsicns That Appty `t‘o Supp|ementai lnccrne Coverages ~ Untess otherwise |ndicateci, the loilowlng
Suppiementai income Coverages apply separately to each premises described on the "scheduie of coverages"

or Change Endorsemant.

Thslollcwing Suppiementai income Coverages indicate an applicable "limlt." This “limit" may also be shown on
the rschedule of coverages” or Change Endorsemeni.

lt adiiierent "limit" is indicated on the “soheduie of coverages" or Change Endorsement, that "iimll” will apply
instead cline "iim|t" shown beiow.

Unlsss otherwise indicatedl a “limit" ior a Suppiemenral income Coverage provided below ls separate trom, and
not part oi, the applicable income Coverage "iimit." The ”|lrnit” available ior coverage described under a

Supplernenlal-|ncome Coverege:

a. is the oniy “llmlt“ available tcr the described coverage; and

b. ll.s_nr}i_pt the sum of the “ilmll" indicated for a Supplemental income Coverage and the income Coverage
'l l .“

The ’iirnit” provided under a Suppiernentai income Coverage cannot be combined or added to the "|imil’l ior any

other Supplernentai income Coverage or income Coverage Extenslon.

‘l. Acquired Locations ~

a. Coverage ~ "We" extend “ycur’ coverage for earnings and extra expense to include direct physical
loss to covered property while at locations that “you“ acquire during the poiicy period

b. Time Llrnltation - This coverage applies for up to 60 days irorn the date “you" acquire the iocation or
until "you” report the acquired location to "us," whichever occurs first.

However, this coverage does not go beyond the end`oi the policy period.
c. Addltional Premlum - L‘You" must pay any additional premium due from the date "you” acquire the
iocation.

ti. Limit ~ The most "we" pay in any one occurrence lotr loss ot earnings and incurred extra expense at
each newly acquired location is $25,000.
2. Earthquake Coverage m ll coverage is indicated on the “schedule of coverages" or Change Endorsementr

“we” cover direct physical loss caused by earthquake and vclcanic eruption to covered property while at a
premises described on the "scheclu|e ct coverages" or Change Endorsement.

3. Flood Coverage m il coverage is indicated on the “schedu|e of covereges" or Change Endorsernent, “we"
cover direct physical loss caused by “liood" to covered property while at a premises described on the
"schedu|e ot coverages” or Change Endorsement.

4. Off Prernises Utii|ty Service interruption ~

a. Coverage ~ Coverage for earnings andfor extra expense is extended to ross ct earnings or extra
expenses that "you” incur during the "restoratlon period" when "ycur” data processing operations are
interrupted due to the interruption oi an cti premises utility services when the interruption is a result cl
direct physical loss or damage by a covered peril to property that is not located at a premises described
on the "schedule ot coverages" or Change Endcrsernent and that is owned by a utility, a landlord. or

another supplier who provides "you” wlth:
1) power, gas;
2} telecommunications inciudlng but not limited to internat access; or

3) water.

b. Overheacl Transmisslon i_lnes Exciusion - litho “schedu|e cf coverages" or Change Endorsament

' indicates that overhead transmission lines are exciuded, coverage under this extension does not
include loss to overhead transmission lines that deliver utility service to “you.” Overhead transmission
lines include, butera not limited tc:

1) overhead transmission and distribution ilnes;
2) overhead transformers and similar equipment; and

3) supporting poles and towers.

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c. Waitlng Period leltation a Uniess otherwise indicated on the "scheduie oi coverages" or Change
Ertc.icrsementl "we" do not pay for “yourz ioss cl earnings under this Supplernentat income Coverage
until aiter the ilrst 24 hours following the direct physical loss oi or damage to the property owned by a
iut||ity, a iandlcrd, or another supplier. This waiting period does not apply to extra expenses that “you"
ncua

d. ;:r{t)'iléo?) The most ‘vre" pay in anyone occurrence under this Supplementai income Coverage is

5. Property'fn Transii -

a. Cove__ra_ge j Coverag_e for earnings is extended to loss ot earnings during the "rcstoratlon pericd" when
"ycL.-r' houstness“ is interrupted as a result ci a direct physical loss, caused by a covered perli, to
covered property in transit

b. lS.lm_lt - The most "we“ pay in any one occurrence under this Supplementai income Coverage is
e,ooo.

6. Sewer Backup and Water Below the Suriace -‘ ii coverage is indicated on the "scheduie ot coverages" or

v

Change Endorsernent "we" extend "ycur" coverage for earnings and extra expense to include direct physical
loss to covered property caused by:

water that backs up through a sewer or drain: or

b. water below the surface cl the ground, including cut not limited to water that exerts pressure on or
liows, seeps. or leaks through or into a described premises

7. Virus and Hacking Coverage -

a. Coverage - Coverage lor earnings and/or extra expense isextended to loss ct earnings or extra
expenses caused by a “computer virus" or by "computer hack|ng” that results in:

1) direct physical loss or damage to covered “sottware“ and “hardware"; or
2) denial ot access to or services from "yeurt‘ "haro'ware" or "your" computer net‘.'.'ork.

b. We Do Not Cover - "‘,-‘r'e" do not cover loss of earnings cr extra expenses under this Supp!emental
income Coverage that results irom:

1) loss ot exclusive use of any "data records” or “proprletary programs" that have been copied,
scanned. or aitered;

2} loss ct or reduction in economic or market vatus ot any “data records” or "proprletary programs”
that have been copied, scanned. or altered;

3) their front "ycur"‘ "data records” or "proprletary prcgrams't cl confidential information through the
observation ot the "deta records” or "proprietary programs” by assessing covered "hardv-rare" or
“your" computer network without any alteration or other physicat loss or damage to the records or
programs
Contidentia| information includes but ls not limited to customer iniormatton, processing methodsl
or trade secretsl

c. Waiting Perlod Limitatlon - Unless otherwise indicated on the "schedule of coverages" or Change
Endorssrnent, ”vre" do.not pay for "your’ loss of earnings under this Suppiementai income Covcrage
until alter the iirst 24 hours following the direct physical loss of or damage to "your' data processing
operations This waiting period does not apply to extra expenses that "you’1 incur.

d. Limit -» The most "we" pay in any one occurrence under this Suppiementai income Coverege is
$5,000.

The most ”we” pay ior all covered losses under this Supplementai income Coverage during each
i2~month period cl this policy is 315.000.

centh coveneo
“We" cover risks ct direct physical ioss unless the loss is limited cr caused by a peril that is excludedl

PEFi|LS EXCLUDED

1. "We" do not pay for loss or damage caused directly or indirectly by one or more of the following excluded
causes or eventsl Such loss or damage is excluded regardless ot other causes or events that contribute to

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or aggravate the loss, whether such causes or events act to produce the loss betore, at the same iith aS.
or alter the excluded causes or evenls.

a. Ctvll Authorlty - "We” do not pay lor loss caused by order of any civil authority, including salzure.
conilsoation, destruction. or quarantine cl property.

"We” do pay for loss resulting lrorn acts _oi destruction by the civil authoritth prevent the spread ot fire,
unless the tire is caused by a peril excluded under this coverage

b. Earth Movement ~ Excepl as provided under Suppiemental Coverages - Earthquake Coverage, "we"
do not pay for loss caused by any earth movement (other than "sinkhole collapse") or caused by
eruption, expioslon, cr effusion ot a vo|cano. Earth movement |ncludes. but is not limited to;
earthquake; landstide; mudflow; mudstlde; mine subsidence; or sinking, rising, or shifting oi earth.

“We" do cover direct loss by tirel explosionl or "volcanlc action" resulting from either earth movement
or erupiion, explosion, or efiuston. ol a votcano.

c, Fiood - Except as provided under Supp|erner_ita| Coverages - Fiood Coverage, “we" do not pay for loss
caused by "llood." |-lowever, "we" do cover the resulting loss if iire, expiosion, or sprinkler leakage

resulls.

d. Nuclear Hazard - "We" do not pay for loss caused by or resulting from a nuclear reaction, nuclear
radiation, or radioactive contamination (whether controlled or uncontroiiad; whether caused by natural,
acoidentai, cr artificial means). Loss caused by nuclear hazard is not considered loss caused by llre,
expios|on, or smoke. Dlrecl loss by fire resulting lrom the nuclear hazard is covered.

e. Sewer Backup and Water Beiow the Surface ~ Except as provided under Suppierneniai Coverages
- Sewer Bacl<up and Water Beiow the Surlace. “we” dc not pay for loss caused by or resulting from:

1) water that backs up through a sewer or draln; or

2) water below the surface ot the ground, including but not limited to water that exerts pressure on
or l|ows. seeps, or leaks through or into a building or structure

But il sewer backup and water below the surtece results in fire, expioslon, or sprinkler |eal<age. "we"
cover the loss or damage caused by that tire, explosion, or sprinkler teakage.

f. War and Nlilitary Action - 'We" do not pay ior loss caused by:
1) war, including undeclared war or civil war; or

2) a warlil<e action by a military force, including action taken to prevent or defend against an actual
or expected attack, by any government, sovereign, or other authority using military personnel or
other agents; or

3} insurrection, rebellion, revolutionl or unlawiu| seizure ot power including action taken by
governmental authority to prevent or defend against any of these.

With regard to any action that comes within the “terms" of this exclusion and involves nuclear reaction,
nuclear radiation, or radioactive contamination. this War and lvlliltary Acticn Exciusion will apply in place
ot the Nuc|ear l-iazard Exctusion.

2. “We“ do not pay for loss or damage that ls caused by or results from one or more of the iol|owing:

a. Computer Virus or Computer Hacl<ing m Except as provided under Supplernenta| Coverages ~ Vlrus
and i-lacking Coverage and Supplementai income Coverages - Vlrus and Hacl<ing Coverage, "we" do
not payton

1 ) any direct or indirect loss or damage; or
2) loss ot access, loss of use, or loss of functionality
caused by a “oornputer virus” or by “computer hacklng."

b. Crimlnal, Fraudulent, or Dlshonest Acts ""‘We" do not pay for loss caused by or resulting from
criminai, fraudulenf, dishonest, or illegal acts alone erin collusion with another by:

1) “you";
2) others who have an interest in the property;
3) others to whom "you” entrust the property;

4) “your‘l partners. ohtcers, directors, trustees, orloint adventurers; or
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5) the employees or agents ot t), 2), 3), or 4) above, whether or not they are at wori<.

This exclusion does not apply to acts of destruction by"'your" employeesl but "we" do not pay for theft
by employees

This exclusion does not apply to covered property in the custody of a carrier lor hire.

c. Electrlcal and Power Supply Disturbance ~ "We" do not pay for loss caused by “eieclrical
disturbance" or "power supply disturbanoe" il the cause cl such disturbance took place more than 500
feet lrom the premises where the loss occurred

i~iowever, ll disturbance coverage beyond 500 feet is indicated on the "scheduie ot coverages" or
gh[angce Endorsement, then the Eiectrical end Power Supply Disturbance exclusion described above is
e ete .

d. Loss of Use ~ “We" do not pay tor loss caused by or resulting from loss ot use, business interruption,
delay. or loss of market

This exclusion does not apply to the coverages described under income Coverages. income Coverage`
Extenstons. and Su_optemental income Coverages.

er Pollutants - "We"` do not pay tor loss caused by or resulting from reiease. discharge, seepage,
mtgratlon, dispersal, or escape of "poiiutants"‘ unless the release, discharge seepage. migration
dtspersai, or escape is caused by a "specilied perli.” "We"' do pay for any resulting loss caused `oy a
"scect!ieo' peril.*'

f. Temperature.il-iumldlty - Except as provided under Utllity_interruption, "we" do not pay for loss to
covered property caused by:

t) dryness, dampness. humldl.y; cr
2) changes in or extremes of temperature

However. “we" dc pay tor loss to covered property that results from a direct physical ioss, caused by a
covered perli. to the atr conditioning system that services covered -“I'tardware.“

g. Voiuntary Part|ng w Except as provided under Coverage Extensions - i`-`raud and Deceit, "v.-'e" do not
pay for loss caused by or resulting fro_m voluntary parting with tltie to or possession ot any property
because of any treuduler‘.t scheme tricr<_. or false pretense .

3. °We"' do not pay ior loss or damage it one or more of the following exclusions apply to the ioss. But if loss by
a covered peril results, "we” will pay for the resulting loss.

a. Contaminailon, Deterloration, Bust_. or Corrosion - "We" do not pay for loss caused 'cy
contamination or deterioration including corrosion, decay, tungus, mildew. moid. r_ot, rust, or any
quality, lault. or weakness in covered property that causes lt to damage or destroy ltseif.

This exclusion does not apply to ioss caused by “rnechantoai breakdown.”

b. Wear and 'l'ear or Obsoiescence - "We" do not pay rior loss caused by wear and tear, depreciationl
or obsclescence.

4. "We" do not pay for ross ot earnings or extra expenses, as described under income Coverage, caused by
or resulting from one or more cl the toiio\vlng:

a. Error or Omlsslon in Prograrnmtng - “We” do not pay for extra expense caused by an error or
omission in programming or incorrect instructions to “hardware."

b. Leeses, Lloensee, Contracts, or Orders ~ “We” do not cover any increase in loss due to the
.=.¢uspanstonl lapse or cancellation of teases. licensesl contracts_. or orders

However, "'rre"' do cover loss during the "restoration pertcd" if the suspension iapse, or cancellation
results directly from the interruption of "your" “‘ousiness;"

“We=‘ do not cover any extra expense caused cy the suspension lapse or cancellation of teases,
-licenses, contracts, or orders beyond the “reetoratlon perrod."'

c. Stril<es, Protests, and Otl'ier interference - “We" do not cover any increase ln loss due to
interference by strikers or other persons at a premises described on the "scnedule of coverages" or
Change Enc’orsernent. This applies to interlerence \.‘-rith rebuilding, repairing_. or repiaoing the property
or with resuming "your'= “business." ‘

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d. Utliity Faiiure " Except as provided under Supplemental income Coverages - Oft Prernises Uitllty
Service lnterruptton, "we" do not pay for loss caused by or resulting from the failure of a utility to supply
electricai power or other utility service to a described premises, ii the failure takes place away from the
described premisesl "Ws" do not pay for loss caused by or resulting from the failure of a utility to supply

service regardless ol the cause ol iallure.

o. interruption of Web S|te ~ "We" do not pay for loss caused by or resulting from the interruption ot
"your” Web site. “We" do not pay for loss caused by or resulting from the interruption ot "your" Web site

regardless cf the cause cl the interruptionl
WHATMUST BE DONE lN CASE OF LOSS

1 . Netlce - in case of a lossl "you” music
a. give "us" or "our" agent prompt notice, including a description of the property involved ("we" may
request written notice); and -
b. give notice to the police when the act that causes the loss is a orime.
2. ‘{ou |ttiust protect Property - “You" must take ali reasonable steps to protect covered property at and alter
an insured loss to avoid further loss.

e. Payment ct Reasonable Costs a “We" do pay the reasonable costs incurred by "you” for necessary
repairs or emergency measures performed soier to protect covered property from further damage by
a peril insured against lf a peril insured against has aiready caused a loss to covered property “Yoo"

must keep an accurate record ot such costs.

b. We Do Not Pay ~ "We” do not pay tor such repairs or emergency measures performed on property
which has not been damaged by a peril insured against This does not increase “our” "iimit.”

3. Proof of Loss ~ "You" must send "us," within 60 days after “our" requestl a slgned, sworn proof ol loss. this
must include the following lnlormatlon:

the time, ptace, and circumstances ot the ioss;
other policies of insurance that may cover the |oss;
“your“ interest and the interests ci all others in the property involved, including ali mortgages and llens;

changes in title cline covered property during the policy pericd; and

estimates, specifications lnventorles, and other reasonabie information that l’we" may require to settie

the loss.

4. intent To Continue Business - lncome Coverage' ii “you" intend to continue “your" "business,” "you” must
resume att or part ot “your" "business” as soon as possibie.`

5. Examlnation “~ "You" must submit to examination under oath in matters connected with the loss as chen as
“we" reasonably request and give “us" sworn statements of the answersl lt more than one person is
examined “we" have the right to examine and receive statements separately and not in the presence of

others

6. Records ~ "You" must produce records, including tax returns and bank rnlcroilims of all canceled checks
relating to value, loss, and expense and permit copies and extracts to be made ot them as often as "we"

reasonably request

7. Darnaged Property - “You" must exhibit the damaged and undamaged properly as often as "we"
reasonably request and allow "us" to inspect or take samples ot the property

B. Volunleer Payments ~ “You“ must not1 except at "your” own expense1 voluntarily make any paymentsl
assume any obligationsl pay or oiler any rewards, or incur any other expenses except as respects

protecting property trom further damage
9. Abandonment - “\rcu" may not abandon the property to "us" without "our” written consent
410. Cooperation ~ "You" must cooperate with “us" tn performing eli acts required by this policy.

VALUAT|ON
1. Hardware "~ The following ls the value ot “hardware”:

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a. Ftepiacement Coet ~ The value of "t‘.ardware" wilt be based on replacement cost without any
deduction for depreciation unless Aotuai Cash Va|ue is indicated on the "scheotule ol coverages" or
Change Endorsernent.

`1) Ftep|acement_Coat Limitatlon ~ The replacement cost is itm|ted to the cost ot repair or
_ replacement with similar materials on the same site and used ior the same purpose. The payment
vwitt not exceed the amount "you” spend to repairer replace the damaged or destroyed propertv.

2) Fteplacement Cost Doee Net Appty Untii Ftepair er Rep`lacement " Replacement cost valuation
does not apply until the damaged or destroyed property is repaired cr replaced

3) Time t.lmttatlon ~ “You" may make a claim lor actuai cash value before repair or replacement
taf:res tplalce, and later fortna replacement cost il "you” notify “us“ of "youl" intent within 180 days
a art e oss.

b. Actual Cash Value - Wnen Actua! C_asb Vaiue is indicated on the "'schedule et covereges” cr Change
Enoc.'sement. the value ct ‘nardwere" witt be based on the actuai cash vatue at the time of the lose with
a deduction for depreciation

2. Sottware'- The toiio\vtng is tide value of “soltware":
a. Programs and Applicatlons -

1) Cost To-Reinstall ~ The value of "programs and a pllcattons" wilt be based on the cost to reinstali
the "programs or applications” from the license discs that were originally used to install the
programs or applications '

2) if The Orlglnal Disos Are_ Lost ~ ll the original licensed discs are lost, damaged, or can no icnger
be obtained, the value ci "prograrns and applications" will be based on the cost cf the most
current version oi the "programs or applications.”

b. Proprletary Programs ~

1) Cost ot Fteproduction ~ The value of "proprietary programs” will be based on the cost ot
reproduction from duplicate copies The cost'_ol reproduction inctudes, but is not limited to, the
cost of tabor to copy or transcribe from duplicate copiesl '

2) lt Dupticate Coples Do Not Ex|st - ll duplicate copies do not exist, the vatue of “proprietary
programs" will be based on the cost of research or other expenses necessary to reproduce,
replace. or restore lost “proprietery programs."

c. Data Fleoords ~

1) Cost of Reproducfion - The vatue cf "data records” witt be based on the cost of reproduction
from depticate copies. The cost of reproduction includes, but is not limited to, the cost ot labor to
copy or transcribe from duplicate copies

2) if Dup|icate Coplee Do Not Extet - il duplicate copies do not exisi, the value cl "data records”
will be based on the cost of research or other expenses necessary to reproduce, replace, or
restore lost files, documentsl and records

d. lviedia “ The value ot "rnedla"' ‘.vl£l be based on the costle repair or replace the "media" with material ot
lite same kind or quality.

3. Pair or Set ~'

a. Fteasonable Proportion of Value - The value ot a test or damaged article which is part ot a pair or set
is based on a reasonable proportion ot the value cl the entire pair or eet. The loss is not considered a
totai loss of the pair or set.

b. Provlelon Does Not Appty To Software - The Fair or Set provision does not apply to “software" that
comes in sets. if part of a ‘soflware' set cannot ne repiacecl. the loss is considered a totai loss of the

SB*..

4. Loss To Parts - Tbe value of a iost or damaged pan cl an item that consists cl several parts when tt is
complete ls based on the value of oniy the lost or damaged part or the cost to repair or replace it.

5. Earnings "
a. Determlntng An Earninge Loss _ in determining an earnings toes "we" consider:

1) the experience of "ycur“‘ “business" before the ioss and the probable experience during the time
cl interruption had no loss occurred;
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2) "your" continuing operating expenses normally incurred by r‘your" “buslness,” includingl but not
limited to, payroll expense necessary to resume "buslness" to a similar level of service that existed
before the occurrence ot direct physical loss or damage; and

3) pertinent sources oi information and reports including:
a) “your" accounting procedures and financial reoords;
b) bills, tnvolces. and other vouchers;-
o) contracts, deeds, and tlens;
d) reports on feasibility and status; and
e) records documenting "yourJ1 budget and marketing objectives and resultsl

b. Condltions For Non-Payment of increased Loss ~ s*We" do not pay for any increase in loss due to
”ycur" failure to use reasonable ellorts to resume all or part of “your” "buslness." This includes making
use of other locations and property to reduce the toss.

o. Loss Payment ll ‘i'ou Do Not Ftesume Your Business ~ il “your" "business" ls not resumed as soon
as possible, or ll it is not resumed at atl, the value of loss payment ls based on the period ot time it
would have otherwise taken to resume "your” “business" as soon as possible

6. Extra Expense - in determining extra expenses that "you” have incurred, "we" consider the salvage value
of any property bought for temporary use during the “restoratlon period" and lt will be deducted from the
amount cf loss determined lor extra expense

HOW MUCH WE PAY

1 . insurable lnterest - “We" do not cover more than "your” insurable interest in any properly.

2. Earthquake Perlod ~ Al| earthquakes or volcanlc eruptlons that occur within a 168-hour period will be
considered a single event. This 168-hour period is not limited by the policy expiration

3. Deductible - “We" pay only that part of "ycur’ loss over the deductible amount indicated on the "scheduie
of coveragas” or Change Endoreement in any one occurrence

The deductible may be shown as either an amount or a percentage When shown as a percentage the
deductible is that percentage ol the value cline covered property at the lime of the loss.

4. Loss Settlement Terms - Sub]ect to paragraphs i., 2,, 3., 5., 6., 7., 8., 9.. and 10. under l-iow Much We
Pay, "we" pay the lesser oi:
a. the amount determined under Valuatlon;

b. lhe'cosl to repair, replace, or rebuild the property with material cl like kind and quality to the extent
practicable; or

o. the "llrnit" that applies to the covered property.
5. Coinsurance, Hardware, and Soitware -

a. When Coinsuranoe Applles ~ "We” only pay a part cl the loss il the "iimit" is less than the percentage
of the value of the covered property that is indicated on tire "schedule of coverages" or Change

Endorsemeni.
b. l~iow We Determine Our Part cf The Loss '- "Oui" part of the loss is determined using lbo iollowing
steps:
1) multiply the percent indicated on the “schedule of coverages” or Change Endorsement by the
value ci the covered property at the time cl loss; ‘
2) divide the “|lrn|t” for covered property by the result determined in 5.a. abovs;

3) multiply the total amount of lossl after tire application of any deductibie, by the result determined
in 5.b. above.

The most “we” pay is the amount determined in 5.a. above or the "limit," whichever is |ess. “We" do not
payrany remaining part ot the loss.

c. if There is More Than One Limit - ii there is more than one "llmlt” indicated on the “schedule ol
coverages" or Change Endorsement for this coverage part, this procedure applies separately to each
"Ilmlt."
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cl. ii There is Oniy One Limit ~ ii there is only one "limit" indicated on the ”scheduie oi coverages" or
Change Endorsement for this coverage, this procedure applies t the total of all covered property to
which the c‘iimit" applies ‘

e. When Colnsurance Doee Not Appty - Conditicns ior coinsurance do not apply unless a coinsurance
percentage is indicated on the “schedule ot coverages" or Change Endorsement.

6. Colnsurance, income Coverage Part -

a. When Coinsurance Appllss ~ "‘We'" pay only a part of the ioss‘!f the ron is less than the coinsurance
percentage multiplied by the sum ot:

t) _ “your” net income inst proiit or loss oeiore income taxes): end
2) continuing operating expenses

projected _tor tire 12 months following the inception of this policy or the last previous anniversary date
cl this policy (whichever is later), normally earned by "your' “business."

b. Hew We Determine Our Part cf The Loss ~ "Our" part cl the loss is determined using the following
steps:

t) multiply the coinsurance percentage by the sum of "your' net income and continuing operating
expensesproiected for the 12 months following the inception ct this policy ortho last previous
anniversary date of this policy;

2) divide the “limit" by the figure determined in i) abcve:
3) ‘ multiply the total amount ot loss by the figure determined in 2) abcve.

“We".pay the amount determined in 3) above or the "timit," whichever is loss. “Wa" do not pay any
remaining part cline loss.

c. When Ccinsurance Does Not Appty ~ Condltlo'ns for coinsurance do not appiy;

1) unless a coinsurance percentage ts indicated on the "scheduie ct coverages*' or Change
Endorsement; and

2) to coverage for extra expense

7. insurance Under i~.'iore Then One Coverage w ii more than one coverage ct this policy insures the same
loss, “we"' pay no more than the actual oiaim_. ioss: or damage sustained

B. insurance Uncier ittore Than One Poiicy -

a. Proportlonai Share - "You“ may have another policy sublth to'the same ‘tsrms" as this policy. ii
"you” do. "we" will pay "our" share ot the covered loss. "Our" share is the proportion that the applicable
“iimit" under this policy bears to the “limit" cl all policies covering on the same basis.

b. Excess Amount - ti there is another policy covering the sarno ioss, other than that described above,
"we" pay only tor the amount oi covered loss in excess ot the amount due irom that other policy,
whether "you” can collect on it o'r not. But “we" do not pay more than the applicable "tlmlt."

9. income Cove`rage Limit ~ 'We” pay no more then the income Coverage “iimlt" indicated on the "scheduie
cl ccverages" or Change Endcrsement ior any one loss. Payrnen for earnings and extra expense combined
does not exceed the “iimii.”

10. Waitlng Period ~

a. Walting Period Limiteticn - ii an income Covorage.waiting period is indicated on the "s'cheduie of
coverages" or Change Endorsement, "we*’ do not pay for "your" loss of earnings until alter the iirst 24
hours (uniess otherwise indicated on the "scheduie oi coverages‘) loilowing the direct physical loss ot
or damage to covered properly caused by a covered perii.

'i`his waiting period does not apply to extra expenses that "you” incur.

b. Waiting Pericd Limitation For Civii Authority n As regards coverage under interruption by Civii
Authority, coverage under this extension oegins:

1) ior earnings 24 hours {uniess otherwise indicated on the "'scheduie ci coverages'" or Change
Endorsement) after the time the order is issued and ends 30 consecutive days and 24 hours tror`n
the date of the order: and

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2) tor extra expense. immediately after the time the order is issued, and ends 30 consecutive days
and 24 hours irons the date ot lite order.

c. Other Walting Period L|mltatlons - the waiting period described under Oii Premises Utiiity Service
interruption and Virus and Hacking Coverage is not deleted nor replaced by the terms of this provision.

LOSS PAYMENT

1. Loss Payment Optlons _
a. Our Optlons ~ in the event oi loss covered by this coverage iorm, "we" have the following options:

1) pay the value oi the lost or damaged property; 4
2) pay the cost ot repairing or replacing the lost or damaged property;

3) rebul|d. repair, or reptace the property with other property ol equivalent kind and qualityz to the
extent practicabie, within a reasonable time; or

4) take alt or any part ot the property at the agreed or appraised value.
b. Notice ot Our intent To Fiabuiid, Repair, oi' Ftepiace - “We” must give “you" notice ci "our" Intent to
rebuiid, repatr, or replace within 30 days etter receipt of a duly executed proof ot loss.
2. Your Losses _

a. Ad]ustrnent and Payment of Loss ~“ "We” adjust ali losses with "you.” Payrnent will be made to “you"
unless another loss payee is named in the poiicy.

b. Cortditions For Payment of Loss ~ An insured loss will be payable 30 days atter:
1) a satisfactory proof of loss is received; and
2) the amount ct the ioss has been established either by written agreement with “you" or the tiiing _ol

an appraisal award with "us.'*
3. Property of Others "

a. Actjustment and Payment of Loss 't'o Property ot Othere Losses to property ot others may be
adjusted with and paid to:
t) - "you"on behalf cl the owner; or

2) the owner.

b. We Do Net Have To Pay You lt We Pay The Owner - ll "we" pay the owner, “we" do not have to pay
“you." “We" may also choose to defend any suits arising from the owners at “our” expense.

OTHER COND!TIONS

1. Appraisal ~ it “you" and "we" do not agree on the amount of the loss or the actual cash vatue of covered
property, either party may demand that these amounts be determined by appraisal.

if either makes a written demand for appraisai,~ each will setect a competent, independent appraiser and
notify the other ci the appraisers |der\ttty within 20 days ot receipt ot the written deman'd. The two appraisers
witt then select a competent impartial umpire. it the two appraisers are unable to agree upon an umpire
within 15 days. ‘you” or "we" can ask sludge ot a court ot record in the state where the property is located

to select an umpire.
The appraisers will then determine and state separately the amount of each toss.

The appraisers will also determine the value ot covered property items at the time oi the toss, if requested

ti the appraisers submit a written report ot any agreement to "us," the amount agreed upon will be the
amount et the loss. ii the appraisers tail to agree within a reasonable time. they will submit only their
differences to the umpire._ Written agreement so itemized and signed by any two ot these three sets the

amount ot the loss.
Each appraiser will be paid by the party selecting that appraiser. Other expenses ot the appraisal and the
compensation oi the umpire will be paid equaity by "you” and "us."

2. income Coverage (Appraisai) - ii ‘you" and "we" do not agree on the amounth net income (net protit or
loss before income taxes}, payroll expense, end operating oxpenses, these amounts may be determined by
appraisai in accordance with the provisions described above under t. Appraisal.

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3. Benetit To Others -‘ insurance cedar this coverage will not directly cr indirectly benetii anyone having
custody of “yc:rr" prooerty.

ri. Conforrnity With Statute - When a condition of this coverage is in conflict with an applicable law. that
condition is amended to conform to that law. '

5. Estatcs‘m This provision applies only li the insured is an individuat.
a. Your Death m On "your’ death, "we" cover the following as an tnsured:

1) the person who has custody of “your" property until a` tegai representative is qualified and
appointed; or

2) “your" legal representative
This person or organization is an insured only with respect to propeny covered cy this coverage

b, Poiicy Period is Net Extended - This coverage does not extend past the poiicy period indicated on
the declarations

6. Mlsrepresentation, Concea|ment, or Fraud ~' This coverage is void as to "you” and any other insured if,
betcre or after a loss:

a. “yoc“ or any other insured have v.»'liifu!iy conceaied or misrepresented:
1) a materiai iact or circumstance that re?ates to this insurance cr the subject thereci: or
2) "your" interest herein.

b. there has been fraud or false swearing by "you" or any other insured with regard to a matter that relates
to this insurance cr the subject thereof.

7. Poiicy Pertoct ~ "We" pay for a covered loss that occurs-during the policy period.

8. Ftecoveries - if “we" pay "you” for the loss and lost or damaged property is recovered, or payment is made
by those responsible tor the loss, the following provisions appiy:

a. "you” must notify "us” promptly it "youn recover property or receive payment
b. "we" must notily 'ycu” promptly if "we" recover property or receive payment;
c. any recovery expenses incurred by either are reimbursed flrst;

d. “you" may keep the recovered property but 'you" must refund to "us" the amount of the claim paidl or
any.iesser amount to which "we" agree; and

e. it'the claim paid is less than the agreed loss due to a deductible or other limiting "terms*' cf this poilcy,
any recovery witt be pro rated between "you” and "us" based on “our‘ respective interest in the loss.

9. Restoration ot Limtts ~ Except as indicated under Vtrus and Hacking Coverage, a loss "we" pay under this
coverage does not reduce the applicable ."|imits.”

1 0. Subrogatton - if “we"- pay for a loss, "we" may require "you” to assign to “us" "your" right of recovery against
cthers. "You" must do ali that is necessary to secure “our" rlghts. "We" do not pay for a loss it "you" impair
this right to recover.

"You" may waive “your" right to recover from others in writing before a toes cccurs.

11. Sult Agalnst Us " No one may bring a legal action against “us” under this coverage uniess:
a. ali cf the “terms" of this coverage have been compiled wiih; and
b. the suit has been brought within two years after ‘you" first have knowledge cline loss.

if any apptlcable law makes this limitation invaild, then suit must begin within the shortest period permitted
by iaw.

12. Terrttorlai leits - "Ws” cover property while it is in the Unlted States of Arnerlce, its territories and
possessionsl Canada, and Puerto Ftico.

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Crnctrz'ce 13

THIS ENDORSEMENT CHANGES THE POI.iCY. PLEASE FtEAD lT CAHEFULLY.
TEXAS CHANGES
This endorsement modifies insurance provided under the toilowing:
COMMEFICIAL lNLAND MARiNE COVERAGE PAFtT

A. Loss Condition B. Appraisal in the Comrnercia| inland Mar|rts Conditions is replaced by the ic|iowlng:

B. Appratse|

1. lt we and you disagree on the value of the property or the amount of loss, either may make written
demand, within 60 days alter our receipt ct a signed, sworn proof of toss, for an appraisal cline ioss. in
this event, each party will select a competent and impartial appraiser. The two appraisers will select an
umpire. li they cannot agree for 15 days upc_n such umpire. either may request that selection be made
by a judge of a court having jurisdiction The appraisers witt slate separately the value ci the property
and amount of loss. ii they fail to agree. they will submit their differences to the umpire. A decision
agreed to by any two witt be binding. anh party will:

a. Pay its chosen appraiser; and
b. Bear the other expenses of the appraisal and umpire equally.
2. lt there is an appraisal:
a. Y‘ou witt still retain your right to bring a legal action against us. subject to the provisions ct the i.egal
Action Against Us Comrnerolal inland Marine Cond|llon; and
b. We will still retain our right to deny the ctaim.
B. Paragrapn` 8. of Loss Condltion C. Duties in The Event Of Loss ln the Comrnercial inland fvtarlne Cond|tlons
ls replaced by the tottowing:
B. Send us a slgned, sworn proof of loss containing the information we request to settle the cia|m. You must
do this within 91 days atter our requestl We will supply you with the necessary forms.
C. Paragraph 2. of Generai Condition C. Lega| Actlon Against Us in the Commerciat inland Niarine Conciitions
is replaced by the io|iowlng:
2. The action ls brought within two years and one day from the dale the cause of action first accrues A
cause ot action accrues on the date of the initial breach of our contractual duties as alleged in the action.
D. Paragraphs A.5.a. and A.5.b. of the Coverage Extens|ons and Section F. Detinttlons in the Egulpment
Deaiers C`overage Form are deleted

CMOt t2 09 13 Copright insurance Services Oii;'ce, tnc., 2012

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IM2089 09 06

This endorsement changes the policy
- PLEASE FlEAD THIS CAF\EFULLY~

AMENDATORY ENDOF{SEMENT TEXAS

Ti‘.ismandalory endorsement must be attached to ail Texas policies

1.

B.

"Business day.” when used in this endorsement, means a day other than Saturdav, Sunday, or a holiday
recognized by the state of Texas. `

Uncer Deiinittons. lt eppllcable. the definition ol "pollutants” is deleted and replaced by the ioliowing:
"Po||utant” means:

a. any sclld. liquid1 gaseous, or thermal irritant or conteminanl;

io. electromagnetic {visibie or invisibie) or sound emission; or

c. waste, including materlats to be disposed of as well as recycled, recialmed, or reconditioned
tinder What Must Bs Done in Case O.‘ Loss. Notlce ls deleted and replaced by the toiio\ving:

Notlce ~"‘You'*' must promptly notify “us" or "our" agent in the event of a loss. The notice must be in v.'rlting.
"ch" must promptly notify the police ii the loss may have been the result cf a violation of the lavr.

Under What lvtust Be Done ln Case Ol Loss_. Vou Must'Prcteot Property_. Payrnent Of Fieasonat)le Costs ts
deleted and replaced by the loilowin_g:

Payment Df Reasonahle Costs _ l‘We" will pay the reasonable costs incurred by "you” for necessary
repairs or emergency measures performed solely to protect covered property from further damage by a peril
insured against. "Ycu"° must keep an accurate record ct such costs.

tinder 'v"fnat l-.~tust Be Done in Case O.‘ Loss. Proct O.‘ Loss is deleted and replaced by the lollov.~‘lng:

Proof Ot_ Loss ~ Upcn request, "you” must send "us" a sso_neo`, sworn proof ol loss within 91 days cl the
request on a form supplied by "t.'s.'"

"We" must request a signed. sworn proof ot loss within 15 days alter receipt of “your’“ written notice or "we"
waive “our” right to require a proof of loss. Such waiver \viil not waive "our' other rights under this policv.

a. This proof of loss will state, to "your” best knowledge and belief:
‘l) the time and cause of ioss;
2) ‘your‘" interest and all other's interest ln the property involved including all liens on the propeny;
3) other insurance which may cover the ioss;
4) the actuai cash vai‘.ie ci each item of property and the amount cl loss to each ttem; and
5) if applicable the name ot the occupant and the occupancy of the building at the time or ins icss.

I

b. lithis policy provides replacement cost coverage and "yo;fl elect to make a claim under the "‘terrns" o.
the replacement cost provision, this proof of loss will also state. to "yocr" best knowledge and beliefs

1) the replacement cost of the described property; and
2) the full cost of repair or replacement ct loss without deduction for depreciation.
Linder What Must Be Done in Case 05 Lossl E>camination is deleted and replaced by the following

Examination “ As often as ”vre" may reasonably require, "you” must submit to examination under oath and
sign and swear to lt. '

Under What ivlust Be Done in Case Ot Loss, Ftecoros is deleted and replaced by the follov."ing:

Fleoorcis ° As often as "we" may reasonab:v reoulre, "you” must provide "us" wltn pertinent records and
documents requested end permit copies to be made from them.

Uno'er Wnat ivlust Be Done |n Case Oi Loss, Darnaged Properiy is deleted and replaced by tne folicwlng:

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Darnaged Property ~As often as "we" may reasonably require, "you” must permit “us" to have access to the
damaged property before it is disposed ol or repaired

9. Under Loss Paymenl, the following provision ls added:
Acceptenoe Or Re]ectton Ot Claim'“
a. Wlthin 15 days alter "we" receive written notice of ctalm. "we" music

l) acknowledge receipt of the-claim; if the acknowledgment of the claim ls not in writing, "we" will
keep a record ol the date, method, and content of the acknowledgmenl;

2) begin any investigation of the cla|m; and

3) specify the information "you” must provide |n accordance with the "terms" ot the Pro_oi Ol Loss
condition. `

b. "We” may request more information. il during the investigation of the claim such additional information
ls necessary

c. Aiter "we" receive the information requested, "we" must notify 'yoo" ln writing whether the claim will be
paid or has been denied or whether more information is necessary:

1) within 15 business days; or
2) Withln 30 days il "we" have reason to believe the loss resulted from arson.

d. ll "we" do not approve payment of the claim or require more time for processing the claim, "we" must:

1) give the reasons for denying the cialm; or

2) give the reasons "we" require more time to process the ctaim. But, "we" must either approve or
deny the claim within 45 days alter requesting more time.

10. Under Loss Payment. Your Losses,`Conditlons For Peyment Ol i.oss is deleted and replaced by the
following:

Condlttons For Payment Of Loss ~ ll "we" notify “yoo“ that payment of the claim or pari of the claim witt be
made, "we" must make payment within five "buslness days“ alter "our'1 notification to "you_."

lt payment ct the claim or part cl the claim requires the performance of an act by "you." “we" must make
payment within five "buslness days" alter the date t‘you" perform the act.

11. Under Other Condllions, the following condition ls added:

Catestrophe C|alms ” if a claim results from a weather related catastrophe or a major natural dlsasler,
each claim handling deadline shown under What l\rlust Be Done |n Case Of Loss and Loss Payment is

extended for an additional 15 days.

Catastrophe or Malor Natural Disaster means a weather related event which:
a. ls declared a disaster under the Texas Dlsaster Act of 1975; or

b. ls determined to be a catastrophe by the Texas Department of lnsurance.

12. in all coverage forms except Cold Storage Locl<er Coverage, Nlolor Trucl< Cargo Legal L|abl||ty Coverage,
and Warenouse Legal Llability Coverage. under Other Condltions, paragraph b. ot Suil Agalnst Us is deleted

and replaced by the loilowlng:
b. the suit has been brought within two years and one day alter "you” hrst have knowledge cline loss.

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QUICK REFERENCE
CONllVlEFtClAL GENERAL L|AB|L|TY COVERAGE PART

READ YOUFt POLECY CAHEFULLY

The Ccmrnercla| Generai Llabiiiiy Coverage Part in your policy consists of Declaratlons, a Coverage Form
(CGOODt), Common i_='o|lcy Conditions and Endorsemenls. ii applicable Foiiowlng is a Quici< Fte.‘erence indexing
ofthe principal provisions contained in each ot the components making up this Coverage Par€.

DECLAFIATIONS

Named insured and Maiiing Address

Poiicy Period

Descn'ption ot Business and l_ocation of Premises

Limits of lnsurance

Forms and Endorsements applying to the Coverage Part at time of issue

COVERAGE FORM (CGODOi)
SECT|ON i_ COVERAGES
Coverage A ~ Bcc'iiy inter ' and Pro_oerty Damage Llabliity
insuring Agreement
Exoicslons
Ccve.'age B - Personai and Adveriislng injury Lia‘o?lity
insuring Agreement
Exc!usio:'is
Coverage C ~ idedicai Payments
insuring Agreern eni
Exclusions
Suppiementa.'y Payrnents
SECTION ii ~ ‘.'".'i-iO iS AN tNSUi=tED
SECTiON ill ~ L|t.ttTS OF ii\iSURANCE
SEC'i`iON i\r’ '- COivttitERCi/ti_ GENERAL. l_iAEiiLiTY CONDlTiONS
Bani<ruo*.cy
Duties n the Event cf Occur:'ence. Ciairn chu§t
i_egai Action Against Us
Other insurance
Premiurn Audit
Representatlons
Se_oaratlon ci insureds
Transie:' ct Ftights ot Ftecovery Against Others to Us
When We Do th Ftenew

SECTlCN V _ DEFiNiTiONS

COMNlON POLiC¥ CONDiT|ONS (iLODt?) - See Common Declaratlons

Canceiiation

Changes

Examtnattcr'. ct Your Bocl<s and Fiecords

inspections and Surveys

Premlums

Transter ci Your Ftights and Dutles Under This Poiicy

ENDoesEmEN'rs (ir Any)

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CGUGO'| 94 13
COMN¥ERC|AL GENEF?AL LlABlLlTY COVERAGE FOFiit/i

Varlcus provisions in this policy restrict coverage Flead the entire policy carefully to determine rlghts, duties and
what ls and ls not covered

Throughoui this policy the words ’you" and "your` refer to the i\lamed insured shown in the Dec|arations, and
any other person or organization qualifying as a Named insured under this policyt The words "we", “us" and "our"
refer to the company providing this insurance

The word "|nsured" means any person or organization qualifying as such under Section ii - Who ls nn insured.

Other words and phrases that appear in quotation marks have special meaning. Fteler to Seciion V ~Definllions.

SECT[ON l- COVERAGES
COVEHAGE A - BOD|LY INJURY AND PFIOPERTY DAMAGE LiABlL|TY

'l. insuring Agreement

a. We will pay those sums that the insured becomes legally obligated to pay as damages because of ’bod|ly
ln]ury" or "property damage" to which this insurance appliesl We will have the right and duty to defend the
insured against any “sult“ seeking those damages However, we will have no duty to defend the insured
against any 'sult“ seeking damages ior "bodlly inlury" or "property damage“ to which this insurance does
not appiy. We may, at our discretion, investigate any "occurrence" and settle any claim or l'suit“ that may

result. But:
(‘i) The amount we will pay for damages is limited as described in Sectlon ill ~ Lirniis Ol |nsurance; and

(2) Our right and duty to defend ends when we have used up the appiicable iirnlt of insurance in the
payment of judgments or settlements under Coverages A or B or medical expenses under Coverage

No other obligation or llabitlty to pay sums or perform acts or services is covered unless explicitly provided
ior under Supplementary Payrnents - Coverages A and B.
b. This insurance applies to "bodily ln]urv" and "property damage" only itc

(1) The abodin |n]ury" or "property damage’ is caused by an "occurrence“ that takes place in the
“coverage territory“:

(2) The “bodity injury" or "property demage" occurs during the policy perlod; and

(3) Prlor to the policy period, no insured listed under Paragraph.l. of Section li - Who is An insured and
no l‘empioyee" authorized by you to give or receive notice of an "occurrence" or claim, knew that the
“bodiiy ln}ury" or 'property damage“ had occurred, in whole or in part. ii such a listed insured or
authorized "empioyee" knew. prior to the policy perlod, that the "bodiiy lnlury“ or "property damage"
occurred, then any continuation, change or resumption of such *'booiiiy injury" cr "property damage"
during or after the policy period will be deemed to have been known prior to the policy perlod.

c, "Etoriiiy` lnjury" or 'property damage' which occurs during the policy period and was not, prior to the policy
period, known to have occurred by any insured listed under Paragraph 1. of Sectlon il - Who is An
insured or any “empioyoe" authorized by you to give or receive notice of an "occurrence" or ciatrn,
includes any continuationl change or resumption of that "bodily lnjury" or l‘property demage° after the end

of the policy period.
cl. "Bcdily lnlury“ or "property damage" witt be deemed to have been known to have occurred at the earliest
time when any insured listed under Paregraph i. of Section ll - Who is An insured or any "employee"‘
authorized by you to give or receive notice ot an "occurrenoe‘* or claim:
(1) Reports ail, or any part, of the "bodlly injury" or "property damage" to us or any other insurer;
(2) Receives a written or verbet demand or claim for damages because ot the "i)odlly injury‘l or lproperty
damage"; or
(3) Becornes aware by any other means that l’bodliy injury'* or "property damage" has occurred or has
begun to occur.
e. Damages because of "bodl|y lnlury“ include damages claimed by any person or organization lor care, loss
of services or death resulting at any time from the "bodi|y lniury".

2. Excluslons

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This insurance does not apply to:
a. Expected Or intended injury

'"Eiodily iniury” or *property damage" expected or intended from the standpoint of the insured. This
exclusion does not apply to "bodi|y iniury“ resulting from the use ot reasonabie force to protect persons or
property

b. Contrectua| Llabiilty
'=Bodity injury" or "oro_oerty damage" tor ‘.-.' ton the insured is obligated to pay damages by reason ct the
assumption of liability in a contract or agreement This exclusion does not apply to liability for damages:
(1) li‘hat the insured would have in the absence ot the contract or agreement; or

(2) Assurned in a contract or agreement that is an “ineured contract", provided the "bodlly lnjury" or
‘_property damage“ occurs subsequent to the execution ct the contract or agreement. Soiely for the
purposes ct iiab!iity assumed in an "insured contract', reasonable attorneys fees and necessary
litigation expenses incurred by or for a party other than an insured are deemed tc be damages
because of "boolly lnjury' or ’property damage"', provided:

(a) l_labiilty to such party fcr, or for the cost of_. that party's defense has also been assumed in the
same "insu-red contract": and

(b) Such attorneysl fees and litigation expenses are for defense ot that party against a civil or
alternative dispute resolution proceeding ln which damages to which this insurance applies are
aileged.

c. t_iquor Liabillty
"Boo'ily iniury" or ‘property drainagef for which any insured may be held liable by reason ot:
('i) Causing or contributing to the intoxication ot any person_:

(2) The furnishing ot aicohoilc beverages to a person under the legal drinking age or under the intfuence
of alcohoi; cr

(3) Any statute, ordinance or regulation relating to the sa\e. gin, distribution or use ct alcoholic beverages
This exclusion applies even il the claims against any insured allege negligence or'other wrongdoing in:
(a) The supervisionl hiring, employment, training or monitoring ot others by that insured; cr

(b) Providing or failing to provide transportation with respect to any person that may be under the
influence ot aicohoi;

if the “occurrence" which caused the "bodliy injury.` or l‘property damage", involved that which is described
in Paragraph (1), (2) cr (3) above.

i-lcwever, this exclusion appiles only lt you are in the business of manufacturing distributing seltlng,
serving'or furnishing alcoholic beverages For the purposes ot this exciuslon, permitting a person to bring
alcoholic beverages on your premises, for consumption on your premises, whether or not a fee ls charged
or a license |s required for such activityl is not by itself considered the business ot selling, serving or
furnishing alcoholic beverages

d. Worl-rers' Compensatton And S|mi|ar Laws

Any obligation of the insured under a workers compensation. disability benefits or unemployment
compensation law or any similar iaw.

e, Empioyer‘s Llabi|ity
"Bodily iniury" to:
(1) An "'emplcyee" oi the insured arising out of and in the course oi.'
(a) Ernpioyrnent by the lnsured; or
(b) Performlng duties related to the conduct ct the insureds business_: or

(2) The spouse, chiid: parent_. brother or sister ot that `ernployee" as a consequence of Paregraph (1)
above.

T his exclusion appiies whether the insured may be liable as an employer or in any other capacity and to
any obligation to share damages with or repay someone else who must pay damages because ot the

ln]ury.
This exclusion does not apply to liability assumed by the insured under an "insured contract".
f. Pol|ution

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(1) l’Etootily injury" or "property damage“ arising out of the aciuai, alleged or threatened discharge
dispersai, seepage, migration. release or escape of “poilutants":

(a) At or from any premises, site or location which is or was at any time owned or occupied by, or
rented or loaned to, any insured. i-iowever, this subparagraph does not apply to:

(i) "Boclily inlury" if sustained within a‘builciing and caused by smoke, fumes, vapor or soot
produced by or originating from equipment that is used to heat, cool or dehumidify the building,
or equipment that is used to heat water for personal use, by the buliding‘s occupants or their
guests;

(ii) "Bodliy inlury" or "property damage" for which you may be held iiabie, if you are a contractor and
the owner or lessee of such premisesl site or tocaticn has been added to your policy as an
additional insured with respect to your ongoing operations performed for that additional insured
at that premises, site or location'and such premises, site or location is not and never was owned
or occupied by, or rented or loaned to, any insuredl other then that additional insured; or

(iii) "Bodiiy iniury“ or "property damage" arising out of heat, smoke or fumes frorn a "hostiie iire";

(b) At or from any premises, site or location which is or was at any time used by or for any insured or
others for the handiing, storage. disposai. processing or treatment of waste;

(c) thtch are or were at any time transportedl handled stored. treated, disposed of, or processed as
waste by or for:

(i) Any insured; or
(ii) Any person or organization for whom you may be tegaiiy responsibie; or

(d) At or from any-premises, site cr location on which any insured or any contractors or subcontractors
working directly or indirectly on any insureds behalf are performing operations if the l'poliutants" are
brought on or tc the premises, site or location in connection with such operations by such insured,
contractor or subcontractor. i~iowever, this subparagraph does not apply to:

(i) l‘Bodiiy iniury‘ or "property damage" arising out of the escape of fueis, lubricants or other
operating iiuids which are needed to perform the normat electricai, hydraulic or mechanical
functions necessary for the operation of "moblie equipment" or its parts, if such fuet`s, lubricants
or other operating fluids escape from a vehicle part designed to hoid, store or receive them. This
exception does not apply if the "bodi|y injury" or "property damage" arises out cf the intentional
discharge, dispersal cr release of the iue|s, lubricants or other operating tiuids, or lt such fueis,
lubricants or other operating tiuids are brought on cr to the premises, site or location with the
intent that they be discharged, dispersed or released as part of the operations being performed
by such insured, contractor or subcontractor;

(l|) 'Bodiiy lnjury‘ or "property damage" sustained within a building and caused by the release of
gases, iumes or vapors from maieriais brought into that building in connection with operations
being performed by you or on your behalf by a contractor or subcontractor; or

(iii) "Bodily lniury" or "property damage' arising out oi heat, smoke or fumes from a llhostile iire".

(e) At or from any premlsss, site or location on which any insured or any contractors or subcontractors
working directly or indirectly on any insureds behaii are performing operations if the operations are
to test for, monitor, clean up, remove, contain. treat, detoxify or neutralize, or in any way respond to,
or assess the effects of, "pollutants“.

(2) Any loss, cost or expense arising out of eny:

(a) Ftequest, demand, order cr statutory or regulatory requirement that any insured or others test for,
monitor, clean up. remove, contain, treat. detoxliy or neutralize, cr in any way respond to. or assess
the effects oi, “poliutants"; cr

(b) Clairn or suit by or on behaif ct a governmental authority for damages because ci testing for,
monitoring, cieaning up, removing, containing. treating, detoxifying or neutralizing, or in any way
responding to, or assessing the effects oi, "p_oiiutants'.

However, this paragraph does not apply to liability for damages because ot "property damage" that thc

insured would have in the absence ct such request, demand, order or statutory or regulatory

requirement, or such claim or “suit“ by oren behalf of a governmental authority.

g. Aircraft, Autc Ot‘ Watercratt

l‘Bodi|y iniury" or "property damage" arising out of the ownershlp, maintenance, use or entrustment to
others ot any alrcrait, "auto' or watercraft owned or operated by or rented or ioaned to any insured Use

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includes operation ano “ioading or unioad’ng",

This exctusion applies even ii the ciairns against any tnsured allege nsgiigenoe or other wrongdoing in the

supervision hiring. emptoyment, training or monitoring of others by that insured, i.‘ the "occurrence'A which

caused the ‘bodity injury' or "property damageF lr‘.voived the ownership, maintenance use or entrustment
to others of any aircraft "auto‘l or watercraft that is owned or operated by or rented or loaned to any
insured '

This exo?usion does not apply to:

('t) A watercraft white ashore on premises you own or rent;

(2) A watercraft you do not own that is:

(a) t_ess than 26 feet iong; and
(b) Not being used to carry persons or property for a oharge:

(3) Parking an “auto“ cn. or on the ways next to. premises you own or rent, provided the "euto“ is not
owned by or rented or Eoened to you or the insured;

(4) Ltaio!i ty assumed under any "insured contraot" for the ov:nersnip, maintenance or use ct aircraft or
watercraft: or

(5) ”Bodtty iniury" or "property damage" arising out ctr
(a) The operation ot machinery or equipment that is attached to. or part ot, a land vehicie that would

qualify under the definition o.‘ ’mot)lie equipment" ii it were not subject to a compuisory or financiai
responsibiiity law or other motor veh_lcie insurance tew where it is licensed or principally garaged; or
(b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition
of 'mobiie equipment".
h. Niobiie Equlpment

"Bodily injury“ or "property damage” arising out oft

(1) The transportation of "mobiie equipment‘ by en "auto" owned or operated by or rented or loaned to any
tnsured; or

(2) `fne use of "moblie equipment" ln, or while in practice for, or while being prepared tor. any prearranged
racing, speed, demolition, or stunting activity

i. Wer

"Bodiiy`in,'ury“ or "property damage", h weve_r caused, arising oirectiy or indirectiy, out of'.

(1) Wer, inciuding undeclared or civii =.-'.'ar;

{2) War;ike action by a miiitary forceq inciuding action tn hindering or defending against an actual or
expected attaci<, by any government sovereign or other authority using military personnel or other
agents; or ` '

(3) insurrection rebeliton, revoluticn, usurped power. or action taken by governmental authority in
hindering or defending against any Of these.

f. Damage To Property

"Property damage" to:

(‘t) Property you own, rent, or occupy, including any costs or expenses incurred by you_. or any other
person, organization or ntity, for r pair, rep?acement, enhancement restoration or maintenance of
such property for any reason, including prevention ot injury to a person or damage to another‘s
property;

(2) Prenrises you sell7 give away or abandon, if the "property damage" arises out of any part of those
premises:

(3) Pro`,')erty ioaned to you; l

(4] Personal property in the care, custody or controi of the insured;

(5) That particular part of real property on vrhlc"n you or any contractors or subcontractors working otreotiy
or indirectiy on your behalf are performing operations if the "p.'operty damage" arises out of those
operations; or

(6) That partlcuiar part ot any property that must ice `restored, repaired or repiaced because "your work’
was incorrectly performed on it.

Paragrapns (t ), (3) and (4) of this exclusion do not appiy to "property damage" (otl~.er than damage by

flre)
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to premises, incicding the contents of such premises, rented to you for a period of seven or fewer
consecutive days. A separate limit of insurance appiies to Damege 'i'o Premlses Renied~'?`o You as
described in Seotion ill w Limits Oi insurance

Paragraph (2) of this exclusion does not appiy ii the premises are "your work" and were never occupied,
rented or held for rental by you.

Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack
agreement.
Paragrap_h (6) of this exclusion does not apply t_o "property damage" included in the "products»compieted
operations hazard".

lc. Darnage To Your Product
"Propei'iy damage" to "your produci" arising out of it or any pari Oi it.

l, Damage To Your Work

“Property damage" to "your wori<" arising out of it or any part of il and included in the "producis-compteted
operations hazard".

This exclusion does not apply ii the damaged work or the work out oi which the damage arises was
performed on your behalf by a subcontractor.

m. Damege To lmpslred Property Or Property Net Physicaiiy injured
“Property damage' to "impaired property“ or property that has not been physically iniured, arising out of:
(1) A defect. delictency, inadequacy or dangerous condition ln ’your product" or "your work"; or
(2) A delay or taiiure by you or anyone acting on your behalf to pertorm s contract cr agreement in
accordance with its terms. 1
This exclusion does not sppty to the loss of use of other property arising out of sudden and accidentai
physical iniury to "your produci“ or "yotir wori<" after it has been put to its intended use,
n. Recaii Ot Products, Worir Or impaired Property
Darnages claimed for any lossl cost or expense incurred by you or others for the loss of use, wlthdrawa|,
recall, inspectionl repelr, replacement, adlustment, removal or disposal ol:
(1) "‘i'our product";
(2) ”Yqur work'; or
(3) "|mpsired property";
if such product, work, or property ls withdrawn or recalled from the market or from use by any person or
organization because of a known or suspected defect, deilciency, inadequacy/cr dangerous condition in ir.
o. Personai And Advertlsing injury -
"Bodily iniury" arising out of "personai and advertising injury".
p. E|eotronic Data

Damages arising out of the loss oi, loss ot use of, damage to, corruption of, inability to access, or inability
to manipulate electronic data. `

i-iowever, this exclusion does not apply to liability for damages because of "bodiiy iniury'.

As used in this exclusion, electronic data means iniormatlon, facie or programs stored as or on, created or
used on, or transmitted to or from computer sottware, including systems and applications soilware, herd or
iloppy disks, CD-ROMS, tapes. drives. ceils, dela processing devices or any other media which are used
with eiectronicaily controlled equipment

q. Recording And Distrlbution Of Materlai Or information in Vioiatton Ot Law

’Bodi|y injury" or "property damage” arising directly or indirectly out of any action Or omission that violates
or is alleged to vioiate:

(1) The Teiephone Ccnsumer Protection Act (TCPA), including any amendment of or addition to such iaw;
(2) The CAN-SPAM l¢‘\ct of 2003, including any amendment of or addition to such iaw;

(3) The Fair Credit Reportlng Act (FGFiA), and any amendment of or addition to such iaw, including the
Fatr and Accurate Credit Transactions Aci (FACTA); or

(4) Any federai, State or local statute, ordinance or regulation, other than the 'I`CPA, CAN-SPAM Act of
2003 or FCRA and their amendments and additionsl that addresses, prohiblis, or limits the printing,

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dissemination. disposa|, coilectlng, recording, sending, transmitting communicating or distribution ot
material or information '

Exciusions`c. through n. do not apply to damage by tire to premises while rented to you or temporarily
tocupied by you with permission oi the owner. A separate limit of insurance applies to this coverage as
described in Section iii ~ Lirnlts Ot insurance

COVERAGE lB - PERSONAL AND` ADVEF\T|S|NG iNJLiFiY t.iABiLlT¥
1. insuring Agreement

a. We will pay those sums that the insured becomes legain obligated to pay as damages because of
”personai and advertising iniury“ to which this insurance applies._We will have the right and duty to defend
the insured against any “suit"' seeking those damages. i-lowever, we will have no duty to defend the
insured against any "sult' seeking damages for "personal and advertising iniury‘ to which this insurance
does not app|y. We may. at our discretion, investigate any offense and settle any claim or 'suit" that may
resuit. But:

(‘i) The amount we witt pay for damages is limited as described in Section iii - Limits Of insurance; end

(2) Our right and duty to defend end when we have used up the applicable limit of insurance in the
payment of judgments or settlements under Coverages A or B or medical expenses under Coverage

No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided
ior_ under Supplementery Payments - Coverages A and B.

b. This insurance applies to "personal and advertising injury“ caused by an oiiense arising out of your
business but only if the offense was committed in the ’cove.'age territory" during the policy period.
2. Exclusions
This insurance does not apply to:
B. Knowlng Vlelatlon ot Ftights Ot Another
"Persona| and advertising lnlury“ caused by or at the direction of the insured with the i<nowledge that the
act would violate the rights of another and would inflict 'personat and advertising iniury".
liiiaterlai Pub|ished With Knowiedge Of Feisity
"Personai and advertising tnjury" arising out of oral or written publication, in any manner, of materiai. it
done by or at the direction of the insured with knowledge of its ialsity.
c. ii,'tateriai Publiehed Prier To Poiicy Period
”Personal and advertising injury' arising out of oral _or written publication, in any manner,'of material whose
first publication took place before the beginning of the'pol|cy pericd.
d. Criminai Acts
'Persona| and advertising tnjury" arising out of a criminai act committed by or at the direction of the
insured
Contractuai Liabliity

"Personal and advertising injury“ tor which the insured has assumed liability in a contract or agreement
't`hls exclusion does not apply to liability for damages that the insured would have in the absence of the

contract or-agreement.
f. Breach Of Contract
"Personai and advertising iniury" arising out of a breach ol contraci. except an implied contract to use
another's advertising idea in your "advertisement".
Quetity Or Performance Ot Goccls ~ Failure To Contorm To Statements
'F-‘ersonal and advertising injury" arising out ot the failure ot goods, products or services to conform with
any statement ot quality or performance made in' your 'advertisement“.
h. Wrong Descrlptlon Of Prlces
“Personai and advertising inlury" arising out of ibe wrong description of the price of goods. products or
services stated in your "advertis_ement'.
infringement Of'Ccpyright, Patent, Trademark Or Trade Secret

"Personai and advertising lniuty" arising out of the infringement of copyright, patent, trademark, trade
secret or other intellectual property rlghts. Under this exciuslon, such other intellectual property rights do
not include the use of another's advertising idea in your 'adveriisement".

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However, this exclusion does not apply to infringement, in your "advertisement“_ of copyright trade dress
or siogan.

|. insureds in iiiiedin And internat `t"ype Businesses
“Persona| and advertising iniury“ committed by an insured whose business is:
(1) Advertising. t:rroadcastingl publishing or leiecasting;
(2) Design\ng or determining content_of web sites for others; or
(3) An internat search, access, content or service provider.

However, this exclusion does riot apply to Paragraphs 14.a., b. and c. of ”personal and advertising |niury"
under the Deiiniiions section.

For the purposes of this exciusion, the placing of frames, borders or |ini<s, or advertising, for you or others
anywhere on the internet, is not by itseif, considered the business of advertising. broadcasting, publishing
or telecastingK

. Electron|o Chatrooms Or Builetin Boards

"Personal and advertising injury" arising out ot an electronic chatrcom or bulletin board the insured hosts,
owns, or over which the insured exercises controi.

, unauthorized Use Ot Another's Name Or Product
'Personai and advertising iniury" arising out of the unauthorized use of enother's name or product in your
e-rna|i address, domain name or metatag, or any other similar tactics to mislead another‘s potential
customers
m. Poi|ution
'Personal and advertising lnjury“ arising out of the actual, alleged or threatened discharge, dispersai,
seepage, migraiion, release or escape of "poi|utants" at any time.
n. Poiiution-reieted
Any loss, cost or expense arising out ot any:

(1) Recuest, demand, order or statutory or regulatory requirement that any insured or others test tor.
monitor. clean up, remove, contain. lreat, detoxlfy or neutralize. or in any way respond to, or assess
the effects of, "poiiutants“; or

(2) Claim or suit by or on behalf of a governmentai authority for damages because of'testing forr
monitoring, cleaning up, removing, containingl treating, detoxifying or neutrei|zing, or in any way
responding to, or assessing the effects of, l“po|iutants“.

o. War

'Personai and advertising iniury“, however caused, arising, directly or indirectiy, out of:

(1) Wa_r, including undeclared or civil war;

(2) Wariii<e action by a military torce, including action in hindering or defending against an actual or
expected attaok, by any government sovereign or other authority using military personnel or other
agents; or

(3) |nsurrection, rebellion, revolution. usurped power, or action taken by governmentaf authority in
hindering or defending against any of these.

p. t=tecording And Distributton Ot iii'tateriai Or information In Vioiation Of Law

"Personai and advertising iniury" arising directly or indirectly out of any action or omission that violates or

is alleged to violate:

(1) The 'i'elepbone Consumer Proteciion Act (TC_PA), including any amendment of or addition to such iaw;

(2) The CAN-SPAM Act of 2003, inciuding any amendment of or addition to such law;

(3) The Fair Credit Fieport|ng Aot (FCRA). and any amendment of or addition to such iaw, including the
Falr and Accurate Credit 'i`ransaotions Act (FACTA); or '

(4) Any federall state or local statute, ordinance or regulation. other than the TCPA, CAN-SPAM Aot of
2003 or FCFtA and their amendments and additions, that addresses, prohibits, or limits the printing,
dissemination, disposa|, collecting, recording, sending, transmittingl communicating or distribution of
material or information

COVEFiAGE C - MEDICAL PAYMENTS

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1.insuring Agreement
e. We will pay medical expenses as described beiow for "bcdi|y inlury'l caused by an accident:

(1) On premises you own or reni;

(2) On ways next to premises you own or rent: or

(3) Bscause ot your cperaticr‘.s_:

provided that:
(a) The accident takes place in the “coverage territory' and during the policy period:
(b) The expenses are incurred and reported to us within one year of the date of the accident; and

(c) The lniured person submits to examination, at our expense, by physicians of our choice as often as
we reasonabiy reoulre.

br We witt make these payments regardless of fauit. Those payments will not exceed the applicable limit of
insurance We will pay reasonable expenses for:

(1) Flrst aid administered at tne time of an accident
(2) Necessary medicai, surgicat. X¢ray and dental services, tnc!t;ding prosthetio devices; and
(3) Necessary arnbulz@!r.'tcex hospitai. professional nursing and funeral services
2. Exolusions
We will not pay expenses for "bodiiy lnlury":
a. Any insured
To any insured, except "voiunteer workers".
Hired Person
To a person hired to do work for or on behalf of any insured or s tenant of any insurec'.
c. tn]ury On Normaily Oocupled Premlses
To a person injured on that part of premises you own or rent that the person normally occupies
Worl<ers' Compensatton And Simi|ar Laws

'io a person, whether or not an "empioyee“ of any insured, if benefits for the "bodiiy injury' are payable or
must be_ provided under a workers‘ compensation or disability benefits law or a similar law.

e. Athletios Act|vities

To a person injured while practicing, instructing or participating in any physical exercises or games, sports,
or athietlc contests '

Prcduots~Completed Operations Hazerd
included within the "products-cornp|eted operations hazard“.
g. Coverage A Exclusions
Exciuded under Coverage A.
SUPPLEMENTAHY PAYMENTS - COVERAGES A AND B
t. We will pay, with respect to any ciairn we investigate or settle, or any 'suii“ against an insured we detend:

b

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a. Alt expenses \-'.'e incur. _

b U_o to 8250 tor cost of bait bonds required because of accidents cr traffic law notations arising cut or the
use of any vehicle to which the Bodlly injury t_tabitity Coverage applies We do not have to furnish these
bonds

c. 'i'ne cost of bonds to reiease attachments but only for bond amounts within the apciicabie limit of

insurance We do not have to furnish these bonds.

Aif reasonable expenses incurred by the insured at our request to assist us in the investigation cr defense

of the claim or 'suit"_. including actual loss of earnings up to 3250 a clay because of time o.‘f from '.'rori<.

Ati court costs taxed against the insured in the 'sult". i-iowever, mesa payments do not include attorneysl

fees or attorneys' expenses taxed against the insured.

reludgment interest awarded against the insured on that part'ot the judgment \'-.'e pay. if we make an
offer to pay the applicable limit of insurance, we will not pay any prejudgment interest based on that period
of time after the offer.

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Q. All interest on the full amount of any judgment that accrues alter entry of the judgment and before we have
paid, offered to pay, or deposited ln court the part cf the judgment that is within the applicable limit of

insurance

Those payments will not reduce the limits ot insurance

2. ll we defend an insured against a "suii" and an indemnitee ot the insured is also named as a party to the

'suit`, we will defend that indemnitee ii all of the following conditions are met:

a. The "suit" against the indemnitee seeks damages for which the insured has assumed the liability cf the
indemnitee in a contractor agreement that is an "insureci contract“;

b. This insurance applies to such liability assumed byrne insured;

c. The obligation to defend, or the cost of the defense ot, that lndemnitee, has also been assumed by the
insured in the same "insured ocnlract";

d. The allegations in the "suit" and the information we know about the 'occurrence" are such that no contlict
appears to exist between the interests ot the insured and the interests of the lndemnitee;

e. The indemnitee and the insured ask us to conduct and control the defense of that indemnitee against
such 'suit“ and agree that we can assign the same counsel to defend the insured and the indemnitee; and

f. Theindernnltee:
(1) Agrees in writing tc: t
(a) Cooperate with us ln the investigation settlement or detense of the ‘sult“;
(b) immediately send us copies ci any demands, notices, summonses or legal papers received in
connection with the "su|i";
(c) _Nolify any other insurer whose coverage is available to the lndemnltee; and
(d) Cooperate with us with respect to coordinating other applicable insurance available to the
lndemnitee; and
(2) Provldes us with written authorization to:
(a) Oblaln records and other information related to the ”suit“; and
(b) Conduct and control the defense ot the indemnitee in such “suit'.
So long as the above conditions are met, attorneys' fees incurred by us in ins defense of that indemniteel
necessary litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at
our request will be paid as Supplementary Payments. Notwlthsianding the provisions of Paragraph 2.b.(2) of

Sectlon l -.- Coverage A ~ Bodily injury And Property Darnage Liabillty. such payments will not be deemed to
be damages for "bodlly injury*l and "property damage‘ and will not reduce the limits ot insurance

Our obligation to defend an insureds indemnitee and to pay for attorneys' fees and necessary litigation
expenses as Supplementary Payrnents ends when we have used up the applicable limit of insurance ln the
payment of judgments or settlements or the conditions set forth abovel or the terms ot the agreement

described in Paragraph f. abovs, are no_ longer met.
SECTION il ~ Wl-iO tS AN lNSUFtED
'l. li you are designated in the Declaratlons as:
a. An individual, you and your spouse are lnsureds, but only with respect to the conduct ol a business of
which you are the sole owner.
br A partnership or joint venture, you are an lnsured. Your members. your partners, and their spouses are
also insureds, but only with respect to the conduct of your businessl

c. A limited liability company, you are an insured Your members are also insureds, but only with respect to
the conduct of your business Your managers are insureds, but only with respect to their dulles as your

managersl

d. An organization other than a partnership, jointl venture or limited liability company, you are an insured.
Your "executive officers" and directors are lnsureds, but only with respect to their duties as your officers or
directorsl Your stockholders are also insureds, but only with respect to their liability as stockholders

e. A trust, you are an insured. Your trustees are also insureds, but only with respect to their duties as
trustees

2. Each of the following is also an insured:
a. Your ”volunteer workers" only while performing duties related to the conduct of your business, or your

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Jernpioyees“l other than either your ‘executive citicers" (ii you are an organization other than a
partnershipg joint venture or limited liability ccmpany) or your managers (ii you are a limited ilabitity
company), but only for acts within the scope of their employment by you or white performing duties related
to the conduct of your business i-lowever, none of these "empioyees' or "voiunteer workers“ are insureds
or:

(i) ’Bodily inlury' or "personat and advertising inlury":

(a) .To you, to your partners or members (il ycu` are a partnership or joint venture}, to your members iii
you are a limited liability company)‘ ic a co-"empioyee' while in the course ct his or heremployment
or performing duties related to the conduct ct your business, cr'to your other 'voiunleer v.rori»<ers‘x
while performing duties related to the conduct of your business;

(b) 't'o the spouse, chl|d, parent, brother or sister ot that oo-"employee‘ or 'votunteer worker" as a
consequence of Paragraph (1){a) abcve; `

(c) For which there is any obligation to share damages with or repay someone else who must pay
damages because of the in}ury described in Paragraph (“l)(a) or (b) above; or

(d) Arising out cl his or her providing cr falling tc_ provide professional health care serviccs.
(2) *Property damage“ to prcperty:
(a) Owned, occupied or used by;

(b) Rented to. in the care, custody or control of, or over which physical control is being exercised for
any purpose by:

you. any of your 'ernployees", "vo|unteerworkers'! any partner or member (ii you are a partnership or
joint venture), or any member (it you are a limited liability company). v

b. Any person (other than your ‘empioyee“ or l*vciunieer worker‘). or any organization while acting as your
real estate manager.

c. Any person or organization having proper temporary custody of your property if you die. but oniy:
(1) thh respect to liability arising out of the maintenance cruse of that prcperty; and -
(2) Untli your legal representative has been appointedl

d. Your legal representative if you diel but only with respect to duties as such. That representative will have
ali your rights and duties under this Coverage Part.

3. Any organization you newly acquire or iorrn, other than a partnership, jointventure cr limited tiabiiity ccmpany,
and over which you maintain ownership or majority interest. witt qualify as a Named insured if there is no
other similar insurance avaitabie to that organization t-lowever: `

a. Coverage under this provision is afforded only until the 90th day after you acquire or form the organization
or the end of the policy pertod, whichever is earlier;

b. Coverage A does not appty to "bodiiy inlury" or "property damage" that occurred before you acquired or
formed the organization; and

_c. Coverage B does not apply to “personei and advertising inlury" arising out of an offense committed before
you acquired or termed the organizationl

Nc person or organization is an insured with respect to the conduct of any current or past partnership, joint
venture or limited liability company that is not shown as a Narned insured in the Deciarations.

SEC'FION ill ~ Ltl'iil|TS OF iNSUHANCE
‘l. The L€rnits of insurance shown in the Deciarations and the rules below fix the most we will bay regardless of
the number of:

a. insureds:
b. Ciairns made or "suits“ broughl; or
c. Persons or organizations making claims or bringing "suits‘.
2, The Generei Aggregate Limit is the most we writ pay for the sum of:
a. Medicat expenses under Coverage C;

b. Darnages under Coverage A, except damages because of ‘bodiiy €n§ury' or "property damage" included in
--the "products-compieted operations hazard"; end

c. Darneges under Coverage B.
3. The Products-Completeci Operations Aggregate Limit is the most we will cay under Coverage A for damages

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because o_l "bodlly injury" and "property damage" included in the “prcducts-completed operations hazard“.

4. Subject to Paragraph 2. above, the Persona| And Advertis|ng injury Limit is the most we will pay under
Coverage B for the sum of all damages because of all "personai and advertising ln]ury" sustained by any one

person or organization
Subiect lo Paragraph 2. or 3. above, whichever applies, the Each Occurrence t_|mit is the most we will pay for

the sum of:
a. Damages under Coverage A; and

b. lvledical expenses under Coverage C

because of ali “bod|ly iniury" and "property damage' arising cut cf any one "occurrence".

6. Subject to Paragraph 5. above, the Damage ‘i'o Premises Fiented To You Limit is the most we will pay under
Coverage A for damages because of "property damage° to any one premises. while rented to you. or in the
case ot damage by iire, while rented to you or temporarily occupied by you with permission of the owner.

7. Sub,iect to Paragraph 5. above, the Medicai Expense Limit i_s the most we will pay under Coverage C for all
medical expenses because of ”bodily lnjury" sustained by any one person.

The lelts of insurance of this Coverage Parl apply separately to each consecutive annual period and to any
remaining period of less than 12 months, starting with the beginning of the policy period shown in the
Declarations. unless the policy period is extended after issuance for an additional period of less than 12 months.
in that case, the additional period will be deemed part of the last preceding period for purposes of determining

the Limlts of insurance
SECTION |V - COMMERCiAL-GENERAL LlABlLlTY CONDlTiONS
't, Elanl<ruptoy
Bant<ruptcy or insolvency of the insured or ol the insured's estate will not relieve us of our obligations under
this Coverege Part.
2. Duties in The Event Oi Occurrence, Offense, Clalm Or Sult
a. You must see to it that we are notiiied as soon as practicable of an "occurrence“ or an offense which may
result in a claim. To the extent possl.ble, notice should lnclude:
('i) l~lovvl When and where the "occurrence“ or offense took piace;
(2) The names and addresses of any injured persons and wilnesses; and
(3) The nature and location ot any lnlury or damage arising cut of the "occurrence" or offense.
b, if a claim is made or "suit" is brought against any |nsured, you music
(1) immediately record the specifics ot the claim or "suil“ and the date received; and

C¢'l

(2) Nolify us as soon as practicable
You must see to it that we receive Written notice of the claim or "sult" as soon as practicable

c. You and any other involved insured- must:
(1) immediately send us copies of any demands, notices summonses or legal papers received in
connection with the claim or i’euit";
(2) Authorize ustc obtain records and other intormation;
(3) Cooperate with us in the investigation or settlement oi the claim or defense against the "suit"; and

(¢i) Assist us. upon our request, in the enforcement of any right against any person or organization which
may be iiabie to the insured because of injury or damage to which this insurance may also appiy.
d. Nc insured wiii, except at that insureds own cosl, voluntarily make a payment, assume any obligation. or
incur any expense, other than for first aid, without our consent

3. Leget Actlon Agalnst Us
No person or organization has a n'ght under this Coverage Part:
a. To join us as a party or otherwise bring us into a "sult" asking for damages from an lnsured; or
b. To sue us on this Coverage Parl unless all of its terms have been fully compiled with.

A person or organization may sue us to recover on an agreed settlement or on a tinai judgment against an
insured; but we will not be liable for damages that are not payable under the terms oi this Coverage Part cr
that are in excess of the applicable limit of insurancel An agreed settlement means a settlement and release
of liability signed by us. the insured and the claimant or the claimants legal representative

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4.0ther insurance
ii other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B
cl this Coverage Par‘., our obligations are limited as ioiiows:'
e. Primaryinsurance
This insurance is primary except when Paragraph b. below applies if this insurance is primary, our

obligations are not attested unless any of the other insurance is also primary. Then, we will share with ali
that other insurance by the method described in Paragraph c. beiow.

b. Excess insurance
(1) This`lnsurance is excess oven
(a) Any of the other insurance whether primary. excess._contingent or on any other basis:
v(i) That is Flre, Extended Coverage, Buiiders ~i~'tisi<. installation Risi< or similar coverage for “you.'

work";

(ii) That is Fire insurance for premises rented lo you or temporarily occupied by you with permission
of the owner_:

(iii) Thai is insurance purchased by you to cover your liability as a tenant for "property damage“ to
premises rented to you or temporarily occupied by you with permission cline owner; or

(iv) if the loss arises out ot the maintenance or use of aircraft, “autos" or watercraft to the extent not
subject to Exciuslon g. cl Section t - Coverage A - Bodiiy injury And Property Damage Llabllily.

(b) Any other primary insurance available to you covering liability for damages arising out ot the
premises or operations or the products and completed operations, for which you have been added
as an additional insured

(2) When this insurance is excess. we will have no duty under Coverages A or B to defend the insured
against any "sult" ii any other insurer has a duty to defend the insured against that 'suit". if no other
insurer defends, we will undertake to do so, but we will be entitled to the insured‘s rights against ali
those other tnsurers.

(3) When this insurance is excess over other lnsurance, we will pay only our share ot the amount ct the
|oss,' if any, that exceeds the Surn ott

(a) The total amount that all such other insurance would pay ior the loss in the absence cl this
insurance; and
(b) The total ct all deductible and sell-insured amounts under all that other insurance

(¢i) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
insurance provision and was not bought specllicaiiy lo apply in excess ot the Limits of insurance
shown in the Deciaratlons of this Covsrage Part.

c. it'tethod Of Shar|ng

ii all ct t_i_ts other insurance permits contribution.by equal shares, we will follow this method aiso. Under this
approach each insurer contributes equal amounts until it has paid its applicable limit ci insurance or none
of the loss remains, whichever comes iirst.

ii any of the other insurance does not permit contribution by equal shares, we will contribute by iimits.
Underthls-method, each insureds share is based on the ratio cl its applicable limit of insurance to the total
applicable limits of insurance of ali insurers.
5. Prcmium Audlt
a. We will compute ali premiums for this Coverage Part in accordance with our rules and rates.

b. Premium shown in this Coverage Part as advance premium is a deposit premium only, At the close of
each audit period we_wiii compute the earned premium for that period and send notice to the first Nsmed
insured. The due date for audit and retrospective premiums is the date shown aetna due dale on the bi|l.
if the sum `of the advance and audit premiums paid for the policy period is greater than the earned
premium, we will return the excess to the first Named i_nsured.

c. The first Narnsd insured must keep records ot the information we need for premium computation, and
send us copies al such times as we may request.

6. Hepresentations
By accepting this policy, you agree:
s. The statements in the Deciaratr`ons are accurate and compiele;

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b. Those statements are based upon representations you made to us; and
c. We have issued this policy in reliance upon your representations

Ssparatlon Oi insureds

Except with respect to the Limiis cl |nsurance, and any rights or duties speciiica|iy assigned in this Coverage
Parl to the first Named lnsured, this insurance applies:

a. As ll each Narned insured were the only Named insured; and

b. Separateiy to each insured against whom claim is made or "sult" is brought

s. Tran_sier or nights or nec`overy Agatnst others rs us
ii the insured has rights to recover all or part of any payment we haire made under this Coverage Part, those
rights are transferred to us. The insured must do nothing alter loss to impair them. At our request, the insured
will bring “suit‘i or transfer those rights to us and help us enforce them.

9. When We Do Net Ftenew
ll we decide not to renew this Coverage F'artl we will mail or deliver to the first Named insured shown in the
Deciaratlone written notice of the nonrenewal not less than 30 days beiore the expiration date.
if notice is mailed, proof of mailing will be sufficient proof ot notice.

SECTION V - DEFlNthONS
1. ”Advenisernent‘ means a notice that is broadcast or published to the general public or specific market
segments about your goods, products or services for the purpose of attracting customers or supporters For
the purposes ot this delintiton: '
a. Noiioes that are published include material placed on the lnternet or on similar electronic means ot
communication; and
b. Ftegarding web eites, only that part of a web site that is about your goods, products or services for the
purposes ot attractan customers or supporters is considered an advertisement

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2. "Auto‘* msans:
a. A land motor vehicle, trailer or semilrailer designed for travel on public roads, including any attached
machinery or equipment or
b, Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
insurance law where it is licensed or principally garaged.
|~lowever, "auto" does not include '*mobile equipment".
”Bodily In]ury" means bodily lniury. sickness or disease sustained by a person, including death resulting trom
any of these at any llme.
4. "Coverage lerritory" means:
a. The Unlted States of Amer|ca {includlng its territories and possessions), Puerto Ftico and Canada;
io. international waters or atrspace, but oniy_ il the injury or damage occurs in the course ot travel or
transportation between any places included in Paragraph a. above; or
c. Ail other parts ol the world if the injury or damage arises out of:
(1) Goods or products made or sold by you in the territory described in Paragreph a. above;
(2) The activities ot a person whose home is in the territory described in Paragraph a. above, but is away
for a short lime on your business; or
(3) "Personal and advertising iniury" offenses that take place through the interest or similar electronic
means cl communication;
provided the lnsured's responsibility to pay damages is determined in a "suii" on the merits, in the territory
described in F'aragraph a. above or in a settlement we agree to. _
5. “Employee" lnc|udes a "teased worker“. "Emp|oyee' does not include a 1*iernporarv worker".
6. "Executive otiicer" means a person holding any ot the officer positions created by your oharter, constituticn,
bylaws or any other similar governing documentl
7. "l-|ostiie lire" means one which becomes uncontrollable or breaks out from where lt was intended to be.
8. "lmpalred 'property' means tangible property, other than 'your productl or "yourwork“, that cannot be used or
is less useful because:

.'-°

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a. lt incorporates ”your product' or “your work" that is known or thought to be detective, deficient, inadequate
or dangerous; or

b. ‘rou have failed to tuttlli the terms ot a contract or agreement

ll such property can be restored to use by the repair, rep!acernent, adjustment or removal of "your produci‘ or
"ycur work" or your fulfilling the terms ol the contractor agreement

9. "lnsured contract" means:

a. A contract for a lease cf premises However, that portion cf the contract for a lease ot premises that
indemnities any person or organization for damage by tire to premises while rented to you or temporarily
occupied by you with permission of the o\.~.-'her is not an "insured oontraci":

b. A sidetrack agreement;

C. Any easement or license agreement, except in connection with construction or demolition operations on or
within 50 feet cf a railroao;

d. An obligation, as required by ordinance, to indemnity a municipality, except in connection with work for a
municipality;

e. An elevator maintenance agreement

t. that pan of any other contract cr agreement pertaining to your business (including an indemnification ot a
municipality in connection with work performed for a municipality) under which you assume the tort liability
of another party to pay for nbodily lniury" or llproperty damage“ to a third person or r:)rganlzatlonl 'l‘ort
liability means a liability that would be imposed by law ln the absence of any contractor agreementl

Paragreph f. does not include that part ot any contract or agreement:

(1) Thal indemnifies a raiiroad for _”bo`cilly lnlury" or 'pr`operty darnage'l arising out ct construction or
demolition operations, within 50 feet ot any railroad property and attesting any railroad bridge or trestle,
lracks, road-beds, tunnei, underpass or crossing;

(2) That indemnities an architect engineer or surveyor for injury or damage arising out of:

(a) Preparlng. approving. or falling to prepare or approve, maps, shop drawings, opinions, reports.
surveys, field orders, change orders or drawings and specifications; or

(b) Givlng directions or instructions or failing to give lhem, if that is the primary cause of the injury or
damage; or

(3) Under which the insured, il an architect, engineer or surveyor, assumes liability for an injury or damage
arising out ot the insured‘s rendering or failure to render professional services, including those listed in
(2) above and supervisory, inspection, architectural or engineering activities

10."Leased worker means a person leased to you by a iaborleaslng firm under an agreement between you and
the labor leasing tirrn, to perform duties related to the conduct ot your business "Leased worker" does not
include a "ternporary worker“.

11.’Loadtcg or unioadihg“ means the handling ot property:
a. After lt is moved from the piece where it ls accepted'tor movement into or onto ah aircraft watercraft or

"auto";

b. Whlle it is in or on an aircraft watercraft cr "auto": or
c. Whtle it is being moved from an aircrati, watercrait_o.' °'auto" to the place where it is finaliy deii\re.'ed:

but 'ioadlng or unloading” does not include the movement o.‘ property by means ct a mechanical devioe,
other than a hand lruck, that is not attached to the aircrait, watercraft or "auto“r

12."ivlobtie equipment" means any of the following types of land vehicles, Incisding any attached machinery or

settlements

a. Bulidozers, farm machinery, to'klifts and other vehicles designed for use principally oil public roads:

b. Vehicies maintained for use solely on cr next to premises you own or rent;

c. Veh.‘cles that travel on crawte.' treads;

d. Veiticies. whether sell-propelled or not, maintained primarily to provide mobility to permanently mounted:
(1) Po‘.'rer cranes. shovels, loaders, niggers cr drllis; or
(2) Fioad construction or resurtacing equipment such as graders, scrapers or rogt@rg;

e. Vehicies not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained
primarily to provide mobility to permanently attached equipment of the following types:

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(1) Alr compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
expioraiion, lighting and weil servicing equipment or
(2) Cherry pickers and similar devices used to raise or lower workers;
i. Vehicies not described in Paragraph a., b., c. cr ci. above maintained primarily for purposes other than the
transportation of persons or cergo.
However, self-propelled vehicles with the following types of permanently attached equipment are not
"mobile equipment" but will be considered "autos“:
(1) Equlpment designed primarily for:
(a) Snow removal;
(b) Boad maintenance but not construction or resurfacing; or

(c) Street cieanlng;

(2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
workers; and

(3) Alr compressors, pumps and generators, including spraying. welding, building cleaning, geophysical
exploration, lighting and well servicing equipment

i-|owever, *moblle equipment" does not include any land vehicles that are subject to a compulsory or financial
responsibility law or other motor vehicle insurance law where ii is licensed or principally garaged. Land
vehicles subject to a compulsory or financial responsibility law or other motor vehicle insurance law are

considered "autos".
l3."0ccurrence" means an accidentl including continuous or repeated exposure to substantially the same
general harmtui conditions
14.“Psrsonal and advertising injuryll means iniury, including consequential 'bodily ln]ury", arising out of one or
more of the following oftenses:
a. Faise arrest, detention or imprisonment
b. Malicious prosecution;
c. The wrongful eviction lrorn, wrongful entry into. or invasion of the right of private occupancy of o room,
dwelling or premises that a person occupies, committed by or on behalf of its owner, landlord or iessor;
d. Orai or written publication in any manner. of material that slanders or libels a person or organization or
disparages a person's or organizations goods, products or services;
e, Oral or written publication, in any manner, of material that violates a person's right of privacy;
f. The use of another‘s advertising idea in your "advertlsemeni"; or
g. infringing upon another’s copyright. trade dress or slogan in your “adverllsement".

15."Poiiuiantsll mean any solidl |iquid, gaseous or thermal irritant or contaminant, including smoke, vapor. soot,
fumes, acids, alka|is, chemicals and waste. Waste includes materials to be recycled, reconditioned or

reclaimed.
16."Products'_completed operations hazard":
e. includes all ”bcdliy ln]ury" and "property damage" occurring away from premises you own or rent and
arising out of ”your product" or "your work" except
(i) Producis that are still in your physical possession; or
(2) Work that has not yet been completed or abandoned However. "your work" will be deemed completed
al the earliest of the following tlmes:
(a) When all of the work called for ln your contract has been completed
(b) When ail of the work to be done at the job site has been completed lf your contract calls ior work at
more than one job site,

(c) When that part of the work done at a job site has been put to its intended use by any person or
organization other than another contractor or subcontractor working on the same project

Work that may need service, maintenance correctlon, repair or replacementl but which is otherwise
compiete, will be treated as completed

b. Does not include "bodi|y inlury“ or "property damage“ arising out of:
(1) The transportation of property, unless the injury or damage arlses_out of a condition in or on a vehicle

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not owned or operated by you, and that condition Was created by the "ioading or untoading" of that
vehic'e by any lnsured;
(2) The existence of ioois_. uninsta!ied equipment or abandoned cr unused materiais; or
(3) Pro_dt.'cts or operations for which the ctassiiioatfon. ilsted in the Deoiaraticns or in a policy Scheduie,
states that products‘comcletsd operations are subject to the Generat Agpregaie Limit.
17."Pro,:)erty damage1 means:
a. Physicai injury to tangible property, including ali resui‘.ing loss of use of that property A|i such loss ct use
shall be deemed to occur at the time of the physical infury that caused it_: or
b. Loss of use oi tangibie property that is not physically iniured`. Aii such loss ct use shall be deemed to occur
at the time of the "ccct.'.'rence" that caused it.
For the purposes of this insurancel electronic data ls nott ngible property

As used in this o'etir‘.itlonr electronic data means inlorn‘.ation. facts or programs stored as or on, created or
used on, or transmitted to or from computer soft\vare. inciuding systems and applications software, hard or
tioppy disks, CD~RO.`vis, tapes, drivesl ceiis, data processing devices or any other media which are used with
electronicaiiy ccntroited equipment

18.”'Sctt" means a civil proceeding in which damages because ot "‘hcdiiy injury". "property damage" or "personai
and advertising iniury" to which this insurance applies are alleged "'Suit‘ inctudes:
a. An arbitration proceeding in which such damages are claimed and to which the insured must submit or
does submit with our consent; cr

h. Any other alternative dispute resoiution proceeding in which such damages are claimed and to which the
insured submits with our consent.

19.'Te.'nporary worker“ means a person who is furnished to you to substitute for a permanent "ernpioyee" on
leave cr to meet seasonai cr shor‘-terrn workload conditions

20.*Voldnteer worker"' means a person who is not your "em_o!cyee"._ and who donaies his or her work and acts at
the direction of and wi.htn the scope of duties determined c' ou. and is not aid a fee, sala. or other
_ P 'Y
compensation by you cr anyone e!se for their ivch performed !or you,
21 .`Your product ‘:
a. -’vieane:
(1) Any goods or products other than rea§ prcperty, rnanuiact'uredl sotd= handled distributed or disposed
of by:
(a) You_:
(b) Others trading under your name; or
(c) A person or organization whose business cr assets you have acquired; and
(2) Ccntainers iother than vehicles}_. materlsis_. parts or equipment furnished in connection with such
goods or r.irodt.ictsl
b. includes:
(1) Warranties or representations made at any time with respect to the iltness, quaiity, durab§?ity=
performance or use of "your prcduot'; and
(2) The providing ct or failure to provide warnings or instructions
c. Does not include vending machines cr other property rented to or located for the use ct others but not
soid. '
22."Your worl<":
a. Means:
(1) Wori< or operations performed by you or on your behalf; and
(2) hiateriais. parts or equipment furnished in connection with such work or operations
b. cciudes:
(1) Warranties or representations made at any time with respect to the fitness, quaiity. durabiliiy,
performance or use of “your wori<“; and
(2) The providing of or failure to provide warnings or instructions

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CG2244 04 13
THfS ENDOF¥SEMENT CHANGES THE POLICY. PLEASE FlEAD iT CAREFUL,LY.

EXCLUS[ON -- SERVICES FUFiNlSHED BY HEALTH CARE PF{OV|DERS

Thisendoreement modifies insurance provided under the loiiowlng:

COMMEF'\C|AL GENEFIAL f_iABiLiTY COVEHAGE PAF%T
SCHEDULE *

Descrlplion Of Operations:

* information required to complete this endorsement, lt not shown above,`wl|l be shown in the
Declaratlons or Change Endorsement.

The following exclusion is added to Paragraph 2. Exc|usions of Section | ~ Coverage A - Bodlly injury And
Property Damage Llabiiity and Paragraph 2. Exclusions of Section | ~ Coverage B - Personai And

Advertls|ng |n}ury Llebility:
With respect to any operation shown |n the Scheduie, Deciaralions or Change Endorsement, this insurance does
not apply to “bodiiy injury", "property damage" or "perscna| and advertising lniury“ arising out of:
1. The rendering of or failure to render:
a. Nleclical, surgical, dentai, X-rey or nursing servlce, lreafment. advice or instruction, or the related furnishing
of food or beverages;
b. Any health or therapeutic service, treatment, advice or lnstruction; or
c. Any service, treatment, advice or instruction for the purpose of appearance or skin enhancement, hair
removal or replacement or personal grooming;
2. The furnishing or dispensing of drugs or medica|, dental or surgical supplies or appliances; or
3. The handling or treatment of dead bodies. fncluding autopsies, organ donation or other proceduresl
This exclusion applies even if the claims against any insured allege negligence cr other wrongdoing in the

supervision, hiring, empioyment, training or monitoring of others by that insuredf if the ”occurrencell which
caused the "bodily injury" or "property damage", cr the offense which caused the "personaf and advertising

lnjury", involved that which is described in Paragraph 1., 2. or 3.

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CGD103 06 06
THIS ENDOF!SEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

TEXAS CHANGES

This endorsement modifies insurance provided under the loliowlng:
COMN|ERC|AL GENERAL LlABlLiTY COVEHAGE PAFlT

A. Wlth regard to liability for Bodiiy lniury, Property Darnage and Persona-' and Advertlsing ln]ury, unless we are
prejudiced by the insured’s or your failure to comply with the requiremenl, no provision of this Coverage Part
requiring you or any insured to give notice of "occurrence," claim or "suit," or forward demands, notices,
summonses or legal papers in connection with a claim or "suit,“ will bar coverage under this Coverage Part.

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Tuls ENoonsEMENT cr~rANGEs THE eol.lcv. PLEASE nEAo n' cAnaFut.l.v.
CAP ON L.OSSES FFtOM CERTIFEED ACTS Ol'-‘ TERROFHSM

This endorsement modifies insurance provided under the foiiowing:

COMMERCiAL. GENERAL LlAB|f_lTY COVERAGE PAFiT

L[QUOR LlABiLiTY COVERAGE PART

OWNERS AND CONTFiACTOFiS PROTECTWE LiAB|t_iTY COVERAGE PAR`E`
POLLUT|ON LlAB|L|TY COVEHAGE PAFlT

PHODUCTS!COMPLETED OPERAT|ONS LlABiLiTY COVEHAGE PAFtT
HA|LROAD'PHOTECTIVE LIAB|E_ETY COVEFiAGE PAFlT

UNDERGF{OUND STOFlAGE TANK POL.|CY

it aggregate insured losses attributable to terrorist acts certified under the federal 'l`errorism Fiisk insurance Act
exceed $100 bil¥ion in a Prograrn Year (January 1 through December 31) and we have met our insurer deductible
under the Terrorism Ftisk insurance Act, we shall not be liable for the payment of any portion of the amount of
such losses that exceeds $100 bli|ion, and in such case insured losses up to that amount are subject tc pro rata
allocation in accordance with procedures established by the Secrstary of the `t‘reasury.

r'Certltied act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
Secretary of State and the Attorney Generai of the Unlted States. to be an act of terrorism pursuant to the federal
Terrorism Filsl< insurance Acl. The criteria contained in the Terrorism Rlsi< insurance Ac_t for a "certlfied act cl

terrorism” include the foilowing:

1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
insurance subject to the Terrorism Fllsl< insurance Act; and

2. The act is a violent act or an act that is dangerous to human lifel property or lntrastructure and is committed
by an individual or individuals as part of an etiort to coerce the civilian population cline Unlted States or to
influence the policy or affect the conduct of the Unlted States Government by coercion

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CG2186 12 04
TH|S ENDOFISEMENT CHANGES THE POLICY. F‘LEASE FlEAD lT CAHEFULLY,

EXCLUSEON a EXTEFllOR lNSULAT|ON AND FiNlSH SYSTENIS

This endorsement modiiies insurance provided under the folio\'ring:
CO-.`vll\,iEFiClAi., GENEFtAi_ LlABiLlTY COVERAGE PAFtT

A, this insurance does not apply to "bodiiy in]ury," "property damagei’ or .“personai and advertising iniury'
arising out of, caused by, or attributable to, whether ln whole or in part. the lollowing: `

l. The design, menufacture. constructionl fabrication, preparation, distribution and saler lnstallailon.
app|ior.ritonl maintenance or repair, including remodeling, service, correction or replacement. of any
"exlerior insulation and finish system" or any part thereof, or any substantially similar system or any part
thereof, inciudlng the application or use of conditioners, primers, accessoriesl flashlngs, coatings,
caulking or sealants in_connection with such a system; or

2. "Your product” or s‘your world with respect to any exterior ccrnponent, fixture or feature cf any structure
if an "exien'or insulation and finish system," or any substantially similar system; is used on the part cf
that structure containing that component, fixture or feature.

B. The following deliniticn is added to the Definilions Section:

'Exterior insulation and finish system” means a non-load bearing exterior ciaddlng or finish system_. end all
component parts thereln, used on any part ot any structure, and consisting of:

l, A rigid or sami-rigid insulation board made of expanded polystyrene and other materiais;

2. The adhesive and/or mechanical fasteners used to attach the insulation board to the substrate:
3. A reinforced or unreinforced base coal;

4. A finish coat providing surface texture to which color may be added; and

5. Any ilashing, caulking or sealant used with the system for any purpose.

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rats eNoonsEMENT cHANeEs THE Pot_tcv. Pt.EAsE nEAo tT cAFtEFuL.LY.
S|LiCA OR Sil.,iCA~RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the foilowing:
COMMEF\C|AL. GENERAL L|ABiL|TY COVERAGE PAR'i'
A. The following exclusion ls added to Paragraph 2., Excfusions of Section i - Coverags A - Bodiiy injury And
Property Damage Liabi|ity:
2. Exc|usions
This insurance does not apply to:

Sl|ica Or Sitica-Re|ateei Duet

“Bodi|y iniury” arising, in whole or in part. out of the actua|, aileged, threatened or suspected

a.
inhatation ot, or ingestion of, "sl|ica" or "sitica‘reiated dust."

b. "Prcperty damage” arising, in whole erin part. out of the actuat, ai|eged, threatened or suspected
contact with, exposure to, existence of, or presence of, "siiioa" or “siiica-reiated dust."'

o. Any ioss, cost or expense arising, in whole or in part, out of the abating, testing forf monitoring,
cleaning up, removing, oontaining, treating, detoxitying, neutralizing, remediating or disposing of,
or in any way responding to or assessing the etfects of, "si|ica" or “sl|ica-related dust," by any

insured or by any other person or entity.

B_ The following exclusion is added to Paragraph 2., Exoiusions of Section l - Coverage B ~ Personal And
Advertising injury Liabiiity:

2. Exciusions
This insurance does not apply to:
Siiica Or Silica-Fte|eted Dt.tst

a. "Personai and advertising injury" arising, in whole erin part. out cline actuall alieged, threatened
or suspected inhaiation oi, ingestion oi, contact with, exposure to. existence of, or presence of,

"sil|ca“ or “siiica-reiated dust."

b. Any loss, cost or expense arising, in whole or in part. out of the abating, testing ior, monitoring,
cleaning up, removing, containing, treating, detoxiiying, neutraiizing, remediat|ng or disposing of,
or in any way responding to or assessing the effects of, "sttica" or "sl|ica're|ated dust," by any

insured or by any other person or entity.
C. The following definitions are added to the Definitions Sectlon:

1. *‘Sl|fca" means silicon dioxide (occurring in crystalline, amorphous and impure forms}, attica particies,
silica dust or silica compounds

2. "Siiica~reiated dust” means a mixture or combination ot silica and other dust or particles

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CG2425 12 04
TH!S ENDORSEMENT CHANGES THE POL|CY. PLEASE FiEAD i't` CAFiEFULLY.

LiiViiTED FUNGi OR BACTEFiiA COVEFIAGE

This endorsement modifies insurance provided under the toilowtn_g:
COMMEFiCiAL GENEFiAL LiABlL|TY COVERAGE PAFiT
SCHEDULE *
Fungi And Bacterla Llabiiity Aggregate Limit $

“ (tf no entry appears above, information required to complete this endorsement witt be shown in the
Dectarations or Change Endorsement as applicable to this endorsement.)

A. The following exclusion is added to Peragraph 2. Exctusions of Sectton l - Coverage B ~ Personal And
Adverttsing tnlury Llabiltty.

2. Exciusions
This insurance does not apply to:
a. "Personai and advertising lniury" arising out of a "iungf or bacteria incldent."

b. 'Any lossl cost or expense arising out of the abating, testing ior, monitoring, cleaning up, removing,
containing, treating, detoxiiylng, neutral|zing, remediatan or disposing of, or in any way
responding to, or assessing the effects of, “fungi" or bacteria, by any insured or by any other
person or entity.

B. Coverage provided by this insurance for "bociity iniury" or "property damage," arising out of a “lungl or
bacteria tncident," is subject to the Fungi and Bacterla Ltablllty Aggre'gate Limit as described in Paragraph
C. of this endorsement. This provision B. does not apply to any "`fungl" or bacteria that are, are on. or are
contained in, a good or product intended for bodily consumption

C. The following are added to Section lll » Limits of tneuranoe:

1. Subiect to Paragrap`hs 2. and 3. of Seotton ill ~ Lirnits of insurance, as applicable, tire Fungi and
Bacteria i_.tabiliiy Aggregate Limit shown in the Scheduls of this endorsement is the most we will pay
under Coverage A for att "bodily inlury” or l‘properiy damage" and Coverage Q. for Medlcai Payments
arising out of one or more "l'ungl or bacteria incldents.*‘ This provision C.1. does not apply to any
"fungl" or bacteria that are, are on, or are contained in, e. good or product intended for bodily
consumption

2. Paragraphs 5., the Each Ooourrence t_irnlt, Paragraph 6., the Damage To Premises Fiented To You
Limit, and Paragraph 7 ., the Medlcai Expense i_i`mit, oi Section iii - Limiis of insurance continue to apply
to "bodily iniury‘ or "property damage” arising out oi a "fung| or bacteria incidenf" but oniy if, and to the
extent that, limits are available under the Fungi and Bacierr'a Liabi|ity Aggregate Limli.

D. The iol|owing definitions are added to the Definitione$ection:

‘i. "Fungl” means any type or form oi iungus. including r`nold or mildew and any mycoto_xlns, spores,
scenic or byproducts produced or released by fung|,

2. ”Fungi or bacteria incldent" means an incident which would not have oocurred, in whole erin part. but
for the actual, aiteged or threatened inhalation of, ingestion of, contact with, exposure to, existence of,
or presence oi, any "fungi" or bacteria on or_within a building or structure, including its contentsl
regardless of whether any other cause, event. material or product contributed concurrently or in any
sequence to such injury or damage.

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CG2426 04 13

TH|S ENE)ORSEMENT CHANGES THE POLECY. PLEASE READ |T CAREFULLY.

ANIENDNTENT OF lNSUFiED CONTFIACT DEF|N|T|ON

Th|s endorsement modifies insurance provided under the lottowlng:

COMMERC!AL GENERAL L|ABII_|TY COVERAGE PAFiT
PRODUCTS/COMPLETED OPERAT{ONS i_lABiLiTY C_OVEF?AGE PAFtT

The definition of “insured contract*' in the Deflnitlons section is replaced by the tottowing:

“tnsured contract“ means:
a. A contract for a lease of premises i-towevsr, that penton of the contract for a lease of premises that
fndemntfies any person or organization for damage by tire to premises while rented to you or temporarily
occupied by you with permission of the owner is not an “lnsured contract“;

b. A sidetrack agreement;

c. Any easement or license agreement, except in connection with construction or demolition operations on or

within 50 feet of a railroad;

An obtigation. as required by ordinance, to indemnity a municipality, except in connection with work for a

municipati_ty;

e. An elevator maintenance agreement

f. That part of any other contractor agreement penaining to your business (inciuding an indemnification of a
municipality in connection with work periormed tor a munic_ipality) under which you assume the tort liability
ot another party to pay for "bodily injury‘ or "property damage' to a third person or organization provided
the "bodlly iojury" or “property damage" is caused. in whole or in part, by you or by those acting on your
behail. l-iowever, such part of a contract or agreement shall only be considered an "lnsured contract" to
the extent your assumption of tire tort liability is permitted by iaw. Tort liability means a liability that would
be imposed by law in the absence of any contract or agreement.
Paragraph f. does not include that part ot any contract or agreement:

(1) That tndemnilies a railroad ior "bodily lnjury“ or "property damage“ arising out oi construction or
demolition operations. within 50 feet ot any railroad property and affect|ng any railroad bridge or lrestle,
tracks, road-beds, tunnel, underpass or crossing;

(2) Tnat indemnities an architect, engineer or surveyor for injury or damage arising out ol:

{a) Prepar|ng, approving. or failing to prepare or approve, maps. shop drawings, optnio'ns, reports,
surveys, field orders, change orders or drawings and speclilcations; or

(b) Givlng directions or lnstructlons, cr failing to-glve them, it that is the primary cause of the iniury or
damage; or

(3) Under which the insured, it an architect, engineer or surveyor. assumes iiabitity for an injury or damage
arising out of the insured's rendering or failure to render professional services, including those listed in
(2) above and supervisory, tnspection, architectural or engineering activities

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CG2639 12 07
THiS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ i`i` CAF{EFULLY.

TEXAS CHANGES - EMPLOYN!ENT - RELATED PFiACTiCES EXCLUS|ON

This endorsement modifies |nsorance provided under the iollowing:

A.

COMMERC|AL GENERAL LiAB|Li'i'Y COVERAGE PAFlT

The following exclusion is codes to Paragrapn 2., Excluslons or Seciion l ~ Coverege A ~ Bodily injury
And Property Demage Liab|i|ly:

This insurance does not apply io:

"Bodiiy injury" to:

1)

2)

A person arising out or ecy:
a) Reiussi to employ that person:
b) Terminailon of that person's employment or

c) Empioyment-reiaied preciicss, policies, acre or omissions, such es coercion, demotion,
eveluation, reassignment discipiine, defamation, haressmeni, humiliation, discrimination or
malicious prosecution directed al ihar person; or

The spouse, childl pareni, brother or eisler of that person as a consequence of "bodily injury" io inst
person ai whom any of the employment-related practices described in paragraphs a], b) or c) above is
directed

This exclusion appiies:

1)

2)
3)

Wheiner ins injury-causing event described is Parag.'aphs a}, ic) or c) above occurs before
empfoyrneni, during employment or after employment of that person;

Whetner i'ne insured may be iiaoie as an empioyer or in any oiher capao.’fy; and

Tc any obiigatlon to share damages with or repay someone else who most pay damages because of
ins iniury.

The ioliowing exclusion is added to Paragreph 2., Exclusions of Section i _ Coverage B “~ Personal And
Adveriising iniury Liabliity:

This insurance does noi appiy i_o:

"Persor‘.a! end advertising !c}ury" io:

1)

2)

A person arising out of any:
a) Refusai to employ thai persos;
b) Tsrmination ci that persons empioyrnsnt; or

c) Employmeni-reiaied practices poiicies, acts or omissions such as coercion, demoiion,
evaiuaiion. reassignmeoi_. oisoi_oiine, defamation, harassmeni, humiiieiion. discrimination or
malicious prosecution direcied ai loaf person: or

The spouse, chiid. oareni‘ brother or sister of that person as a consequence or "personai and
adveriising iniury" to inst person at whom a‘ny of ride empioymeni-reiaied practices described in
paragraphs a}, b) or o) above is directed

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'rHtS ENooRsEMEN'r cHANeEs THE Pot.th. Pt..EAsE rter lT cAr-'tEFuLLY.
TEXAS CHANGES - DUTIES

This endorsement modifies insurance provided under the ioiicwing:

COMMERC!AL GENERAL i__iABiL|TY COVERAGE PAFi'i'

FARN| COVERAGE PART

LEQUOR LiABILiTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE L|ABlLiTY COVERAGE PAFiT
POI_LUTION LiAB!l.iTY COVEHAGE PAHT

PRODUCTS/COMPLETED OPERATEONS i.|ABll_|`l'Y COVERAGE PAHT
MED[CA¥. PROFESSEONAL L|ABIL|TY COVERAGE PART

FiAiLFiOAD PROTECTNE LlABtLET`( COVERAGE PAFiT

The following is added to the Duties Condition:

We witt notify the first Named insured in writing oi:

1.

An initial oiler to settle a claim made or "suit" brought against any "insured" under this coverage ’i`he notice
will be given not later than the tOtl't day after the date on which the efforts made,

Any settlement of a claim made or "suit" brought against the ”insured" under this oovereg¢. The notice wii_t
be given not later than the 30th day after the date of the settlementt

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20-1934 `|1 07

THIS ENDORSEMENT CHANGES THE POLiCY. PLEASE READ |T CAHEFULLY.
EXCL.US¥ON _ ASBESTOS/LEAD

This endorsement modifies insurance provided under the loilowlng:

COMMERCIAL GENEFtAi_ LlABlLiTY COVEHAGE FOFiM
BUSiNESSOWNERS LiABlL|TY COVERAGE FOF!_M

This insurance does not acpiy to ""oodiiy rniury,'” "property da.~'nage,’l "personai and advertising iniury" arising out
ot the actuai, alleged or threatened

t) dispersal of asbestos, asbestos fibers cr products containing asbestcs. provided that the injury or damage
is caused or contributed to by the hazardous properties ot asbestos Tnis inoiodes:

a. Any supervision instructions recommendations warnings or advice given or which should have been
givenl in connection vilh tne above; and

b. Any obligation to share damages with or repay someone else who must pay damages because ot such
in]ury or damage

2) exposure to leed, paint containing.lead, or any other material cr substance containing lead; cr

3) any loss, cost or expense arising out of any:

a. Ftequest, demand or order that any insured or others test for, mention clean up, remove or conlatn, or
in any way respond to, or assess the effects of leadl paint containing iead, any other material or
substance containing iead. asbestos. asbestos fiber or any product containing asbestos

b. Claim or “suit” by or on behalf of any person, organization or governmental authority for damages
because of testing for, monitoring, cleaning up or removing, containing, or in any way responding to,
or assessing the effects cf iead. paint containing lead, any other material or substance containing iead,
asbestos, asbestos fiber or any product containing asbestos

253-1934 11 07

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8-1834 12 04
THIS ENDOHSEMENT GHANGES THE POLICY. PLEASE HEAD t'i' CARE.FULL.‘I'.

AMENDMENT OF PR|N]AF{Y AND EXCESS PROVFSEONS

This endorsement modifies insurance provided under the foilow§ng:

COMMERC}AL GENERAL L|ABiL|TY COVEFIAGE FCRM

Any coverage provided hereunder shall be excess over any other valid and cottecllble insurance available to the
additional insured whether primary, excees. contingent or on any other basis unless a contract specificatiy
requires that this insurance be either primary or primary and noncontributing. Where required by contract, we will
consider any other insurance maintained by the additional insured for injury or damage covered by this
endorsement to be excess and noncontributing with this insurance

8-1834 12 04

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8-2203 05 09

THIS ENDORSEMENT CHANGES THE POLECY. PLEASE READ IT CAREFULLY.

i..liViiTED EXCLUS|ON »- OPEFlA'i'IONS COVERED BY A
CONSOLlDATED (WRAP-UP) lNSUFlANCE PROGRAM

This endorsement modil|es insurance provided under the following:
COMMERCIAL GENERAL LiAB|i_iTY COVERAGE PART
SCHEDULE

Locetlon of Operation(s): Any location for which coverage is or was provided by a consolidated (wrap-uo)
insurance program.

The following exclusion¢fs added to paragraph 2., Exclustons ot COVEFlAGE A - BODli_Y lNJUFtY AND
PROPERTY DAMAGE i.lABlLiTY (Sectlon l ~ Coverages):

This insurance does not apply to "bodily inlury’ or "property damage" arising out of either your ongoing operations
or operations lnc|uded within the "producls-cornpieted operations hazard" at the location described in the
Scheduie of this endorsement, as aconsoildatecl (wrep-up) insurance program has been provided by the prime
contractor/prolth manager or owner cl the construction project fn which you are involved

This exclusion applies whether or not the consolidated (wrap-up) insurance program:
‘i) Provides coverage identical to that provided by this Coverage Farl; or
2) Has limits adequate to cover ali claims

This exclusion does not apply ll:

'l} The consolidated (wrap-up) insurance program covering your operations has been cancelled, non-renewed
or otherwise no longer applies for reasons other than the exhaustion ol all available ilmlts, whether such
limits are available on a primary, excess or on any other basisl You must advise us ot such cancellationl
nonrenewal or termination as soon as practicable; or

2) The "bodily injury" or "property damage” arises out of your operations that are incidental to the operations
covered by the consolidated (wrap-up) insurance program but are not and were never intended to be
covered by the consolidated (wrap-up) insurance program, and the "bodliy injury" or "property demage“
occurs away from the location ol the operations covered by the consolidated (wrap-up) insurance program

8-2203 05 09

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8-1541 02 06
TH[S ENDORSEMENT CHANGES THE POLICY. PLEASE READ ET CAFIEFULLY.

HERED AUTO AND NON¢OWNED AUTO LlABIL.iTY

This endorsement modifies insurance provided under the toiio\ving:

COMMERC|AL GENERAL LlABlLiTY COVERAGE FOFti\/l
A. insurance is provided only with respect to those coverages for which a specific premium charge is shown:

Coverage Add|tional Prem|um
Non~Ownership t_iabiiity $
Hired Auto Liabitity $

* (|f no entry appears above, information required to complete this endorsement will be shown in the
Declarations or Change endorsement as applicable to this endorsement.)

1. HiRED AUTO LIABIL|TY

The insurance provided under Coverage A (Sectlon l) applies to "bodily lnjury" or “property damage"
arising out of the maintenance cr use of a "hired auto" by you or your employees in the course ot your

business
2. NON-OWNERSH|P LlABiLl'i"r’

The insurance provided under Coverage A (Sec_tion t) applies to “bodlly iniury” or "property damage"
arising out of the use of any “non-owned auto” in your business by any person.

B. Wiih respect to the insurance provided by this endorsement

t. The exciusions. under Coverage A (Section i), other than exclusions a, b, d, tend l and the Nuciear
Energy Liability Exclusicn (Broad Form) are deleted and the following added:

a. “Bodily in]ury":
1) To an employee ci the insured arising out ot and in the course of employment by the lnsured;
or

2) To the spouse, ohiid, parentl brother or sister ci that employee as a consequence of 1)
above.

This exclusion applies:
“i) Whether the insured may be liable as an employer or in any other capacity; end

2) To any obligation to share damages with or repay someone else who must pay damages
because of iniury.

This exclusion does nor apply to:
‘l) Liabiiity assumed by the insured under an ”lnsured contract”; or

2) “Bodily injury” arising out of and in the course cf domestic employment by the insured unless
benefits tor such injury are in whole or in pari either payable or required to be provided under any

workers compensation iaw.
b. “Property damage" to:
a. Property owned or being transported by, or rented or loaned to the insured; or
b. Property in the care, custody or control ot the insured.
2. Who is an insured (Sectlon il) is replaced by the foilowing:

Each of the following is an insured under this insurance to the extent set forth below:

a. You;

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b. Any other person using a "l':ired aulo" with your cerrnissicn:

c. Wilh respect to a_"non*o~.'-.'ned auto,."' any partner or executive oilicer ot yours but only while such
"ncn-o\'.'neo auto` is being used in your business

d. Any other person or organization but only with respect to their liability because cl acts or
omissions ot an insured under a., b., or c. above. '

None of the following is an insured:

_a. Any person engaged in the business of nis or he.r employer with respect to "'bodiiy iniury" to
any co-ernptoyee cl such person injured in t."‘-.e course ot employment or to the spouse. childl
parent. brother or sister of that co-ernptoyee as a consequence of such "bodlly iniuryf prior
any obiigatlon to share damages with or repay someone else who must pay darneoes
because of the iniury; v

b. Any partner or executive oiflcer with respect to any "auto"‘ o'::r'.ed by such partner or officer
or a member ct nis or her ncusenotd;

c. Any person while employed in or otherwise engaged in duties in connection with an "auto
business." other titan an "auto business" you operate:

,ct. The owner or lessee (oi whom you are a subtessee`i of a "hired aulo"’ or to owner ot a
"non-owned auto"' or any agent or employee oi any such owner or iessee;

e. Any person or organization with respect to the conduct ct any current or past partnership or
joint venture that is not shown as a Narned insured in the Declarations or Change
Endorsernent.

C. Wrth respect to the insurance provided by this endorsement the following additional definitions appty:

1. "Auto business" means the business or occupation of selting, repairing servicing storing or parking
"autos."

2. “i-tired auto" means any "auto"` you tease, hire. cr oorrow. This does not include any “auto" you iease,
hire, or borrow from any ot your employees or members of their households or lrorn any partner or
executive officer of yours.

3. "t\.ion-owned auto" means any "auto" you do not own,l iease, hire or borrow which are used in
connection with your business i-iowever, ii you are a partnership a “non-owned auto" does not include
any auto owned by any partner.

D. Limits oi'insurance (Section iii) is amended to state:

The Generai Aggregate Limit is not applicable to the insurance provided by this endorsement.

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Tl-lls Elvoonselueur clemons THE Pol_lc‘r. PLEAse rter lr cAnEFuLl..Y.
HiFtED AUTO AND NON~OWNED AUTO LiABiL|TY

This endorsement modifies insurance provided under the foilowing:

COMMEF{C!AL GENEHAL i_iAB|LiTY COVEFiAGE FOFIM

A. insurance is provided only with respect to those coverages for which a specific premium charge is shown:

Coveroge Addltionai Premium
Non-Ownership L|abiiity $
Hired Auto Liabiiily $

* (if rio entry appears above, information required to complete this endorsement will be shown in the
Deciaratlons or Change endorsement as applicable to this endorsement.)

‘i. HIRED AUTO E.IABILiTY

The insurance provided under Coverage A (Sectlon i) applies to "bodiiy infury" or "property damage"
arising cut oi the maintenance or use ot a "hired auto" by you or your employees in the course ot your

business
2. NoN-owNEl=:sHlP LlAstLl'rY

The insurance provided under Coverage A (Section i) applies to “bod|iy iniury” or "property damage"
arising out ot the use of any “non-owned auio" in your business by any person.

B. With respect to the insurance provided by this endorsement:

1. The exclusions, under Coverage A (Seclion |), other then exclusions a. b. d, f and i and the Nuc|ear
Energy `l.iabil|ty Exciusion (Broad Form) are deleted and the following added:

a. "Bodiiy |niury":

1) To an employee of the insured arising out of and in the course of employment by the insured:
or

2) To the spouse, chiid, parent, brother or sister ot that employee as a consequence ot 1)
above.

This exclusion applies:
1) Whether the insured may be liable as an employer or in any other capacity: and

2) To any obligation to share damages with or repay someone else who must pay damages
because of iniury.

This exclusion does not apply to:
1) Liabiiity assumed by the-insured under an “|nsured oontract”; or

2} -“Bodiiy injury” arising out cl and in the course of domestic employment by the insured unless
benefits for such injury are in whole or in part either payable or required to be provided under any
workers compensation iaw.

b. “Property damage" to:
o. Prcperty owned or being transported by, or rented or loaned to the insured; or
b. Property in the care, custody or control of the insured.
2. Who is an insured (Seclion l|} is replaced by the ioiiowlng:

Each ot the ioiiowing is an insured under this insurance to the extent set forth beiow:

a. You;

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b. Any other person using a "hired euio" with your permission;

c. With respect to a “non-o‘.’.-'ned auio,” any partner or executive ci!icer of yours. but oniy while such
“non»owoeo' auto"` is being used in your business

d. Any other person or organizations but only with respect to their iia'oiiiiy because of acts or
omissions of an insured under a._. b., or c. above. `

None of the foifowing is an insured:

e. Any person engages in the business of his or her employer with respect to “bodily iniury"' to
any co-emolcyee of sucn person injured in the course of employment or to ice spouso_. chiid.
psrentr brother or sister of that co-en:-pioyee as a consequence of such “bcdiiy injury." or for
any obligation to share damages wife or repay someone else who must pay damages
because of the injury;

b. Any partner or executive officer ‘.'.'?th respect to any"auto" owned 'oy such partner or officer
or a member o.‘ his or ncr nousetzoid;

o. Any person white employee in or otnenvise'engaged ir.- duties in connection with en "euio
business," other than an "aulo custness"' you operate;

d. The owner or lessee (of whom you are s su_biessee) cl a ”h!red suio” or tc owner oi a
“`non-owned auto" or any agent or employee oi any such owner or iessee;

e. Any person or organization with respect to i'ne conduct of any current or past partnership or
joint venture that is not shown es a.Named insured in the Deoiarations cr Change
Enoorsement.

C. 'Wiih respect to the insurance provided by this endorsement the following additional definitions apply:

`l. "Aulo business" means the business or occupation of selling, repairing, servicing storing or parking
"autos.”

2. ”Hired au:o" means any "auto" you lease, hire, or borrow. This does not include any "aulo" you iease,
hire,~or borrow from any oi your employees or members oi their households, or from any partner or
executive ofiicer of yours.

3. "Non-owned aulo” means any "auto” you do not own, iease, hire or borrow which are used in
connection with your business i-iov.'ever, ii you are a partnership a “non~owned auto" does not include
any auto owned by any partner.

D. Limits of insurance (Section iii) is amended to siate:

The Generai Aggregate Limit is not applicable to the insurance provided by this endorsement.

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TH|S ENDOF{SENIENT CHANGES THE POLlCY. PLEASE READ lT CAHEFULLV.

EXCLUSION - ACCESS OR D|SCLOSURE OF CONF|DENT!AL OF{ PERSONAL
iNFORNlAT|ON AND DATA-RELATED L|ABlLlTY - WiTH
LllVliTED BOD|L.Y lNJUFtY EXCEPTFON

This endorsement modifies insurance provided under the tollowing:

COMMEF{C|AL GENEF§AL Ll,¢-"\BiL|`i"‘rl COVEF¢AGE PAFi'i'

A. Exclusion 2.p. ot Section l ~ Coverage A - Bodi|yln]uryAnd Prcperly Damage t_iaioiilty is replaced by the
foilowlng: _
2. Exciusions
This insurance does not apply to:
p. Access Or Disclosure Of Coniidentlai Or Personai information And Data-related Llability

Damages arising out of:

(1) Any access to or disclosure of any person's or organizations conlidentlai or personal lnformation,
including patents, trade secrels, processing melhods, customer iisls, financial intormation, credit
card information, health information or any other type of nonpublic informallon; or

(2) The loss of, loss of use of, damage to, corruption of, inability to access, cr inability to manipulate
electronic daia.

This exclusion applies even it damages are claimed for notification costs, credit monitoring expensesl
forensic expenses, public relations expenses or any other loss, cost or expense incurred by you or
others arising out cl that which is described fn Paragraph (1) cr (2) above.
However, unless Paragraph (1) above applies. this exclusion does not apply to damages because of
°bodi|y iniury".
As used in this exciusicn, electronic data means lniormailon, iacts or programs stored as or on,
created or used onf or transmitted to or from computer sottware, including systems and applications
software. hard or lloppy disks, CD-FiOii/ls, tapes. drives, cellsl date processing devices or any other
media which are used with electronically controlled equipmentl

B. The following ls added to Paregraph 2. Exclusions ot Sectlon i - Coverage B - Personal And Advertising

injury Lialo|lity:

2. Excluslons
This insurance does not apply to:
Accee`s Or Discicsure Ot Conticient|al Or Personat lniormation

*‘Personai and advertising tn]ury" arising out ct any access to or disclosure ot any person's or
organizations confidential or personal information including patents, trade secrets. processing methods,
customer iists, financial lnforrnaiton, credit card inlorrnailcn, health information or any other type cl
nonpublic information

This exclusion applies even li damages are claimed for notification costs. credit monitoring expenses,
forensic expenses. public relations expenses or any other loss. cost or expense incurred by you or others
arising out cl any access to or disclosure of any person's cr organizations confidential or personal
information

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TH|S ENDORSEMENT CHANGES THE POL|C\’. PLEASE FiEAD t'i' CAHEFULLY.

EXCLUS|ON »- ACCESS OFi DiSCLOS_UFiE OF CONFIDENTIAL OFi PERSONAL
lNFOFiiVIATlON AND DATA-RELATED LlABiLlTY - WITH
Lli\i'iiTED BOD|LY iNJUF{Y EXCEPTiON

Th|sendorsernent modifies insurance provided under the ioiiowing:

COiviiv‘lEFlCiAL GENERAL LiAB|i_i`i`Y COVERAGE PAFiT

A. [Excingion-g.p. of Secrion i ~ Coverage A - Bodily injury And Property Damsge Llabiilty is repiaced by the
ailowing: `

2. Exciusions
This insurance does not apply to:
p. Accees Or D|sciosure Ot Confldentiai Or Persone| information And beta-related Llabi|ity
Damagss arising out of:

(1) Any access to or disclosure of any person's or organizations confidentlai or personal informetio'i,
including patents, trade secreis, processing methods, customer iists, financial information, credit
card information, health information or any other type of nonpublic information; or

(2) The loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate
electronic data. ,

This exc=`usion applies even il damages are claimed for notification costs, credit monitoring expenses,
forensic expenses, public relations expenses or any other lossl cost cr expense incurred by you or
others arising out ot that which is described in Paragraph (1) or (2) above.
However, unless Paragraph (1) above applies, this exclusion does not apply to damages because ot
"bodiiy injury“l
As used in this exciusion, electronic data means information, facts or programs stored as or on,
created or used on, or transmitted to or from computer software, including systems and applications
software, hard cr iioppy disks, CD-i=iOMs. tapes, drives, ceils, data processing devices or any other
media which are used with electronically controlled equipment 7
B. The following is added to Paragrapn 2. Exoiusions of Section l -» Coverage B - Persona| And Advertising
injury Liebillty:
2. Excluslons
This insurance does nol apply to: y
Acceee Or Disofosure Of Conlidentiai Or Perso_nel information
“Personai and advertising iniury' arising out' of any access to or disclosure of any person's or

organizations confidential or personalinformation,'inciuding patenls, trade secrets. processing methods,
customer listsl financial iniorrnation, credit card iniormation, health information or any other type of

nonpublic information

This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses,
forensic explnscs, public relations expenses or any other loss. cost or expense incurred by you'or others
arising out of any access to or disclosure of any person's or. organizations confidential or personal

information

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TH!S ENDORSEN|ENT CHANGES THE iBOLICY. PLERSE READ lT CAF|EFULLY..

Nuci..eAa swasey LrAeri_rTY excLusroN eNconsan/ienr
(anonn Fonm)

This endorsement modiites insurance provided under the foilowing'.

COMMERC|AL AUTOMOB|LE COVEF{AGE PAFiT

COMMEHCiAL GENEFtAL i_iABiL|TY QOVERAGE PART

FAF\M COVEHAGE PAFtT

L!QUOH L.iABli_|TY COVEF{AGE PART

MED|CAL PROFESS|ONAL L!ABEL|TY COVEHAGE PAFiT

OWNEFiS AND CONTRACTOHS PROTECT!VE LiAB|L|TY COVERAGE PAFtT
POLLUT|ON LFABEL|TY COVERAGE PAFiT

PRODUCTS/COMPLETED OPEFiAT|ONS L}AB|L|TY COVERAGE PAFiT
RA|LROAD PROTECT!VE LiABlL|TY COVERAGE PAFiT

UNDEF\GROUND STORAGE TANK POL|CY

1. The insurance does not appiy: `
A. Under any L|abiiity Coverage, to "oodily iniury" or "property damage”:

1) With respect to which an "insured" under the policy is aiso an insured under a nuclear energy
iiability policy issued by Nuclear Energy Liability insurance Association, Mutual Atomic Energy
Liability Underwriters. Nuclear insurance 'Associatton oi Canada or any of their successorsl or
would be an insured under any such policy but for its termination upon exhaustion of its limit cf
liability; or

2) Ftesulting from the "hazardous properties" ot "nuciear material" and with respect to which (a) any

' person or organization is required to maintain i|nanciai protection pursuant to the Atomlo Energy
Act of 1954, or any law amendatory thereot, or (b) the “insured" is, or had this policy not been
issued would be, entitled to indemnity from the United States ot Arnerioa, or any agency thereot,
under any agreement entered into by the United States of America, or any agency thereot, with
any person or organization

B. Under any ivtedicai Payments coverage, to expenses incurred with respect to "bodiiy iniury" resulting
irorn the "hazardous properties" of "nuc|ear materiai“ and arising out of the operation oi a “nuclear
iaci||ty" by any person or organization

C. Under any Liebiiity Coverage, to "bodity injury' or "property damage“ resulting irom "hazardous
properties" of "nuclear materiat." if:

‘i) The "nuclear materla|" (a) ls at any "nuclear facility" owned by, or operated by or on behalf of, an
“insored” or (b) has been discharged or dispersed therefrom;

2) The "nuc!ear material" is contained in '?spent fuel" or "waste" at any time possessed, handled,
used, processed, stored, transported or disposed of, by o_r on behalf of an "insured"; or

3) The "bodiiy |njury’1 or "property damage" arises out ot the furnishing by an “insured" of services,
matertais, parts or equipment in connection with the planning, construction, maintenance,
operation or use of any “nuclear iaciilty," but ii such facility is located within the United States of
Amerioa, its territories or possessions or Canada, this exciosion 3) applies only to "property
damage" to such "nuclear iaciliiy” and any property ti'\ereatl

2. As used in this endorsement
"Hazardous properties" includes radioactive toxic or expiosive properlies;
"Nuciear material" means “source matertai,“ "speoiai nuclear materiai" or “by~produci materla|."

“Source metertat,” "special nuclear materiai," and “by-product materiai" have the meanings given them in the
Atomio Energy Aci of 1954 or in any law amendatory thereatl

"Spent iuei" means any feet element or fuel component, solid or ltqu|d, which has been used or exposed to
radiation in a “nuctear reactor."

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"Waste" means any waste material (a) containing "by~product materiai” other than the tailings or wastes
produced by the extraction or concentration ot uranium or thorlum from any ore processed primarily for its
"source material" content, and (b) resulting from the operation by any person cr organization ot any "nuclear
iacillty” included under the first two paragraphs of the definition of "nuolear facility.”

“Nuclear facitity" means:
a) Any "nuciear reactor’;

b) Any equipment or device designed or used for (t} separating the isotopes of uranium cr ptutoniurn, (2)
processing or cttiiztng “spent fuel," or (3) handiing, processing or packaging “waste";

c) Any equipment or device used for the prccesslng. fabricating or alloying ot "speoiat nuclear materiai" if
at any time the total amount of such material in the custody of the “lnsureci" at the premises where such
equipment or device relocated consists ci cr contains more than 25 grams of plutonium or uranium 233
or any combination thereot, or more than 250 grams of uranium 235;

d)_ Any siructure, basin, excavation. premises or piece prepared-or used for the storage or disposal of
"waste";

and tncludes the site on which any of the foregoing is iccated. atl operations conducted on such site and atl
premises used for such operations

=Nuctear reactor'" means any apparatus designed or used to sustain nuclear llssion in a salt-supporting chain
reaction or to contain a criticat mass ct fiss!onaole matertai.

“Pro_oerty damage” inciudes all forms ot radioactive contamination of property,

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20~`| 769 08/91

PFiOViSiONS APF’L{CABLE_TO CENT'F¥AL NEUTUAL AND
ALL AMERICA §NSUFIANCE CON|PAN|ES

iN WiTNt‘-'.SS WHEREOF, we have executed and attested this poitcy. |f required by state iaw, this policy is not
valid unless lt is countersigned by our authorized rr:‘¢presentali'trel

‘~a§@ecp ,//g.//A

President . Seoretaty

2()-1769 08191

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20-1770 OBIQ‘I
PROVES!ONS APPL|CABLE TO CENTHAL NlUTUAL INSURANCE CONIPANY

MUTUALS '~ MEMBERSHlP AND VOT|NG NOTlCE: The named insured is notified that by virtue ot this policy the
named insured ls a member of the Centrai lviutus| insurance Company ot Van Wert, Ohio and is entitledl as is
lawfully provided in the charier, constitution, and by-iaws, to one vote either in person or by proxy in any or ali
meetings ct said Company. The Annual Meetings are held in its Home Olilce, Van Wert, Ohio, on the second
Wedneso'ay cl May, in each year, at two o’ciock P.lv‘i.

MUTUALS - PARTICIPAT{ON CLAUSE WiTt-lOUT CONTlNGENT LlABlL'lTY: No Contingent i_iabl|iiy: This policy
is nonessessable. 'l‘he policyholder is a member cl the company and shall participate to the exlent and upon the
conditions fixed and determined by the Board of Direoiors in accordance with the provisions of law, in the
distribution of dividends so fixed and determined

20~1770 08/91

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F’Hotlr»:: AHE\Coos 806 SU|TE 300
2?3-2557 53! N. DEAHL
FA>< 272-2l57

iVEl'I`CHELL 8c JONES
ATTORNE¥S AT t.r».w
S. LEON tlrcltlst.t. P.o. oRAwER 707
C_ CRAIGJQNES
BORGER. ‘t'E:><As
79003-0707

Ct.voa M. GASSAWAY tlezs~teee;

Wricer‘s` Dlrecl #
(806)273-5696

yu TsLscoPIER
(803)736-7026

March 17, 2016

Centrai lnsurance Companics
A'l"i'N: Mr. Todd Brickman

DECEPTIVE TRAl)E PRACTICES ACT DEM£LND LETTER

Re: Poiicy #CLP 7973776
Datc of Loss: 11/16!2015
Claim #7973776
File #83466

Dcar Mr. Brickman:

This letter is to advise you that our office represents Daryl Robcnson DDS, P.A-. (“Dr.
Robertson”) in regard to the above subject claim. Your office has been ftunishcd the financial
information showing the losses suffered by Dr. Robcrtsoc arising out of the lightning strike on or
about Novembcr 16, 2015.

Under the terms of your insurance policy, you arc to cover thc damages associated with
the lightning strike It is my understanding th‘at, despite the volume of information providcd, you
have determined that there was no lost income due to thc lightning strike lt is our position that
such determination is in bad faith and, as a rcsult, will subject your company to damages under
lnsurance Codc §21.21 as set forth below.

In the event that you fail to honor your contractual obligations and continue in the
unreasonable position that no damages were suffered by Dr. Robcrtson in this mattor, then my
client Will have no alternative but to seek thc full extent of damages expenses and attorney fees
incurred as well as all damages provided under thc Toan Dcceptive Trade Practiccs Act and thc
lnsurance Codc. This will include treble damages because of the patently bad faith
determination exercised by your office

Your actions have violated the Texas Deccptivc 'l`rade Practices Act (‘-‘DTPA”) in one or
more the following particulars which actions are the producing cause of damage to my olicnt:

lNTERNE-`.T lD: ster|ingmitcheEtSO'i@gmeii.com

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Centrai lnsurance Companics
March 17, 2016
Page 2

(i) Representing that the goods or services had characteristics, uses or benefits Which
they did not have, or conferred benefits Which they did not confer. D'I`PA

§tr.as(b)(s).

(2) Representing that the goods o_r services were of-a particular grade, quality
er standard when they were of another. DTPA §l’?.~ié{b){?;t.

(3) Representing that an agreement had or conferred benefits which it did not
have or confer. DTPA §17.4'6(13)(12).

(4) Engaging in an unconscionable course of action.

Speoitically,

fraudulently claiming no loss of income was realized by Dr. Robertson in
an unconscionable action or course ofaction. DTPA §17.50(a)(3).

lt is imperative that this matter be resolved within 60 days from the date that you receive
this ietter. ln the event that Dr. Robertson does not receive full compensation for damages in the
amount of $60,000,00, 3750.00 for reasonable attorney fees and $2,50(}.00 for accounting fees
incurred to date, please be advised that he will proceed to enforce all rights available to him
under the Deceptive Trade Practices Aot and the lnsurance Code including the penalties
available under §17.50 including treble damages and attorney fees

This letter demands your immediate attention

LM/ap

cc: Dr. Daryl Robertson
101 N. McGee
Borger, Texas 79007

hir. Mark Christy
LOVELADY, CHRISTY &
ASSOCIATES, PLLC

801 S. Fillmore, Suite 410
Amarillo, Texas 7910§

Respectfully submitted,

Mtrcnitt.r a serves

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v

Leon Mitchei__l

Upshaw lnsurance Agency
401 \'. Main
Borger, Toan 79007

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CITATION
((‘ivli personal service ~ TRC 99)
Cause No.é§!§¢flz
THE STATE {JF TE)(AS:
DAR`\'L ROBERTSON SD$, P.A. )i IN' T"`HE’ SQTH DiSTFtiET CSURT
vs. l( OF
CENTRAL IN$URANCE COMP£\NiES }[ HUTCH|NSON COUN`W, `¥§XAS

TO: CEN`#'RA{. iNSURANCE COMP'AN|ES
7301 North State Highway 151 Suite 320
irvinng 75039

Defonciant, in the heretofore styled and numbered cause:

GREET{NGS:

NOT|CE `i’D BEFENDRN"»': i"{ou have been sueci. ‘fou may employ an attornoy. ifvou or your attorney
do not file a written answer with the Cierlt who issued this citation by 10:00 A.M. on the Monday next
following the expiration of twenty (20} days after the date you were served this Cltat!on and Petition,

a default }udgment may be taken against you." mcp 991

The Petition of DARYL RGBERTSON DDS, P.A. was filed in said Court on Septembar 16, 2016, in the
above-entitled Cause. The nature of Plaintilf's demand is fully shown by a true and correct copy of
Piaintiff's Petition, which accompanies this Citation and made a part hereof

Wl`i‘NESS, ROBlN STROUD, Cleric of the Blii;'n District Court of Hutchinson Coun'ry, iexas.

lSSUED AND Gi‘ EN UNDER M`r‘ HAND AND SEAL of said Court, at office in Stinnett, Texas, on this the
20th day of September, 2016.

ROBIN STROUD, District C!er|< §¢W*_““Wm
P.o. Box 530 .O

Sttilutchinson County,

    
 
 
 

 

District Cierk z G$?
`$g>`,,
Attorney for plaintiffs ‘*Q,,q§‘wg'!_\;,\g;+*§
LEON MITCHELL '““Htuzt\\\‘~""
PO DRAWER 707

BORGER 'D( 79008-0707
806~273-2857

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UPF!CER'S RE!'URN
425-112 }( SRTH DiS‘i`RiCT COURT
DARV£ R()BERTSON DDS, P.A. )l iii AND FOR
vs. ]( HUTCHiNSUN CoUN'i`Y, TE>(AS
CEN\'RAL INSUBANCE COMPAN!ES
ADDRESS FOR SERVIC£:
CEN¥RAL |NSURANCE COMPANIES
7301 North State nghway 161 Sulte 320
irving TX 75039
Came to hand on the day ot u _ . 20 . at , o‘ciock .m. and executed in

 

 

 

Couoty, Texas, by delivering to each of the within named defendants in person a true copy of tile
Citatlon with the date of delivery endorsed thereon, together with the accompanying copy of the Origlnal Petltion lOC¢‘i), at the

following times and places, to¢wit:
Nama Dalo/i`lme P|ace, Course and Dlstance from Courthouse

 

And riot executed as to the defendarai[s) belng:

 

The diligence used in finding said doiendant[s} being:

 

and the cause or failure to execute this process is:

and tile information received as to the whereabouts of said dolendams(s} bolng: """"

i:i:'ES:

Servlng Petition and Copy$
Total $m ~…M …

mm, S¥mriif
, Counw. `i}i

Dy: - m , Dt:puw

Afliant

 

either be verified or be signed under penalty of pnriury. A retum signed under penalty of perjury must contain the statement below in

substantiallyihe following form:
“My name is _, _ _ .nw date of birth lsm
[Flrs!, Midd|e, Last}

and my address

 

 

lStreet, City, le}
l DECI.ARE UNE)ER PENAL`{Y OF PERJURY THA'|' THE FDREGO|NG f$ TRU£ AND CORRECT.
Executod in ,County, $tato of m _ m _ ____ on the um_m day ol_m mm ,

 

Dociarantfnuthorized Procoss $orver

 

ltd ll & expiration of oert§llcation)

